                                   EXHIBIT '




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.
        Official Committee of Tort Claimants of PG&E Corp.           Invoice Date:            07/31/19
        and Pacific Gas and Electric Company                      Invoice Number:            50656706
        Baker & Hostetler                                        B&H File Number: 13291/114959/000001
        11601 Wilshire Blvd Suite 1400                        Taxpayer ID Number:          XX-XXXXXXX
        Los Angeles, CA 90025                                                                  Page 1




Regarding:            PG&E Chapter 11 Case

For professional services rendered through June 30, 2019

               BALANCE FOR THIS INVOICE DUE BY 08/30/19               $   2,085,343.41




                            Remittance Copy
                                 Please include this page with payment

                                         Invoice No: 50656706

                                        Firm Contact Information

                                            Bernadette O’Neill
                                             (310) 979-8470
                                          Boneill@bakerlaw.com




Please Remit To:                 FOR WIRE REMITTANCES:
Baker & Hostetler LLP            Baker & Hostetler LLP
P.O. Box 70189                   KeyBank, N.A., Cleveland, OH
Cleveland, OH 44190-0189         Account No: 1001516552 / ABA 041001039
                                 SWIFT Code: KEYBUS33

Reference Invoice No:            Email the “Remittance Copy” to
50656706                         bakerlockbox@bakerlaw.com
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For professional services rendered through June 30, 2019




        Fees                                                        $ 1,952,741.75

        Expenses                                                    $    132,601.66

  BALANCE FOR THIS INVOICE DUE BY 08/30/19                                                 $ 2,085,343.41




        PREVIOUS BALANCE                                                 3,501,737.53




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Name                                                              Hours           Rate                 Amount
Benson, Glenn S.                                                   55.80     $ 640.00      $         35,712.00
Casey, Lee A.                                                       8.20      1,255.00               10,291.00
DeLaquil, Mark W.                                                   3.50        885.00                3,097.50
Dettelbach, Steven M.                                               2.10      1,015.00                2,131.50
Dumas, Cecily A.                                                 157.10         950.00              149,245.00
Goodman, Eric R.                                                   22.70        400.00                9,080.00
Goodman, Eric R.                                                 171.30         800.00              137,040.00
Green, Elizabeth A.                                                35.90        720.00               25,848.00
Green, Elizabeth A.                                                 3.00        360.00                1,080.00
Grossman, Andrew M.                                                 2.50        850.00                2,125.00
Hartman, Ruth E.                                                   37.40        470.00               17,578.00
Julian, Robert                                                   156.60       1,175.00              184,005.00
Julian, Robert                                                      1.10        587.50                  646.25
Kristiansen, Eric W.                                               42.40        685.00               29,044.00
McLellan, Melinda L.                                                9.60        765.00                7,344.00
Morris, Kimberly S.                                                 1.70        447.50                  760.75
Morris, Kimberly S.                                              153.00         895.00              136,935.00
Parrish, Jimmy D.                                                  24.20        590.00               14,278.00
Payne Geyer, Tiffany                                               44.60        455.00               20,293.00
Rivkin, David B.                                                   29.40      1,625.00               47,775.00
Rose, Jorian L.                                                  110.60       1,010.00              111,706.00
Rose, Jorian L.                                                     7.40        505.00                3,737.00
Sagerman, Eric E.                                                  26.00      1,145.00               29,770.00
Woltering, Catherine E.                                            50.50        750.00               37,875.00
Attard, Lauren T.                                                  27.90        300.00                8,370.00
Attard, Lauren T.                                                  91.00        600.00               54,600.00
Bent, Camille C.                                                   29.60        610.00               18,056.00
Blanchard, Jason I.                                                91.40        650.00               59,410.00
Bloom, Taylor A.                                                   11.10        475.00                5,272.50



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Brown, Arielle L.                                                  17.60        360.00                6,336.00
Donaho, Thomas A.                                                  38.70        530.00               20,511.00
Forhan, Elliot P.                                                141.80         340.00               48,212.00
Kates, Elyssa S.                                                 123.30         760.00               93,708.00
Kavouras, Daniel M.                                                28.00        182.50                5,110.00
Kavouras, Daniel M.                                                95.80        365.00               34,967.00
Khan, Ferve E.                                                     31.10        655.00               20,370.50
Layden, Andrew V.                                                  22.90        550.00               12,595.00
Martinez, Daniella E.                                              24.80        400.00                9,920.00
McCabe, Bridget S.                                                 32.70        630.00               20,601.00
Prabucki, Kenneth                                                   4.90        385.00                1,886.50
Raile, Richard B.                                                  13.90        565.00                7,853.50
Rice, David W.                                                     44.20        610.00               26,962.00
Sabella, Michael A.                                                 2.60        610.00                1,586.00
Sproull, Kelsey M.                                                 34.30        515.00               17,664.50
Zuberi, Madiha M.                                                  86.80        605.00               52,514.00
Esmont, Joseph M.                                                126.30         600.00               75,780.00
Esmont, Joseph M.                                                   8.40        300.00                2,520.00
Fuller, Lars H.                                                  156.70         545.00               85,401.50
Fuller, Lars H.                                                     6.50        272.50                1,771.25
Bloom, Jerry R.                                                    42.90      1,145.00               49,120.50
Mazoch, Jo Ann M.                                                   5.70        250.00                1,425.00
Weible, Robert A.                                                  79.50        830.00               65,985.00
Greenfield, Juanita M.                                             41.50        200.00                8,300.00
Kinne, Tanya M.                                                    44.00        365.00               16,060.00
Lane, Deanna L.                                                    33.00        280.00                9,240.00
Ravick, Jacob H.                                                   64.40        250.00               16,100.00
Rawles, Michael M.                                                 11.40        270.00                3,078.00
Bekier, James M.                                                    2.30        495.00                1,138.50
Peterson, Peggy A.                                                 63.60        430.00               27,348.00
Bookout, Kimberly M.                                                4.40        250.00                1,100.00
Landrio, Nikki M.                                                  93.90        420.00               39,438.00
McDonald, Michael H.                                               12.70        230.00                2,921.00




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Zuniga, Diego F.                                                     6.50        325.00                  2,112.50
                         Total                                  2,954.70                   $          1,952,741.75



Date       Name             Description                                          Rate      Hours          Amount

06/04/19   Payne Geyer,     Claims review issues regarding adjustment          455.00          1.10        500.50
           Tiffany          of claims pursuant to 1123(b)(3)(A),
                            ownership of TCC insurance claims, and
                            releases granted in first PG&E
                            case.(56002787)

Administrative Expense Claims(001)                                                             1.10        500.50

06/03/19   Bloom, Jerry R. Conference call with Ms. Dumas and Mr.             1,145.00         0.90      1,030.50
                           Rivkin regarding Zelmer Briefs and Motion
                           to stay and follow up to call.(56087379)

06/03/19   Casey, Lee A.    Conference with David Rivkin, Mark                1,255.00         1.40      1,757.00
                            DeLaquil, and Richard Raile regarding
                            response to Zelmer motion for
                            relief.(56023219)

06/03/19   Casey, Lee A.    Research and analysis of cases regarding          1,255.00         2.50      3,137.50
                            California law for potential to Zelmer motion
                            for relief.(56023220)

06/03/19   Casey, Lee A.    Review of correspondence from Mr. Raile           1,255.00         0.10        125.50
                            regarding Zelmer motion for
                            relief.(56023221)

06/03/19   Raile, Richard   Conference with Messrs. Rivkin, DeLaquil,          565.00          4.00      2,260.00
           B.               and Casey regarding research to be done in
                            preparation for response to motion for relief
                            from the automatic stay (1.1); draft outline of
                            legal issues regarding same (.5); legal
                            research regarding factors pertaining to
                            motion for relief from the automatic stay
                            (2.4).(55998792)

06/04/19   Raile, Richard   Legal research in preparation for opposition       565.00          4.80      2,712.00
           B.               to motion for abstention (3.7); draft
                            memorandum to Mr. Rivkin regarding same
                            (1.1).(56000492)




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06/05/19   Raile, Richard   Confer with Mr. Rivkin regarding                     565.00       0.30      169.50
           B.               memorandum in preparation for objection to
                            motion to lift automatic stay.(56007046)

06/06/19   Rawles, Michael Review and analysis of bankruptcy docket              270.00       0.20           54.00
           M.              regarding updating service list.(56017393)

06/10/19   Raile, Richard   Draft, edit and revise memorandum                    565.00       3.10    1,751.50
           B.               regarding possibility of state-court
                            proceedings on claims present in
                            bankruptcy (1.50); legal research for same
                            (1.60).(56018928)

06/11/19   Raile, Richard   For South Ferry Appeal: legal research for           565.00       1.20      678.00
           B.               draft outline for appellee brief.(56039656)

06/11/19   Raile, Richard   Revise and proofread memorandum                      565.00       0.50      282.50
           B.               regarding abstention and related bankruptcy
                            doctrines; confer with Mr. Rivkin regarding
                            same.(56039657)

Asset Sales/363 Sales(002)                                                                   19.00   13,958.00

06/03/19   Bent, Camille C. Correspond with Ms. Kates and Ms. Dumas              610.00       0.10           61.00
                            regarding motion for relief from stay filed in
                            PG&E Corporation case.(56024988)

06/03/19   Bent, Camille C. Correspond with Mr. Rose regarding motion            610.00       0.10           61.00
                            for relief from stay response to be filed in
                            PG&E Corporation case.(56024989)

06/03/19   Dumas, Cecily Telephone conference Rivkin, Bloom, Kates               950.00       0.80      760.00
           A.            re arguments on Zelmer relief stay
                         motion.(55997946)

06/03/19   Kates, Elyssa S. Call with Ms. Dumas, Mr. Rivkin and Mr.              760.00       0.80      608.00
                            Bloom regarding Zelmar stay relief
                            motion.(56020122)

06/03/19   Kates, Elyssa S. Analysis of issues pertaining to stipulated          760.00       0.40      304.00
                            judgments.(56020123)

06/03/19   Kates, Elyssa S. Call with Mr. Rose regarding the Nathan              760.00       0.30      228.00
                            motion for relief from the automatic
                            stay.(56020124)

06/03/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                   760.00       0.10           76.00



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Date       Name              Description                                              Rate      Hours    Amount
                             Rivkin, Mr. Bloom and others regarding
                             inverse condemnation issues.(56020127)

06/03/19   Kates, Elyssa S. Call with Mr. Rose regarding Judge                      760.00       0.10          76.00
                            Montali's directive regarding automatic stay
                            motions.(56020141)

06/03/19   Kates, Elyssa S. Analysis of transcripts to determine Judge              760.00       0.50     380.00
                            Montali's position regarding automatic stay
                            issues.(56020142)

06/03/19   Kates, Elyssa S. Correspondence with Ms. Attard regarding                760.00       0.10          76.00
                            Judge Montali's comments regarding the
                            automatic stay.(56020143)

06/03/19   Rose, Jorian L. Review prior transcripts and procedures                1,010.00       0.60     606.00
                           order for discussion on Committee
                           responses by Court.(56000934)

06/04/19   Bent, Camille C. Correspond with Mr. Rose regarding                      610.00       0.10          61.00
                            strategic plan for motions for relief filed in
                            PG&E Corporation case.(56030008)

06/04/19   Dumas, Cecily Draft opposition to Zelmer relief from stay                950.00       3.00   2,850.00
           A.            motion(56034072)

06/04/19   Esmont, Joseph Plan stay relief research project (1.2)l;                 600.00       1.70   1,020.00
           M.             Advise Ms. Hartman regarding stay relief
                          memorandum and research project
                          (.5).(56180630)

06/04/19   Hartman, Ruth Research of issues related to standard for                 470.00       1.60     752.00
           E.            relief from stay.(56000110)

06/04/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                      760.00       0.10          76.00
                            Rivkin, Mr. Bloom and Mr. DeLaquil
                            regarding inverse condemnation and
                            automatic stay issues.(56020147)

06/04/19   Kates, Elyssa S. Review transcripts for information regarding            760.00       1.20     912.00
                            stay relief motions.(56020151)

06/04/19   Kates, Elyssa S. Call with Mr. Rose regarding Judge                      760.00       0.10          76.00
                            Montali's positions on stay relief
                            motions.(56020152)

06/04/19   Kates, Elyssa S. Review motions and other pleadings in                   760.00       1.80   1,368.00



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                             connection with the Zelmer relief stay
                             motion and inverse
                             condemnation.(56020160)

06/04/19    Rose, Jorian L. Telephone conference with Ms. Kates              1,010.00         0.30        303.00
                            regarding response to lift stay.(56000940)

06/05/19    Attard, Lauren Draft papers regarding motion for relief from       600.00         3.80      2,280.00
            T.             stay.(56023553)

06/05/19    Bent, Camille C. Correspond with Ms. Kates and Ms. Kinne           610.00         0.20        122.00
                             regarding the Zelmer motion for relief from
                             stay filed in the PG&E Corporation
                             case.(56031489)

06/05/19    Bloom, Jerry R. Attention of PG&E and CPUC stipulation of        1,145.00         1.90      2,175.50
                            stay of proceedings before the CPUC
                            through review of filing and coordination
                            with Mr. Goodman and suggestions
                            regarding TCC position on the stipulation
                            (1.6) and emails to Mr. Goodman and Ms.
                            Dumas re same (0.3)(56087382)

06/05/19    Dumas, Cecily Telephone conference Grassgreen re                   950.00         0.90        855.00
            A.            Baupost purchase of Zelmer claim (.2);
                          email Rivkin, Bloom re status of stay relief
                          motion (.2); email TCC re termination of
                          current judicial challenge to inverse doctrine
                          (.5)(56035010)

06/05/19    Dumas, Cecily Review PG&E stipulation re relief from stay          950.00         0.80        760.00
            A.            with pro se complainants (.4); email
                          Goodman, Bloom re scope of relief
                          (.4)(56035013)

06/05/19    Dumas, Cecily Communicate with Bloom re relief to pro se           950.00         0.80        760.00
            A.            complainants generally applicable and
                          modification to order(56035016)

06/05/19    Esmont, Joseph Confer with Ms. Attard regarding research           600.00         0.30        180.00
            M.             projects related to relief from
                           stay.(56180632)

06/05/19    Green,           Telephone conference with Bob Julian              720.00         0.30        216.00
            Elizabeth A.     regarding removal, abstention and stay
                             issues regarding certain claims.(56012000)




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06/05/19   Hartman, Ruth Research relief from bankruptcy                         470.00        2.20       1,034.00
           E.            stay.(56000925)

06/05/19   Julian, Robert   Draft motion for relief from stay or abstain to    1,175.00         7.30      8,577.50
                            permit a Tubbs Claim to be tried in Sonoma
                            County(56037162)

06/05/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                   760.00         0.20        152.00
                            Rivkin, Mr. Bloom and Mr. Kristiansen
                            regarding the Zelmer stay relief
                            motion.(56020168)

06/05/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                   760.00         0.30        228.00
                            Julian, Mr. Bloom, Ms. Green and others
                            regarding NextEra Energy's motion for relief
                            from the automatic stay.(56020178)

06/05/19   Kates, Elyssa S. Correspondence with Ms. Dumas regarding              760.00         0.10         76.00
                            state court proceedings.(56020179)

06/05/19   Rose, Jorian L. Review summary of lift stay from Ms.                1,010.00         0.30        303.00
                           Kates.(56002774)

06/05/19   Rose, Jorian L. Review research project on automatic stay           1,010.00         0.50        505.00
                           for discussion with Mr.
                           Blanchard.(56002777)

06/06/19   Attard, Lauren Research for motion for relief from stay               600.00         3.50      2,100.00
           T.             (3.2); telephone conferences with Mr.
                          Blanchard regarding the same
                          (.3)(56023550)

06/06/19   Blanchard,       Conduct research related to seeking relief           650.00         5.00      3,250.00
           Jason I.         from the automatic stay in connection with
                            wildfire litigation (4.6); calls with Ms. Attard
                            to discuss issues related to the research
                            (.3); call with Mr. Julian to discuss research
                            issues (.1)(56016606)

06/06/19   Green,           Conference with Jason Blanchard regarding            720.00         0.50        360.00
           Elizabeth A.     issues related to stay relief for certain
                            claimants to set damages.(56011977)

06/06/19   Green,           Review case related to abstention for tort           720.00         0.30        216.00
           Elizabeth A.     claims.(56011978)

06/06/19   Green,           Telephone conference with Bob Julian                 720.00         0.20       144.00



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            Elizabeth A.     regarding issues related to stay relief for
                             certain claimants to set
                             damages.(56011980)

06/06/19    Julian, Robert   Draft insert for motion for relief from stay to    1,175.00        2.90      3,407.50
                             permit test case to go forward(56037168)

06/06/19    Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                   760.00        0.10         76.00
                             Rivkin, Mr. Bloom and Mr. DeLaquil
                             regarding the withdrawal of the Zelmer
                             motion for relief from the automatic
                             stay.(56020190)

06/06/19    Kates, Elyssa S. Call with Mr. Rose regarding the Zelmer              760.00        0.30        228.00
                             relief stay motion and claims
                             issues.(56020191)

06/06/19    Rose, Jorian L. Telephone conference with Ms. Kates                 1,010.00        0.30        303.00
                            regarding lift stay motion issues.(56008401)

06/06/19    Rose, Jorian L. Review objection to Nathan lift                     1,010.00        0.70        707.00
                            stay.(56008402)

06/07/19    Blanchard,       Conference with Ms. Green and Mr. Rose               650.00        0.10         65.00
            Jason I.         regarding the research related to seeking
                             relief from the automatic stay in connection
                             with wildfire litigation.(56016611)

06/10/19    Attard, Lauren Research for motion for relief from                    600.00        5.10      3,060.00
            T.             stay.(56067306)

06/10/19    Blanchard,       Conduct research related to seeking relief           650.00        1.80      1,170.00
            Jason I.         from the automatic stay in connection with
                             wildfire litigation (1.5); draft memorandum of
                             law regarding the same (.2); calls with Ms.
                             Attard to discuss issues related to the
                             research (.1);(56076398)

06/10/19    Esmont, Joseph Confer with Ms. Attard and Mr. Julian                  600.00        7.90      4,740.00
            M.             regarding relief from stay matters, including
                           preparation (1.5); legal research relevant to
                           relief from stay motion (4.2); legal research
                           on plan structures as it relates to motion for
                           relief from stay (2.2)(56180706)

06/10/19    Green,           Review test case analysis for stay relief for        720.00        0.50        360.00
            Elizabeth A.     Tubbs fire.(56053704)



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06/11/19    Attard, Lauren Research for motion for relief from stay              600.00         4.30      2,580.00
            T.             (3.5); office conferences with Mr. Julian and
                           Mr. Esmont regarding the same
                           (.8).(56067570)

06/11/19    Bent, Camille C. Prepare chart summarizing motions for               610.00         0.80        488.00
                             relief from stay filed in the PG&E Corp.
                             matter.(56084702)

06/11/19    Bent, Camille C. Draft strategy relating to analysis of motions      610.00         0.50        305.00
                             for relief from stay, and correspond with Mr.
                             Rose regarding same in the PG&E Corp.
                             matter.(56084705)

06/11/19    Blanchard,       Conduct research related to seeking relief          650.00         4.10      2,665.00
            Jason I.         from the automatic stay in connection with
                             wildfire litigation (1.5); draft points of law
                             regarding the same (2.4); calls with Ms.
                             Attard and Mr. Rose to discuss research
                             (.2)(56076407)

06/11/19    Dumas, Cecily Review Attard report on court's ruling on              950.00         0.50        475.00
            A.            stay relief motion and review implications for
                          other stay relief proceedings(56055103)

06/11/19    Esmont, Joseph Review cases regarding plan trust                     600.00         3.20      1,920.00
            M.             structures relating to relief from stay motion
                           (2.2); research prior decisions by Judge
                           Montali relevant to relief from stay issues
                           (1).(56180707)

06/11/19    Green,           Review outline of issues related to                 720.00         0.90        648.00
            Elizabeth A.     abstention and relief from stay.(56053722)

06/11/19    Green,           Telephone conference with Joe Esmont                720.00         0.60        432.00
            Elizabeth A.     regarding issues related to test case and
                             abstention.(56053723)

06/11/19    Green,           Review Dow Corning case related to test             720.00         0.90        648.00
            Elizabeth A.     case theories.(56053724)

06/11/19    Julian, Robert   Review legal research on relief from stay         1,175.00         1.40      1,645.00
                             and abstention in mass tort chapter 11
                             cases(56049952)

06/11/19    Julian, Robert   Revise motion for relief from stay or             1,175.00         4.50      5,287.50



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                             abstention re tort claims(56049953)

06/12/19    Attard, Lauren Draft motion for relief from stay based on            600.00         8.60      5,160.00
            T.             previous research and research from Mr.
                           Blanchard.(56067572)

06/12/19    Blanchard,       Conduct research related to seeking relief          650.00         4.70      3,055.00
            Jason I.         from the automatic stay in connection with
                             wildfire litigation (2.9); draft points of law
                             regarding the same (1.0); calls and emails
                             with Ms. Attard regarding research (.5);
                             analyze and revise portions of draft memo
                             of law for motion (.3)(56076454)

06/12/19    Esmont, Joseph Review and comment on draft motion for                600.00         3.00      1,800.00
            M.             relief from stay (5); research to support
                           motion for relief from stay (2.5).(56180713)

06/13/19    Attard, Lauren Draft memorandum for relief from stay (3.5);          600.00         3.90      2,340.00
            T.             review comments from Mr. Esmont and Mr.
                           Rose regarding the same (.4).(56067575)

06/13/19    Blanchard,       Analyze motion seeking relief from the              650.00         0.50        325.00
            Jason I.         automatic stay in connection with providing
                             comments to the same.(56076465)

06/13/19    Dumas, Cecily Review stipulation re pro se complaints                950.00         0.30        285.00
            A.            before CPUC(56055087)

06/13/19    Green,           Telephone conference with Joe Esmont                720.00         0.30        216.00
            Elizabeth A.     regarding relief from stay Tubbs.(56053695)

06/13/19    Morris, Kimberly Review recent relief from stay orders re tort       895.00         0.40        358.00
            S.               claims and correspondence re
                             same(56080270)

06/13/19    Rose, Jorian L. Review and revise motion to lift stay for test     1,010.00         1.90      1,919.00
                            case and related research.(56060057)

06/14/19    Bent, Camille C. Review and analyze Joinder of EDF                   610.00         0.30        183.00
                             Renewables to Nextera Energy's motion for
                             relief and correspond with Ms. Kates
                             regarding same, relating to the PG&E
                             Corporation matter.(56086306)

06/14/19    Bent, Camille C. Review docket for filed motions for relief          610.00         3.20      1,952.00
                             from stay, and analyze motions in PG&E



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                             Corp. matter.(56086307)

06/16/19    Attard, Lauren Revise motion for relief from                           600.00       0.60       360.00
            T.             stay.(56067580)

06/17/19    Attard, Lauren Revise motion for relief from stay (5);                 600.00       8.80     5,280.00
            T.             research factual issues regarding the same
                           (3); office conferences with Mr. Julian
                           regarding the same (.8).(56067826)

06/17/19    Bent, Camille C. Correspond with Mr. Rose regarding plan               610.00       0.10        61.00
                             relating to motions for relief filed in PG&E
                             Corporation matter.(56126588)

06/17/19    Bent, Camille C. Review correspondence from Ms. Dumas                  610.00       0.30       183.00
                             regarding reports for motions for relief from
                             stay in PG&E Corporation.(56126600)

06/17/19    Bent, Camille C. Review motions for relief filed in PG&E               610.00       3.10     1,891.00
                             Corporation, and prepare reports relating to
                             same.(56126598)

06/17/19    Blanchard,       Email correspondence with Ms. Attard                  650.00       0.60       390.00
            Jason I.         regarding additional research on issues
                             related to lifting the automatic stay in
                             connection with the motion seeking the
                             same (.2); conduct research (.4).(56113390)

06/17/19    Julian, Robert   Draft Declaration of Steve Campora in               1,175.00       0.40       470.00
                             support of TCC motion for relief from stay to
                             try Tubbs claim(56081075)

06/17/19    Julian, Robert   Revise TCC motion for relief from stay to try       1,175.00       3.10     3,642.50
                             Tubbs Fire claim disputed as to liability by
                             PG&E(56081076)

06/17/19    Julian, Robert   Draft Declaration of Financial Advisor Mr.          1,175.00       0.20       235.00
                             Williams in support of TCC motion for relief
                             from stay re Tubbs claim(56081079)

06/18/19    Attard, Lauren Revise motion for relief from stay (3.1); draft         600.00       5.30     3,180.00
            T.             declarations in support of the same (1.2);
                           office conferences with Mr. Julian regarding
                           the same (1.0).(56112731)

06/18/19    Bent, Camille C. Participate in strategy meeting regarding             610.00       0.40       244.00
                             motions for relief from stay with Mr. Esmont



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                             and Ms. Kates.(56126791)

06/18/19    Bent, Camille C. Correspond with Mr. Esmont regarding               610.00         0.20        122.00
                             motion for relief plan in PG&E
                             Corporation.(56126794)

06/18/19    Bent, Camille C. Review and analyze Debtors' motion to              610.00         1.10        671.00
                             approve stipulation with California Public
                             Utilities Commission, request relating to
                             automatic stay, and prepare report relating
                             to same.(56126796)

06/18/19    Bent, Camille C. Review and analyze motions for relief filed        610.00         3.80      2,318.00
                             in PG&E Corporation to prepare reports
                             relating to same.(56126799)

06/18/19    Blanchard,       Confer with Mr. Rose regarding his                 650.00         6.00      3,900.00
            Jason I.         comments to the draft motion seeking to lift
                             the automatic stay in connection with
                             conducting research related to the same
                             (.1); conduct research (4.0); draft summary
                             of research (1.8); email correspondence
                             with Ms. Attard regarding the same
                             (.1).(56113394)

06/18/19    Dumas, Cecily Work on bases for relief from stay motion re          950.00         1.50      1,425.00
            A.            Tubbs causation(56120967)

06/18/19    Esmont, Joseph Advise Ms. Attard regarding plan trust               600.00         0.60        360.00
            M.             structures as they relate to motion for relief
                           from stay(56181009)

06/18/19    Julian, Robert   Revise TCC motion for relief from stay to try    1,175.00         3.10      3,642.50
                             Tubbs jury trial personal injury
                             claims(56104962)

06/18/19    Julian, Robert   Review and finalize declarations of              1,175.00         0.40        470.00
                             Campora and Williams in support of TCC
                             motion for relief from stay to try Tubbs fire
                             jury claim(56104964)

06/18/19    Kates, Elyssa S. Call with Mr. Esmont and Ms. Bent                  760.00         0.40        304.00
                             regarding relief stay motion
                             procedures.(56111848)

06/18/19    Kates, Elyssa S. Call with Ms. Bent regarding the stipulation       760.00         0.20        152.00
                             between the debtors and CPUC regarding



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                             stay relief.(56111860)

06/18/19    Kates, Elyssa S. Correspondence with Ms. Green, Mr.                  760.00        0.10         76.00
                             Esmont and Ms. Bent regarding relief stay
                             issues.(56111864)

06/19/19    Attard, Lauren Revise motion for relief from stay (1.6); draft       600.00        2.70      1,620.00
            T.             declarations in support of the same
                           (1.1).(56112728)

06/19/19    Bent, Camille C. Review motion for relief filed by Nextera,          610.00        1.20        732.00
                             and prepare report relating to same in
                             PG&E Corporation matter.(56126943)

06/19/19    Bent, Camille C. Correspond with Ms. Amankwaa regarding              610.00        3.40      2,074.00
                             list of motions for relief filed in PG&E
                             Corporation bankruptcy matter, and review
                             and analyze motions for relief from
                             stay.(56126948)

06/19/19    Bent, Camille C. Correspond with Ms. Kates regarding                 610.00        1.20        732.00
                             Joinder to Nextera's motion for relief from
                             stay and FERC's response to the motion for
                             limited relief from stay, and review
                             same.(56126954)

06/19/19    Bent, Camille C. Correspond with Ms. Kates regarding                 610.00        1.10        671.00
                             Nextera Energy's brief in opposition to the
                             Federal Energy Regulatory Commission's
                             motion for limited relief from stay and review
                             same.(56126956)

06/19/19    Blanchard,       Conduct research related to the draft motion        650.00        0.50        325.00
            Jason I.         seeking to lift the automatic stay.(56113405)

06/19/19    Julian, Robert   Draft declaration of Brendan Kunkle re relief     1,175.00        0.40        470.00
                             from Stay Tubbs(56104972)

06/19/19    Julian, Robert   Revise relief from stay motion re                 1,175.00        3.60      4,230.00
                             Tubbs(56104975)

06/20/19    Attard, Lauren Revise motion for relief from stay (3.4);             600.00        4.00      2,400.00
            T.             office conferences with Mr. Julian regarding
                           the same (.6).(56112724)

06/20/19    Bent, Camille C. Review Cronin motion for relief, Debtors'           610.00        3.60      2,196.00
                             motion to approve stipulation, and Nextera's



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                             motion for relief, analyze same, and prepare
                             report.(56127031)

06/20/19    Esmont, Joseph Work on motion for relief from                        600.00         1.00        600.00
            M.             stay.(56181047)

06/20/19    Julian, Robert   Revise motion for relief from stay for Tubbs      1,175.00         2.30      2,702.50
                             Claims(56104977)

06/20/19    Julian, Robert   Attend working session on motion for relief       1,175.00         1.50      1,762.50
                             for Tubbs claims with Tubbs counsel Mr.
                             Kelly and Mr. Pitre for finalizing
                             motion(56104979)

06/20/19    Julian, Robert   Draft declaration of Kelly for relief from stay   1,175.00         0.50        587.50
                             motion(56104980)

06/20/19    Julian, Robert   Revise motion for relief from stay with           1,175.00         1.80      2,115.00
                             changes suggested by evidence(56104981)

06/20/19    Morris, Kimberly Review and comment on relief from stay              895.00         0.40        358.00
            S.               motion(56126533)

06/21/19    Bent, Camille C. Review Debtors' reply in support of its             610.00         1.00        610.00
                             limited motion for relief from stay in PG&E
                             Corporation, and correspond with Ms. Kates
                             regarding same.(56127122)

06/21/19    Julian, Robert   Revise motion for relief from stay re Tubbs       1,175.00         1.20      1,410.00
                             claims(56126165)

06/24/19    Attard, Lauren Revise motion for relief from stay in                 600.00         1.60        960.00
            T.             preparation for filing.(56112737)

06/24/19    Blanchard,       Edit and proofread draft motion for relief          650.00         2.50      1,625.00
            Jason I.         from the automatic stay or abstention and
                             related declarations (1.2); review case law
                             in connection with the same
                             (1.3).(56150340)

06/24/19    Julian, Robert   Revise TCC motion for relief from stay re         1,175.00         6.20      7,285.00
                             Tubbs claims(56133492)

06/24/19    Julian, Robert   Revise Julian declaration re relief from stay     1,175.00         0.30        352.50
                             motion(56133493)

06/24/19    Kates, Elyssa S. Analysis of order granting stay relief to           760.00         0.20        152.00



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                             proceed with appeal of FERC
                             orders.(56152053)

06/24/19    Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                  760.00         0.20        152.00
                             Bloom, Mr. Julian, Mr. Rose, Ms. Green and
                             others regarding the order granting stay
                             relief to proceed with appeal of FERC
                             orders.(56152054)

06/25/19    Attard, Lauren Revise motion for relief from stay (2.2);             600.00         3.30      1,980.00
            T.             research regarding the same
                           (1.1)(56166503)

06/25/19    Bent, Camille C. Review and analyze docket summary in                610.00         0.10         61.00
                             PG&E case for motions for relief from
                             stay.(56170240)

06/25/19    Blanchard,       Call with Ms. Attard to discuss legal issues        650.00         0.80        520.00
            Jason I.         related to the draft motion for relief from that
                             automatic stay or abstention and related
                             declarations (.1); analyze case law in
                             connection with the same (0.5); draft
                             summary of case law for Ms. Attard
                             (.2)(56150362)

06/25/19    Julian, Robert   Telephone call from Mr. Grassgreen,                1,175.00        0.30        352.50
                             counsel for subro insurers, on motion for
                             relief from stay re Tubbs(56145238)

06/25/19    Julian, Robert   Telephone conversation with Mr. McCallum,          1,175.00        0.50        587.50
                             counsel for subro insurers, re motion for
                             relief from stay(56145239)

06/25/19    Julian, Robert   Review and revise declarations in support of       1,175.00        0.90      1,057.50
                             motion relief from stay re Tubbs
                             Claims(56145240)

06/25/19    Julian, Robert   Revise motion for relief from stay re Tubbs        1,175.00        5.90      6,932.50
                             Claims(56145242)

06/27/19    Attard, Lauren Telephone conference with Mr. Rose                    600.00         6.00      3,600.00
            T.             regarding abstention (.2); research
                           regarding the same (.8); office conferences
                           with Mr. Julian regarding revisions to the
                           motion for relief from stay (2.5); revise the
                           same (2.2); revisions to declarations
                           regarding the same (.3)(56166491)



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06/27/19    Bent, Camille C. Review and analyze motions for relief filed         610.00        2.90      1,769.00
                             in PG&E bankruptcy, and prepare summary
                             chart relating to same.(56174408)

06/27/19    Julian, Robert    Outline revisions to relief from stay motion     1,175.00        0.60        705.00
                              re Tubbs Claims(56145250)

06/27/19    Julian, Robert    Legal research re abstention in mass tort        1,175.00        2.80      3,290.00
                              cases(56145251)

06/27/19    Julian, Robert    Revise motion for relief from stay re Tubbs      1,175.00        4.80      5,640.00
                              Claims(56145252)

06/27/19    Julian, Robert    Revise Kelly declaration re relief from stay     1,175.00        0.20        235.00
                              re Tubbs Claims(56145254)

06/28/19    Bent, Camille C. Review PG&E Docket Summary for motions              610.00        0.10         61.00
                             for relief in PG&E Corporation
                             matter.(56176065)

06/28/19    Dumas, Cecily Review motion for relief from stay to try              950.00        2.50      2,375.00
            A.            Tubbs preference case and Exhibit A
                          plaintiffs and check authorities and
                          arguments(56174589)

06/28/19    Julian, Robert    Legal research Tubbs ref stay                    1,175.00        1.30      1,527.50
                              motion(56175363)

06/28/19    Julian, Robert    Revise Tubbs relief from stay                    1,175.00        1.20      1,410.00
                              motion(56175364)

Automatic Stay(003)                                                                          228.60 181,353.50

06/01/19    Kristiansen, Eric Review Debtor's responses to meet and              685.00        1.10        753.50
            W.                confer requests to date and brief research
                              related to next steps for protective
                              order.(56146891)

06/02/19    Fuller, Lars H.   Review communication from Mr. Orsini               545.00        0.40        218.00
                              regarding notice of deposition and request
                              for production (.1); exchange
                              communications with Mr. Julian and Ms.
                              Morris regarding continuation of hearing and
                              deposition.(55977437)

06/02/19    Morris, Kimberly Strategize re discovery and protective              895.00        0.50       447.50



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            S.                order(55994982)

06/03/19    Fuller, Lars H.   Exchange communications with Mr.                  545.00         6.30      3,433.50
                              Kristiansen regarding Motion for Protective
                              Order (.4); review and analyze
                              communications with Debtors' counsel
                              regarding proposed protective order and
                              disputed language (.5); review and analyze
                              Model Protective Order for ND California
                              (.4); review and analyze protective orders in
                              Judge Mondali cases (.7); draft motion for
                              protective order (3.8); draft Declaration in
                              support of motion for protective order
                              (.5).(55992675)

06/03/19    Kinne, Tanya M. Telephone conference with Mr. Goodman               365.00         0.20         73.00
                            and Ms. Kates regarding Corrected Notice
                            of Hearing on Application of the Official
                            Committee of Tort Claimants Pursuant to 11
                            U.S.C. § 1103 and Fed. R. Bankr. P. 2014
                            and 5002 to Retain and Employ Angeion
                            Group, LLC as Fire Claim Bar Date Noticing
                            Agent Effective as of May 22,
                            2019.(56021767)

06/03/19    Kristiansen, Eric Attend to numerous action items related to        685.00         6.60      4,521.00
            W.                protective order and motion related to same
                              (2.9); attend to numerous action items
                              related to debtor's failure to produce
                              documents (.8); prepare for potential
                              conference with opposing counsel regarding
                              protective order (.3); conference with Ms.
                              Woltering regarding discovery (.1);
                              conference with Mr. Bekier regarding
                              hosting document production (.2); review
                              draft protective order (.4); review analysis
                              and case law related to economic loss
                              doctrine in pure negligence cases under
                              California law (1.6); conference with Mr.
                              Julian regarding status of various action
                              items related to protective order
                              (.3).(56146883)

06/03/19    Landrio, Nikki    Receive and review email from Ms. Lane            420.00         0.60        252.00
            M.                providing critical dates memo and perform
                              validation of dates provided in the memo
                              regarding upcoming hearings against the



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                              deadlines tracked in Compulaw.(56017798)

06/03/19    Sagerman, Eric Communications with Julian re litigation            1,145.00        0.30        343.50
            E.             strategy(56031551)

06/03/19    Woltering,        Call with Mr. Kristensen regarding protective     750.00         0.20        150.00
            Catherine E.      order.(56024172)

06/04/19    Donaho,           Review discovery instruments and                  530.00         5.70      3,021.00
            Thomas A.         communications to date and rely on same
                              for purposes of drafting discovery overview
                              and status report.(56034113)

06/04/19    Dumas, Cecily Review dockets in four pending adversary              950.00         1.00        950.00
            A.            proceedings and directions to monitor two
                          actions(56034068)

06/04/19    Fuller, Lars H.   Communications related to Motion for              545.00         0.40        218.00
                              Protective Order with Mr. Julian, Mr.
                              Kristiansen, Mr. Campora, Ms. Morris, and
                              Ms. Woltering.(55997458)

06/04/19    Fuller, Lars H.   Review communications from Mr. Julian and         545.00         0.30        163.50
                              Mr. Orsini regarding agreed language in
                              proposed order regarding Debtors’ use of
                              customer data.(55999462)

06/04/19    Fuller, Lars H.   Revise and finalize draft Motion for              545.00         0.90        490.50
                              Protective Order;(55999464)

06/04/19    Fuller, Lars H.   Draft email to UCC counsel regarding              545.00         1.20        654.00
                              Motion for Protective Order (.4); review
                              response email and proposed revised
                              protective order (.4); draft response email to
                              Debtors' counsel regarding proposed
                              protective order (.4);(55999465)

06/04/19    Fuller, Lars H.   Review and analyze PG&E 2016                      545.00         2.40      1,308.00
                              shareholder report for estimates of fire
                              damages for use as deposition exhibit (1.9);
                              conference with Mr. Julian regarding
                              deposition (.1); exchange communications
                              with Mr. Orsini regarding deposition
                              rescheduling (.4) .(55999466)

06/04/19    Fuller, Lars H.   Exchange communications with Ms. Morris           545.00         0.70        381.50
                              regarding coordination of discovery (.3);



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                             review communications from Ms. Woltering
                             regarding outstanding discovery and
                             Debtors' responses (.4).(55999533)

06/04/19    Hartman, Ruth Research of the Federal Rules of Civil                470.00         2.00        940.00
            E.            Procedure and expert issues.(56000109)

06/04/19    Kavouras,        Attention to outstanding discovery requests        365.00         1.00        365.00
            Daniel M.        to debtors.(56170138)

06/04/19    Kinne, Tanya M. Telephone conference with Ms. Hammon-               365.00         0.20         73.00
                            Turrano regarding procedures related to
                            discovery, including service of depositions
                            and subpoenas.(56021793)

06/04/19    Kristiansen, Eric Follow up regarding correspondence and            685.00         3.70      2,534.50
            W.                action items related to motion for protective
                              order (.6); review and address action items
                              related to formal and informal discovery
                              requests served on the debtor (.9); review
                              multiple summaries of discovery requests
                              and Debtor's lack of response to same and
                              prepare strategy related to same (1.8);
                              correspondence with client representatives
                              regarding discovery action items
                              (.4).(56146888)

06/04/19    Landrio, Nikki   Email exchanges with Mr. Goodman                   420.00         0.30        126.00
            M.               regarding the committee's bar date motion
                             and filed exhibits (.1) and discussion and
                             email exchanges with Ms. Kinne regarding
                             verification of same in accordance with local
                             and federal bankruptcy rules
                             (.2).(56017833)

06/04/19    Landrio, Nikki   Discussion with Mr. Bekier, Ms. Bookout,           420.00         0.40        168.00
            M.               Mr. McDonald, Ms. Kinne and others
                             regarding document production
                             management.(56017834)

06/04/19    Landrio, Nikki   Email exchanges with Mr. Goodman and               420.00         0.10         42.00
            M.               Ms. Woltering regarding filings completed
                             on June 3, 2019.(56017845)

06/04/19    Landrio, Nikki   Discussion with Mr. Bekier regarding               420.00         0.10         42.00
            M.               protective order and document productions
                             and review email exchanges with Mr.



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                              Kristiansen and Ms. Morris regarding
                              same.(56017826)

06/04/19    Morris, Kimberly Correspondence with plaintiff counsel re            895.00         1.40      1,253.00
            S.               discovery(56038377)

06/04/19    Woltering,        Review and revise motion for protective            750.00         1.00        750.00
            Catherine E.      order.(56024165)

06/04/19    Woltering,        Telephone conference with Mr. Donaho               750.00         0.30        225.00
            Catherine E.      regarding status of pending discovery
                              requests to Debtors.(56024167)

06/04/19    Woltering,        Communications with Ms. Morris, Mr.                750.00         0.70        525.00
            Catherine E.      Kristiansen, and Mr. Fuller regarding
                              outstanding discovery.(56024173)

06/05/19    Attard, Lauren Draft notice for motion of protective order           600.00         0.30        180.00
            T.             (.2); review filings related to the same for
                           compliance with local rules (.1).(56023552)

06/05/19    Donaho,           Draft and revise discovery tracking                530.00         5.20      2,756.00
            Thomas A.         spreadsheet and confer with Ms. Woltering
                              regarding contents of same.(56034114)

06/05/19    Fuller, Lars H.   Finalize motion for protective order (.5);         545.00         1.80        981.00
                              finalize declaration in support of motion for
                              protective order (.3); review procedures for
                              standard and shortening notice (.3); draft
                              email to counsel for Debtors and UCC
                              regarding shortening notice for motion for
                              protective order (.2); draft motion to shorten
                              notice (.2); further revise declaration
                              (.3).(56001954)

06/05/19    Fuller, Lars H.   Meeting with Ms. Morris and Mr. Kavouras           545.00         1.20        654.00
                              regarding outstanding discovery,
                              productions, and coordination of discovery
                              going forward.(56001955)

06/05/19    Fuller, Lars H.   Review communications from Debtors'                545.00         0.40        218.00
                              counsel regarding protective order (.2);
                              review communication from UCC counsel
                              regarding protective order (.1); exchange
                              communications with Mr. Kristiansen
                              regarding protective order (.1).(56001956)




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06/05/19   Greenfield,      Call with K. Morris and D. Martinez                   200.00       0.60      120.00
           Juanita M.       regarding discovery.(56083483)

06/05/19   Hartman, Ruth Research outstanding issues.(56001861)                   470.00       3.40     1,598.00
           E.

06/05/19   Kavouras,        Meeting with internal team regarding                  365.00       6.60     2,409.00
           Daniel M.        outstanding discovery requests (1.1); revise
                            discovery status report (2.5); prioritize
                            additional discovery (1.0); summarize status
                            of discovery issues (2.0).(56170141)

06/05/19   Kinne, Tanya M. Assist in the preparation of Motion of the             365.00       2.20       803.00
                           Official Committee of Tort Claimants for
                           Entry of a Protective Order, Declaration of
                           Lars H. Fuller in Support of Motion of the
                           Official Committee of Tort Claimants for
                           Entry of a Protective Order and Notice of
                           Notice of Motion of the Official Committee of
                           Tort Claimants for Entry of a Protective
                           Order.(56021815)

06/05/19   Kinne, Tanya M. Electronically file and serve Motion of the            365.00       1.20       438.00
                           Official Committee of Tort Claimants for
                           Entry of a Protective Order, Declaration of
                           Lars H. Fuller in Support of Motion of the
                           Official Committee of Tort Claimants for
                           Entry of a Protective Order and Notice of
                           Notice of Motion of the Official Committee of
                           Tort Claimants for Entry of a Protective
                           Order.(56021816)

06/05/19   Landrio, Nikki   Discussion with Ms. Attard regarding                  420.00       0.50       210.00
           M.               coordinating filing of motion for protective
                            order (.2) and discussions and email
                            exchanges with Ms. Kinne to coordinate
                            paralegal assistance for same
                            (.3).(56017876)

06/05/19   Morris, Kimberly Evaluate discovery status and work on                 895.00       1.60     1,432.00
           S.               discovery demands(56038384)

06/05/19   Sproull, Kelsey Review status of discovery requests to                 515.00       2.10     1,081.50
           M.              Debtors including agreements and Court
                           Orders related to same and prepare
                           comprehensive chart documenting status of
                           each request.(56019736)



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06/05/19    Woltering,        Review updated Discovery Tracker                  750.00         0.60        450.00
            Catherine E.      circulated by Mr. Donaho (0.4); conference
                              call with Mr. Donaho regarding same
                              (0.2).(56024171)

06/06/19    Dumas, Cecily Briefing with Julian re relief from stay for          950.00         0.80        760.00
            A.            Tubbs motion (.5); confer with Morris re
                          expert witnesses (.3)(56263350)

06/06/19    Fuller, Lars H.   Review discovery requests communications          545.00         3.70      2,016.50
                              from TCC to Debtors and Debtors
                              responses thereto (2.2); review and analyze
                              Court's order regarding 2004/discovery
                              letter dispute (.2); review and analyze
                              discovery response timing requirements
                              (.4); revise and draft summary of
                              outstanding discovery (.9).(56004710)

06/06/19    Fuller, Lars H.   Draft motion to shorten notice for Motion for     545.00         3.80      2,071.00
                              Protective Order (.4); draft Motion for 2004
                              production of insurance documents (.5);
                              further revise summary of outstanding
                              discovery (.5); draft motion to compel or
                              exclude evidence (2.4).(56004934)

06/06/19    Fuller, Lars H.   Further draft Motion to Compel Discovery or       545.00         2.80      1,526.00
                              Exclude Evidence.(56005046)

06/06/19    Fuller, Lars H.   Review communication from Debtors'                545.00         0.70        381.50
                              counsel regarding non-appearance at
                              deposition (.1); conference with Mr. Julian
                              regarding Debtors' non-appearance at
                              deposition and appropriate next steps (.2);
                              conference with Mr. Julian regarding
                              Debtors' objections, motion to compel, and
                              motion for preclusion (.4).(56263339)

06/06/19    Kavouras,         Update discovery summaries (3.0); draft           365.00         9.80      3,577.00
            Daniel M.         discovery requests to debtor (2.3); review
                              expert models and assumptions (2.1);
                              meeting with experts to discuss
                              assumptions and modeling (2.4).(56170145)

06/06/19    Kinne, Tanya M. Prepare and file Certificate of Service of          365.00         0.40        146.00
                            Motion of the Official Committee of Tort
                            Claimants for Entry of a Protective



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                              Order.(56021818)

06/06/19    Landrio, Nikki    Email exchanges with Ms. Hammon-Turano             420.00         0.20         84.00
            M.                regarding the rescheduling of deposition of
                              Debtors' representative and updating
                              Compulaw regarding same.(56017889)

06/06/19    Morris, Kimberly Evaluate new discovery                              895.00         1.20      1,074.00
            S.               demands(56038391)

06/07/19    Fuller, Lars H.   Review and revise draft Motion to Compel           545.00         1.10        599.50
                              (.2); exchange communications with Ms.
                              Morris regarding hearing setting (.2);
                              exchange communications with Ms. Morris
                              regarding filing Motion to Compel (.4); draft
                              communication to Debtors counsel
                              regarding Motion to Compel (.3).(56008819)

06/07/19    Fuller, Lars H.   Draft proposed order for Motion to Compel          545.00         1.70        926.50
                              (.5); exchange communications with Ms.
                              Morris and Mr. Julian regarding Motion to
                              Compel (.5); revise Motion to Compel
                              (.7).(56009281)

06/07/19    Fuller, Lars H.   Review and revise draft Motion to                  545.00         0.50        272.50
                              Compel.(56006020)

06/07/19    Kavouras,         Revise Rule 2004 application (1.2);                365.00         3.00      1,095.00
            Daniel M.         research cases for discovery motions
                              (1.8).(56170149)

06/07/19    Kinne, Tanya M. Review and revise Ex Parte Application of            365.00         0.50        182.50
                            the Official Committee of Tort Claimants
                            Pursuant to Federal Rule of Bankruptcy
                            Procedure 2004 for Orders Authorizing
                            Production of Documents.(56021829)

06/08/19    Kates, Elyssa S. Correspondence with Ms. Morris and Mr.              760.00         0.20        152.00
                             Fuller regarding the debtors' motion for
                             entry of a protective order.(56020214)

06/08/19    Kates, Elyssa S. Review of motion for protective order and           760.00         0.40        304.00
                             supporting documents.(56020215)

06/08/19    Kavouras,         Revise discovery summaries reflecting              365.00         0.80        292.00
            Daniel M.         current status of discovery
                              requests.(56170151)



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06/10/19    Brown, Arielle L. Research regarding federal and state             360.00         3.50      1,260.00
                              caselaw and administrative decisions
                              related to use of customer data.(56038665)

06/10/19    Fuller, Lars H.   Review communications from Mr. Campora           545.00         1.20        654.00
                              and Mr. Julian regarding Debtors' Motion for
                              Protective Order (.2); review
                              communications from Mr. Julian and Ms.
                              McLellan regarding privacy issue (.2);
                              review and analyze issues pending for June
                              and July omnibus hearing dates (.5); review
                              and analyze Amended Case Management
                              Order (.3).(56016015)

06/10/19    Fuller, Lars H.   Review informal discovery                        545.00         1.00        545.00
                              requests.(56018354)

06/10/19    Kavouras,         Review and revise discovery                      365.00         1.90        693.50
            Daniel M.         correspondence and motions.(56170159)

06/10/19    McLellan,         Review and analyze customer data                 765.00         1.50      1,147.50
            Melinda L.        disclosure restrictions.(56078937)

06/11/19    Bent, Camille C. Review correspondence from Ms. Attard             610.00         0.20        122.00
                             relating to the summary of the June 11,
                             2019 hearing in the PG&E Corporation
                             matter.(56084706)

06/11/19    Brown, Arielle L. Research regarding enforcement actions           360.00         1.00        360.00
                              against companies for misusing customer
                              data.(56078241)

06/11/19    Dumas, Cecily Several emails to Fuller, et al re discovery         950.00         1.00        950.00
            A.            and orders(56055102)

06/11/19    Fuller, Lars H.   Review and analyze Case Management               545.00         2.70      1,471.50
                              Order (.2); review and analyze telephonic
                              hearing procedures (.2); review and analyze
                              pending motions for hearing (.4); review and
                              analyze PG&E motion for protective order
                              and related filings (.6); review and analyze
                              discovery summary spreadsheet (.5);
                              teleconference with Ms. Morris, Mr.
                              Kavouras, and Ms. Greenfield regarding
                              outstanding discovery issues (.3); review
                              and analyze discovery productions from



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                              PG&E (.5).(56037387)

06/11/19    Fuller, Lars H.   Exchange communications with Mr. Julian           545.00         1.80        981.00
                              regarding filing issues (.1); exchange
                              communications with Mr. Edmonton
                              regarding e-discovery (.2); review draft
                              summary of discovery status (.4); draft
                              summary for Mr. Julian and Ms. Morris of
                              discovery status, next steps, and discovery
                              needed (1.1).(56039002)

06/11/19    Hartman, Ruth Continue to research and draft                        470.00         3.80      1,786.00
            E.            memorandum on expert
                          disclosures.(56033342)

06/11/19    Kavouras,         Review data room documents (1.3);                 365.00         3.60      1,314.00
            Daniel M.         summarize discovery status (0.8);
                              correspondence with team regarding
                              discovery issues (1.3); call with Ms. Morris
                              to discuss expert model.(56170160)

06/11/19    Kinne, Tanya M. Review notice requirements of Motion of the         365.00         0.20         73.00
                            Official Committee of Tort Claimants for
                            Entry of a Protective Order.(56122730)

06/11/19    Kinne, Tanya M. Review numerous email questions from                365.00         0.50        182.50
                            team regarding procedures (.10); review
                            local rules regarding filing procedures (.30);
                            draft response to team re same
                            (.10).(56122731)

06/11/19    Kinne, Tanya M. Participate in email exchange with Mr.              365.00         0.50        182.50
                            Julian and Mr. Fuller (.20); review, revise
                            and upload Order on Ex Parte Application of
                            the Official Committee of Tort Claimants
                            Pursuant to Federal Rule of Bankruptcy
                            Procedure 2004 for Orders Authorizing
                            Production of Documents (.30).(56122746)

06/11/19    Morris, Kimberly Call re PGE request for deposition and             895.00         0.50        447.50
            S.               discovery(56080244)

06/11/19    Morris, Kimberly Call re discovery motions(56080245)                895.00         0.40       358.00
            S.

06/11/19    Morris, Kimberly Strategy call re affirmative                       895.00         0.60        537.00
            S.               discovery(56080251)



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06/11/19    Morris, Kimberly Correspondence with team re filing                895.00         0.30        268.50
            S.               procedures(56080252)

06/12/19    Fuller, Lars H.   Exchange communications with Mr.                 545.00         1.40        763.00
                              Kavouras and Ms. Morris regarding status
                              of discovery (.2); review matters set for
                              hearing for June (.4); review and analyze
                              Herndon et al. v. PG&E complaint (.2);
                              review and analyze PG&E motion to dismiss
                              (.4); review hearing setting (.2).(56044626)

06/12/19    Fuller, Lars H.   Exchange communications with Mr. Julian          545.00         2.10      1,144.50
                              and Mr. Goodman regarding witness
                              availability for depositions (.2); exchange
                              communications with Mr. Goodman
                              regarding letter to PG&E counsel regarding
                              discovery requests and discovery of Prime
                              Clerk (.4); review and analyze Dion and
                              Weisbrot declarations (.7); draft response
                              letter to discovery requests (.8).(56263365)

06/12/19    Hartman, Ruth Continue to draft memorandum on expert               470.00         1.30        611.00
            E.            discovery and attorney
                          communications.(56044714)

06/12/19    Kinne, Tanya M. Participate in email exchange with Mr.             365.00         0.10         36.50
                            Kavouras regarding service of Ex Parte
                            Application of the Official Committee of Tort
                            Claimants Pursuant to Federal Rule of
                            Bankruptcy Procedure 2004 for Orders
                            Authorizing Production of
                            Documents.(56122740)

06/13/19    Fuller, Lars H.   Review communication from PG&E                   545.00         0.60        327.00
                              regarding discovery production (.4);
                              exchange communications with Mr. Julian
                              regarding same (.1); draft email to Ms.
                              Greenfield regarding same (.1).(56047422)

06/13/19    Fuller, Lars H.   Exchange communications with Ms. Kates           545.00         0.70        381.50
                              regarding entry of appearance by Singleton
                              (.1); review Singleton entry of appearance
                              (.1); exchange communications with Ms.
                              Greenfield regarding document production
                              (.1); exchange communications with Ms.
                              Morris regarding order for 2004 (.1);



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                              teleconference with Ms. Kates regarding
                              Herndon and Singleton (.1); exchange
                              communications with Ms. Greenfield
                              regarding document production and review
                              from PG&E production (.2).(56049965)

06/13/19    Fuller, Lars H.   Review and analyze Herndon adversary               545.00         2.00      1,090.00
                              docket (.2); review and analyze Herndon
                              amended complaint (.4); review and analyze
                              PG&E motion to dismiss (.5); review and
                              analyze PG&E declaration and state court
                              complaints (.7); teleconference with Ms.
                              Kates regarding intervention issue
                              (.2).(56054568)

06/13/19    Fuller, Lars H.   Exchange communications with Mr. Julian            545.00         1.70        926.50
                              regarding response to Weil Gotshal (.2);
                              review email from Weil Gotshal regarding
                              depositions and documents (.1); draft
                              response to Weil Gotshal on deposition
                              dates and document production (.4); revise
                              communications to Weil Gotshal regarding
                              depositions and document production (.2);
                              review and analyze Declarations of
                              Weisbrot, Dion, Schrag, and Waisman
                              (.8).(56049966)

06/13/19    Fuller, Lars H.   Exchange communications with Ms.                   545.00         0.70        381.50
                              Greenfield regarding document production
                              and review from PG&E production (.2);
                              review status of Rule 2004 motion, order
                              granting motion (.2); draft email to Ms.
                              Kinne regarding service of order (.1); draft
                              email to Ms. Landrio and Ms. Morris
                              regarding PG&E response deadline
                              (.2).(56049967)

06/13/19    Greenfield,       Review and organize PG&E production;               200.00         7.80      1,560.00
            Juanita M.        code production for review.(56083504)

06/13/19    Julian, Robert    Draft reply email re discovery to                1,175.00         0.30        352.50
                              Weil(56060427)

06/13/19    Julian, Robert    Review discovery emails with Mr. Fuller and      1,175.00         0.70        822.50
                              Mr. Goodman and respond(56060428)

06/13/19    Kates, Elyssa S. Preparation of summary regarding the                760.00         1.80      1,368.00



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                             Herndon adversary proceeding.(56071587)

06/13/19    Kates, Elyssa S. Address potential issues regarding the             760.00        1.30        988.00
                             Herndon plaintiffs' opposition to the motion
                             to dismiss.(56071588)

06/13/19    Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                 760.00        0.30        228.00
                             Julian, Ms. Morris, Ms. Green, Mr. Rose,
                             Mr. Fuller and Mr. Kristiansen and others
                             regarding the Herndon adversary
                             proceeding.(56071589)

06/13/19    Kates, Elyssa S. Call with Mr. Fuller regarding the Herndon         760.00        0.10         76.00
                             adversary proceeding.(56071592)

06/13/19    Kinne, Tanya M. Serve Order Granting the Ex Parte                   365.00        0.30        109.50
                            Application of the Official Committee of Tort
                            Claimants Pursuant to Federal Rule of
                            Bankruptcy Procedure 2004 for Orders
                            Authorizing Production of
                            Documents.(56122766)

06/13/19    Landrio, Nikki   Receive and review email exchanges with            420.00        0.30        126.00
            M.               Mr. Fuller, Ms. Greenfield, Mr. McDonald
                             and others in litigation support regarding
                             Relativity database set up for storage of
                             documents produced by the
                             Debtors.(56062121)

06/13/19    Morris, Kimberly Analyze recent discovery requests and              895.00        0.50        447.50
            S.               strategize re same(56080265)

06/13/19    Morris, Kimberly Correspond with discovery team re recent           895.00        0.20        179.00
            S.               discovery order(56080267)

06/13/19    Morris, Kimberly Strategize re discovery.(56080268)                 895.00        0.10         89.50
            S.

06/14/19    Dumas, Cecily Meetings with plaintiffs' counsel, Lincoln,           950.00        6.80      6,460.00
            A.            DSI re preparation of mediation with
                          Debtors (4.); participate in mediation
                          proceedings with J Weinstein, Debtors'
                          counsel and representatives, Lazard
                          (2.8)(56055080)

06/14/19    Dumas, Cecily Review Kates report on Herndon AVP and                950.00        0.70        665.00
            A.            directions for strategy on same(56055081)



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06/14/19    Fuller, Lars H.   Review and analyze Herndon objection to           545.00         1.00        545.00
                              PG&E motion to dismiss (.4); review and
                              analyze notice of hearing and objection
                              deadline (.1); teleconference with Ms. Kates
                              regarding intervention issue (.3); draft email
                              to Ms. Dumas regarding intervention
                              (.2).(56054576)

06/14/19    Fuller, Lars H.   Teleconference with Ms. Kates regarding           545.00         1.60        872.00
                              Herndon adversary (.2); exchange
                              communications with Ms. Dumas regarding
                              Herndon adversary (.1); review and analyze
                              Singleton Firm filings (.4); review and
                              analyze ad hoc committee filings for
                              noteholders, subrogation claimants, and tort
                              claimants (.5); review and analyze filings of
                              UCC (.4).(56055116)

06/14/19    Greenfield,       Assist with preparation of PG&E production        200.00         6.90      1,380.00
            Juanita M.        for attorney review.(56083506)

06/14/19    Kates, Elyssa S. Call with Mr. Fuller regarding the Herndon         760.00         0.20        152.00
                             adversary proceeding.(56071618)

06/14/19    Kates, Elyssa S. Correspondence with Ms. Dumas and Mr.              760.00         0.10         76.00
                             Fuller regarding the Herndon adversary
                             proceeding.(56071619)

06/14/19    Kavouras,         Attention to various discovery issues             365.00         1.00        365.00
            Daniel M.         concerning Herndon.(56170175)

06/14/19    Kinne, Tanya M. Review email correspondence from counsel            365.00         0.20         73.00
                            to Ad Hoc Committee of Unsecured Tort
                            Claimant Creditors (.10); draft email
                            correspondence to Mr. Fuller regarding
                            same (.10).(56122773)

06/15/19    Greenfield,       Review production documents to PG&E's             200.00         6.00      1,200.00
            Juanita M.        first production to update discovery
                              chart.(56083493)

06/15/19    Kristiansen, Eric Review analysis related to Herndon                685.00         0.90        616.50
            W.                adversary proceeding.(56146895)

06/16/19    Fuller, Lars H.   Review and analyze Elward v. PG&E                 545.00         3.40      1,853.00
                              adversary complaint (.3). review and



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                              analyze Herndon v. PG&E docket (.3);
                              review and analyze Herndon complaint (.4);
                              review and analyze PG&E motion to dismiss
                              (.4); review and analyze Herndon objection
                              to motion to dismiss (.4); review and
                              analyze case law on intervention (.8); draft
                              summary of analysis of Herndon suit
                              (.8)(56055235)

06/16/19    Greenfield,       Review and code document production and          200.00         5.50      1,100.00
            Juanita M.        review documents produced for requests
                              28, 29, and 32 to populate and code
                              database.(56083511)

06/16/19    Kates, Elyssa S. Correspondence with Mr. Julian, Ms.               760.00         0.10         76.00
                             Dumas, Mr. Fuller and others regarding the
                             Herndon adversary proceeding.(56111826)

06/16/19    Morris, Kimberly Strategize re outstanding                         895.00         0.40        358.00
            S.               discovery(56080278)

06/17/19    Dumas, Cecily Review summary and recommendations on                950.00         0.80        760.00
            A.            Herndon adversary proceeding(56063054)

06/17/19    Fuller, Lars H.   Exchange communications with Mr. Julian,         545.00         0.40        218.00
                              Ms. Dumas, and Ms. Green regarding
                              Herndon class action.(56063096)

06/17/19    Fuller, Lars H.   Review and analyze objections to UCC             545.00         1.40        763.00
                              discovery requests (.5); exchange
                              communications with Mr. Julian regarding
                              objections to UCC discovery requests (.4);
                              exchange communications with Ms.
                              Greenfield, Mr. Kristiansen, and Ms. Morris
                              regarding discovery received and discovery
                              summary (.5).(56059622)

06/17/19    Greenfield,       Complete coding of production database;          200.00         0.50        100.00
            Juanita M.        call re Discovery with D.
                              Kavouras.(56083513)

06/17/19    Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                760.00         0.40        304.00
                             Julian, Mr. Kristiansen, Ms. Green and Mr.
                             Esmont regarding the Elward adversary
                             proceeding.(56111833)

06/17/19    Kates, Elyssa S. Call with Mr. Rose regarding adversary            760.00         0.40        304.00



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                              proceeding issues.(56111840)

06/17/19    Kates, Elyssa S. Call with Ms. Attard regarding the Herndon        760.00         0.20        152.00
                             adversary proceeding.(56111841)

06/17/19    Kates, Elyssa S. Call with Ms. Dumas regarding the Herndon         760.00         0.30        228.00
                             motion to dismiss.(56111843)

06/17/19    Kavouras,         Review incoming discovery requests (0.6);        365.00         2.30        839.50
            Daniel M.         draft summary chart to track all incoming
                              discovery (1.7).(56170177)

06/18/19    Esmont, Joseph Analysis of Herndon adversary                       600.00         1.50        900.00
            M.             proceeding.(56181003)

06/18/19    Fuller, Lars H.   Review filings by Subrogation Committee          545.00         2.70      1,471.50
                              (.4); review communication from UCC
                              counsel regarding addition to proposed
                              protective order (.2); review status of
                              discovery requests (.2); exchange
                              communications with R. Julian regarding
                              status of 2004 regarding insurance policies
                              (.2); review and analyze Rule 2019
                              requirements (.2); teleconference with Ms.
                              Kates regarding objection to Singleton entry
                              of appearance (.1); exchange
                              communications with Mr. Campora and Ms.
                              Cordova regarding proposed modification to
                              protective order (.5); exchange
                              communications with Mr. Campora
                              regarding declaration and testimony related
                              to protective order (.4); exchange
                              communications with Mr. Julian and Ms.
                              Morris regarding discovery status and
                              recent production (.5).(56083150)

06/18/19    Julian, Robert    Review and revise TCC objection to UCC         1,175.00         0.30        352.50
                              request for production of
                              documents(56104963)

06/18/19    Julian, Robert    Review Weil email on producing deponents       1,175.00         0.30        352.50
                              and advice Lars Fuller on TCC position for
                              reply(56104967)

06/18/19    Kates, Elyssa S. Call with Ms. Kinne regarding the amount of       760.00         0.10         76.00
                             notice required for a procedures
                             motion.(56111852)



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06/18/19    Kates, Elyssa S. Analysis of complaint filed against the             760.00         1.90      1,444.00
                             Public Employees Retirement Association of
                             New Mexico and York County.(56111867)

06/18/19    Kates, Elyssa S. Correspondence regarding complaint filed            760.00         0.10         76.00
                             against the Public Employees Retirement
                             Association of New Mexico and York
                             County.(56111868)

06/18/19    Kavouras,         Attention to discovery status updates,             365.00         2.00        730.00
            Daniel M.         including outstanding requests to
                              debtors.(56170183)

06/18/19    Morris, Kimberly Direct legal research re wrongful death             895.00         0.70        626.50
            S.               claims(56126505)

06/18/19    Morris, Kimberly Correspondence with discovery Team re               895.00         1.30      1,163.50
            S.               PGE productions and review(56126507)

06/18/19    Morris, Kimberly Correspondence with discovery Team re               895.00         0.50        447.50
            S.               privilege(56126508)

06/19/19    Bekier, James Telephone call with Ms Morris and others               495.00         0.90        445.50
            M.            regarding debtors productions.(56086248)

06/19/19    Donaho,           Participate in teleconference with Discovery       530.00         0.90        477.00
            Thomas A.         Team regarding debtor's
                              production.(56120450)

06/19/19    Fuller, Lars H.   Review Subrogation Committee brief in              545.00         6.50      3,542.50
                              support of protective order (.2); exchange
                              communications with Mr. McCallen
                              regarding same (.2); review and analyze
                              discovery produced by PG&E (.5);
                              exchange communications with CPUC
                              counsel regarding modification to proposed
                              protective order (.2); teleconference with
                              Ms. Morris, Mr. Kavouras, Ms. Sproull, and
                              Mr. Donoho regarding PG&E production
                              review (.9); conference with Ms. Morris
                              regarding discovery of Butte County sheriff
                              causation analysis (.2); review and analyze
                              state court litigation status and references in
                              Herndon adversary, Singleton filings, and
                              PG&E SOFA (1.2); draft Declaration for
                              Steve Campora in support of motion for



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                              protective order (1.1); exchange
                              communications with Ms. Cordova
                              regarding state court JCCP proceedings (.2)
                              [4.7]; revise and further draft discovery to
                              PG&E regarding SEC filings and claim
                              settlements (.8); exchange communications
                              with Mr. Julian regarding status of discovery
                              (.4); review production letter from PG&E
                              regarding D&O policies (.2); draft email to
                              Ms. Greenfield regarding new production
                              (.2); draft email to Discovery Team
                              regarding review of first production
                              (.2).(56091397)

06/19/19    Fuller, Lars H.   Review and analyze UCC filing on                 545.00         0.30        163.50
                              protective order (.2); exchange
                              communications with Mr. Julian regarding
                              same (.1).(56091400)

06/19/19    Fuller, Lars H.   Review and analyze PG&E filings regarding        545.00         1.20        654.00
                              protective order and Declaration of Mr.
                              Slack (.5); review and analyze cases cited
                              by PG&E in support of protective order
                              (.7).(56091407)

06/19/19    Greenfield,       Call with litigation team regarding              200.00         3.50        700.00
            Juanita M.        productions; coding second debtors
                              production.(56135628)

06/19/19    Hartman, Ruth Further research and edits to memo                   470.00         0.90        423.00
            E.            regarding expert discovery.(56088251)

06/19/19    Julian, Robert    Review and comment on expert                    1,175.00        0.40        470.00
                              compensation motion(56104969)

06/19/19    Kates, Elyssa S. Correspondence with Ms. Green, Mr.                760.00         0.10         76.00
                             Esmont, Ms. Moser and Ms. Lane regarding
                             the debtors' adversary proceeding against
                             the Public Employees Association of New
                             Mexico and York County.(56111874)

06/19/19    Kavouras,         Analyze debtor discovery                         365.00         2.00        730.00
            Daniel M.         productions.(56170187)

06/19/19    Landrio, Nikki    Email exchanges with Mr. Esmont regarding        420.00         0.20         84.00
            M.                new adversary proceeding comments and
                              updating case systems and data bases for



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                              tracking same.(56105935)

06/19/19    Landrio, Nikki    Email exchanges with Ms. Kates regarding         420.00         0.20         84.00
            M.                summary concerning filing of new adversary
                              proceeding and maintenance of same on
                              document management system for case
                              wide information.(56105938)

06/19/19    Morris, Kimberly Call with discovery team re PGE                   895.00         0.90        805.50
            S.               productions(56126510)

06/19/19    Morris, Kimberly Review PGE correspondence re                      895.00         0.30        268.50
            S.               discovery(56126511)

06/19/19    Morris, Kimberly Follow up meeting Mr. Kavouras re                 895.00         0.20        179.00
            S.               response to PGE discovery(56126512)

06/19/19    Morris, Kimberly Correspondence re second production from          895.00         0.20        179.00
            S.               PGE(56126521)

06/19/19    Morris, Kimberly Strategize re discovery requests(56126522)        895.00         0.50       447.50
            S.

06/19/19    Sproull, Kelsey Begin analysis of debtors' productions to          515.00         7.40      3,811.00
            M.              date.(56107433)

06/19/19    Sproull, Kelsey Telephone conference with Discovery Team           515.00         0.90        463.50
            M.              regarding debtors' productions.(56107434)

06/20/19    Fuller, Lars H.   Exchange communications with Ms. Dumas           545.00         1.60        872.00
                              and Ms. Kates regarding filings on
                              protective order (.4); review and analyze
                              Herndon amended complaint (.3); review
                              and analyze PG&E reply to motion to
                              dismiss Herndon complaint (.3); review and
                              analyze PG&E proposed order of dismissal
                              of Herndon complaint (.1); review and
                              analyze Nexterra objection to protective
                              order (.3); draft summary of objections to
                              protective order (.4).(56091403)

06/20/19    Hartman, Ruth Continue to research and draft memo                  470.00         2.20      1,034.00
            E.            regarding expert disclosures.(56092602)

06/20/19    Sproull, Kelsey Continue analysis of debtors' productions to       515.00         6.50      3,347.50
            M.              date.(56107439)




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06/21/19   Bookout,          Review production volume two dashboards           250.00        0.60        150.00
           Kimberly M.       and metrics (.3); update case management
                             production tracker regarding same
                             (.3)(56144648)

06/21/19   Donaho,           Review debtor's production and draft              530.00         4.80      2,544.00
           Thomas A.         correspondence to debtor's counsel
                             regarding deficiencies in said
                             production.(56120452)

06/21/19   Fuller, Lars H.   Teleconference with Ms. Morris regarding          545.00         2.50      1,362.50
                             discovery production (.1); draft email to Ms.
                             Sproull regarding discovery production (.1);
                             teleconference with Mr. Kristiansen
                             regarding discovery production (.1); draft
                             email to Ms. Sproull regarding discovery
                             production (.1); review email from Mr.
                             Kavouras regarding discovery production
                             (.1); exchange emails with Mr. Kavouras
                             regarding discovery production (.1); review
                             and analyze summary of discovery
                             production (.7); exchange communications
                             with Mr. Kavouras, Ms. Sproull, and Ms.
                             Morris regarding discovery production (.5);
                             draft summary of Vol. 1 and Vol. 2
                             production (.7).(56096063)

06/21/19   Fuller, Lars H.   Review and analyze protective orders from         545.00         1.00        545.00
                             Judge Montali cites by PG&E.(56102926)

06/21/19   Fuller, Lars H.   Review communication from Ms. Sproull             545.00         1.50        817.50
                             regarding PG&E confidentiality designations
                             from production and designations (.4); draft
                             email to Ms. Dumas and Mr. Julian
                             regarding protective order hearing (.2);
                             review and analyze NextEra objection to
                             protective orders (.2); draft email to NextEra
                             counsel regarding undisputed issues (.2);
                             review and analyze objections of the
                             California State Agencies to protective order
                             motions (.3); teleconference with Ms. Morris
                             regarding discovery production (.1); draft
                             email to Ms. Sproull and Mr. Donoho
                             regarding discovery review (.1).(56096061)

06/21/19   Greenfield,       Assist with review and coding of production       200.00         1.00        200.00
           Juanita M.        documents.(56154763)



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06/21/19    Hartman, Ruth Revisions to memorandum about expert                    470.00         2.30      1,081.00
            E.            disclosures in discovery.(56098349)

06/21/19    Julian, Robert    Review debtor and TCC discovery disputes          1,175.00         0.80        940.00
                              and draft direction memo to Baker litigation
                              team, Mr. Fuller and Ms. Morris(56126164)

06/21/19    Kavouras,         Call with valuation experts regarding model         365.00         1.50        547.50
            Daniel M.         and assumptions.(56170194)

06/21/19    Mazoch, Jo Ann Research insurance and indemnity                       250.00         1.00        250.00
            M.             proceeds in California.(56098125)

06/21/19    Morris, Kimberly Analyze PGE production(56126536)                     895.00         0.50       447.50
            S.

06/21/19    Morris, Kimberly Strategy emails with discovery team re PGE           895.00         0.80        716.00
            S.               production and response(56126537)

06/21/19    Morris, Kimberly Correspondence with plaintiff lawyers re             895.00         0.30        268.50
            S.               PGE production(56126538)

06/21/19    Morris, Kimberly Strategize re affirmative discovery                  895.00         0.60        537.00
            S.               plan(56126541)

06/21/19    Sproull, Kelsey Prepare letter to plaintiffs regarding                515.00         1.20        618.00
            M.              productions to date.(56107445)

06/21/19    Sproull, Kelsey Continue analysis of debtors' productions to          515.00         4.70      2,420.50
            M.              date.(56107446)

06/22/19    Sproull, Kelsey Continue analysis of debtors' productions to          515.00         1.40        721.00
            M.              date.(56107450)

06/24/19    Fuller, Lars H.   Review and analyze proposed resolution              545.00         5.60      3,052.00
                              language from PG&E regarding disputed
                              protective orders (.8); draft email to PG&E
                              counsel regarding proposed resolution (.5);
                              drafted email to counsel for Subrogation
                              Committee counsel regarding proposed
                              resolution (.2); exchange communications
                              with Mr. Kavouras and Ms. Morris regarding
                              production deficiency letter to PG&E (.4);
                              review and analyze draft production
                              deficiency letter to PG&E (.4); exchange
                              communications with Mr. Julian and Ms.



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                              Morris regarding draft settlement discovery
                              (.4); review and analyze PG&E SEC filing
                              disclosures regarding fire claim estimates
                              and SEC investigation (1.2); revise draft
                              discovery to address SEC investigation (.5);
                              conference with Ms. Morris regarding
                              protective order issues (.4); draft email to
                              Ms. Martinez regarding protective order
                              research needed (.4); exchange
                              communications with Ms. Morris and Ms.
                              Kates regarding party positions on
                              protective order (.4).(56105401)

06/24/19    Fuller, Lars H.   Review and analyze PG&E filings and              545.00         1.20        654.00
                              declarations in support of PG&E protective
                              order and objection to TCC protective
                              order.(56112346)

06/24/19    Kavouras,         Draft and revise discovery                       365.00         3.00      1,095.00
            Daniel M.         correspondence.(56170197)

06/24/19    Mazoch, Jo Ann Research insurance and indemnity                    250.00         2.30        575.00
            M.             proceeds in California.(56139652)

06/24/19    Morris, Kimberly Evaluate PGE productions(56176381)                895.00         0.90       805.50
            S.

06/24/19    Morris, Kimberly Work on response to discovery                     895.00         2.60      2,327.00
            S.               deficiencies.(56176384)

06/24/19    Morris, Kimberly Evaluate confidentiality issues(56176385)         895.00         0.20       179.00
            S.

06/24/19    Morris, Kimberly Work on discovery requests to                     895.00         0.60        537.00
            S.               PGE(56176387)

06/24/19    Morris, Kimberly Strategize with Mr. Julian re informal            895.00         0.30        268.50
            S.               discovery(56176388)

06/24/19    Morris, Kimberly Correspondence with subro insurers re             895.00         0.20        179.00
            S.               informal discovery(56176389)

06/24/19    Morris, Kimberly Evaluate responses to protective order            895.00         0.40        358.00
            S.               motion(56176391)

06/25/19    Donaho,           Review and analyze documents produced            530.00         3.10      1,643.00
            Thomas A.         by the Debtor in response to discovery



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                              requests.(56169530)

06/25/19    Esmont, Joseph Call with Mr. Kavouras regarding status of          600.00         0.20        120.00
            M.             damages analysis.(56181189)

06/25/19    Hartman, Ruth Finalize memorandum regarding expert                 470.00         2.10        987.00
            E.            disclosures.(56123136)

06/25/19    Julian, Robert    Review discovery requests and instruct          1,175.00        0.70        822.50
                              team on follow up with debtors
                              counsel(56145241)

06/25/19    Kavouras,         Draft and revise discovery                       365.00         1.70        620.50
            Daniel M.         correspondence.(56170199)

06/25/19    Kavouras,         Create data matrix for experts (1.0); analyze    365.00         4.10      1,496.50
            Daniel M.         potential expert witnesses (1.8); call with
                              expert witnesses to discuss damages model
                              inputs (1.3).(56170200)

06/25/19    Kristiansen, Eric Review information regarding other lawsuits      685.00         2.70      1,849.50
            W.                filed against debtor and its
                              executives.(56153430)

06/25/19    Mazoch, Jo Ann Research insurance and indemnity                    250.00         2.40        600.00
            M.             proceeds in California.(56139653)

06/25/19    Morris, Kimberly Respond to committee inquiries(56176397)          895.00         0.70       626.50
            S.

06/25/19    Sproull, Kelsey Continue analysis of debtors' productions to       515.00         2.50      1,287.50
            M.              date.(56169484)

06/26/19    Donaho,           Conduct research regarding potential expert      530.00         6.50      3,445.00
            Thomas A.         witnesses and confer with Mr. Kavouras
                              regarding same on telephone
                              conference.(56169531)

06/26/19    Esmont, Joseph Analysis of common interest agreement and           600.00         2.20      1,320.00
            M.             impact on damages analysis(56181193)

06/26/19    Fuller, Lars H.   Exchange communications with Mr. Esser,          545.00         2.40      1,308.00
                              counsel for objecting parties, Ms. Morris,
                              Mr. Julian, Mr. Rose, and Mr. de Ghetaldi,
                              related to protective order and remaining
                              disputed provisions.(56137996)




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06/26/19   Fuller, Lars H.   Exchange communications with counsel for          545.00        2.50       1,362.50
                             Subrogation Committee regarding resolution
                             of objection (.2); exchange communications
                             with counsel for NextEra regarding status of
                             objection with PG&E (.2); preparation for
                             hearing on protective orders (1.5);
                             conference with counsel for Fire Victim
                             Creditors regarding continuing objection
                             (.1); conference with counsel for PG&E
                             regarding proposed order (.1); conference
                             with counsel for Subrogation Committee
                             regarding remaining issue (.1); conference
                             with Ms. Morris regarding discovery dispute
                             letter to PG&E (.1).(56137995)

06/26/19   Greenfield,       Attend group call regarding discovery             200.00         0.50        100.00
           Juanita M.        review.(56176679)

06/26/19   Kates, Elyssa S. Correspondence with Mr. Julian regarding           760.00         0.10         76.00
                            the amended complaint in the Herndon
                            adversary proceeding.(56152074)

06/26/19   Kristiansen, Eric Continue to attend to discovery issues            685.00         3.10      2,123.50
           W.                created by Debtor’s obstructive and dilatory
                             tactics.(56153421)

06/26/19   Kristiansen, Eric Review research and correspondence                685.00         0.60        411.00
           W.                related to experts.(56153424)

06/26/19   Kristiansen, Eric Address numerous action items related to          685.00         2.60      1,781.00
           W.                discovery from debtor.(56153429)

06/26/19   Sproull, Kelsey Continue analysis of debtors' productions to        515.00         1.40        721.00
           M.              date.(56169490)

06/26/19   Sproull, Kelsey Telephone conference with Mr. Kavouras,             515.00         0.30        154.50
           M.              Mr. Donaho and Ms. Martinez regarding
                           potential experts.(56169491)

06/26/19   Sproull, Kelsey Begin analysis of potential                         515.00         2.70      1,390.50
           M.              experts.(56169492)

06/27/19   Fuller, Lars H.   Exchange communications with Mr. Julian           545.00         4.20      2,289.00
                             and Ms. Dumas regarding protective order
                             (.4); review communications from objectors
                             to protective order (.2); conference with Ms.
                             Morris regarding discovery needed (.2);



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                              exchange communications with Ms. Kates
                              regarding protective order hearing and
                              status (.2); exchange communications with
                              Mr. de Ghetaldi regarding protective order
                              (.2); draft notice of deposition and
                              deposition topics for PG&E for estimation
                              and settlement data (2.2); revise requests
                              for production of documents from PG&E for
                              estimation and settlement data (.6);
                              conference with Mr. Julian regarding draft
                              discovery (.2).(56137997)

06/27/19    Fuller, Lars H.   Review discovery issued by UCC (.4);               545.00         1.20        654.00
                              review and analyze remaining objections to
                              protective order (.4); review and analyze
                              deficiencies in PG&E discovery productions
                              (.4).(56139193)

06/27/19    Fuller, Lars H.   Review and analyze discovery served by             545.00         1.70        926.50
                              UCC (.5); analyze discovery objection
                              issues (.4); review and analyze discovery
                              production from PG&E (.4); exchange
                              communications with Ms. Morris, Ms.
                              Greenfield, Mr. McDonald, and Mr.
                              Kavouras regarding PG&E production
                              (.4).(56145153)

06/27/19    Fuller, Lars H.   Review communications from Ms. Morris              545.00         0.40        218.00
                              and Mr. Kristiansen related to discovery
                              deficiencies (.2); draft transmittal
                              communications to PG&E counsel regarding
                              discovery and conferral (.2)(56139194)

06/27/19    Julian, Robert    Prepare for call with subro insurer counsel      1,175.00         0.40        470.00
                              re plan and Tubbs Claims(56145255)

06/27/19    Kavouras,         Draft discovery timeline (1.0); draft and          365.00         5.50      2,007.50
            Daniel M.         revise discovery correspondence (2.3);
                              review discovery productions and
                              correspondence with debtors
                              (2.2).(56170205)

06/27/19    Kinne, Tanya M. Serve Notice of Examination and Request              365.00         0.30        109.50
                            for Production of Documents on counsel to
                            PG&E.(56170480)

06/27/19    Kristiansen, Eric Review insurance policies.(56153419)               685.00         2.40      1,644.00



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            W.

06/27/19    Morris, Kimberly Work on discovery demands and meet and            895.00         2.50      2,237.50
            S.               confer letter relating to same(56176376)

06/27/19    Sproull, Kelsey Continue analysis of debtors' productions to       515.00         1.60        824.00
            M.              date.(56169495)

06/28/19    Donaho,           Review and analyze documents produced            530.00         4.40      2,332.00
            Thomas A.         by Debtor.(56169534)

06/28/19    Dumas, Cecily Email Morris re retention of                         950.00         0.30        285.00
            A.            experts(56174585)

06/28/19    Fuller, Lars H.   Exchange communications with Mr. Bekier,         545.00         6.30      3,433.50
                              Mr. McDonald, regarding PG&E production
                              Vol. 3 (.5); teleconference with Mr.
                              Kristiansen and Mr. Kleber regarding
                              discovery issues (.2); exchange
                              communications with Ms. Morris and Mr.
                              Kavouras regarding PG&E production Vol. 3
                              (.4); review and analyze revised proposed
                              protective order (.5); exchange
                              communications with Mr. Vora regarding
                              UCC approval of proposed protective order
                              (.2); exchange communications with Mr.
                              Minga regarding approval of protective
                              order (.2); exchange communications with
                              Ms. Kates regarding status of protective
                              order (.2); exchange communications with
                              Mr. Troy (USA) regarding status of
                              protective order (.2); exchange
                              communications with Ms. Kates and Ms.
                              Lane regarding status of Herndon adversary
                              (.2); exchange communications with Ms.
                              Morris and Mr. McDonald regarding
                              confidential designations in PG&E
                              production Vol. 3 (.4); review
                              communications from Ms. Morris and
                              Lincoln International regarding productions
                              from PG&E (.2); exchange communications
                              with Mr. Orsini regarding production
                              deficiency response (.2); draft email to Mr.
                              Julian regarding UCC discovery (.2);
                              exchange communications with Mr.
                              Workman regarding UCC discovery issue
                              (.2); review PG&E production Vol. 3



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                              (2.7).(56147088)

06/28/19    Kavouras,         Review insurance policies produced by            365.00         6.90      2,518.50
            Daniel M.         debtors (5.5); research on potential experts
                              (1.4)(56170206)

06/28/19    Kristiansen, Eric Review and attend to issues related to third     685.00         6.30      4,315.50
            W.                party contracts, contractor insurance
                              policies and debtor’s insurance policies
                              (4.2); review and brief research on bases for
                              motion to compel (1.7); conference with Mr.
                              Kleber re same (.4).(56153416)

06/28/19    McCabe,           Telephone call with K. Morris re valuation       630.00         1.40        882.00
            Bridget S.        data for experts (.5); telephone call with K.
                              Morris and D. Kavouras re same (.4); review
                              and analyze valuation data for experts
                              (.5).(56173851)

06/28/19    Morris, Kimberly Evaluate new PGE production(56176404)             895.00         0.50       447.50
            S.

06/28/19    Morris, Kimberly Correspondence with Discovery Team re             895.00         0.50        447.50
            S.               protective order(56176406)

06/29/19    Fuller, Lars H.   Review and analyze production deficiency         545.00         2.10      1,144.50
                              response letter from PG&E (.9); review and
                              analyze productions from PG&E
                              (1.2).(56147112)

06/29/19    McCabe,           Review and analyze valuation data for            630.00         4.50      2,835.00
            Bridget S.        experts.(56174074)

06/30/19    Fuller, Lars H.   Work on PG&E deficiency response letter          545.00         1.00        545.00
                              from PG&E.(56147113)

06/30/19    Morris, Kimberly Review PGE discovery response and work            895.00         1.40      1,253.00
            S.               on discovery meet and confer(56176407)

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06/01/19    Morris, Kimberly Review pleadings re claims form and bar           895.00         0.70        626.50
            S.               date(55994981)

06/01/19    Morris, Kimberly Correspondence with DSI re Compass                895.00         0.60        537.00
            S.               Lexcon data on claims(55994986)




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06/01/19   Morris, Kimberly Correspondence re economic damage                   895.00       0.20        179.00
           S.               recovery decision(55994987)

06/01/19   Rose, Jorian L. Review subcontractor agreement Expert for          1,010.00        0.80        808.00
                           claims information.(55974958)

06/02/19   Attard, Lauren Telephone conference with Mr. Goodman                 600.00        0.20        120.00
           T.             regarding objection to bar date
                          motion.(55981842)

06/02/19   Julian, Robert    Review DSI claims models in preparation          1,175.00        0.70        822.50
                             for call with DSI(55978636)

06/02/19   Julian, Robert    Telephone call with Mr. Sharp (DSI) and          1,175.00        0.90      1,057.50
                             Ms. Morris re claims charts and meeting to
                             prepare them(55978637)

06/02/19   Morris, Kimberly Review and comment on materials from DSI            895.00        1.20      1,074.00
           S.               re claims valuation(55994983)

06/02/19   Morris, Kimberly Communication with DSI re                           895.00        1.30      1,163.50
           S.               claims(55994984)

06/03/19   Attard, Lauren Draft outline regarding postpetition                  600.00        0.70        420.00
           T.             claims.(56023558)

06/03/19   Dumas, Cecily Review leading cases on mass tort claims               950.00        2.30      2,185.00
           A.            estimation using pre-bankruptcy settlement
                         amounts(55997943)

06/03/19   Dumas, Cecily Review strategic options for Tubbs with                950.00        0.50        475.00
           A.            Julian(55997948)

06/03/19   Dumas, Cecily Review revised late claims memo (.4); email            950.00        0.60        570.00
           A.            Green re further research (.2)(55997950)

06/03/19   Dumas, Cecily Analyze Sonoma Clean Power and Placer                  950.00        1.20      1,140.00
           A.            objections to Debtors' bar date motion re
                         future claims.(55997951)

06/03/19   Fuller, Lars H.   Exchange communications with Mr. Julian            545.00        0.30        163.50
                             regarding Bar Date motion deposition (.2);
                             draft email to Mr. Orsini regarding bar date
                             motion deposition (.1).(55992676)

06/03/19   Fuller, Lars H.   Teleconference with Ms. Morris and Mr.             545.00        0.20        109.00
                             Kavouras regarding historic settlement of



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                             claims analysis for Butte, North End, and
                             Camp Fires.(55995668)

06/03/19    Goodman, Eric Review objections to the TCC's claim form              800.00        6.00      4,800.00
            R.            motion (1.7); review case law in support of
                          the TCC's claim form motion (1.5);
                          telephone call with counsel for Camp Fire
                          Claimants regarding joinder to the TCC's
                          bar date motion (.2); review and edit
                          amended notice for TCC's bar date motion
                          (.3); draft and edit outline for reply in
                          support of TCC's claim form motion
                          (2.3).(56014556)

06/03/19    Green,           Review documents regarding SEC filings by           720.00        1.10        792.00
            Elizabeth A.     PG&E regarding fire liability as relevant to
                             claims.(56012043)

06/03/19    Green,           Review amended Notice of Hearing                    720.00        0.20        144.00
            Elizabeth A.     regarding TCC claims form for
                             filing.(56012044)

06/03/19    Julian, Robert   Attend meeting with claims expert DSI re          1,175.00        3.80      4,465.00
                             estimating value of wildfire
                             claims(56037149)

06/03/19    Kates, Elyssa S. Preparation of amended notice of hearing            760.00        0.20        152.00
                             regarding the TCC's bar date
                             motion.(56020119)

06/03/19    Kavouras,        Meeting with expert witnesses to discuss            365.00        4.90      1,788.50
            Daniel M.        claims valuation models (3.7); investigate
                             individual TCC claims (1.2).(56170133)

06/03/19    Morris, Kimberly Attend meeting with DSI re claims                   895.00        3.50      3,132.50
            S.               valuation(56038357)

06/03/19    Morris, Kimberly Follow up calls with DSI re claims valuation        895.00        0.40        358.00
            S.               work(56038359)

06/03/19    Morris, Kimberly Correspond with committee member                    895.00        0.30        268.50
            S.               lawyers re claims valuation(56038360)

06/03/19    Morris, Kimberly Research on economic damage                         895.00        0.20        179.00
            S.               decision(56038364)

06/03/19    Morris, Kimberly Strategize with Mr. Goodman re replies to           895.00        0.30        268.50



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            S.                bar date motions(56038366)

06/03/19    Woltering,        Review objections to the TCC's claim form           750.00         8.90      6,675.00
            Catherine E.      motion (1.7); review case law in support of
                              the TCC's claim form motion (1.5);
                              telephone calls with Mr. Goodman regarding
                              reply in support of TCC's claim form motion
                              (0.8); review and edit amended notice for
                              TCC's bar date motion and related
                              correspondence with Mr. Goodman and Ms.
                              Kates (0.3); draft and edit outline for reply in
                              support of TCC's claim form motion (1.5);
                              research case law for use in drafting reply
                              brief in support of TCC's claim form motion
                              (3.1).(56024163)

06/04/19    Attard, Lauren Research post petition claims and due                  600.00         3.30      1,980.00
            T.             process issues (3.0); telephone conference
                           with Mr. Esmont regarding the same
                           (.3).(56023556)

06/04/19    Dumas, Cecily Confer with Julian re future claims analysis            950.00         1.00        950.00
            A.            and review cases(56034070)

06/04/19    Fuller, Lars H.   Review outstanding discovery.(55999463)             545.00         0.30        163.50

06/04/19    Goodman, Eric Research case law for reply in support of               800.00         8.70      6,960.00
            R.            motion to approve model claim form (2.2);
                          telephone call with Ms. Skikos regarding
                          reply in support of motion to approve model
                          claim form (.2); draft and edit reply in
                          support of motion to approve model claim
                          form (5.1); further review of objections to
                          PG&E's bar date motion (1.0);
                          communications with the US Trustee's
                          office regarding the TCC's bar date motion
                          (.2).(56014559)

06/04/19    Green,            Telephone conference with Kim Morris and            720.00         0.60        432.00
            Elizabeth A.      Jacob Ravich regarding SEC statements of
                              PG&E related to fire liability.(56012002)

06/04/19    Green,            Meeting with Jacob Ravich related to SEC            720.00         0.60        432.00
            Elizabeth A.      statements and fire liability.(56012004)

06/04/19    Green,            Review sampling of quarterly statements             720.00         0.80        576.00
            Elizabeth A.      related to fire liability.(56012005)



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06/04/19    Green,           Review statements to include in analysis of       720.00         0.40        288.00
            Elizabeth A.     SEC statements related to fire
                             liability.(56012006)

06/04/19    Kavouras,        Research on recovery of business                  365.00         1.00        365.00
            Daniel M.        losses.(56170139)

06/04/19    Kinne, Tanya M. Prepare and file Certificate of Service of         365.00         0.50        182.50
                            Motion of the Official Committee of Tort
                            Claimants Pursuant to 11 U.S.C. §§ 105(a),
                            501, and Fed R. Bankr. P. 3001(a), 3003(c),
                            5005 and 9007 for Entry of an Order (I)
                            Establishing a Bar Date for Filing Fire
                            Claims, (II) Approving the Form and
                            Procedures for Notice of the Bar Date for
                            Filing Fire Claims, and (III) Approving
                            Supplemental Procedures for Notice of the
                            Bar Date to Fire Claimants.(56021789)

06/04/19    Kinne, Tanya M. Prepare and file Certificate of Service of         365.00         0.30        109.50
                            Application of the Official Committee of Tort
                            Claimants Pursuant to 11 U.S.C. § 1103
                            and Fed. R. Bankr. P. 2014 and 5002 to
                            Retain and Employ Angeion Group, LLC as
                            Fire Claim Bar Date Noticing Agent
                            Effective as of May 22, 2019.(56021790)

06/04/19    Kinne, Tanya M. Prepare and file Certificate of Service of Ex      365.00         0.30        109.50
                            Parte Motion of the Official Committee of
                            Tort Claimants Pursuant to B.L.R. 9006-1
                            Requesting Order Shortening Time for
                            Hearing on Motion Pursuant to 11 U.S.C. §§
                            105(a), 501 and Fed. R. Bankr. P. 3001(a),
                            3003(a), 5005 and 9007 for Entry of an
                            Order (I) Establishing A Bar Date for Filing
                            Fire Claims, (II) Approving the Form and
                            Procedures for Notice of the Bar Date for
                            Fire Claims, and (III) Approving
                            Supplemental Procedures for Notice of the
                            Bar Date to Fire Claimants.(56021791)

06/04/19    Kinne, Tanya M. Prepare Chambers copies of Motion of the           365.00         0.40        146.00
                            Official Committee of Tort Claimants
                            Pursuant to 11 U.S.C. §§ 105(a), 501, and
                            Fed R. Bankr. P. 3001(a), 3003(c), 5005
                            and 9007 for Entry of an Order (I)



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                             Establishing a Bar Date for Filing Fire
                             Claims, (II) Approving the Form and
                             Procedures for Notice of the Bar Date for
                             Filing Fire Claims, and (III) Approving
                             Supplemental Procedures for Notice of the
                             Bar Date to Fire Claimants (.20); draft
                             transmittal letter to Judge Montali
                             (.20).(56021832)

06/04/19    Kinne, Tanya M. Prepare Chambers copies of Application of          365.00         0.40        146.00
                            the Official Committee of Tort Claimants
                            Pursuant to 11 U.S.C. § 1103 and Fed. R.
                            Bankr. P. 2014 and 5002 to Retain and
                            Employ Angeion Group, LLC as Fire Claim
                            Bar Date Noticing Agent Effective as of May
                            22, 2019 (.20); draft transmittal letter to
                            Judge Montali (.20).(56021833)

06/04/19    Kinne, Tanya M. Prepare Chambers copies of Certificate of          365.00         0.40        146.00
                            Service of Ex Parte Motion of the Official
                            Committee of Tort Claimants Pursuant to
                            B.L.R. 9006-1 Requesting Order Shortening
                            Time for Hearing on Motion Pursuant to 11
                            U.S.C. §§ 105(a), 501 and Fed. R. Bankr. P.
                            3001(a), 3003(a), 5005 and 9007 for Entry
                            of an Order (I) Establishing A Bar Date for
                            Filing Fire Claims, (II) Approving the Form
                            and Procedures for Notice of the Bar Date
                            for Fire Claims, and (III) Approving
                            Supplemental Procedures for Notice of the
                            Bar Date to Fire Claimants (.20); draft
                            transmittal letter to Judge Montali
                            (.20).(56021834)

06/04/19    Morris, Kimberly Telephone conversation with Mr.                   895.00         0.50        447.50
            S.               Kristiansen re discovery(56038373)

06/04/19    Morris, Kimberly Telephone conversation with Ms. Green re          895.00         0.40        358.00
            S.               PG&E statements in public filings re fire
                             liability.(56038374)

06/04/19    Morris, Kimberly Telephone conversations with Mr. Goodman          895.00         0.60        537.00
            S.               re claims form motions(56038375)

06/04/19    Morris, Kimberly Telephone conversation with plaintiff             895.00         0.40        358.00
            S.               counsel re document
                             repositories(56038376)



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06/04/19    Morris, Kimberly Correspond with plaintiff counsel re claims       895.00         2.20      1,969.00
            S.               valuation(56038378)

06/04/19    Morris, Kimberly Work with DSI on claims                           895.00         1.40      1,253.00
            S.               valuation(56038379)

06/04/19    Morris, Kimberly Review summary of PGE statements re               895.00         0.20        179.00
            S.               claims valuations(56038380)

06/04/19    Morris, Kimberly Call regarding summary of PGE statements          895.00         0.20        179.00
            S.               re claims valuations(56038381)

06/04/19    Rose, Jorian L. Review subcontractor agreement for               1,010.00         0.50        505.00
                            Expert.(56000942)

06/04/19    Woltering,       Telephone conference with Mr. Goodman             750.00         1.20        900.00
            Catherine E.     regarding strategy for reply in support of
                             TCC's motion for entry of an order
                             approving a Fire Proof of Claim
                             Form.(56024166)

06/04/19    Woltering,       Research, review, and analyze case law for        750.00         6.10      4,575.00
            Catherine E.     use in Committee's reply in further support
                             of its motion for a fire proof of claim form,
                             and begin outlining brief arguments based
                             on same.(56024168)

06/04/19    Woltering,       Email exchanges with Mr. Goodman and              750.00         0.10         75.00
            Catherine E.     Ms. Landrio confirming filings completed on
                             June 3, 2019.(56024176)

06/05/19    Attard, Lauren Telephone conference with Ms. Kates                 600.00         6.60      3,960.00
            T.             regarding postpetition claims (.2); research
                           regarding the same (1.6) ; office
                           conferences with Mr. Julian regarding the
                           same (1); telephone conference with Mr.
                           Goodman regarding the same (.2); draft
                           responsive pleading regarding the same
                           (3.8).(56023554)

06/05/19    Blanchard,       Review research memorandum related to             650.00         0.30        195.00
            Jason I.         the filing of claims and their treatment in
                             preparation to discuss the same.(56016596)

06/05/19    Dumas, Cecily Analyze estimation issues.(56035344)                 950.00         1.00        950.00
            A.



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06/05/19    Goodman, Eric Edit and revise reply in support of motion to        800.00         8.20      6,560.00
            R.            approve model claim form (4.8); review and
                          analyze case law cited in PG&E's objection
                          to motion to approve model claim form (2.4);
                          telephone call with the US Trustee
                          regarding motion to approve notice
                          procedures (.5); communications with Ms.
                          Woltering regarding arguments in support of
                          reply brief on claim form motion
                          (.5).(56014562)

06/05/19    Green,           Telephone conference with Jason                   720.00         0.50        360.00
            Elizabeth A.     Blanchard regarding analysis related to
                             filing of late claims memo.(56011985)

06/05/19    Green,           Review claims analysis memo related to            720.00         0.60        432.00
            Elizabeth A.     filing of late claims.(56011986)

06/05/19    Green,           Telephone conference with Bob Julian,             720.00         0.30        216.00
            Elizabeth A.     Jason Blanchard regarding claims
                             estimation process issues.(56011987)

06/05/19    Green,           Review estimation issues.(56011988)               720.00         0.70       504.00
            Elizabeth A.

06/05/19    Kates, Elyssa S. Call with Ms. Attard regarding the TCC and        760.00         0.20        152.00
                             Debtors' proofs of claim form and responses
                             to their motions.(56020167)

06/05/19    Kinne, Tanya M. Prepare and file Certificate of Service of         365.00         0.30        109.50
                            Amended Notice of Hearing on Motion of
                            the Official Committee of Tort Claimants
                            Pursuant to 11 U.S.C. §§ 105(a), 501 and
                            Fed. R. Bankr. P. 3001(a), 3003(c), 5005
                            and 9007 for Entry of an Order (I)
                            Establishing a Bar Date for Filing Fire
                            Claims, (II) Approving the Form and
                            Procedures for Notice of the Bar Date for
                            Fire Claims, and (III) Approving
                            Supplemental Procedures for Notice of the
                            Bar Date to Fire Claimants.(56021810)

06/05/19    Kinne, Tanya M. Prepare and file Certificate of Service of         365.00         0.30        109.50
                            Corrected Notice of Hearing on Application
                            of the Official Committee of Tort Claimants
                            Pursuant to 11 U.S.C. § 1103 and Fed. R.



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                              Bankr. P. 2014 and 5002 to Retain and
                              Employ Angeion Group, LLC as Fire Claim
                              Bar Date Noticing Agent Effective as of May
                              22, 2019.(56021837)

06/05/19    Morris, Kimberly Telephone conversation with plaintiff               895.00        2.20      1,969.00
            S.               counsel re claims valuations(56038382)

06/05/19    Morris, Kimberly Work with DSI on claims                             895.00        3.20      2,864.00
            S.               valuation(56038383)

06/05/19    Morris, Kimberly Telephone conversation with plaintiff               895.00        1.00        895.00
            S.               counsel re ghost ship claims(56038386)

06/05/19    Morris, Kimberly Telephone conversation re Tubbs                     895.00        0.30        268.50
            S.               liability(56038387)

06/05/19    Rose, Jorian L. Research estimation.(56002779)                     1,010.00        0.40       404.00

06/05/19    Woltering,        Review and analysis of filings and                 750.00        1.30        975.00
            Catherine E.      transcripts for use in connection with
                              preparing reply brief in support of TCC's
                              motion to approve model claim
                              form.(56024169)

06/05/19    Woltering,        Edit and revise reply in support of motion to      750.00        9.70      7,275.00
            Catherine E.      approve model claim form (4.1); review and
                              analyze case law cited in PG&E's objection
                              to motion to approve model claim form (2.2);
                              research case law for reply in support of
                              motion to approve model claim form (2.9);
                              communications with Mr. Goodman
                              regarding arguments in support of reply
                              brief on claim form motion (0.5).(56024177)

06/06/19    Blanchard,        Conference with Ms. Dumas and Ms. Green            650.00        0.70        455.00
            Jason I.          regarding research related to claims matters
                              and case strategy.(56016607)

06/06/19    Dumas, Cecily Review and analysis of claims estimation in            950.00        2.50      2,375.00
            A.            mass tort cases (2.3); email Cabraser re
                          model for estimation in mass tort bankruptcy
                          cases and experts (.2).(56035897)

06/06/19    Fuller, Lars H.   Review and analyze Debtors' objections to          545.00        0.40        218.00
                              requested Bar Date discovery.(56004709)




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06/06/19   Goodman, Eric Draft and edit reply in support of motion to          800.00        7.60       6,080.00
           R.            approve model claim form (4.5); further
                         review of case law in support of motion to
                         approve model claim form (1.5); research
                         for reply in support of motion to approve
                         model claim form (1.2); telephone call with
                         Mr. Skikos regarding reply in support of
                         motion to approve model claim form and
                         related matters (.4).(56014564)

06/06/19   Green,           Review issues related to press releases of         720.00         0.70        504.00
           Elizabeth A.     PG&E on liability for fires.(56011974)

06/06/19   Green,           Review SEC chart related to liability for          720.00         0.60        432.00
           Elizabeth A.     fires.(56011975)

06/06/19   Green,           Telephone conference with Jason                    720.00         0.40        288.00
           Elizabeth A.     Blanchard regarding late filed claims
                            analysis.(56011976)

06/06/19   Green,           Telephone conference with Cecily Dumas             720.00         0.60        432.00
           Elizabeth A.     and Jason Blanchard regarding late filed
                            claims.(56011979)

06/06/19   Morris, Kimberly Calls with Plaintiff counsel re claims             895.00         2.80      2,506.00
           S.               valuation(56038388)

06/06/19   Morris, Kimberly Review and edit brief re claims                    895.00         0.80        716.00
           S.               form(56038389)

06/06/19   Morris, Kimberly Work on claims valuation with                      895.00         2.40      2,148.00
           S.               DSI(56038390)

06/06/19   Woltering,       Review and revise reply in support of              750.00         6.60      4,950.00
           Catherine E.     motion to approve model claim form (4.0);
                            further review of case law in support of
                            motion to approve model claim form
                            (2.6).(56024179)

06/07/19   Dumas, Cecily Review and revise reply memo on claim                 950.00         1.50      1,425.00
           A.            form and noticing motion(56036790)

06/07/19   Goodman, Eric Edit and revise reply in support of motion to         800.00         7.60      6,080.00
           R.            approve model proof of claim form (6.3);
                         review FTI bills in connection with drafting of
                         reply brief (.5); telephone calls with Ms.
                         Morris regarding motion to short notice on



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                             motion to compel and related matters (.4);
                             communications with Mr. Skikos regarding
                             reply brief (.2); communications regarding
                             notice of continued hearing on motion to
                             approve model claim form (.2).(56014566)

06/07/19    Green,           Review chart of SEC comments regarding            720.00         0.80        576.00
            Elizabeth A.     fire liability by PG&E.(56011961)

06/07/19    Julian, Robert   Telephone conversation with counsel Mr.         1,175.00         0.30        352.50
                             Pitre re estimation(56037170)

06/07/19    Julian, Robert   Telephone conversation with TCC member          1,175.00         0.80        940.00
                             Mr. Carlson and counsel Mr. Kunkle re
                             estimation of claims(56037172)

06/07/19    Kates, Elyssa S. Correspondence with Ms. Morris regarding          760.00         0.10         76.00
                             claims issues.(56020192)

06/07/19    Kates, Elyssa S. Review of the docket for claims.(56020193)        760.00         0.30        228.00

06/07/19    Kates, Elyssa S. Correspondence with Mr. Goodman and               760.00         0.10         76.00
                             Ms. Woltering regarding the motion to
                             approve the TCC proof of claim
                             form.(56020202)

06/07/19    Kates, Elyssa S. Preparation of amended notice of hearing          760.00         0.30        228.00
                             on motion for approval of fire proof of claim
                             form.(56020203)

06/07/19    Kates, Elyssa S. Correspondence with PG&E filings and Mr.          760.00         0.10         76.00
                             Goodman regarding the amended notice of
                             hearing on the motion to approve the model
                             fire proof of claim form.(56020205)

06/07/19    Kates, Elyssa S. Preparation of motion requesting hearing on       760.00         2.60      1,976.00
                             shortened notice regarding the TCC's
                             motion to compel discovery relevant to the
                             debtors' bar date motion.(56020208)

06/07/19    Kates, Elyssa S. Correspondence with Ms. Morris and Ms.            760.00         0.30        228.00
                             Kinne regarding discovery issues in
                             connection with the debtors' bar date
                             motion.(56020209)

06/07/19    Kates, Elyssa S. Call with Ms. Morris and Ms. Kinne                760.00         0.40        304.00
                             regarding Judge Montali's discovery



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                             procedures, the motion to compel and
                             related matters.(56020211)

06/07/19    Kinne, Tanya M. Participate in email exchange with Ms.              365.00         0.40        146.00
                            Kates and Mr. Goodman regarding filing of
                            Amended Notice of Hearing on Motion of
                            the Official Committee of Tort Claimants
                            Pursuant to 11 U.S.C. §§ 105(a) and 501
                            and Fed. R. Bankr. P. 3001(a) for Entry of
                            an Order Approving Proposed Model Proof
                            of Claim Form for Fire Claims and Related
                            Procedures (Dkt. No. 1824) (.20); review
                            and revise same for filing (.20).(56021830)

06/07/19    Kinne, Tanya M. Electronically file and serve Amended               365.00         0.20         73.00
                            Notice of Hearing on Motion of the Official
                            Committee of Tort Claimants Pursuant to 11
                            U.S.C. §§ 105(a) and 501 and Fed. R.
                            Bankr. P. 3001(a) for Entry of an Order
                            Approving Proposed Model Proof of Claim
                            Form for Fire Claims and Related
                            Procedures (Dkt. No. 1824).(56021831)

06/07/19    Morris, Kimberly Review plaintiff counsel correspondence re         895.00         0.30        268.50
            S.               claims form and respond to
                             same(56038409)

06/07/19    Morris, Kimberly Correspondence with Lincoln re                     895.00         0.20        179.00
            S.               valuation(56038410)

06/07/19    Morris, Kimberly Review summary of debtor statements re             895.00         0.50        447.50
            S.               claims valuation(56038412)

06/07/19    Morris, Kimberly Correspondence re summary of debtor                895.00         0.10         89.50
            S.               statements re claims valuation(56038413)

06/07/19    Morris, Kimberly Correspondence with DSI re compass                 895.00         0.30        268.50
            S.               data(56038414)

06/07/19    Morris, Kimberly Telephone call with DSI re valuation               895.00         0.60        537.00
            S.               data(56038415)

06/07/19    Woltering,       Edit and revise reply in support of motion to      750.00         9.20      6,900.00
            Catherine E.     approve model proof of claim form (5.8);
                             review case law in connection with drafting
                             reply in support of motion to approve model
                             proof of claim form (2.3); review court filings



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                              and fee applications in connection with
                              drafting of reply brief (0.6).; communications
                              with Mr. Goodman regarding reply in
                              support of motion to approve model proof of
                              claim form (0.5).(56024181)

06/08/19    Dumas, Cecily Emails Campora, Goodman, Green re                       950.00       0.30        285.00
            A.            family claims(56031629)

06/08/19    Green,            Review California claims settlement statute         720.00       0.60        432.00
            Elizabeth A.      related to minors.(56011952)

06/08/19    Green,            Telephone conference with Eric Goodman              720.00       0.60        432.00
            Elizabeth A.      regarding multiply claimants on claim
                              form.(56011953)

06/08/19    Green,            Review rule 3001 and official                       720.00       0.70        504.00
            Elizabeth A.      comments.(56011954)

06/08/19    Green,            Review California joint tenant                      720.00       0.60        432.00
            Elizabeth A.      issues.(56011955)

06/08/19    Julian, Robert    Telephone conversation with DSI claims            1,175.00       0.80        940.00
                              expert Mr. Sharp on claims
                              analysis(56037173)

06/08/19    Morris, Kimberly Telephone conversations with DSI and                 895.00       1.30      1,163.50
            S.               Lincoln re claims valuation(56038419)

06/08/19    Morris, Kimberly Telephone conversation with Mr. Goodman              895.00       0.20        179.00
            S.               re claims form(56038420)

06/09/19    Morris, Kimberly Telephone conversation with DSI re claims            895.00       0.40        358.00
            S.               valuation(56038421)

06/10/19    Dumas, Cecily Review Orsini letter re discovery, TCC claim            950.00       0.70        665.00
            A.            form (.3); review emails re discovery
                          demand on notice procedures
                          (.4)(56030603)

06/10/19    Fuller, Lars H.   Teleconference with Ms. Kates regarding             545.00       0.90        490.50
                              motion to shorten time (.5); review Debtors'
                              motion for protective order and motion
                              shortening time (.4).(56017433)

06/10/19    Fuller, Lars H.   Review letter from Mr. Orsini regarding             545.00       1.80        981.00
                              stipulation to TCC claim form (.5); review



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                             revised draft motion to compel (.5); review
                             communication from Mr. Julian regarding
                             motion to compel (.1); review
                             communication from Mr. Julian regarding
                             Debtors' stipulation to TCC claim form and
                             analyze discovery issue (.4); analyze effect
                             of Orsini letter on Motion to Compel (.2);
                             review communication from Mr. Skikos
                             regarding Orsini letter (.1).(56016014)

06/10/19    Goodman, Eric Review model proof of claim form per                 800.00         6.10      4,880.00
            R.            comments from the US Trustee and other
                          parties (1.7); telephone call with Ms.
                          Woltering regarding Orsini letter and related
                          matters (.5); telephone call with Mr. Julian
                          regarding letter from Mr. Orsini (.1); draft
                          email to Mr. Julian and Ms. Dumas
                          regarding Mr. Orsini letter and open issues
                          (.3); telephone call with Ms. Kates regarding
                          claim form and related matters (.6);
                          telephone call with Mr. Skikos regarding
                          Orsini letter (.1); further review of objections
                          to PG&E's claim form and related
                          procedures (2.8).(56057923)

06/10/19    Green,           Meeting with Joe Esmont regarding                 720.00         0.80        576.00
            Elizabeth A.     members of the committee and nature of
                             their claims.(56053697)

06/10/19    Green,           Review and revise draft of future claims          720.00         0.60        432.00
            Elizabeth A.     memo.(56053698)

06/10/19    Green,           Review claims related to Ghostship                720.00         0.80        576.00
            Elizabeth A.     victims.(56053699)

06/10/19    Green,           Analyze claims estimation                         720.00         0.20        144.00
            Elizabeth A.     issues.(56053702)

06/10/19    Green,           Review ghost fire issues related to               720.00         0.80        576.00
            Elizabeth A.     insurance claims.(56053703)

06/10/19    Green,           Review letter from Mr. Orsini related to          720.00         0.30        216.00
            Elizabeth A.     claim form.(56053705)

06/10/19    Julian, Robert   Legal research re estimation of                 1,175.00         0.80        940.00
                             claims(56049938)




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06/10/19   Julian, Robert    Review Mr. Orsini letter re dropping              1,175.00        0.30        352.50
                             objection to TCC claim form and pending
                             related discovery(56049940)

06/10/19   Julian, Robert    Draft status report on Orsini letter to           1,175.00         0.40        470.00
                             TCC(56049941)

06/10/19   Kates, Elyssa S. Call with Mr. Goodman regarding the bar              760.00         0.40        304.00
                            date proof of claim, related discovery and
                            pending motions.(56071556)

06/10/19   Morris, Kimberly Correspondence with DSI re compass                   895.00         0.30        268.50
           S.               lexicon(56080234)

06/10/19   Morris, Kimberly Review PGE letter re claims                          895.00         0.30        268.50
           S.               form(56080235)

06/10/19   Woltering,        Telephone conference with Mr. Goodman               750.00         0.50        375.00
           Catherine E.      regarding letter from Debtors on discovery
                             related to the Bar Date motions.(56114413)

06/10/19   Woltering,        Review correspondence from Debtors                  750.00         0.20        150.00
           Catherine E.      regarding the Committee's motion to compel
                             discovery related to the Bar Date Motion in
                             connection with drafting reply in support of
                             the TCC's motion to approve the fire
                             claimant proof of claim form.(56114416)

06/11/19   Dumas, Cecily Email Pascuzzi re agencies request for                  950.00         0.40        380.00
           A.            documents re claims(.2); email Goodman re
                         coordination with state agencies on
                         discovery from Debtors re
                         claims(.2)(56055107)

06/11/19   Esmont, Joseph Prepare report for Ms. Morris regarding                600.00         1.50        900.00
           M.             estimation issues.(56180710)

06/11/19   Fuller, Lars H.   Review and analyze PG&E discovery                   545.00         2.70      1,471.50
                             requests (.5); exchange communications
                             with Mr. Julian and Mr. Goodman regarding
                             discovery requests re claims (.5);
                             teleconference with Mr. Julian, Mr.
                             Goodman, and Angeion regarding discovery
                             requests (.3); review and analyze document
                             production response issues (.5); coordinate
                             deposition timing and notice issues (.4);
                             analyze outstanding discovery issues from



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                             TCC bar date procedures motion
                             (.5).(56037388)

06/11/19    Goodman, Eric Edit and revise reply in support of claim              800.00         6.40      5,120.00
            R.            form motion (.7); conference with Mr. Skikos
                          regarding claim form motion and related
                          matters (2.0); communications with Ms.
                          Cabraser regarding deposition notices and
                          related matters (.3); revise proposed order
                          on bar date motion per comments from the
                          California Attorney General's Office and
                          draft email to Mr. Pascuzzi regarding the
                          same (1.0); telephone call with the US
                          Trustee's office regarding model claim form
                          (.2); communications regarding potential
                          revisions to instructions to model claim form
                          (.8); draft and edit response letter to Mr.
                          Orsini regarding model claim form and
                          related matters (1.2); draft email to Ms.
                          Woltering regarding Orsini response letter
                          (.2).(56057937)

06/11/19    Morris, Kimberly Multiple telephone calls with DSI re claims         895.00         1.10        984.50
            S.               valuation(56080246)

06/11/19    Morris, Kimberly Meetings with Mr. Julian re claims                  895.00         0.80        716.00
            S.               valuation(56080247)

06/11/19    Morris, Kimberly Calls with plaintiffs counsel re claims             895.00         0.90        805.50
            S.               valuation(56080248)

06/11/19    Morris, Kimberly Analyze materials provided by DSI re claims         895.00         1.40      1,253.00
            S.               valuation(56080249)

06/11/19    Ravick, Jacob    Review case docket in search of claim               250.00         1.80        450.00
            H.               transfers; create spreadsheet analyzing
                             data on all claim transfers filed (.7); work on
                             obtaining claim filings and status for
                             attorney review (.3); continue review of SEC
                             documents and review and edit spreadsheet
                             for attorney review (.8)(56082369)

06/11/19    Rose, Jorian L. Review and revise order per UST requested          1,010.00         0.40        404.00
                            changes.(56043371)

06/11/19    Rose, Jorian L. Telephone conferences with Ms. Kates and           1,010.00         0.40        404.00
                            Mr. Buchbinder regarding UST requests for



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                              Angeion motion.(56043372)

06/11/19    Rose, Jorian L. Review research project on claims                  1,010.00       0.60        606.00
                            estimation for Mr. Julian from Ms.
                            Attard.(56043375)

06/11/19    Woltering,        Correspondence with Mr. Goodman                    750.00       0.20        150.00
            Catherine E.      regarding preparation of response to letter
                              from Debtors regarding use of the
                              Committee's proof of claim form (0.2);
                              review outline of draft response related to
                              same (0.2).(56114439)

06/12/19    Fuller, Lars H.   Review and analyze letter from Mr. Julian to       545.00       0.30        163.50
                              PG&E regarding disputed issues for Bar
                              Date Motion and conferral.(56044625)

06/12/19    Goodman, Eric Draft and edit letter to Mr. Orsini regarding          800.00       2.00      1,600.00
            R.            model claim form and related matters (.8);
                          communications with Mr. Campora
                          regarding model claim form (.2);
                          communications with Ms. Cordova
                          regarding model claim form (.2);
                          communications with the US Trustee
                          regarding edits to proposed order on notice
                          procedures (.2); revise model claim form per
                          comments from Mr. Campora (.4); draft
                          email to Mr. Julia regarding letter to Mr.
                          Orsini (.1); communications with Mr. Skikos
                          regarding model claim form (.1).(56058575)

06/12/19    Green,            Review and revise future claims                    720.00       1.10        792.00
            Elizabeth A.      memo.(56055619)

06/12/19    Green,            Review draft response to Orsini                    720.00       0.50        360.00
            Elizabeth A.      letter.(56055620)

06/12/19    Morris, Kimberly Call with DSI re claims valuation(56080257)         895.00       0.40       358.00
            S.

06/12/19    Morris, Kimberly Calls with plaintiffs counsel and DSI re            895.00       0.60        537.00
            S.               valuation(56080258)

06/12/19    Ravick, Jacob     Review case docket in search of claim              250.00       5.20      1,300.00
            H.                transfers; create spreadsheet analyzing
                              data on all claim transfers filed (4.7) ;
                              continue review and SEC documents and



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                             review and edit spreadsheet for attorney
                             review (.5)(56082378)

06/12/19    Woltering,       Draft letter to Debtors regarding agreement       750.00         1.00        750.00
            Catherine E.     to adopt the TCC's model proof of claim
                             form for Fire Claims.(56107695)

06/13/19    Dumas, Cecily Meetings with DSI and Lincoln, Julian re             950.00         5.00      4,750.00
            A.            preparation for mediation with Debtors on
                          fire claims valuation(56055084)

06/13/19    Dumas, Cecily Meeting with Julian, Dan Kavouras re                 950.00         1.00        950.00
            A.            claims estimation strategy(56055085)

06/13/19    Esmont, Joseph Research in support of Bar Date / Proof of          600.00         3.80      2,280.00
            M.             Claim Motion (1.2); Confer with Mr. Loeb
                           regarding definition of family in proposed
                           revised proof of claim, including preparation
                           time (1.4); draft revised and more inclusive
                           definition of family per discussion with Mr.
                           Loeb (1.2)(56180715)

06/13/19    Goodman, Eric Edit and finalize response letter to Mr.             800.00         3.10      2,480.00
            R.            Orsini regarding TCC's claim form (1.0);
                          communications with Mr. Julian regarding
                          noticing agent discovery (.3); review Schrag
                          declaration and draft email to Mr. Julian and
                          Mr. Fuller regarding the same (.8);
                          communications with Singleton Firm
                          regarding withdrawal of objection to TCC
                          claim form (.2); telephone call with Mr.
                          Skikos regarding meeting of North Bay
                          attorneys (.1); revise reply in support of
                          motion to approve TCC's claim form
                          (.7).(56058608)

06/13/19    Green,           Review issues regarding                           720.00         0.40        288.00
            Elizabeth A.     estimation.(56053694)

06/13/19    Julian, Robert   Prepare for working meeting on plan and         1,175.00         1.20      1,410.00
                             claims estimation with Financial Advisor Mr.
                             Lincoln and claims expert DSI Mr.
                             Sharp(56060424)

06/13/19    Julian, Robert   Attend working meeting on plan and claims       1,175.00         5.20      6,110.00
                             estimation with Financial Advisor Mr.
                             Lincoln and claims expert DSI Mr.



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                             Sharp(56060425)

06/13/19    Julian, Robert   Telephone conversation with DSI Mr. Sharp        1,175.00        0.30        352.50
                             re estimation(56060426)

06/13/19    Kates, Elyssa S. Revise amended proof of claim for                  760.00        0.10         76.00
                             order.(56071593)

06/13/19    Kates, Elyssa S. Call with Mr. Goodman regarding the                760.00        0.10         76.00
                             amended bar date order.(56071594)

06/13/19    Kates, Elyssa S. Review correspondence with Mr. Orsini              760.00        0.10         76.00
                             regarding the TCC's notice procedures
                             motion and proof of claim form.(56071598)

06/13/19    Kinne, Tanya M. Telephone conference with Ms. Kates                 365.00        0.80        292.00
                            regarding revising proposed Order on
                            Motion of the Official Committee of Tort
                            Claimants Pursuant to 11 U.S.C. §§ 105(a),
                            501 and Fed. R. Bankr. P. 3001(a), 3003(c),
                            5005 and 9007 for Entry of an Order (I)
                            Establishing a Bar Date for Filing Fire
                            Claims, (II) Approving the Form and
                            Procedures for Notice of the Bar Date for
                            Fire Claims, and (III) Approving
                            Supplemental Procedures for Notice of the
                            Bar Date to Fire Claimants (.20); draft
                            Notice of Filing of Amended Order (.50);
                            transmit same to Ms. Kates
                            (.10).(56122764)

06/13/19    Morris, Kimberly Review pleadings re tort claims(56080260)          895.00        0.70        626.50
            S.

06/13/19    Morris, Kimberly Multiple calls re valuation                        895.00        0.50        447.50
            S.               models(56080266)

06/13/19    Morris, Kimberly Review notes from claims valuation                 895.00        0.30        268.50
            S.               meeting(56080269)

06/13/19    Ravick, Jacob    Review case docket in search of claim              250.00        4.50      1,125.00
            H.               transfers; create spreadsheet analyzing
                             data on all claim transfers filed (3.8) ;
                             continue review and SEC documents and
                             review and edit spreadsheet for attorney
                             review (.7)(56082380)




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06/13/19   Rose, Jorian L. Review research from Ms. Ozturk and                1,010.00        2.80       2,828.00
                           indenture provisions for potential issue for
                           bond claim amounts.(56060056)

06/14/19   Fuller, Lars H.   Review and analyze Orsini Declaration in           545.00         4.60      2,507.00
                             support of PG&E Bar Date Motion (.2);
                             review and analyze PG&E SOFA
                             disclosures of pending litigation (.5); review
                             and analyze PG&E SOFA disclosures of
                             payments to Prime Clerk (.2); review
                             Herndon statement in support of TCC claim
                             form and objection to PG&E claim form (.2);
                             review UCC request for discovery (.4);
                             review communications from Mr. Julian and
                             Mr. Goodman regarding UCC requests for
                             discovery (.2); review Bondholders request
                             for discovery (.2); draft discovery for Prime
                             Clerk (2.9).(56054577)

06/14/19   Fuller, Lars H.   Review and analyze PG&E objection to               545.00         1.90      1,035.50
                             TCC claims procedure (.3); review and
                             analyze UCC joinder in TCC claims
                             procedure (.2); further draft discovery to
                             PG&E related to Bar Date Motion and Prime
                             Clerk (1.4).(56055163)

06/14/19   Goodman, Eric Draft and edit reply in support of the TCC's           800.00         3.30      2,640.00
           R.            claim form, bar date and notice procedures
                         (2.8); telephone call with counsel for the
                         UCC regarding discovery on bar date
                         motion and related matters (.3); draft email
                         to internal team regarding discovery on bar
                         date motion (.2).(56058633)

06/14/19   Julian, Robert    Meet with Claims expert Mr. Sharp in             1,175.00         1.80      2,115.00
                             preparation for meeting with Debtors
                             Counsel re claims(56060430)

06/14/19   Julian, Robert    Attend meeting with Debtors Counsel and          1,175.00         2.80      3,290.00
                             Financial Advisors Lazard re plan and
                             wildfire claim resolution(56060432)

06/14/19   Kates, Elyssa S. Preparation of notice of filing of amended          760.00         0.40        304.00
                            proposed order re claims.(56071612)

06/14/19   Morris, Kimberly Correspondence with DSI re claims                   895.00         0.50        447.50
           S.               model(56080272)



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06/14/19    Ravick, Jacob     Review case docket in search of claim              250.00       4.10      1,025.00
            H.                transfers; create spreadsheet analyzing
                              data on all claim transfers filed (3.4) ;
                              continue review and SEC documents and
                              review and edit spreadsheet for attorney
                              review (.7)(56082384)

06/14/19    Rose, Jorian L. Review research from Ms. Kahn and cases            1,010.00       1.40      1,414.00
                            for bondholder issues.(56060064)

06/15/19    Goodman, Eric Edit and revise reply in support of the TCC's          800.00       2.80      2,240.00
            R.            claim form motion.(56058643)

06/16/19    Dumas, Cecily Review and revise reply memo on bar date               950.00       0.50        475.00
            A.            motion(56059372)

06/16/19    Goodman, Eric Edit and revise reply brief and draft email to         800.00       0.70        560.00
            R.            Ms. Dumas and Mr. Julian regarding the
                          same.(56096444)

06/16/19    Morris, Kimberly Correspondence with DSI re claims                   895.00       0.20        179.00
            S.               model(56080276)

06/16/19    Morris, Kimberly Correspondence with committee members               895.00       0.10         89.50
            S.               re claims estimation(56080277)

06/17/19    Dumas, Cecily Review revised reply memo on claims bar                950.00       1.10      1,045.00
            A.            date motion (.4); review Debtors Statement
                          re issues on bar date hearing (.3); confer
                          with Julian, Goodman re stay of claim
                          objection aspect (.4)(56063050)

06/17/19    Dumas, Cecily Review Morris report on damages                        950.00       0.90        855.00
            A.            estimation(56063053)

06/17/19    Fuller, Lars H.   Review and analyze Waisman Declaration             545.00       3.90      2,125.50
                              in support of Bar Date Motion (.2); further
                              draft discovery to Prime Clerk (.4); review
                              discovery requests from UCC (.4); review
                              communications from Ad Hoc Group of
                              Subrogation Claimants regarding discovery
                              requests from UCC (.2); objections to UCC
                              discovery requests (.5); draft objections to
                              UCC discovery requests (1.2); review and
                              analyze motion to continue bar date hearing
                              (.4); review and analyze disputed issues



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                              from declarants in support of bar date
                              motions (.6).(56063097)

06/17/19    Fuller, Lars H.   Review and analyze Orsini Declaration and        545.00         1.80        981.00
                              disputed fact issues (.4); review and
                              analyze Waisman Declaration and disputed
                              fact issues (.4); draft discovery for Prime
                              Clerk (1.0).(56063291)

06/17/19    Fuller, Lars H.   Review and analyze claim estimation              545.00         0.70        381.50
                              methodology authority (.5); exchange
                              communications with Ms. Morris regarding
                              claim estimation authority (.2).(56263158)

06/17/19    Goodman, Eric Edit and revise reply in support of motion to        800.00         5.50      4,400.00
            R.            approve claim form per comments from Ms.
                          Dumas (2.0); review and respond to email
                          from Ms. Scarpulla regarding claim form
                          (.1); telephone calls with Mr. Julian
                          regarding discovery on bar date motion (.3);
                          review communications regarding response
                          to UCC discovery (.3); prepare notice of
                          revised claim form and amended orders and
                          related exhibits (2.0); review PG&E's case
                          update (.2); revise reply brief per PG&E's
                          case update and draft email to Ms. Dumas
                          and Mr. Julian regarding the same (.3);
                          telephone call with Mr. Julian and Ms.
                          Dumas regarding proposed order on bar
                          date motion and related matters
                          (.3).(56096446)

06/17/19    Green,            Review response to claims                        720.00         0.50        360.00
            Elizabeth A.      motion.(56064443)

06/17/19    Julian, Robert    Draft objection to UCC request for             1,175.00         1.30      1,527.50
                              production of estimation documents that are
                              not raised by a contested matter and for
                              which the TCC has no access or are
                              privileged(56081068)

06/17/19    Julian, Robert    Revise objection to UCC document request       1,175.00         0.30        352.50
                              of estimation documents(56081069)

06/17/19    Julian, Robert    Telephone conversation with Ad Hoc             1,175.00         0.30        352.50
                              Committee of Bondholders counsel David
                              Barton re his email evaluation of claims and



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                              communication to the
                              Committee(56081070)

06/17/19    Julian, Robert    Draft status report to Committee on Ad Hoc       1,175.00       0.40        470.00
                              Committee of Bondholders email to TCC re
                              valuation of wildfire claims(56081071)

06/17/19    Julian, Robert    Revise TCC objection to UCC doc request          1,175.00       0.20        235.00
                              of estimation documents(56081078)

06/17/19    Morris, Kimberly Correspondence with DSI re claims                   895.00       0.50        447.50
            S.               estimation(56126492)

06/17/19    Morris, Kimberly Correspondence with Committee re claims             895.00       0.70        626.50
            S.               estimation(56126493)

06/17/19    Morris, Kimberly Internal strategy sessions re claims                895.00       2.20      1,969.00
            S.               estimation(56126494)

06/17/19    Morris, Kimberly Review claims estimation                            895.00       2.30      2,058.50
            S.               material(56126497)

06/17/19    Morris, Kimberly Correspondence with plaintiff lawyers re            895.00       0.60        537.00
            S.               claim estimation(56126498)

06/17/19    Rose, Jorian L. Review bar date reply filed by                     1,010.00       0.70        707.00
                            Debtors.(56070130)

06/18/19    Attard, Lauren Telephone conference with Mr. Goodman                 600.00       0.10         60.00
            T.             regarding objections to bar date
                           motion.(56112734)

06/18/19    Dumas, Cecily Final review and revise of claim form reply            950.00       1.00        950.00
            A.            brief(56120961)

06/18/19    Dumas, Cecily Confer with Fuller, Goodman re witness                 950.00       9.00      8,550.00
            A.            availability at hearing on claims bar date
                          and noticing and response to Debtors re
                          same(56120968)

06/18/19    Dumas, Cecily Review reports of Public Entities' settlement          950.00       1.20      1,140.00
            A.            under a plan and communicate with TCC
                          members and counsel re explanation of
                          timing of payment(56120969)

06/18/19    Fuller, Lars H.   Draft discovery for PG&E related to claim          545.00       2.00      1,090.00
                              estimation and prior fire claim



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                              settlements.(56083136)

06/18/19    Fuller, Lars H.   Exchange communications with Mr. Ballan          545.00         4.10      2,234.50
                              regarding availability of Angeion witness
                              (.4); revise and finalize objection to UCC
                              discovery (1.0); draft communication to
                              UCC regarding objection (.2); prepare for
                              bar date hearing (1.4); exchange
                              communications with Debtors counsel
                              regarding bar date hearing (.7); draft
                              communication to Noteholders regarding
                              objection to discovery (.2); draft
                              communication to Subrogation Committee
                              regarding objection to UCC discovery
                              (.2)(56083151)

06/18/19    Fuller, Lars H.   Exchange communications with R. Julian           545.00         0.70        381.50
                              regarding discovery on claim estimation (.2)
                              review and analyze claim estimation
                              methodology used by PG&E in prior
                              bankruptcy (.5).(56263163)

06/18/19    Goodman, Eric Edit and revise reply brief in support of            800.00         6.80      5,440.00
            R.            motion to approve claim form (.8); prepare
                          exhibits for reply brief on claim form motion
                          (.3); prepare notice and amended orders for
                          June 19th filings (.8); draft email to Team
                          regarding June 19th filings (.4);
                          communications with Ms. Lockhart
                          regarding reply brief (.2); telephone call Mr.
                          McCallen regarding discovery and claims
                          bar date (.6); draft email to Ms. Dumas and
                          Mr. Julian regarding discussions with Mr.
                          McCallen (.3); telephone call to Ms. Attard
                          regarding carve-out for state agency claims
                          (.1); communications with Mr. Fuller and
                          Ms. Dumas regarding June 26th hearing
                          and unavailability of declarants (.4); review
                          and analyze prior PG&E filings on claims
                          estimation (1.2); draft email to Mr. Julian
                          regarding PG&E claim estimation pleadings
                          (.3); further edits of notice of revised claim
                          form and exhibits thereto (1.2);
                          communications with Ms. Kinne regarding
                          June 19th filings (.2).(56096451)

06/18/19    Green,            Review and revise response to claim form         720.00         0.60       432.00



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            Elizabeth A.      objection.(56088231)

06/18/19    Julian, Robert    Review status of debtors signing stipulation     1,175.00       0.20        235.00
                              re evidence in estimation proceedings and
                              email debtor counsel Mr. Orsini re
                              same(56104965)

06/18/19    Julian, Robert    Review press on muni settlement and draft        1,175.00       0.30        352.50
                              action plan to correct press(56104966)

06/18/19    Morris, Kimberly Call with committee member re                       895.00       0.60        537.00
            S.               claims(56126500)

06/18/19    Morris, Kimberly Follow up re claims(56126501)                       895.00       0.50       447.50
            S.

06/18/19    Morris, Kimberly Correspondence with plaintiff lawyers re            895.00       1.80      1,611.00
            S.               claims estimation(56126506)

06/18/19    Morris, Kimberly Review information re public entity                 895.00       0.40        358.00
            S.               settlements(56126509)

06/19/19    Bloom, Taylor     Analyze TWC Product and Technology,                475.00       0.50        237.50
            A.                LLC's answer to Plaintiff's complaint for
                              injunctive relief and damages.(56124019)

06/19/19    Dumas, Cecily Email Morris re DSI damages                            950.00       0.40        380.00
            A.            estimation(56119161)

06/19/19    Dumas, Cecily Prepare summary directions on TCC                      950.00       1.00        950.00
            A.            position on all points raised in bar date
                          proceedings(56119164)

06/19/19    Fuller, Lars H.   Exchange communications with Mr. Ballan            545.00       0.40        218.00
                              regarding Declarant availability and status
                              of bar date motions.(56091398)

06/19/19    Fuller, Lars H.   Review supplemental declaration of Shai            545.00       0.60        327.00
                              Waisman (.2); draft email to Mr. Julian, Ms.
                              Dumas, and Mr. Goodman regarding same
                              (.2); exchange communications with Mr.
                              Goodman regarding Slack Declaration and
                              possible related discovery (.2).(56091401)

06/19/19    Goodman, Eric Finalize reply brief in support of motion to           800.00       6.50      5,200.00
            R.            approve claim form (.5); finalize notice of
                          revised fire proof of claim form and



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                             amended orders and related exhibits (1.4);
                             telephone call with counsel for the UCC
                             regarding bar date discovery (.4); telephone
                             call with counsel for the state agencies
                             regarding revisions to amended order (.1);
                             telephone call with Mr. Julian regarding
                             discovery requests (.1); review Weisbrot
                             declaration in preparation for June 26th
                             hearing (2.0); review and analyze objections
                             to TCC's bar date motion (2.0).(56096456)

06/19/19    Green,           Review objection of debtor to claim form          720.00         0.60        432.00
            Elizabeth A.     and noticing.(56088571)

06/19/19    Green,           Review objection of UCC to claim bar              720.00         0.30        216.00
            Elizabeth A.     date.(56088572)

06/19/19    Green,           Review and revise memo on channeling              720.00         0.80        576.00
            Elizabeth A.     injunctions.(56088573)

06/19/19    Green,           Review insurance section of memo                  720.00         0.60        432.00
            Elizabeth A.     regarding release of claims.(56088574)

06/19/19    Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                760.00         0.40        304.00
                             Julian, Mr. Goodman, Mr. Rose, Ms. Green
                             and Mr. Esmont regarding objections and
                             statements in support of the TCC's bar date
                             motion and motion to retain Angeion
                             Group.(56111887)

06/19/19    Kinne, Tanya M. Review and finalize Reply in Support of the        365.00         0.30        109.50
                            Motion of the Official Committee of Tort
                            Claimants Pursuant to 11 U.S.C. §§ 105(a)
                            and 501 and Fed. R. Bankr. P. 3001(a) for
                            Entry of an Order Approving Proposed
                            Model Proof of Claim Form for Fire Claims
                            and Related Procedures (Dkt. No. 1824)
                            (.20); draft email correspondence to Mr.
                            Goodman regarding same (.10).(56125330)

06/19/19    Kinne, Tanya M. Review and finalize Notice of Filing of            365.00         0.30        109.50
                            Revised Fire Proof of Claim Form (Dkt. No.
                            1824) and Proposed Amended Orders on
                            (A) Motion of the Official Committee of Tort
                            Claimants for Entry of an Order (I)
                            Establishing A Bar Date for Filing Fire
                            Claims, (II) Approving the Form and



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                             Procedures for Notice of the Bar Date for
                             Fire Claims, and (III) Approving
                             Supplemental Procedures for Notice of the
                             Bar Date to Fire Claimants (Dkt. No. 2297)
                             and (B) Application of the Official
                             Committee of Tort Claimants to Retain and
                             Employ Angeion Group, LLC as Fire Claim
                             Bar Date Noticing Agent Effective as of May
                             22, 2019 (Dkt. No. 2303) (.20); draft email
                             correspondence to Mr. Goodman regarding
                             same (.10).(56125331)

06/19/19    Morris, Kimberly Call with Baupost re claims                       895.00         0.40        358.00
            S.               estimation(56126513)

06/19/19    Morris, Kimberly Work with DSI re claims                           895.00         2.50      2,237.50
            S.               estimation(56126514)

06/19/19    Morris, Kimberly Correspondence with plaintiff lawyer re           895.00         0.30        268.50
            S.               estimation(56126515)

06/19/19    Morris, Kimberly Follow up with committee member re claims         895.00         0.30        268.50
            S.               call(56126519)

06/19/19    Morris, Kimberly Email correspondence with plaintiff lawyers       895.00         0.40        358.00
            S.               re claim estimation(56126520)

06/19/19    Payne Geyer,     Review potential issues concerning                455.00         0.80        364.00
            Tiffany          settlement of insurance claims and
                             investigate California law on post-loss
                             assignments of benefits as relevant to TCC
                             claims.(56098514)

06/19/19    Payne Geyer,     Analyze California case law on assignments        455.00         1.10        500.50
            Tiffany          of claims and benefits.(56098518)

06/19/19    Payne Geyer,     Draft language concerning assignment of           455.00         2.00        910.00
            Tiffany          insurance claims and benefits and update
                             channeling injunction memo.(56098519)

06/19/19    Payne Geyer,     Telephone conference with Tom Donoho              455.00         0.20         91.00
            Tiffany          regarding insurance claim
                             issues.(56098520)

06/19/19    Payne Geyer,     Proof read and edit further revised draft of      455.00         0.70        318.50
            Tiffany          channeling injunction memo.(56098521)




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06/19/19   Ravick, Jacob     Review case docket in search of claim             250.00        2.20        550.00
           H.                transfers; create spreadsheet analyzing
                             data on all claim transfers filed.(56117576)

06/19/19   Rose, Jorian L. Review objection to Angeion retention filed       1,010.00         0.90        909.00
                           by Debtors.(56093622)

06/19/19   Rose, Jorian L. Telephone conferences with Ms. Kahn               1,010.00         0.30        303.00
                           regarding bondholder claims
                           analysis.(56093627)

06/20/19   Dumas, Cecily Multiple communications with Goodman,                 950.00         0.90        855.00
           A.            Esmont re communications re bar date
                         compromise, noticing program, efficacy of
                         mailing(56121341)

06/20/19   Fuller, Lars H.   Exchange communications with Mr.                  545.00         4.30      2,343.50
                             Goodman, Ms. Cabraser, and Mr. Ballan
                             regarding PG&E supplemental filings on bar
                             date motions (.5); review and analyze
                             PG&E (.5), UCC (.2), Public Utilities (.2),
                             State Farm (.2), and Singleton (.2) 6/20
                             filings on bar date motions; teleconference
                             with Ms. Dumas, Mr. Goodman, Mr. Rose,
                             Mr. Esmont, and Ms. Kates regarding
                             remaining disagreements on bar date
                             motions and response alternatives (1.4);
                             teleconference with Ms. Cabraser, Mr.
                             Goodman, Mr. Ballan, and Mr. Rose
                             regarding PG&E filings regarding noticing
                             procedures (.6); review and analyze
                             communication from Weil Gotshal regarding
                             bar date motions hearing (.2); draft
                             response email and communication to Mr.
                             Julian, Ms. Dumas, Mr. Goodman, and Mr.
                             Rose regarding same (.3).(56091402)

06/20/19   Goodman, Eric Further review of objections to TCC's bar             800.00         7.20      5,760.00
           R.            date motion and related declarations (3.4);
                         review objection to Angeion application
                         (1.0); participate in Team call regarding
                         objections to Bar Date Motion and Angeion
                         Application (1.4); telephone call with Ms.
                         Cabraser, Mr. Ballan, Mr. Fuller, and Mr.
                         Rose regarding Angeion Application (.7);
                         draft and edit summary of differences
                         between PGE fire claim form and TCC fire



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                             claim form (.4); draft summary of action
                             items per Team call on objections to Bar
                             Date Motion (.2); communications with Mr.
                             Pascuzzi regarding objection to Bar Date
                             Motion (.1).(56096457)

06/20/19    Green,           Analyze debtors response to claim form and        720.00         0.60        432.00
            Elizabeth A.     noticing agent.(56106508)

06/20/19    Green,           Review debtors response to claim form,            720.00         0.90        648.00
            Elizabeth A.     noticing agent and affidavits of prime
                             clerk.(56106509)

06/20/19    Green,           Review issues related to response to motion       720.00         0.70        504.00
            Elizabeth A.     to approve claim form and develop
                             strategy.(56106510)

06/20/19    Kates, Elyssa S. Call with Ms. Dumas, Mr. Rose, Mr.                760.00         1.40      1,064.00
                             Goodman, Ms. Morris and others regarding
                             the motions for protective order, bar date
                             motions and hearing on June 26,
                             2019.(56111898)

06/20/19    Morris, Kimberly Meet with Plaintiff Counsel re case               895.00         1.80      1,611.00
            S.               strategy(56126526)

06/20/19    Morris, Kimberly Correspondence with Baker team re claim           895.00         0.50        447.50
            S.               form(56126529)

06/20/19    Morris, Kimberly Calls with DSI re data                            895.00         0.70        626.50
            S.               acquisition(56126530)

06/20/19    Morris, Kimberly Call with DSI and plaintiff counsel re claim      895.00         0.40        358.00
            S.               estimation(56126532)

06/20/19    Morris, Kimberly Work on common interest                           895.00         0.50        447.50
            S.               agreement(56126534)

06/20/19    Rose, Jorian L. Review Debtor's response to bar date             1,010.00         1.40      1,414.00
                            motion and affidavits.(56093636)

06/20/19    Rose, Jorian L. Conference call with team regarding bar          1,010.00         1.10      1,111.00
                            date motion and related issues.(56093639)

06/21/19    Dumas, Cecily Emails with Goodman, Fuller re positions of          950.00         0.80        760.00
            A.            compromise on claim bar date motion and
                          motion for protective order(56121433)



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06/21/19    Fuller, Lars H.   Review Noteholders joinder to UCC                 545.00         0.60        327.00
                              objection to TCC bar date motion (.2);
                              review article cited by Noteholders on state
                              bailout fund (.2); draft email to Mr. Julian,
                              Ms. Dumas, Ms. Morris, and Mr. Goodman
                              regarding same (.2); review and analyze
                              UCC objection to TCC bar date motion
                              (.2).(56133497)

06/21/19    Fuller, Lars H.   Review and communications from PG&E               545.00         0.80        436.00
                              counsel regarding bar date discovery and
                              hearing (.3); draft response to PG&E
                              counsel regarding discovery and bar date
                              hearing (.4); review communication from Mr.
                              Goodman regarding call with Weil Gotshal
                              and issues discussed (.1).(56096060)

06/21/19    Goodman, Eric Draft and edit term sheet for possible                800.00         7.40      5,920.00
            R.            resolution over bar date and notice dispute
                          (3.2); telephone calls with Mr. Jorian
                          regarding term sheet for possible resolution
                          over bar date and notice dispute (.5)(.2)(.3);
                          telephone call with counsel for PG&E
                          regarding proposed term sheet (.4);
                          conference call with Mr. Weisbrot and Mr.
                          Rose regarding objection to bar date motion
                          (1.0); revise proposed order on TCC bar
                          date motion per comments from counsel to
                          the California Agencies (.4); draft email to
                          internal Team regarding conference call
                          with counsel for PG&E (.1); draft email to
                          counsel for the SLF Claimants regarding
                          TCC claim form (.2); communications with
                          Mr. Lemon regarding TCC claim form (.2);
                          further review of objections to TCC bar date
                          motion (.9).(56096459)

06/21/19    Kates, Elyssa S. Preparation of memorandum for use in               760.00         0.70        532.00
                             connection with hearings on bar date
                             motions.(56111912)

06/21/19    Morris, Kimberly Call with DSI and plaintiff counsel re claim       895.00         1.80      1,611.00
            S.               estimation(56126539)

06/21/19    Morris, Kimberly Review materials in preparation re claim           895.00         0.40        358.00
            S.               estimation(56126540)



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06/21/19    Rose, Jorian L. Review and revise settlement outline for          1,010.00        1.20      1,212.00
                            discussion with Debtors.(56102066)

06/21/19    Rose, Jorian L. Revise and revise claim form for call with        1,010.00        0.60        606.00
                            Debtors on bar date.(56102067)

06/21/19    Rose, Jorian L. Conference call with Mr. Koratkin regarding       1,010.00        0.50        505.00
                            bar date issues.(56102068)

06/21/19    Rose, Jorian L. Telephone conferences with Mr. Goodman            1,010.00        0.80        808.00
                            regarding revisions to bar date and claim
                            form in preparation for call with
                            Debtors.(56102069)

06/21/19    Rose, Jorian L. Review research from Ms. Kates on bar             1,010.00        0.70        707.00
                            date issues and noticing agent.(56102071)

06/22/19    Dumas, Cecily Review Rose proposal for compromise of                950.00        1.10      1,045.00
            A.            noticing program and noticing agent (1.);
                          email Rose re same (.1)(56171257)

06/22/19    Goodman, Eric Telephone call with Mr. Skikos regarding              800.00        0.20        160.00
            R.            June 26th hearing on bar date
                          motions.(56096462)

06/22/19    Kates, Elyssa S. Preparation of chart summarizing responses         760.00        0.70        532.00
                             to the TCC's proof of claim motion and bar
                             date motion.(56111914)

06/22/19    Rose, Jorian L. Review and revise draft proposal to Debtor        1,010.00        1.20      1,212.00
                            to resolve the bar date and noticing
                            issues.(56102073)

06/23/19    Dumas, Cecily Email Rose re Lockhart question on TCC                950.00        0.30        285.00
            A.            claims(56171509)

06/23/19    Goodman, Eric Conference call with Mr. Rose, Mr. Skikos             800.00        1.10        880.00
            R.            and Ms. Cabraser regarding June 26th
                          hearing and bar date dispute (1.0); follow up
                          call with Mr. Rose regarding bar date
                          dispute (.1).(56133624)

06/23/19    Rose, Jorian L. Conference call with Ms. Cabraser, Messrs.        1,010.00        0.60        606.00
                            Skikos and Goodman regarding potential
                            hearing and bar date issues.(56102075)




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06/23/19   Rose, Jorian L. Review Debtors bar date papers for call with      1,010.00        1.60       1,616.00
                           Committee members' counsel.(56102076)

06/24/19   Blanchard,       Draft memorandum concerning issues                 650.00         5.70      3,705.00
           Jason I.         related to the estimation of wildfire claims
                            (2.1); conduct research regarding the same
                            (3.5); call with Mr. Rose to discuss status of
                            research (.1).(56150344)

06/24/19   Dumas, Cecily Review draft communications to Debtors re             950.00         0.90        855.00
           A.            proposed compromises on noticing agent
                         and process (.5); confer with Goodman,
                         Rose re same (.4)(56172033)

06/24/19   Esmont, Joseph Confer with Ms. Kates and Ms. Green                  600.00         3.10      1,860.00
           M.             regarding review of proofs of claim for use
                          in damages model (.5); Review recent
                          California law on damages issues (1.1);
                          review sample of proofs of claim to guide
                          paralegals in task (1.5)(56181184)

06/24/19   Goodman, Eric Draft and edit hearing outline on June 26th           800.00        10.50      8,400.00
           R.            hearing on bar date motion (3.5); further
                         review of PG&E's declarations in support of
                         bar date motion (1.2); draft and edit
                         proposed order on the TCC's bar date
                         motion to address issues raised by the
                         California State Agencies (.6);
                         communications with counsel for state
                         agencies regarding proposed order (.2);
                         further revisions to claim form to include
                         updated addresses (.3); further review of
                         PG&E's modified claim form (.5);
                         conferences with Ms. Morris regarding
                         outline for June 26th hearing (.2)(.2); further
                         edits to hearing outline for June 26th
                         hearing (2.0); draft and edit notice of revised
                         claim form and proposed order (1.0); draft
                         email to Ms. Dumas regarding notice of
                         revised claim form and order (.2); draft
                         update email to the TCC regarding
                         negotiations with PG&E's counsel over
                         notice program (.6).(56133625)

06/24/19   Green,           Conference with Jorian Rose regarding              720.00         0.40        288.00
           Elizabeth A.     claims noticing issues for June 26
                            hearing.(56106752)



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06/24/19    Green,            Review issues regarding appeal of claims         720.00         0.30        216.00
            Elizabeth A.      order.(56106753)

06/24/19    Morris, Kimberly Correspond with committee member re               895.00         0.50        447.50
            S.               claims(56176386)

06/24/19    Morris, Kimberly Review bar date pleading papers in                895.00         0.70        626.50
            S.               preparation for hearing(56176390)

06/25/19    Attard, Lauren Draft release regarding bar date                    600.00         1.90      1,140.00
            T.             motion.(56166499)

06/25/19    Dumas, Cecily Review and revise status report on all               950.00         1.00        950.00
            A.            compromises reached in connection with
                          claim motion and bar date and directions to
                          Goodman(56173571)

06/25/19    Dumas, Cecily Attend meeting with Goodman, Cabraser,               950.00         1.00        950.00
            A.            Ballon re claims noticing
                          (telephonic)(56173573)

06/25/19    Esmont, Joseph Call with Ms. Lane regarding claims                 600.00         0.40        240.00
            M.             analysis task.(56263202)

06/25/19    Fuller, Lars H.   Review and analyze discovery requests            545.00         1.40        763.00
                              made to PG&E related to bar date motion
                              (.4); conference with Mr. Goodman
                              regarding PG&E bar date motion hearing
                              (.4); review and analyze Judge Montali
                              preliminary ruling and status summary of
                              bar date motions (.4); conference with Mr.
                              Goodman regarding issues for hearing
                              (.2).(56126700)

06/25/19    Goodman, Eric Draft and edit status report for the Court           800.00         9.90      7,920.00
            R.            regarding proof of claim concessions (1.5);
                          revise status report per comments from Ms.
                          Dumas (1.0); finalize status report and
                          related exhibits (.5); communications
                          regarding filing of status report on proof of
                          claim concessions (.3); further edits to
                          outline for June 26th hearing (1.0);
                          conference with Mr. Fuller regarding outline
                          for June 26th hearing (.4); review order from
                          the court regarding agenda for June 26th
                          hearing (.3); conference with Ms. Dumas



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                             and Mr. Rose regarding order on agenda for
                             June 26th hearing (.8); meeting with Lieff
                             Cabraser regarding strategy for June 26th
                             hearing (.7); meeting with Skikos Firm
                             regarding strategy for June 26th hearing
                             (2.0); further preparation for June 26th
                             hearing on bar date motions
                             (1.4).(56133629)

06/25/19    Lane, Deanna     Beginning Claims Review Assignment from            280.00         2.50        700.00
            L.               Mr. Esmont; reviewing claims 1-
                             49(56176186)

06/25/19    Morris, Kimberly Multiple calls with DSI re claims                  895.00         1.80      1,611.00
            S.               estimation(56176392)

06/25/19    Morris, Kimberly Review expert credentials for claims               895.00         0.50        447.50
            S.               estimation(56176393)

06/25/19    Morris, Kimberly Work on claim valuation(56176399)                  895.00         1.80      1,611.00
            S.

06/25/19    Ravick, Jacob    Review case docket in search of claim              250.00         1.20        300.00
            H.               transfers; create spreadsheet analyzing
                             data on all claim transfers filed (.9); work on
                             obtaining case filings and status for attorney
                             review (.3).(56180615)

06/25/19    Rose, Jorian L. Review debtors' reply and affidavits for           1,010.00        1.90      1,919.00
                            meeting with Committee member meeting
                            on bar date issues.(56128799)

06/25/19    Rose, Jorian L. Meeting with Messrs. Skikos and Goodman            1,010.00        2.30      2,323.00
                            regarding bar date hearing
                            preparation.(56128800)

06/25/19    Rose, Jorian L. Review judge's June 25th order on bar              1,010.00        0.40        404.00
                            date.(56128801)

06/25/19    Rose, Jorian L. Email correspondence to and from Debtors           1,010.00        0.80        808.00
                            regarding potential settlement of bar date
                            issue.(56128815)

06/25/19    Rose, Jorian L. Conference call with Ms. Dumas and Mr.             1,010.00        0.60        606.00
                            Goodman preparing for bar date
                            hearing.(56128818)




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06/26/19   Attard, Lauren Draft press release regarding bar date                600.00        1.40        840.00
           T.             hearing (1.1); telephone conversation with
                          Ms. Dumas regarding the same
                          (.3).(56141856)

06/26/19   Blanchard,        Draft memorandum concerning issues                 650.00         6.40      4,160.00
           Jason I.          related to the estimation of wildfire claims
                             (3.0); conduct research regarding the same
                             (3.4).(56150368)

06/26/19   Fuller, Lars H.   Hearing on bar date motions.(56263206)             545.00         2.00      1,090.00

06/26/19   Goodman, Eric Review and edit media statement for ruling             800.00         1.00        800.00
           R.            on bar date motions (.6); further edits to
                         media statement per comments from Mr.
                         Morris (.4).(56136600)

06/26/19   Julian, Robert    Prepare for hearing on claims bar                1,175.00         0.80        940.00
                             date(56145243)

06/26/19   Julian, Robert    Attend meetings with Mr. Williams and Mr.        1,175.00         0.80        940.00
                             Goodman before hearing on bar date re
                             same(56145244)

06/26/19   Julian, Robert    Conference with Ms. Morris re discovery          1,175.00         0.80        940.00
                             and claims estimation tasks and
                             implementation(56145249)

06/26/19   Lane, Deanna      Continue Claims Review Assignment from             280.00         2.50        700.00
           L.                Mr. Esmont; reviewing claims 50-
                             100(56176188)

06/26/19   Morris, Kimberly Meeting with DSI in preparation for re              895.00         0.50        447.50
           S.               claims valuation(56176366)

06/26/19   Morris, Kimberly Attend meeting with plaintiff lawyers and           895.00         1.50      1,342.50
           S.               DSI re claims valuation(56176367)

06/26/19   Morris, Kimberly Follow up email correspondence re claims            895.00         0.70        626.50
           S.               valuation meeting(56176369)

06/26/19   Morris, Kimberly Meet with Mr. Julian re claims discovery and        895.00         0.80        716.00
           S.               claims estimation.(56176370)

06/26/19   Rose, Jorian L. Meeting with Ms. Cabraser and Messrs.              1,010.00         1.60      1,616.00
                           Goodman and Skikos in preparation of
                           hearing on bar date issue.(56144310)



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06/26/19    Rose, Jorian L. Email correspondence with Debtors'               1,010.00         0.30        303.00
                            counsel regarding bar date hearing
                            issues.(56144315)

06/26/19    Sagerman, Eric Communications with Parker re experts for         1,145.00         0.20        229.00
            E.             claims estimation(56158231)

06/26/19    Weible, Robert Review Ms. Morris's 6-25 email regarding            830.00         2.20      1,826.00
            A.             confidentiality agreement with claims
                           estimators (.1); review and comment on
                           proposed Common Interest Agreement
                           (1.7); email exchanges with Ms. Morris
                           regarding Common Interest Agreement
                           issues (.4).(56137096)

06/27/19    Blanchard,        Draft memorandum concerning issues               650.00         6.10      3,965.00
            Jason I.          related to the estimation of wildfire claims
                              (3.2); conduct research regarding the same
                              (2.9).(56150380)

06/27/19    Esmont, Joseph Confer with Mr. Ravick and Mr. Garcia               600.00         0.50        300.00
            M.             regarding claims analysis project for use in
                           damages modeling(56181202)

06/27/19    Fuller, Lars H.   Review and analyze summary of Bar Date           545.00         0.20        109.00
                              Motions hearing.(56145154)

06/27/19    Fuller, Lars H.   Review communications from TCC                   545.00         1.40        763.00
                              members related to estimation discovery
                              issues (.2); revise draft discovery to PG&E
                              related to claim estimation and settlements
                              (1.2)(56263211)

06/27/19    Julian, Robert    Review and comment on new discovery re         1,175.00         0.20        235.00
                              estimation(56145253)

06/27/19    Julian, Robert    Telephone conversation with subro insurer      1,175.00         0.30        352.50
                              counsel Mr. Grassgreen re Tubbs
                              Claims(56145256)

06/27/19    Lane, Deanna      Continuing Claims Review Assignment from         280.00         2.50        700.00
            L.                Mr. Esmont; reviewing claims 100-
                              150(56176189)

06/27/19    Morris, Kimberly Work on claims valuation(56176379)                895.00         3.20      2,864.00
            S.



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06/27/19    Morris, Kimberly Multiple phone calls with DSI and plaintiff          895.00       0.40       358.00
            S.               lawyers re experts(56176380)

06/27/19    Ravick, Jacob    Review and analyze filed claims for use in           250.00       6.40     1,600.00
            H.               damages analysis.(56180606)

06/27/19    Rose, Jorian L. Review memorandum draft from Mr.                    1,010.00       1.70     1,717.00
                            Blanchard regarding estimation
                            issues.(56144323)

06/27/19    Zuniga, Diego    Review claims and update Claim Analysis              325.00       4.00     1,300.00
            F.               Chart pursuant to Mr. Esmont's
                             instructions.(56173773)

06/28/19    Goodman, Eric Communications with PG&E regarding                      800.00       1.10       880.00
            R.            redline on proposed bar date order (.2);
                          further review of redline order on bar date
                          motion (.8); draft response email regarding
                          redline on proposed bar date order
                          (.1).(56145511)

06/28/19    Lane, Deanna     Beginning Claims Review Assignment from              280.00       2.50       700.00
            L.               Mr. Esmont; reviewing claims 151-
                             200(56176190)

06/28/19    Morris, Kimberly Meet with expert witness(56176400)                   895.00       1.20     1,074.00
            S.

06/28/19    Morris, Kimberly Calls with DSI re experts re claims                  895.00       1.40     1,253.00
            S.               data(56176401)

06/28/19    Morris, Kimberly Review new claims data(56176402)                     895.00       1.30     1,163.50
            S.

06/28/19    Morris, Kimberly Calls re claims data analysis(56176403)              895.00       1.00      895.00
            S.

06/28/19    Rose, Jorian L. Review memorandum of Mr. Blanchard for              1,010.00       1.60     1,616.00
                            estimation procedures.(56150399)

06/28/19    Zuniga, Diego    Review claims and update Claim Analysis              325.00       2.50       812.50
            F.               Chart pursuant to Mr. Esmont's
                             instructions.(56173776)

06/30/19    Kavouras,        Research and collect data on property                365.00       4.60     1,679.00
            Daniel M.        damage as relevant to claims.(56170130)



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06/30/19    McCabe,          Review and analyze valuation data as               630.00        7.40      4,662.00
            Bridget S.       relevant to claims.(56174071)

Bar Date Motion/Claims Noticing(005)                                                        521.60 392,748.50

06/01/19    Kates, Elyssa S. Correspondence with Mr. Esmont regarding           760.00        0.10         76.00
                             submissions to Magnum.(56020115)

06/01/19    Kates, Elyssa S. Correspondence with Mr. Esmont and                 760.00        0.10         76.00
                             others regarding Magnum.(56020116)

06/01/19    Landrio, Nikki   Review efiling notifications for documents         420.00        2.20        924.00
            M.               filed in bankruptcy matter on May 30, 2019
                             through May 31, 2019 and docket deadlines
                             in Compulaw for team notification of
                             hearings, objections and reply due dates
                             and all corresponding statutory deadlines
                             relating to same.(56017774)

06/01/19    Landrio, Nikki   Receive and review email notifications of          420.00        0.10         42.00
            M.               case team members regarding document
                             management issues.(56017775)

06/02/19    Kates, Elyssa S. Review motions filed in the cases for              760.00        3.10      2,356.00
                             preparation of summary for TCC and
                             determination of need for TCC to take
                             position.(56020117)

06/02/19    Landrio, Nikki   Continued Review of documents efiled with          420.00        0.40        168.00
            M.               the bankruptcy court on May 31, 2019
                             through June 1, 2019 and calendar same in
                             Compulaw to ensure case team notifications
                             of upcoming hearing and
                             deadlines.(56017780)

06/03/19    Goodman, Eric Review and edit amended notice for                    800.00        0.50        400.00
            R.            application to retain Angeion (.3);
                          communications with Mr. Rose regarding
                          amended notice for application to retain
                          Angeion (.2).(56014558)

06/03/19    Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                 760.00        0.10         76.00
                             Julian, Ms. Morris, Mr. Esmont and others
                             regarding the TCC website.(56020129)

06/03/19    Kates, Elyssa S. Correspondence with Ms. Dumas, Ms.                 760.00        0.20        152.00



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                             Green, Mr. Workman, Mr. Esmont and Ms.
                             Kinne regarding the reimbursement of
                             committee members' expenses.(56020138)

06/03/19    Landrio, Nikki   Review the PG&E docketing mailbox                 420.00         0.90        378.00
            M.               regarding efilings from June 3, 2019 to be
                             calendared in Compulaw.(56017785)

06/03/19    Landrio, Nikki   Discussion with Ms. Hutton, Mr. Jesic             420.00         0.60        252.00
            M.               regarding PG&E projects in development
                             stage and status and requirements for
                             completion of same.(56017790)

06/03/19    Landrio, Nikki   Discussion with Ms. Kinne regarding case          420.00         0.30        126.00
            M.               updates concerning upcoming filings and
                             coordinating coverage.(56017793)

06/03/19    Landrio, Nikki   Update and revise the PG&E efilings memo          420.00         0.30        126.00
            M.               to indicate the list of attorneys assigned to
                             provide final approval for bankruptcy
                             filings.(56017808)

06/03/19    Lane, Deanna     Review of last week's docket, criminal            280.00         0.90        252.00
            L.               calendar, legislative/regulatory calendar in
                             order to prepare PG&E Weekly Critical
                             Dates Memo(56030464)

06/03/19    Lane, Deanna     Review of email from Ms. Zuberin regarding        280.00         0.10         28.00
            L.               important dates on Energy Team Calendar
                             for inclusion on the Weekly Critical Dates
                             Memorandum(56030468)

06/03/19    Morris, Kimberly Draft plan to update TCC                          895.00         0.30        268.50
            S.               website(56038371)

06/03/19    Morris, Kimberly Correspondence with J. Parrish re TCC             895.00         0.20        179.00
            S.               website(56038372)

06/03/19    Rawles, Michael Review and analysis of bankruptcy docket           270.00         0.20         54.00
            M.              regarding updating service list.(56004600)

06/03/19    Rawles, Michael Research Sacramento County court records           270.00         0.60        162.00
            M.              regarding Butte Fire Victims coordinated
                            cases (.2); review and analysis of docket
                            entries (.4).(56015482)

06/04/19    Kates, Elyssa S. Correspondence with Ms. Dumas, Ms.                760.00         0.10         76.00



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              Houston
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                          Los Angeles
                                            Filed: 07/31/19
                                        New York    Orlando
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                             Green, and Mr. Esmont regarding assigning
                             research and writing projects.(56020153)

06/04/19    Landrio, Nikki   Receive and review notification of attorney        420.00         0.10         42.00
            M.               work product document management to
                             assist case team with maintenance of
                             same.(56017817)

06/04/19    Landrio, Nikki   Review docket regarding efilings in the            420.00         1.80        756.00
            M.               bankruptcy court on June 3, 2019 and June
                             4, 2019 and docketing of same in firm
                             calendaring system, Compulaw, to ensure
                             case team notification of statutory
                             deadlines.(56017818)

06/04/19    Landrio, Nikki   Enter hearing dates and deadlines                  420.00         1.20        504.00
            M.               regarding to CPUC meetings, hearings and
                             filing deadlines in Compulaw for case team
                             notifications.(56017820)

06/04/19    Landrio, Nikki   Discussion with Mr. Jesic and Ms. Hutton           420.00         0.70        294.00
            M.               regarding ongoing issues with timeliness of
                             Prime Clerk efiling notifications of entries
                             that do not include attachments, the
                             committee communication tracker
                             functionality and review the team calendar
                             development site.(56017821)

06/04/19    Landrio, Nikki   Email exchanges with Ms. Dumas regarding           420.00         0.30        126.00
            M.               request for edits to the billing codes (.1) and
                             coordinate same with billing department
                             (.2).(56017831)

06/04/19    Landrio, Nikki   Receive and review email from Ms. Dumas            420.00         0.30        126.00
            M.               regarding request to update the billing task
                             code descriptions (.1) and coordinate same
                             with the billing administrator (.2).(56017832)

06/04/19    Landrio, Nikki   Email exchanges with Ms. Woltering                 420.00         0.10         42.00
            M.               regarding scheduling call to discuss and
                             review the enhancements made on the
                             committee communication
                             tracker.(56017836)

06/04/19    Landrio, Nikki   Receive and review email from Mr. Jesic            420.00         0.30        126.00
            M.               providing the Compulaw extract used for
                             populating the team calendar and review



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              Houston
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                                                                 Philadelphia
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                             and update same for population on
                             calendar.(56017837)

06/04/19    Landrio, Nikki   Receive and review email from Mr.                    420.00         0.30        126.00
            M.               Workman regarding request to add Ms.
                             Green to the PG&E distribution list (.1)
                             review distribution lists to identify lists which
                             Ms. Green is to be added to (.1) and
                             coordinate same (.1).(56017840)

06/04/19    Rawles, Michael Review and analysis of bankruptcy docket              270.00         0.20         54.00
            M.              regarding updating service list.(56015483)

06/05/19    Kates, Elyssa S. Correspondence with Mr. Green, Mr.                   760.00         0.10         76.00
                             Esmont and Mr. Workman regarding
                             assignment of projects.(56020163)

06/05/19    Kinne, Tanya M. Discussion with Ms. Landrio regarding                 365.00         0.30        109.50
                            procedures for maintaining repository of
                            Notices of Depositions and legal
                            memoranda.(56021808)

06/05/19    Kinne, Tanya M. Review memoranda and summaries saved                  365.00         0.30        109.50
                            on document management system (.10);
                            save all to appropriate repositories
                            (.20).(56021809)

06/05/19    Landrio, Nikki   Discussion with Ms. Kinne regarding                  420.00         0.30        126.00
            M.               procedures for maintaining repository of
                             Notices of Depositions and legal
                             memoranda.(56017855)

06/05/19    Landrio, Nikki   Email exchanges with Mr. Workman                     420.00         0.30        126.00
            M.               regarding status of research repository
                             implementation status (.2) and locate emails
                             advising case team of same for Mr.
                             Workman's review (.1).(56017857)

06/05/19    Landrio, Nikki   Email with Mr. Workman regarding status of           420.00         0.20         84.00
            M.               development of team calendar and task
                             tracker.(56017865)

06/05/19    Landrio, Nikki   Email exchanges with Mr. Esmont and                  420.00         0.20         84.00
            M.               development team regarding status of
                             deployment of the task tracker.(56017866)

06/05/19    Landrio, Nikki   Email exchanges with Ms. Woltering                   420.00         0.20         84.00



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            M.               regarding coordinating demonstration of
                             enhancements to the committee
                             communication tracker.(56017872)

06/05/19    Landrio, Nikki   Email exchanges with Mr. Esmont regarding         420.00         0.20         84.00
            M.               request to update committee distribution list
                             (,1) and coordinate same with information
                             services (.1).(56017873)

06/05/19    Rawles, Michael Review and analysis of bankruptcy docket           270.00         0.60        162.00
            M.              regarding updating service list (.2); review
                            recently filed pleadings regarding additional
                            attorneys to be added to service list (.2);
                            revise and update master service list and e-
                            mail service list with new additions
                            (.2).(56015984)

06/05/19    Rawles, Michael Further review and analysis of Sacramento          270.00         0.80        216.00
            M.              Superior Court coordinated Butte Fire
                            Cases docket.(56015989)

06/06/19    Landrio, Nikki   Receive and review efilings from June 4,          420.00         1.70        714.00
            M.               2019 and calendar all hearing dates,
                             objections due dates, and statutory deadline
                             in Compulaw for notifications to the case
                             team.(56017883)

06/06/19    Landrio, Nikki   Email exchanges with Mr. Godsen and Mr.           420.00         0.20         84.00
            M.               Esmont regarding additional enhancements
                             to the task tracker and status of completion
                             of same.(56017886)

06/06/19    Landrio, Nikki   Discussion with Ms. Kinne regarding               420.00         0.20         84.00
            M.               paralegal responsibilities and discuss
                             adding additional paralegal support to assist
                             with bankruptcy filings after
                             hours.(56017887)

06/06/19    Landrio, Nikki   Discussion with Ms. Hutton regarding              420.00         0.10         42.00
            M.               scheduling discussion with Mr. Jesic and
                             Mr. Godsen to review the development
                             updates to the task tracker before
                             demonstration to Mr. Easement and Ms.
                             Kates.(56017890)

06/06/19    Landrio, Nikki   Receive and review emails from Ms. Jesse          420.00         0.40        168.00
            M.               and Ms. Hutton regarding quick reference



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              Houston
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                             guide for saving document to the PG&E
                             workspace and folder structure and list of
                             team members who have been identified for
                             saving documents outside of the PG&E
                             workspace (.1) and review the reference
                             guide to be circulated to the team members
                             to assist with correcting same
                             (.3).(56017892)

06/06/19    Landrio, Nikki   Review and testing of functionality of the          420.00       0.80        336.00
            M.               committee communication tracking in
                             preparation for demonstration to Ms.
                             Woltering.(56017894)

06/06/19    Landrio, Nikki   Discussion with Ms. Woltering regarding the         420.00       1.00        420.00
            M.               committee communication tracker and
                             demonstration of functionality of same and
                             provide feedback regarding enhancements
                             for same.(56017896)

06/06/19    Lane, Deanna     Review of main case docket for updating             280.00       0.50        140.00
            L.               Weekly Critical Dates Memo(56030483)

06/06/19    Rawles, Michael Work on obtaining preview page or                    270.00       0.60        162.00
            M.              documents online from Sacramento
                            Superior Court coordinated Butte Fire
                            Cases docket.(56017392)

06/07/19    Kates, Elyssa S. Correspondence with Ms. Hutton, Ms.                 760.00       0.10         76.00
                             Landrio, Mr. Esmont and others regarding
                             case tracking issues.(56020195)

06/07/19    Kates, Elyssa S. Correspondence with Mr. Esmont regarding            760.00       0.10         76.00
                             committee expenses for May.(56020206)

06/07/19    Morris, Kimberly Correspondence re media                             895.00       0.30        268.50
            S.               proposal(56038406)

06/07/19    Morris, Kimberly Correspondence re TCC                               895.00       0.20        179.00
            S.               website(56038416)

06/07/19    Rawles, Michael Review and analysis of bankruptcy docket             270.00       0.60        162.00
            M.              regarding updating service list (.2); review
                            recently filed pleadings regarding additional
                            attorneys to be added to service list (.2);
                            revise and update master service list and e-
                            mail service list with new additions



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Date        Name             Description                                          Rate      Hours       Amount
                             (.2).(56017396)

06/09/19    Morris, Kimberly Correspondence re media                            895.00        0.20        179.00
            S.               proposal(56038422)

06/10/19    Bookout,         Communicate with Committee about                   250.00        0.70        175.00
            Kimberly M.      Magnum database to provide
                             memorandums to committee, presentation
                             materials, and meeting minutes for further
                             review.(56071388)

06/10/19    Goodman, Eric Conference call with PG&E Team regarding              800.00        0.90        720.00
            R.            case status.(56057924)

06/10/19    Kates, Elyssa S. Call with Mr. Esmont regarding committee           760.00        0.10         76.00
                             member reimbursement for May,
                             assignment of issues, and discovery
                             matters.(56071551)

06/10/19    Kates, Elyssa S. Call with Ms. Moser regarding SharePoint           760.00        0.20        152.00
                             issues.(56071558)

06/10/19    Kates, Elyssa S. Correspondence with Ms. Moser regarding            760.00        0.10         76.00
                             SharePoint issues.(56071559)

06/10/19    Kates, Elyssa S. Call with Mr. Workman and Ms. Moser                760.00        0.20        152.00
                             regarding SharePoint issues.(56071560)

06/10/19    Kates, Elyssa S. Call with Ms, Green and Mr. Esmont                 760.00        0.20        152.00
                             regarding the motion for protective order
                             and the status memo to the
                             TCC.(56071561)

06/10/19    Landrio, Nikki   Email exchanges with Mr. Esmont regarding          420.00        0.40        168.00
            M.               request to update internal distribution list
                             with new members (.2) and coordinate
                             same with information services
                             (.2).(56061946)

06/10/19    Landrio, Nikki   Participate in discussion with Mr. Esmont,         420.00        0.70        294.00
            M.               Ms. Kates, Mr. Workman, Ms. Green, Mr.
                             Jesic and others regarding the development
                             and business requirements for the task
                             tracker.(56061949)

06/10/19    Landrio, Nikki   Receive and review email identifying users         420.00        0.20         84.00
            M.               not saving documents to the team



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                             workspace (.1) and compile list of users to
                             assist with use of the document
                             management system (.1).(56061950)

06/10/19    Landrio, Nikki   Review and analysis of efilings from June 5,      420.00         2.90      1,218.00
            M.               2019 through June 10, 2019 and calendar
                             same in Compulaw docketing system for
                             case team notification of upcoming
                             deadlines and hearings.(56061961)

06/10/19    Landrio, Nikki   Discussion with Ms. Hutton, Mr. Jesic and         420.00         1.00        420.00
            M.               Mr. Godsen regarding updates on PG&E
                             open projects and discuss status of
                             completion of same, including team
                             calendar and task tracker.(56061962)

06/10/19    Landrio, Nikki   Email exchanges with Mr. Fuller regarding         420.00         0.10         42.00
            M.               request to be added to Compulaw internal
                             docketing system to ensure receipt and
                             notifications of all calendared hearing dates
                             and deadlines (.1) and coordinate same
                             (.1).(56061963)

06/10/19    Landrio, Nikki   Email exchanges with Ms. Moser regarding          420.00         0.10         42.00
            M.               the task tracker and management of
                             tasks.(56061964)

06/10/19    Lane, Deanna     Final review of court docket in order to          280.00         0.80        224.00
            L.               finalize and circulate the PG&E Weekly
                             Critical Dates Memo(56066187)

06/10/19    Morris, Kimberly Correspondence with plaintiff counsel re          895.00         0.20        179.00
            S.               claims process meeting(56080240)

06/10/19    Rawles, Michael Review and analysis of bankruptcy docket           270.00         0.40        108.00
            M.              regarding updating service list (.2); review
                            recently filed pleadings regarding additional
                            attorneys to be added to service list and
                            official mailing matrix (.2).(56062497)

06/11/19    Bookout,         Communicate with Committee about                  250.00         0.50        125.00
            Kimberly M.      Magnum database to provide
                             memorandums to committee for further
                             review.(56071817)

06/11/19    Kates, Elyssa S. Call with Mr. Godsen and others regarding         760.00         0.10         76.00
                             SharePoint.(56071570)



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06/11/19    Kates, Elyssa S. Correspondence with Mr. Esmont regarding          760.00         0.10         76.00
                             the status memo.(56071571)

06/11/19    Landrio, Nikki   Receive and review notification of team           420.00         1.20        504.00
            M.               members regarding saving documents to
                             the document management system and
                             issues with foldering correctly (.2) and
                             prepare email to these team members
                             providing memo and reference guide to
                             assist with proper document management
                             (1.0).(56061974)

06/11/19    Landrio, Nikki   Discussion with Ms. Moser regarding               420.00         0.30        126.00
            M.               entering team assignments in the task
                             tracker and review form and process for
                             same.(56061977)

06/11/19    Landrio, Nikki   Discussion with Mr. Godsen and Ms. Hutton         420.00         0.20         84.00
            M.               regarding the task tracker and work flow for
                             same and providing access to Ms. Kates
                             and Ms. Moser.(56061981)

06/11/19    Landrio, Nikki   Docketing of all efilings in the bankruptcy       420.00         2.60      1,092.00
            M.               court including review of filed documents to
                             calendar deadlines and hearing dates for
                             case team notification.(56061983)

06/11/19    Landrio, Nikki   Email exchanges with Ms. Attard regarding         420.00         0.20         84.00
            M.               request to be added to internal distribution
                             list for case team (.1) and coordinate same
                             with information services department
                             (.1).(56061992)

06/11/19    Rawles, Michael Review and analysis of bankruptcy docket           270.00         0.20         54.00
            M.              regarding updating service list.(56062553)

06/12/19    Landrio, Nikki   Calendaring of efilings in the bankruptcy         420.00         1.70        714.00
            M.               court and related adversary proceedings in
                             Compulaw docketing system to ensure case
                             team notification of hearings and
                             deadlines.(56062089)

06/12/19    Landrio, Nikki   Email exchanges with Mr. Esmont and Mr.           420.00         0.20         84.00
            M.               Workman to coordinate meeting time to
                             review and provide demonstration of the
                             case team site and the team



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Date        Name             Description                                          Rate      Hours       Amount
                             calendar.(56062091)

06/12/19    Landrio, Nikki   Email exchanges with Mr. Esmont regarding          420.00        0.20         84.00
            M.               circulating case wide procedures memos to
                             new team members to ensure consistency
                             of work flow.(56062093)

06/12/19    Landrio, Nikki   Discussion with Ms. Hutton regarding               420.00        0.10         42.00
            M.               scheduling meeting time to review the team
                             site and team calendar with Mr. Esmont and
                             Mr. Workman.(56062096)

06/12/19    Landrio, Nikki   Discussion with Ms. Moser regarding the            420.00        0.10         42.00
            M.               task tracker and completing the tracking
                             form for assignments.(56062102)

06/12/19    Landrio, Nikki   Email exchanges with Mr. Godsen                    420.00        0.30        126.00
            M.               regarding enhancements to the task tracker
                             form to provide ability to select adversary
                             proceedings and related docket
                             numbers.(56062103)

06/12/19    Rawles, Michael Review and analysis of bankruptcy docket            270.00        0.60        162.00
            M.              regarding updating service list (.2); review
                            recently filed pleadings regarding additional
                            attorneys to be added to service list (.2);
                            revise and update master service list and e-
                            mail service list with new additions
                            (.2).(56062556)

06/13/19    Landrio, Nikki   Receive and review efilings and notifications      420.00        2.70      1,134.00
            M.               for documents filed in the bankruptcy court
                             and related adversary proceedings and
                             calendar hearing dates and deadlines in
                             Compulaw docketing system to ensure case
                             team notifications of same.(56062118)

06/13/19    Landrio, Nikki   Email exchanges with Ms. Kates regarding           420.00        0.20         84.00
            M.               document management system for
                             maintenance of documents and providing
                             guidance regarding same.(56062128)

06/13/19    Landrio, Nikki   Receive and review notification regarding          420.00        0.20         84.00
            M.               document management system and
                             identifying users to provide guidance and
                             case team best practices (.1) and email
                             exchanges with Ms. Hammon regarding



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Date        Name             Description                                          Rate      Hours       Amount
                             same (.1).(56062129)

06/13/19    Landrio, Nikki   Email exchanges with Mr. Fuller regarding          420.00        0.20         84.00
            M.               docketing deadline for Debtors to produce
                             documents (.1) and advise regarding case
                             procedures for docketing in Compulaw
                             (.1).(56062135)

06/13/19    Rawles, Michael Review and analysis of bankruptcy docket            270.00        0.80        216.00
            M.              regarding updating service list (.2); review
                            recently filed pleadings regarding additional
                            attorneys to be added to service list (.2);
                            revise and update master service list and e-
                            mail service list with new additions
                            (.4).(56062559)

06/13/19    Rawles, Michael Further work on obtaining preview page or           270.00        0.20         54.00
            M.              documents online from Sacramento
                            Superior Court coordinated Butte Fire
                            Cases docket.(56079613)

06/14/19    Kates, Elyssa S. Call with Mr. Esmont regarding staffing            760.00        0.30        228.00
                             issues.(56071616)

06/14/19    Kates, Elyssa S. Correspondence with Ms. Green and Mr.              760.00        0.10         76.00
                             Esmont regarding billing codes.(56071617)

06/14/19    Kinne, Tanya M. Review all deadline and hearing reminders           365.00        0.20         73.00
                            generated on June 14, 2019.(56122769)

06/14/19    Kinne, Tanya M. Review all e-filing notices of documents filed      365.00        0.20         73.00
                            on June 13, 2019.(56122770)

06/14/19    Kinne, Tanya M. Review and revise all Certificates of Service       365.00        0.50        182.50
                            to conform to local rules and team
                            templates.(56122777)

06/14/19    Kinne, Tanya M. Review docket and update Master Service             365.00        0.40        146.00
                            List.(56122778)

06/14/19    Landrio, Nikki   Receive and review notification regarding          420.00        0.20         84.00
            M.               documents not being saved in the PG&E
                             document management system (.1) and
                             locate documents and move them to the
                             correct folder space for access by case
                             team (.2).(56062142)




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              Houston
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                          Los Angeles
                                            Filed: 07/31/19
                                        New York    Orlando
                                                                Entered:
                                                                Philadelphia
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06/14/19   Landrio, Nikki   Receive and analysis of efiling notifications     420.00        1.50        630.00
           M.               for bankruptcy court matters and docket
                            events in Compulaw for calendar
                            notifications to case teams regarding
                            upcoming hearings and related
                            deadlines.(56062143)

06/14/19   McDonald,        Prepare options for coding records in             230.00         0.40         92.00
           Michael H.       Relativity database.(56093671)

06/15/19   Landrio, Nikki   Calendaring in Compulaw of all efilings for       420.00         0.80        336.00
           M.               documents filed in bankruptcy court and
                            receive and review each filing to identify
                            deadlines and hearing dates to be docketed
                            for team notification.(56062160)

06/16/19   Kates, Elyssa S. Correspondence with Mr. Esmont and                760.00         0.10         76.00
                            others regarding a research
                            assignment.(56111827)

06/17/19   Bent, Camille C. Review correspondence from Mr. Esmont             610.00         0.10         61.00
                            regarding upcoming group call regarding
                            review of tasks and case management
                            update in PG&E Corporation.(56126591)

06/17/19   Bent, Camille C. Review agenda for committee meeting and           610.00         0.10         61.00
                            correspondence from Ms. Dumas relating to
                            same in PG&E Corporation
                            bankruptcy.(56126599)

06/17/19   Bookout,         Communicate with Committee about                  250.00         0.20         50.00
           Kimberly M.      Magnum database to provide
                            memorandums to committee for further
                            review.(56131095)

06/17/19   Goodman, Eric In preparation for Official Committee                800.00         0.80        640.00
           R.            meeting on June 20, 2019, participate in
                         team meeting to discuss status of all
                         outstanding assignments.(56096445)

06/17/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                760.00         0.10         76.00
                            Julian, Mr. Esmont, Ms. Green, Mr. Rose
                            and others regarding a case status
                            meeting.(56111829)

06/17/19   Kates, Elyssa S. Conference call with Mr. Godsen, Mr.,             760.00         0.60        456.00
                            Esmont, Mr. Workman and others regarding



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             Houston
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Date        Name             Description                                         Rate       Hours       Amount
                             Share Point.(56111831)

06/17/19    Kates, Elyssa S. Call with Ms. Lane regarding upcoming             760.00         0.30        228.00
                             deadlines.(56111835)

06/17/19    Kates, Elyssa S. Call with Mr. Esmont regarding the Elward         760.00         0.10         76.00
                             adversary proceeding.(56111836)

06/17/19    Kates, Elyssa S. Correspondence with Ms. Dumas, Ms. Lane           760.00         0.10         76.00
                             and Mr. Fuller regarding adversary
                             proceeding related issues.(56111837)

06/17/19    Kinne, Tanya M. Review all deadline and hearing reminders          365.00         0.20         73.00
                            generated on June 17, 2019.(56125292)

06/17/19    Kinne, Tanya M. Review all e-filing notices of documents filed     365.00         0.20         73.00
                            June 14 - June 16, 2019.(56125293)

06/17/19    Landrio, Nikki   Email exchanges with Ms. Hutton regarding         420.00         0.20         84.00
            M.               demonstration to Mr. Esmont and Mr.
                             Workman regarding the team calendar and
                             the team site.(56105844)

06/17/19    Landrio, Nikki   Email exchanges with Mr. Esmont regarding         420.00         0.20         84.00
            M.               request to add Mr. Rawles to the core team
                             distribution list (.1) and coordinate same
                             with information services (.1).(56105845)

06/17/19    Landrio, Nikki   Email exchanges with Mr. Rawles regarding         420.00         0.20         84.00
            M.               coordinating receipt of Compulaw docket
                             reminders for case deadlines and hearing
                             dates.(56105846)

06/17/19    Landrio, Nikki   Email exchanges with Mr. Esmont to                420.00         0.20         84.00
            M.               remove Ms. Woltering and add Mr. Fuller
                             and Mr. Kavouras to the core team internal
                             distribution lists (.1) and coordinate with
                             information services to implement the
                             requested changes to the distribution list
                             (.1).(56105847)

06/17/19    Landrio, Nikki   Email exchanges with Mr. Fuller and Mr.           420.00         0.20         84.00
            M.               Kavouras regarding coordinating receipt of
                             Comulaw calendar reminders regarding
                             upcoming deadlines and hearing
                             dates.(56105848)




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06/17/19   Landrio, Nikki   Email exchanges with Mr. Jesic regarding             420.00        0.20         84.00
           M.               adding new adversary proceeding to docket
                            notification distribution list for filings to the
                            case team.(56105849)

06/17/19   Landrio, Nikki   Discussion with Ms. Hutton regarding                 420.00         0.50        210.00
           M.               Hutton regarding update concerning
                            discussion with Mr. Esmont and Mr.
                            Workman regarding the team calendar and
                            the team site.(56105850)

06/17/19   Landrio, Nikki   Email exchanges with Ms. Jesse regarding             420.00         0.20         84.00
           M.               the quick reference guide to assist team
                            members with document management (.1)
                            and upload copy to the central document
                            management system for case team access
                            (.1).(56105851)

06/17/19   Landrio, Nikki   Coordinate with Mr. Alcala to update the             420.00         0.10         42.00
           M.               time keeper list in Compulaw to include
                            additional team members to ensure receipt
                            of calendar reminders and hearing
                            dates.(56105852)

06/17/19   Landrio, Nikki   Review the task tracker functionality                420.00         0.40        168.00
           M.               regarding matching case numbers to docket
                            numbers (.2) and communications with Mr.
                            Godsen regarding correctly functionality to
                            match case numbers with docket numbers
                            (.2).(56105854)

06/17/19   Landrio, Nikki   Email exchanges with Mr. Fuller regarding            420.00         0.20         84.00
           M.               internal distribution list updates and follow
                            up with Ms. Lane to verify lists being used
                            for certain projects.(56105860)

06/17/19   Landrio, Nikki   Email exchanges with Ms. Kinne regarding             420.00         0.20         84.00
           M.               maintenance of Debtors annual reports from
                            2011 through 2018 per request from Ms.
                            Sweeny and Ms. Zuberi.(56105861)

06/17/19   Landrio, Nikki   Receive, review and analysis of efiling              420.00         0.70        294.00
           M.               notifications for PG&E cases and related
                            adversary proceedings and calendar
                            statutory deadlines and upcoming hearing
                            dates in Compulaw for team notification and
                            preparation of same.(56105863)



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06/17/19    Landrio, Nikki   Communications with Mr. Esmont regarding           420.00        0.30        126.00
            M.               the tracking of newly filed adversary
                             proceedings, tracking in Compulaw for
                             docketing purposes, and case management
                             updates concerning document management
                             system and team calendar.(56105868)

06/17/19    Landrio, Nikki   Email exchanges with Mr. Esmont regarding          420.00        0.30        126.00
            M.               request from Ms. Merola to be added to
                             internal team distribution lists and
                             concerning all internal distribution lists
                             created to date (.2) and coordinate same
                             with information services (.1).(56105869)

06/17/19    Lane, Deanna     Review of last week's court docket in order        280.00        1.50        420.00
            L.               to update Weekly Critical Dates
                             Memorandum; reviewed emails from Ms.
                             Kates, Mr. Fulller, Ms. Zuberi and Mr.
                             Murphy regarding associated/related dates
                             for same(56122670)

06/17/19    Prabucki,        Attend team call to review work flows and          385.00        0.80        308.00
            Kenneth          processes.(56113589)

06/17/19    Prabucki,        Address issues relating to the assignment of       385.00        0.20         77.00
            Kenneth          research tasks.(56113590)

06/17/19    Rawles, Michael Review and analysis of bankruptcy docket            270.00        0.90        243.00
            M.              regarding updating service list (.2); review
                            recently filed pleadings regarding additional
                            attorneys to be added to service list (.2);
                            revise and update master service list and e-
                            mail service list with new additions
                            (.5).(56104349)

06/18/19    Bookout,         Communicate with Committee about                   250.00        0.40        100.00
            Kimberly M.      Magnum database to provide
                             memorandums and meeting minutes to
                             committee for further review.(56131204)

06/18/19    Kates, Elyssa S. Correspondence with Mr. Esmont and Ms.             760.00        0.10         76.00
                             Moser regarding the summary of
                             professional fee and retention
                             issues.(56111861)

06/18/19    Kinne, Tanya M. Review all e-filing notices of documents filed      365.00        0.20         73.00



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              Houston
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                             on June 17, 2019.(56125310)

06/18/19    Kinne, Tanya M. Review all deadline and hearing reminders          365.00         0.10         36.50
                            generated on June 18, 2019.(56125311)

06/18/19    Landrio, Nikki   Docketing of all PG&E related efilings in the     420.00         2.90      1,218.00
            M.               main case and adversary proceedings in
                             Compulaw.(56105877)

06/18/19    Landrio, Nikki   Discussion with Ms. Hutton, Mr. Jesic and         420.00         1.10        462.00
            M.               Mr. Godsen regarding PG&E projects and
                             status including team calendar, task
                             manager, docket alerting and converting
                             from Prime Clerk to Court API and text
                             search ability of filed documents.(56105879)

06/18/19    Landrio, Nikki   Receive and review notification regarding         420.00         0.30        126.00
            M.               team document management in PG&E
                             workspace (.1) and provide team members
                             with memos regarding case wide protocol
                             for document maintenance (.2).(56105889)

06/18/19    Landrio, Nikki   Email exchanges with Ms. Attard regarding         420.00         0.20         84.00
            M.               request for access to Magnum work space
                             for communications with committee (.1) and
                             coordinate same (.1).(56105919)

06/18/19    Ravick, Jacob    Work on obtaining case filings and status for     250.00         0.30         75.00
            H.               attorney review (.3).(56117570)

06/18/19    Rawles, Michael Review and analysis of bankruptcy court            270.00         0.20         54.00
            M.              docket regarding updating service
                            list.(56104554)

06/19/19    Bookout,         Assist Ms. Gowins with accessing Magnum           250.00         0.50        125.00
            Kimberly M.      database (.2); communicate with committee
                             regarding June 19, 2019 filings uploaded to
                             Magnum database (.3).(56144161)

06/19/19    Kinne, Tanya M. Review all deadline and hearing reminders          365.00         0.30        109.50
                            generated on June 19, 2019.(56125326)

06/19/19    Kinne, Tanya M. Review all e-filing notices of documents filed     365.00         0.30        109.50
                            on June 18, 2019.(56125327)

06/19/19    Kinne, Tanya M. Electronically file and serve Statement in         365.00         0.50        182.50
                            Support of Stipulation Between Debtors and



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                             California Public Utilities Commission in
                             Respect of Certain Commission
                             Proceedings; prepare and file Certificate of
                             Service.(56125343)

06/19/19    Landrio, Nikki   Receive and review PG&E news letter for           420.00         0.20         84.00
            M.               June 19, 2019 for communication to the
                             committee (.1) and upload copy to the
                             document management system for access
                             by the team members (.1).(56105924)

06/19/19    Landrio, Nikki   Review and analysis of efilings and docket        420.00         3.20      1,344.00
            M.               deadlines and upcoming hearing dates in
                             Compulaw for team notification.(56105926)

06/19/19    Landrio, Nikki   Email exchanges with Mr. Fuller and Ms.           420.00         0.20         84.00
            M.               Zuberi regarding document management on
                             PG&E workspace and provide case wide
                             memo regarding central repository of
                             documents.(56105930)

06/19/19    Landrio, Nikki   Discussion with Ms. Kinne regarding               420.00         0.10         42.00
            M.               document management on PG&E
                             workspace and maintenance of folders for
                             corresponding attorney work
                             product.(56105931)

06/19/19    Landrio, Nikki   Email exchanges with Mr. Jesic regarding          420.00         0.20         84.00
            M.               new adversary proceeding filing and
                             updating the docketing system and task
                             tracker to include same.(56105937)

06/19/19    Prabucki,        Address issues relating to the coordination       385.00         1.10        423.50
            Kenneth          of research and other tasks.(56113611)

06/19/19    Rawles, Michael Review and analysis of bankruptcy court            270.00         0.20         54.00
            M.              docket regarding updating service
                            list.(56104568)

06/20/19    Kates, Elyssa S. Call with Mr. Esmont regarding the status of      760.00         0.30        228.00
                             various assignments.(56111903)

06/20/19    Kinne, Tanya M. Review all deadline and hearing reminders          365.00         0.20         73.00
                            generated on June 20, 2019.(56139027)

06/20/19    Kinne, Tanya M. Review all e-filing notices of documents filed     365.00         0.30        109.50
                            on June 19, 2019.(56139028)



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06/20/19   Landrio, Nikki   Review and analysis of all efiled documents       420.00       2.60   1,092.00
           M.               in main case and related adversary
                            proceedings and calendar deadlines and
                            hearing dates in Compulaw for team
                            reminders and notification.(56105980)

06/20/19   Landrio, Nikki   Review the bankruptcy docket and prepare          420.00       0.40     168.00
           M.               summary of closed related adversary
                            proceedings (.2) and email exchanges with
                            Mr. Jesic regarding updating data in the
                            task tracker to indicate status of case as
                            active or closed (.2).(56105981)

06/20/19   Landrio, Nikki   Discussion with Ms. Hutton, Mr. Jesic and         420.00       1.00     420.00
           M.               Mr. Godsen regarding enhancements to the
                            task tracker as requested by Mr. Esmont
                            and Ms. Kates and review of same in
                            preparation for demonstration to case
                            team.(56105982)

06/20/19   Prabucki,        Conference with Mr. Esmont regarding              385.00       1.20     462.00
           Kenneth          matters relating to the
                            proceedings.(56113619)

06/20/19   Rawles, Michael Review and analysis of bankruptcy court            270.00       1.00     270.00
           M.              docket regarding updating service list (.2);
                           review recently filed pleadings regarding
                           additional attorneys to be added to service
                           list (.2); revise and update master service
                           list and e-mail service list with new additions
                           (.6).(56104590)

06/21/19   Bookout,         Communicate with Committee about                  250.00       0.60     150.00
           Kimberly M.      Magnum database to provide filings
                            pertaining to Motion for Authority to Retain
                            CEO and President of PG&E Corp, and
                            Motion for Approval of the Key Employee
                            Incentive Program for further
                            review.(56144649)

06/21/19   Kates, Elyssa S. Correspondence with Mr. Esmont and                760.00       0.30     228.00
                            others regarding filings for
                            Magnum.(56111904)

06/21/19   Kates, Elyssa S. Correspondence with Ms. Green, Mr.                760.00       0.10        76.00
                            Esmont and others regarding case



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                            assignments.(56111909)

06/21/19   Landrio, Nikki   Email exchanges with Mr. Esmont regarding       420.00       0.20          84.00
           M.               distribution of case wide procedures memo
                            to new members of the team and
                            coordinating same going
                            forward.(56105950)

06/21/19   Landrio, Nikki   Prepare email to the case team providing        420.00       0.20          84.00
           M.               case wide procedures memos as requested
                            by Mr. Esmont to new members of the
                            team.(56105952)

06/21/19   Landrio, Nikki   Email exchanges with Ms. Merolla regarding      420.00       0.20          84.00
           M.               billing guidelines and maintenance of
                            documents on the document management
                            system.(56105955)

06/21/19   Landrio, Nikki   Review efilings and calendar hearings and       420.00       2.30      966.00
           M.               related deadlines in Compulaw for case
                            team notification and docketing
                            requirements.(56105960)

06/21/19   Prabucki,        Assist in the coordination of the assignment    385.00       0.40      154.00
           Kenneth          of various tasks.(56113627)

06/21/19   Rawles, Michael Review and analysis of bankruptcy court          270.00       0.20          54.00
           M.              docket regarding updating service
                           list.(56112979)

06/22/19   Landrio, Nikki   Docketing of documents efiled in the            420.00       0.30      126.00
           M.               bankruptcy matters in Compulaw for team
                            calendar notifications of upcoming hearings
                            and deadlines.(56105973)

06/24/19   Kates, Elyssa S. Call with Ms. Landio, Mr. Godsen and            760.00       0.40      304.00
                            others regarding the SharePoint
                            program.(56152037)

06/24/19   Kates, Elyssa S. Correspondence with Mr. McDonald and            760.00       0.10          76.00
                            others regarding content for
                            Magnum.(56152040)

06/24/19   Kates, Elyssa S. Call with Mr. Esmont regarding the weekly       760.00       0.30      228.00
                            team call and SharePoint.(56152044)

06/24/19   Kates, Elyssa S. Call with Mr. Esmont regarding searchability    760.00       0.30      228.00



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                            of proofs of claim.(56152051)

06/24/19   Kates, Elyssa S. Correspondence with Ms Hutton, Mr.               760.00       0.10         76.00
                            Esmont, Mr. Godsen and Mr. Bekier
                            regarding claims searches.(56152052)

06/24/19   Kinne, Tanya M. Review all deadline and hearing reminders         365.00       0.30     109.50
                           generated on June 21 and June 24,
                           2019.(56170431)

06/24/19   Kinne, Tanya M. Review all e-filing notices of documents filed    365.00       0.30     109.50
                           June 21 - June 24, 2019.(56170432)

06/24/19   Landrio, Nikki   Discussion with Ms. Hutton, Mr. Jesic, Ms.       420.00       0.80     336.00
           M.               Kates, Mr. Godsen, regarding the task
                            tracker functionality and business
                            requirements.(56106028)

06/24/19   Landrio, Nikki   Receive and review efilings and update           420.00       1.70     714.00
           M.               docketing system in Compulaw to calendar
                            hearing dates, objection due dates and
                            reply due dates for team notification and
                            reminders.(56106031)

06/24/19   Landrio, Nikki   Email exchanges with Ms. Zuberi regarding        420.00       0.20         84.00
           M.               case wide procedures for document
                            management (.1) and update document link
                            to ensure located in document repository for
                            access by all team members
                            (.1).(56106042)

06/24/19   Landrio, Nikki   Email exchanges with Ms. Maldonado               420.00       0.20         84.00
           M.               regarding case wide procedures for
                            document management (.1) and update
                            document link to ensure located in
                            document repository for access by all team
                            members (.1).(56106043)

06/24/19   Landrio, Nikki   Email exchanges with Mr. Sproul regarding        420.00       0.20         84.00
           M.               case wide procedures for document
                            management (.1) and update document link
                            to ensure located in document repository for
                            access by all team members
                            (.1).(56106044)

06/24/19   Landrio, Nikki   Email exchanges with Mr. Kristiansen, Mr.        420.00       0.10         42.00
           M.               Donaho, Ms. Martinez and Mr. Kleber



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                            regarding case wide procedures for
                            document management and providing
                            assistance and guidance regarding
                            same.(56106046)

06/24/19   Landrio, Nikki   Email exchanges with Ms. O'Neill, Ms.             420.00       0.20        84.00
           M.               Roesch and Ms. Vigil regarding new billing
                            task codes for PG&E matter (.1) and
                            circulate same to Mr. Esmont for notification
                            to the case team billing requirements
                            (.1).(56106047)

06/24/19   Landrio, Nikki   Discussion with Mr. Jesic, Mr. Godsen and         420.00       0.80     336.00
           M.               Ms. Hutton regarding business rules for the
                            work flow regarding task list
                            tracker.(56106048)

06/24/19   Lane, Deanna     Review of court flings from last week in          280.00       1.20     336.00
           L.               order to update Weekly Critical Dates
                            Memorandum; circulating same to PG&
                            Bankruptcy Group(56123994)

06/24/19   Rawles, Michael Review and analysis of bankruptcy court            270.00       0.50     135.00
           M.              docket regarding updating service list (.2);
                           review recently filed pleadings regarding
                           additional attorneys to be added to service
                           list (.2); revise and update master service
                           list and e-mail service list with deletions
                           (.1).(56123088)

06/25/19   Kates, Elyssa S. Calls with Mr. Esmont regarding billing           760.00       0.20     152.00
                            issues, and assignment issues.(56152064)

06/25/19   Kates, Elyssa S. Correspondence with Mr. Esmont regarding          760.00       0.10        76.00
                            the Committee member second expense
                            reimbursement statement.(56152072)

06/25/19   Kinne, Tanya M. Review all deadline and hearing reminders          365.00       0.20        73.00
                           generated on June 25, 2019.(56170448)

06/25/19   Kinne, Tanya M. Review all e-filing notices of documents filed     365.00       0.30     109.50
                           on June 24, 2019.(56170449)

06/25/19   Landrio, Nikki   Email exchanges with Mr. Godsen and Ms.           420.00       0.20        84.00
           M.               Hutton regarding the request for claims
                            review and searching on docket as
                            requested by Mr. Esmont and Ms.



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                            Kates.(56139247)

06/25/19   Landrio, Nikki   Calendaring of efiled documents in the main        420.00       1.70     714.00
           M.               bankruptcy proceeding and related
                            adversary proceeding and docket same in
                            Compulaw regarding upcoming hearings,
                            and related deadlines for case team
                            notification.(56139251)

06/25/19   Landrio, Nikki   Review the docket to identify docket text          420.00       1.00     420.00
           M.               entries to be culled out of summary for
                            review by Ms. Kates for assignments to
                            team members in response to
                            efilings.(56139259)

06/25/19   Rawles, Michael Review and analysis of bankruptcy court             270.00       0.60     162.00
           M.              docket regarding updating service list (.2);
                           review recently filed pleadings regarding
                           additional attorneys to be added to service
                           list (.2); revise and update master service
                           list and e-mail service list with deletions
                           (.2).(56158395)

06/26/19   Kates, Elyssa S. Correspondence with Mr. Esmont and Ms.             760.00       0.10       76.00
                            Moser regarding case
                            assignments.(56152082)

06/26/19   Kinne, Tanya M. Review all deadline and hearing reminders           365.00       0.30     109.50
                           generated on June 26, 2019.(56170457)

06/26/19   Kinne, Tanya M. Review all e-filing notices of documents filed      365.00       0.30     109.50
                           on June 25, 2019.(56170460)

06/26/19   Landrio, Nikki   Docketing of efilings in bankruptcy and            420.00       0.70     294.00
           M.               related adversary proceedings, including
                            review and analysis of documents filed to
                            calendar hearing dates, objections and reply
                            due dates for notification to the case
                            team.(56139270)

06/26/19   Landrio, Nikki   Discussion with Ms. Hutton, Mr. Jesic, and         420.00       0.60     252.00
           M.               Mr. Godsen regarding docket entries to be
                            culled out of docket review list for
                            assignments of tasks on the task
                            tracker.(56139292)

06/26/19   Rawles, Michael Review and analysis of bankruptcy court             270.00       0.80     216.00



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           M.               docket regarding updating service list (.2);
                            review recently filed pleadings regarding
                            additional attorneys to be added to service
                            list (.2); revise and update master service
                            list and e-mail service list with additions
                            (.4).(56162285)

06/27/19   Bent, Camille C. Review correspondence from Ms. Attard              610.00       0.20     122.00
                            relating to summary of June 26, 2019
                            omnibus hearing in PG&E Corporation
                            matter.(56174403)

06/27/19   Bookout,         Assist Mr. Kunkle with accessing Magnum            250.00       0.30       75.00
           Kimberly M.      database.(56170753)

06/27/19   Kates, Elyssa S. Call with Ms. Landrio regarding claims             760.00       0.20     152.00
                            tracking issues.(56152084)

06/27/19   Kinne, Tanya M. Review all deadline and hearing reminders           365.00       0.20       73.00
                           generated on June 27, 2019.(56170469)

06/27/19   Kinne, Tanya M. Review all e-filing notices of documents filed      365.00       0.20       73.00
                           on June 26, 2019.(56170470)

06/27/19   Landrio, Nikki   Discussion with Ms. Kates regarding                420.00       1.20     504.00
           M.               specifications of the work flow process for
                            task list tracker and request to develop a
                            transfer of claims tracking
                            system.(56146358)

06/27/19   Landrio, Nikki   Receive, review and analysis of efiling            420.00       1.70     714.00
           M.               notifications of filings in the bankruptcy court
                            and docket same in Compulaw for case
                            team notification of case statutory
                            deadlines.(56146361)

06/27/19   Landrio, Nikki   Receive and review notification regarding          420.00       0.20       84.00
           M.               attorney work product document
                            maintenance (.1) and update the document
                            meta data to ensure maintenance
                            consistent with case wide protocol
                            (.1).(56146366)

06/27/19   Landrio, Nikki   Discussion with Mr. Jesic, Mr. Godsen and          420.00       0.40     168.00
           M.               Ms. Hutton regarding team request and
                            requirements for task tracker and transfer of
                            claims database tracker.(56146368)



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06/27/19   McDonald,        Telephone conference with legal team to           230.00       0.30        69.00
           Michael H.       coordinate review of Recovery documents
                            in Relativity database.(56154338)

06/27/19   Rawles, Michael Review and analysis of bankruptcy court            270.00       0.50     135.00
           M.              docket regarding updating service list (.2);
                           review recently filed pleadings regarding
                           additional attorneys to be added to service
                           list (.2); revise and update master service
                           list and e-mail service list with additions
                           (.1).(56162286)

06/28/19   Bookout,         Communicate with Committee about                  250.00       0.60     150.00
           Kimberly M.      Magnum database to provide filings
                            pertaining to statements of expenses for
                            further review.(56171848)

06/28/19   Kates, Elyssa S. Call with Mr. Esmont regarding claims             760.00       0.20     152.00
                            issues and administrative
                            matters.(56152100)

06/28/19   Kinne, Tanya M. Review all deadline and hearing reminders          365.00       0.30     109.50
                           generated on June 28, 2019.(56170486)

06/28/19   Kinne, Tanya M. Review all e-filing notices of documents filed     365.00       0.20        73.00
                           on June 27, 2019.(56170488)

06/28/19   Landrio, Nikki   Docket all efilings in bankruptcy and related     420.00       1.90     798.00
           M.               adversary proceedings, including review
                            and analysis of documents to verity
                            statutory deadlines to be calendared in
                            Compulaw for team notification.(56146378)

06/28/19   Landrio, Nikki   Email exchanges with Ms. Peterson                 420.00       0.20        84.00
           M.               regarding request for delivery of documents
                            for Mr. Bloom's review (.1) and coordinate
                            same with Ms. Kinne (.1).(56146387)

06/28/19   Prabucki,        Address issues relating to administration of      385.00       0.10        38.50
           Kenneth          the proceedings.(56151366)

06/28/19   Rawles, Michael Review and analysis of bankruptcy court            270.00       0.20        54.00
           M.              docket regarding updating service
                           list.(56162287)

06/28/19   Rawles, Michael Telephone conference and review multiple           270.00       0.30        81.00



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           M.                e-mails regarding spreadsheet
                             project.(56166945)

Case Administration (docket updates, WIP and calendar)(006)                                 112.80   48,466.00

06/03/19   Fuller, Lars H.   Review and analyze claim estimation                545.00        0.40     218.00
                             opinion and draft summary for Mr. Julian,
                             Ms. Dumas, and Ms. Morris.(55995667)

06/03/19   Goodman, Eric Review transcript on hearing to considered             800.00        0.20     160.00
           R.            motion to extend exclusivity.(56263262)

06/03/19   Layden, Andrew Analyze other Plan and Trust documents                550.00        1.70     935.00
           V.             from mass tort cases for framework of
                          potential Tort Victims plan, and draft chart
                          with key provisions of
                          Plan/Trusts.(56017251)

06/03/19   Payne Geyer,      Review and revise analysis of American             455.00        5.20    2,366.00
           Tiffany           Hardwoods case (1.1); drafting analysis of
                             Lowenschuss (.5); analyze Judge Montali’s
                             memorandum opinion on confirmation in
                             first PG&E case relative to plan releases
                             and dictate summary of relevant excerpts
                             for inclusion in memorandum on plan issues
                             (.7); review and revise analysis of
                             Lowenschuss (.2); review and revise
                             summary of Judge Montali’s memorandum
                             opinion on confirmation in first PG&E as
                             relevant to memorandum summarizing plan
                             issues (.9); continue analyzing and
                             summarizing caselaw for memorandum on
                             plan confirmation issues (1.8).(55997548)

06/03/19   Rose, Jorian L. Review bondholder proposal to                      1,010.00        0.50     505.00
                           TCC.(56000938)

06/03/19   Sagerman, Eric Review communications Committee                     1,145.00        0.30     343.50
           E.             members and Dumas regarding bondholder
                          proposal; (.2); follow up with Julian re same
                          (.1)(56031554)

06/03/19   Woltering,        Review correspondence from Ms. Dumas               750.00        0.10      75.00
           Catherine E.      regarding Elliott Management/Bondholder
                             Proposal.(56024182)

06/04/19   Fuller, Lars H.   Teleconference with Ms. Green, Mr. Rose,           545.00        1.00     545.00



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                            Mr. Goodman, Mr. Parrish, and Mr. Layden
                            regarding plan and trust
                            structure.(55997457)

06/04/19   Goodman, Eric Telephone call with Ms. Green, Mr. Parrish,         800.00       1.00     800.00
           R.            Mr. Rose and Mr. Layden regarding plan
                         and trust documents.(56014560)

06/04/19   Green,           Telephone conference with team regarding         720.00       0.70     504.00
           Elizabeth A.     structure of trust and issues related to
                            claims made under trust.(56012003)

06/04/19   Layden, Andrew Continue to analyze other plan and trust           550.00       3.40   1,870.00
           V.             documents from mass tort bankruptcy cases
                          for framework of potential Tort Victims plan,
                          and draft chart with key provisions of
                          Plan/Trusts.(56017276)

06/04/19   Layden, Andrew Prepare for and attend call regarding plan         550.00       1.10     605.00
           V.             trust, distribution procedures, and
                          plan.(56017278)

06/04/19   Parrish, Jimmy Team call regarding outline and structure of       590.00       1.00     590.00
           D.             Tort Claimants Trust and preferred plan
                          structure.(56032263)

06/04/19   Parrish, Jimmy Review draft trust options.(56032276)              590.00       0.80     472.00
           D.

06/04/19   Payne Geyer,     Plan Proofread and edit current draft of         455.00       1.90     864.50
           Tiffany          memorandum on plan issues (.6); continue
                            analyzing and dictating summary of Takata
                            case as relevant to channeling injunction
                            issues (.9); perform additional research on
                            524(e) issues (.4).(56002786)

06/04/19   Rose, Jorian L. Conference call regarding plan issues with       1,010.00      0.90     909.00
                           Ms. Green.(56000943)

06/04/19   Weible, Robert Comment on draft of Mr. Blanchard's                830.00       2.30   1,909.00
           A.             dividend recovery memo to Mr. Julian (1.7);
                          telephone conference with Mr. Rose
                          regarding issues (.3); review Ms. Dumas
                          report on bondholder proposal, Lincoln
                          analysis of proposal, email string with Elliott
                          Management and news report regarding
                          proposal, and 6-3-19 challenge from Mr.



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                           Agajanicon and Ms. Dumas repose
                           (.5).(56008558)

06/05/19   Dumas, Cecily Emails Campora, Julian re RAK                       950.00       0.40     380.00
           A.            announcement of sponsor debtor plan
                         proposal(56035014)

06/05/19   Sagerman, Eric Communications from Dumas re Elliot              1,145.00       0.70     801.50
           E.             management group proposal (.6); email
                          from Scarpula re same (.1)(56031559)

06/05/19   Weible, Robert Review May 8, 2017 NorthStar report on             830.00       3.70   3,071.00
           A.             PG&E safety culture to develop plan ideas
                          (3.7).(56318971)

06/06/19   Payne Geyer,    Insert pinpoint case citations into working       455.00       6.70   3,048.50
           Tiffany         draft of memorandum on plan channeling
                           injunctions (.5); analyze Ninth Circuit
                           decisions in In re Plant Insulation and In re
                           Thorpe insulation company as relevant to
                           plan channeling injunctions (.8); analyze
                           Sixth Circuit decision in Dow Corning as
                           relevant to plans confirming 105a releases
                           and injunctions (.6); continue drafting
                           memorandum summarizing case law on
                           plans confirming channeling injunctions
                           pursuant to 105 and outlining extenuating
                           factors considered by courts (2.7); analyze
                           In re Takata and draft summary and
                           analysis of factors court considered in
                           support of plan confirmation pursuant to 105
                           (1.6); proofread and edit current draft of
                           memorandum on plan issues
                           (.5).(56005792)

06/07/19   Payne Geyer,    Continued drafting and revising                   455.00       1.10     500.50
           Tiffany         memorandum on plan channeling
                           injunctions.(56027492)

06/10/19   Payne Geyer,    Continue drafting analysis of Takata for          455.00       0.50     227.50
           Tiffany         channeling inunction
                           memorandum.(56029381)

06/10/19   Payne Geyer,    Perform supplemental legal research for           455.00       0.80     364.00
           Tiffany         cases confirming chapter 11 plans enjoining
                           non-consenting creditors from pursuing
                           claims against non-debtors as relevant to



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                           drafting memorandum on plan channeling
                           injunction.(56029395)

06/11/19   Dumas, Cecily Confer with Julian re trust or traditional          950.00       0.30     285.00
           A.            plan(56055111)

06/11/19   Layden, Andrew Review issues regarding and draft trust            550.00       7.60   4,180.00
           V.             agreement.(56068202)

06/11/19   Payne Geyer,    Analyze Sixth Circuit Dow Corning case as         455.00       5.60   2,548.00
           Tiffany         relevant to confirmation of plans containing
                           non-debtor releases (.6); draft analysis of
                           Sixth Circuit Dow Corning case as relevant
                           to memorandum on channeling injunctions
                           (.8); review and revise working draft of
                           memorandum on channeling injunctions
                           (.9); review case law authorizing releases
                           under combinations of 105(a), 1123(b)(3)(a)
                           and 1123(b)(6) (1.0); proof read, edit and
                           finalize draft of memorandum on case law
                           confirming Chapter 11 plans containing
                           channeling injunctions (2.3).(56042594)

06/11/19   Rose, Jorian L. Review and revise non-disclosure                1,010.00       0.80     808.00
                           agreement with those certain bondholder
                           group.(56043367)

06/11/19   Rose, Jorian L. Telephone conference with Mr. Weible            1,010.00       0.30     303.00
                           regarding discussion with bondholders and
                           securities issues.(56043373)

06/12/19   Layden, Andrew Review issues regarding and begin drafting         550.00       2.60   1,430.00
           V.             Trust Distribution Procedures.(56068205)

06/12/19   Layden, Andrew Continue drafting PG&E Tort Claims Trust           550.00       4.40   2,420.00
           V.             Agreement and circulate same.(56068211)

06/13/19   Layden, Andrew Review issues regarding and continue               550.00       1.80     990.00
           V.             drafting Trust Distribution
                          Procedures.(56068213)

06/14/19   Green,          Review Elliott email proposal.(56055599)          720.00       0.40     288.00
           Elizabeth A.

06/14/19   Rose, Jorian L. Review bondholder proposal and response         1,010.00       0.70     707.00
                           emails.(56060062)




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06/17/19   Donaho,          Conduct research concerning parameters of         530.00       1.50    795.00
           Thomas A.        agreements with insurance companies and
                            revise Chill Plan memorandum concerning
                            same.(56120445)

06/17/19   Esmont, Joseph Research regarding outcome of various               600.00       3.40   2,040.00
           M.             plans for development purposes.(56180746)

06/17/19   Goodman, Eric Draft email to Mr. Rose regarding possible           800.00       0.40     320.00
           R.            terms of chapter 11 plan.(56096448)

06/17/19   Julian, Robert   Draft report on plan negotiations for revision   1,175.00      1.10   1,292.50
                            by TCC FA Lincoln and presentation to TCC
                            at weekly meeting(56081072)

06/17/19   Julian, Robert   Telephone conversation with Financial            1,175.00      0.40     470.00
                            Advisor Mr. Williams re plan
                            negotiations(56081073)

06/18/19   Dumas, Cecily Prepare for meeting on plan                          950.00       0.50     475.00
           A.            proposal(56120964)

06/18/19   Goodman, Eric Review email from Mr. Julian regarding plan          800.00       0.30     240.00
           R.            process.(56096452)

06/18/19   Julian, Robert   Review Lincoln presentation on plan              1,175.00      0.20     235.00
                            negotiations(56104958)

06/18/19   Julian, Robert   Telephone conversation with Financial            1,175.00      0.20     235.00
                            Advisor Mr. Williams re Lincoln presentation
                            on plan negotiations(56104959)

06/18/19   Julian, Robert   Revise Lincoln presentation on                   1,175.00      0.20     235.00
                            plan(56104960)

06/18/19   Weible, Robert Review Northstar assessment of PG&E                 830.00       1.50   1,245.00
           A.             safety culture to develop reorganization plan
                          features.(56085053)

06/19/19   Esmont, Joseph Review newly filed PG&E 8-K regarding               600.00       3.20   1,920.00
           M.             Public Entities Plan Support Agreements
                          (.7); development of strategy with respect to
                          TCC plan proposal (2.5)(56181010)

06/19/19   Payne Geyer,     Multiple correspondence with Liz Green            455.00       0.50     227.50
           Tiffany          regarding third-party plan
                            releases.(56098515)



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06/20/19   Green,           Review issues related to plan.(56106511)        720.00       0.90      648.00
           Elizabeth A.

06/20/19   Payne Geyer,     Review case law on “opt-out” release            455.00       0.60      273.00
           Tiffany          structures.(56098863)

06/20/19   Rose, Jorian L. Review plan and valuation analysis             1,010.00       0.90      909.00
                           prepared by Lincoln Advisors.(56093640)

06/20/19   Weible, Robert Continue review of governmental Plan              830.00       0.90      747.00
           A.             Support Agreements.(56091947)

06/20/19   Weible, Robert Analyze Mr. Julian's 6-20 email regarding         830.00       0.70      581.00
           A.             Debtor valuation and Plan of Reorganization
                          Strategy.(56318876)

06/21/19   Esmont, Joseph Telephone calls with Mr. Layden and Mr.           600.00       0.30      180.00
           M.             Rose regarding plan.(56181086)

06/21/19   Esmont, Joseph Research regarding options for TCC                600.00       4.40    2,640.00
           M.             Plan(56181090)

06/21/19   Layden, Andrew Review issues regarding plan support              550.00       0.30      165.00
           V.             agreements.(56107641)

06/21/19   Weible, Robert Prepare recommendations (1.1); review 6-          830.00       1.70    1,411.00
           A.             21-19 Sacramento Bee article regarding
                          Governor's funding plan and Press
                          Democrat article regarding safety problems
                          (.3); review and analyze 6-20-19 email from
                          Ms. Kates regarding debtors' request for
                          approval of compensation to be paid to
                          CEO and 12 executive officers
                          (.3)(56099294)

06/22/19   Esmont, Joseph Confer with Ms. Green regarding plan status       600.00       4.20    2,520.00
           M.             and stay relief by phone and email (1);
                          Research regarding options for TCC Plan
                          (3.2)(56181206)

06/24/19   Esmont, Joseph Research regarding plan                           600.00       3.20    1,920.00
           M.             options.(56181186)

06/24/19   Julian, Robert   Prepare for meeting on June 26 with           1,175.00       0.80      940.00
                            counsel for Ad Hoc Committee of
                            Bondholders re proposed plan(56133494)



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06/24/19   Julian, Robert    Telephone conversation with Mr. Williams re    1,175.00       0.40     470.00
                             meeting with Ad Hoc Comm of Bondholders
                             re: plan ideas.(56133495)

06/24/19   Rose, Jorian L. Conference calls with Ms. Green and Mr.          1,010.00       0.40     404.00
                           Blanchard regarding status of plan draft and
                           research for status call.(56128795)

06/24/19   Sagerman, Eric Strategy call with Dumas on plan                  1,145.00       0.20     229.00
           E.             negotiations(56158230)

06/25/19   Esmont, Joseph Telephone calls with Ms. Green regarding            600.00       3.50   2,100.00
           M.             plan progress and case management (.7);
                          analysis of plan options and models
                          (2.8)(56181187)

06/25/19   Fuller, Lars H.   Review Noteholders motion to terminate           545.00       0.90     490.50
                             PG&E exclusivity (.2); review
                             communications from Ms. Dumas regarding
                             Noteholders motion to terminate exclusivity
                             (.2); review and analyze STIP motion,
                             procedural history, and order
                             (.5)(56126702)

06/25/19   Sagerman, Eric Communications with Julian re approach on         1,145.00       1.10   1,259.50
           E.             competing plans (.3); review emails from
                          Dumas and Julian re same (.4); review
                          committee members questions and
                          comments re same (.4)(56158228)

06/26/19   Dumas, Cecily Meeting with Akin re ad hoc bondholder               950.00       1.50   1,425.00
           A.            plan proposal (telephone)(56172642)

06/26/19   Esmont, Joseph Telephone calls with Ms. Green (.2) and Mr.         600.00       3.90   2,340.00
           M.             Parrish (.3) regarding plan; drafting with
                          respect to potential TCC Plan
                          (3.4);(56181190)

06/26/19   Julian, Robert    Attend meeting with Mr. Williams, financial    1,175.00       0.70     822.50
                             advisor at Lincoln re Ad Hoc Bondholders'
                             proposed plan(56145247)

06/26/19   Sagerman, Eric Communications Julian regarding                   1,145.00       0.40     458.00
           E.             bondholders proposal and
                          exclusivity(56158232)




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06/27/19   Bent, Camille C. Review correspondence from Mr. Esmont            610.00       0.10       61.00
                            summarizing Plan Support Agreements
                            between PG&E & 18 public
                            entities.(56174402)

06/27/19   Esmont, Joseph Confer with Ms. Green regarding plan               600.00        5.10    3,060.00
           M.             preparation (.2); follow up preparation
                          regarding plan of reorganization (3.2);
                          review and summarize plan support
                          agreements and advise internal team
                          regarding the same (1.6)(56181201)

06/27/19   Goodman, Eric Review and analyze motion to terminate              800.00        2.30    1,840.00
           R.            exclusivity and related term sheet for
                         bondholder plan.(56139589)

06/28/19   Goodman, Eric Telephone call with Mr. Rose regarding              800.00        0.50     400.00
           R.            bondholder proposal and related
                         matters.(56145512)

Chapter 11 Plan/Plan Confirmation(008)                                                   114.20   74,046.50

06/01/19   Kates, Elyssa S. Prepare summary of motions filed in the          760.00        1.10     836.00
                            cases for TCC.(56020110)

06/01/19   Kates, Elyssa S. Review motions filed in the cases for            760.00        0.80     608.00
                            preparation of summary for TCC and
                            determination of need for TCC to take
                            position(56020111)

06/03/19   Dumas, Cecily Email TCC re calendar, Ghost Ship tour and          950.00        0.40     380.00
           A.            meeting(55997944)

06/03/19   Esmont, Joseph Review and advise safety warning with              600.00        0.90     540.00
           M.             respect to upcoming Ghost Ship site visit in
                          conjunction with committee
                          meeting(56180625)

06/03/19   Julian, Robert   Draft reply to TCC member request for          1,175.00        0.40     470.00
                            update(56037152)

06/03/19   Julian, Robert   Telephone conversation with Ms. Scarpula       1,175.00        0.20     235.00
                            re update(56037154)

06/03/19   Julian, Robert   Telephone conversation with Mr. Kane re        1,175.00        0.20     235.00
                            update(56037155)




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06/03/19   Kates, Elyssa S. Calls with Ms. Kinne regarding the                  760.00       0.20    152.00
                            committee member reimbursement
                            statement.(56020126)

06/03/19   Morris, Kimberly Correspondence with committee counsel re            895.00       0.20     179.00
           S.               recent developments(56038365)

06/03/19   Rose, Jorian L. Email correspondence with Committee                1,010.00       0.40     404.00
                           members regarding bondholder
                           discussions.(56000935)

06/03/19   Sagerman, Eric Communications Morris and Parker re                 1,145.00       0.60     687.00
           E.             Ghost Ship tour (.4); review Parker analysis
                          re same (.1); review emails from Committee
                          members re same (.1)(56031550)

06/03/19   Weible, Robert Prepare minutes of May 23, 2019                       830.00       2.20   1,826.00
           A.             committee meeting.(56008555)

06/04/19   Dumas, Cecily Review May 23 draft minutes and email                  950.00       0.30     285.00
           A.            Esmont re April 26 minutes(56034066)

06/04/19   Julian, Robert   Prepare for committee meeting(56037159)           1,175.00       0.80     940.00

06/04/19   Kates, Elyssa S. Review motions filed in the cases for               760.00       0.20     152.00
                            preparation of summary for TCC and
                            determination of need for TCC to take
                            position(56020148)

06/04/19   McCabe,          Conduct legal research regarding liability          630.00       5.20   3,276.00
           Bridget S.       issues in preparation for committee
                            meeting.(56037866)

06/04/19   Rose, Jorian L. Review Committee meeting minutes from              1,010.00       0.60     606.00
                           May 23, 2019 meeting.(56000941)

06/04/19   Weible, Robert Prepare minutes for 5-23 TCC                          830.00       1.90   1,577.00
           A.             meeting.(56008557)

06/05/19   Esmont, Joseph Plan for upcoming committee meeting (1.5);            600.00       3.30   1,980.00
           M.             draft agenda (1); confer with Mr. Weible
                          regarding meeting minutes (.2); analyze
                          minutes issue (.6)(56180631)

06/05/19   Kates, Elyssa S. Review motions filed in the cases for               760.00       3.90   2,964.00
                            preparation of summary for TCC and
                            determination of need for TCC to take



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                            position.(56020177)

06/05/19   McCabe,          Prepare summary of legal research and               630.00       2.60   1,638.00
           Bridget S.       analysis regarding liability issues in
                            preparation for committee
                            meeting.(56038046)

06/05/19   McCabe,          Conduct legal research regarding liability          630.00       4.10   2,583.00
           Bridget S.       issues in preparation for committee
                            meeting.(56038044)

06/06/19   Kates, Elyssa S. Correspondence with Ms. Dumas and Mr.               760.00       0.10      76.00
                            Esmont regarding committee member
                            expense reimbursement issues.(56020186)

06/06/19   Kates, Elyssa S. Review motions filed in the cases for               760.00       1.80   1,368.00
                            preparation of summary for TCC and
                            determination of need for TCC to take
                            position.(56020189)

06/06/19   McCabe,          Prepare summary of legal research and               630.00       4.90   3,087.00
           Bridget S.       analysis regarding liability in preparation for
                            committee meeting.(56038049)

06/06/19   McCabe,          Conduct legal research and analysis                 630.00       2.60   1,638.00
           Bridget S.       regarding liability in preparation for
                            committee meeting.(56038186)

06/06/19   Morris, Kimberly Prepare materials for committee                     895.00       0.60     537.00
           S.               meeting(56038392)

06/06/19   Rose, Jorian L. Emails from Committee members regarding            1,010.00       0.50     505.00
                           status of meeting and agenda.(56008403)

06/07/19   Esmont, Joseph Telephone call with committee member                  600.00       1.80   1,080.00
           M.             regarding committee meeting and potential
                          proposals therein (1.5); advise committee
                          regarding Wildfire Commission results
                          (.4)(56180636)

06/07/19   Julian, Robert   Prepare report to TCC for Wednesday               1,175.00       1.20   1,410.00
                            meeting(56037171)

06/07/19   Morris, Kimberly Analyze liability research in preparation for       895.00       0.40     358.00
           S.               committee meeting(56038407)

06/07/19   Morris, Kimberly Draft correspondence re liability research in       895.00       0.30     268.50



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           S.              preparation for committee
                           meeting(56038408)

06/07/19   Morris, Kimberly Review correspondence from Committee            895.00       0.40      358.00
           S.               members in preparation for upcoming
                            committee meeting(56038411)

06/07/19   Rose, Jorian L. Email Committee members regarding              1,010.00       0.50      505.00
                           upcoming Committee meeting.(56015031)

06/07/19   Rose, Jorian L. Telephone conferences with Mr. Esmont          1,010.00       0.30      303.00
                           regarding issues for upcoming meeting and
                           current matters under review.(56015037)

06/07/19   Sagerman, Eric Review language re waiver re committee          1,145.00       0.60      687.00
           E.             meeting at Ghost Ship site (.3);
                          communications Parker, Morris, Dumas and
                          Weible re same (.3)(56031565)

06/08/19   Esmont, Joseph Advise and confer with Mr. Weible and Ms.         600.00       0.70      420.00
           M.             Dumas regarding upcoming meeting with
                          TCC.(56180637)

06/08/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Ms.              760.00       0.10          76.00
                            Morris, Mr. Weible, Mr. Julian and others
                            regarding the Ghost Ship tour.(56020213)

06/09/19   Kates, Elyssa S. Review motions filed in the cases for           760.00       2.20    1,672.00
                            preparation of summary for TCC and
                            determination of need for TCC to take
                            position.(56020218)

06/10/19   Attard, Lauren In preparation for Official Committee             600.00       0.90      540.00
           T.             meeting on June 12, 2019, participate in
                          team meeting to discuss status of all
                          outstanding assignments.(56067305)

06/10/19   Dumas, Cecily Revise and finalize meeting                        950.00       0.50      475.00
           A.            agenda(56030606)

06/10/19   Esmont, Joseph Participate in weekly team call in                600.00       1.20      720.00
           M.             preparation for June 12 meeting of Official
                          Committee of Unsecured Creditors (.9);
                          confer with Mr. Weible and Ms. Dumas
                          regarding issues to be discussed at
                          committee meeting (.3).(56180704)




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06/10/19   Green,           Conference call in preparation for Official          720.00       0.90    648.00
           Elizabeth A.     Committee meeting on June 12, 2019,
                            participate in team meeting to discuss
                            status of all outstanding
                            assignments.(56060852)

06/10/19   Julian, Robert   Review and revise status report to                 1,175.00       0.80     940.00
                            committee(56049939)

06/10/19   Julian, Robert   Telephone conversation with Mr. Williams           1,175.00       0.80     940.00
                            preparation for committee
                            meeting(56049943)

06/10/19   Julian, Robert   Telephone conversation with Mr. Sharp re           1,175.00       0.20     235.00
                            TCC meeting(56049944)

06/10/19   Julian, Robert   Telephone conversation with Ms. Dumas re           1,175.00       0.30     352.50
                            TCC meeting(56049945)

06/10/19   Julian, Robert   Telephone conversation with Mr. Trostle re         1,175.00       0.60     705.00
                            TCC meeting issues(56049946)

06/10/19   Julian, Robert   Telephone conversation with Mr. Tosdale re         1,175.00       0.10     117.50
                            TCC meeting(56049947)

06/10/19   Julian, Robert   Prepare for TCC meeting on Wednesday               1,175.00       1.50   1,762.50
                            reports to TCC(56049948)

06/10/19   Julian, Robert   Draft email to Mr. Williams re report to           1,175.00       0.20     235.00
                            TCC(56049950)

06/10/19   Kates, Elyssa S. In preparation for Official Committee                760.00       0.90     684.00
                            meeting on June 12, 2019, participate in
                            team meeting to discuss status of all
                            outstanding assignments.(56071550)

06/10/19   Kates, Elyssa S. Preparation of proposed revisions to status          760.00       0.80     608.00
                            memo to the TCC.(56071555)

06/10/19   Kates, Elyssa S. Correspondence with Ms. Dumas and Ms.                760.00       0.10      76.00
                            Hammon-Turano regarding the memo to the
                            TCC discussing the first 100 days of the
                            case.(56071557)

06/10/19   Landrio, Nikki   In preparation for Official Committee                420.00       0.90     378.00
           M.               meeting on June 12, 2019, participate in
                            team meeting to discuss status of all



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                            outstanding assignments.(56061960)

06/10/19   Morris, Kimberly Review and comment on committee                  895.00       0.10         89.50
           S.               meeting agenda(56080239)

06/10/19   Parrish, Jimmy In preparation for Official Committee              590.00       0.80     472.00
           D.             meeting on June 20, 2019, participate in
                          team meeting to discuss status of all
                          outstanding assignments.(56073334)

06/10/19   Rose, Jorian L. Review and revise non-disclosure                1,010.00       0.80     808.00
                           agreement for bondholder TCC meeting in
                           light of Mr. Julian's comments.(56027005)

06/10/19   Rose, Jorian L. Email correspondence to Committee and           1,010.00       0.60     606.00
                           Committee members regarding upcoming
                           Committee meeting.(56027006)

06/10/19   Rose, Jorian L. In preparation for Official Committee           1,010.00       0.90     909.00
                           meeting on June 12, 2019, participate in
                           team meeting to discuss status of all
                           outstanding assignments.(56057238)

06/10/19   Weible, Robert Telephone conference with Ms. Dumas and            830.00       0.20     166.00
           A.             Mr. Esmont regarding committee meeting
                          minutes issues raised by Ms.
                          Gowins.(56023348)

06/11/19   Dumas, Cecily Preparation for TCC meeting by reviewing            950.00       1.50   1,425.00
           A.            all agenda items with team
                         members(56055105)

06/11/19   Dumas, Cecily Confer with Weible re member comments               950.00       0.30     285.00
           A.            on minutes of 4/26(56055109)

06/11/19   Julian, Robert   Prepare for meeting of TCC and tour of         1,175.00       0.80     940.00
                            Ghost Ship facility(56049956)

06/11/19   Morris, Kimberly Prepare for presentation at committee            895.00       1.20   1,074.00
           S.               meeting.(56080241)

06/11/19   Rose, Jorian L. Email correspondence with Committee             1,010.00       0.40     404.00
                           members regarding upcoming Committee
                           meeting.(56043374)

06/11/19   Weible, Robert Review emails from Ms. Dumas and Mr.               830.00       0.90     747.00
           A.             Sagerman regarding 4-26 minutes and



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                            respond (.4); email to Ms. Gowins and Mr.
                            Agajanian regarding 4-26 minutes issues
                            (.5).(56048705)

06/12/19   Dumas, Cecily Attend tour of Ghost Ship and committee           950.00        8.50    8,075.00
           A.            meeting(56055089)

06/12/19   Esmont, Joseph Attend Committee Meeting and Ghost Ship          600.00        8.50    5,100.00
           M.             site visit prior to committee meeting,
                          including preparation time.(56180711)

06/12/19   Goodman, Eric Plan and prepare for meeting with the TCC,        800.00        7.50    6,000.00
           R.            including review of claim form and related
                         documents (2.0); attend meeting with the
                         TCC in Oakland following Ghost Ship tour
                         (5.5).(56058576)

06/12/19   Julian, Robert   Prepare for committee meeting via review of   1,175.00       0.80      940.00
                            presentation(56049959)

06/12/19   Julian, Robert   Attend committee meeting and give             1,175.00       4.50    5,287.50
                            presentations on litigation to
                            committee(56049962)

06/12/19   Julian, Robert   Attend post-committee meeting about           1,175.00       1.40    1,645.00
                            committee work status with committee
                            members Mr. Trostle and Mr.
                            Veronese(56049963)

06/12/19   Morris, Kimberly Attend site tour with Committee(56080253)      895.00        2.40    2,148.00
           S.

06/12/19   Morris, Kimberly Attend and present at committee                895.00        5.00    4,475.00
           S.               meeting(56080254)

06/12/19   Rose, Jorian L. Attend Committee meeting on June               1,010.00       4.80    4,848.00
                           12th.(56047446)

06/12/19   Sagerman, Eric Attend portion of committee meeting by          1,145.00       4.90    5,610.50
           E.             telephone(56070719)

06/12/19   Weible, Robert Prepare for 6-12 meeting, including review       830.00        6.60    5,478.00
           A.             of agenda, 6-10-19 case status report article
                          regarding potential ratings downgrade, and
                          Trostle/Tosdal 6-8-10 Path to Fair
                          Compensation Analysis (1.3); participate in
                          Committee meeting (5.3).(56051222)



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06/13/19   Kates, Elyssa S. Review motions filed in the cases for           760.00       0.50      380.00
                            preparation of summary for TCC and
                            determination of need for the TCC to take
                            action.(56071599)

06/13/19   Weible, Robert Review notes from 6-12-19 Committee               830.00       0.90      747.00
           A.             meeting preparation for preparing minutes
                          (.8); emails to Messrs. Esmont and
                          Goodman regarding filing in minor gaps in
                          notes (.1).(56051295)

06/14/19   Esmont, Joseph Confer with Mr. Weible regarding minutes          600.00       2.00    1,200.00
           M.             and upcoming committee meeting, including
                          preparation (1.2); revise minutes and plan
                          upcoming committee call matters
                          (.8)(56180717)

06/14/19   Kates, Elyssa S. Review motions filed in the cases for           760.00       1.80    1,368.00
                            preparation of summary for TCC and
                            determination of need for the TCC to take
                            action.(56071614)

06/14/19   Weible, Robert Outline response to request for minutes           830.00       1.80    1,494.00
           A.             detail (1.); and exchange emails with Ms.
                          Dumas and Mr. Julian regarding response
                          (.2); office conference with Mr. Esmont to
                          close gaps in notes for 6-12 meeting
                          (.6).(56056738)

06/17/19   Attard, Lauren In preparation for Official Committee             600.00       0.80      480.00
           T.             meeting on June 20, 2019, participate in
                          team meeting to discuss status of all
                          outstanding assignments.(56067825)

06/17/19   Bloom, Jerry R. Weekly call with core team(56175137)           1,145.00       1.00    1,145.00

06/17/19   Dumas, Cecily Participate in team call in preparation for        950.00       1.50    1,425.00
           A.            committee meeting (.5); prepare draft
                         meeting agenda and circulate for comment
                         (.5); revise agenda (.3); email Lockhart re
                         Thursday meeting agenda (.2)(56063049)

06/17/19   Esmont, Joseph In preparation for Official Committee             600.00       1.80    1,080.00
           M.             meeting on June 20, 2019, participate in
                          team meeting to discuss status of all
                          outstanding assignments (.8); draft agenda



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                             for committee meeting (1)(56180743)

06/17/19   Fuller, Lars H.   Exchange communications with Ms. Dumas            545.00       0.40     218.00
                             regarding necessary items for agenda for
                             upcoming TCC meeting.(56063290)

06/17/19   Julian, Robert    Telephone conversation with TCC Chair           1,175.00       0.30     352.50
                             counsel Mr. Baghdad i re TCC meeting
                             presentations(56081074)

06/17/19   Kates, Elyssa S. In preparation for Official Committee              760.00       0.80     608.00
                            meeting on June 20, 2019, participate in
                            team meeting to discuss status of all
                            outstanding assignments.(56111834)

06/17/19   Kates, Elyssa S. Review motions filed in the cases for              760.00       1.60   1,216.00
                            preparation of summary for TCC and
                            determination of need for the TCC to take
                            action.(56111832)

06/17/19   Kinne, Tanya M. In preparation for Official Committee               365.00       0.80     292.00
                           meeting on June 20, 2019, participate in
                           team meeting to discuss status of all
                           outstanding assignments.(56125299)

06/17/19   Landrio, Nikki    In preparation for Official Committee             420.00       0.80     336.00
           M.                meeting on June 20, 2019, participate in
                             team meeting to discuss status of all
                             outstanding assignments.(56105853)

06/17/19   Morris, Kimberly In preparation for Official Committee              895.00       0.80     716.00
           S.               meeting on June 20, 2019, participate in
                            team meeting to discuss status of all
                            outstanding assignment(56126491)

06/17/19   Morris, Kimberly Review and edit meeting                            895.00       0.20     179.00
           S.               agenda(56126495)

06/17/19   Morris, Kimberly Correspondence re meeting                          895.00       0.10       89.50
           S.               agenda(56126496)

06/17/19   Rose, Jorian L. In preparation for Official Committee             1,010.00       0.90     909.00
                           meeting on June 20, 2019, participate in
                           team meeting to discuss status of all
                           outstanding assignments.(56060073)

06/17/19   Rose, Jorian L. Review agenda for June 20th                       1,010.00       0.30     303.00



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                            meeting.(56070129)

06/17/19   Rose, Jorian L. Email correspondence with Messrs. Julian       1,010.00       0.60      606.00
                           and Williams regarding financial report for
                           Committee meeting.(56070131)

06/17/19   Sagerman, Eric All hands call with Baker team in               1,145.00       0.80      916.00
           E.             preparation of next committee
                          meeting(56102889)

06/17/19   Weible, Robert Prepare and send email to Ms. Gowings             830.00       6.40    5,312.00
           A.             and Mr. Agajanian regarding 4-26-19
                          meeting minutes (2.0); begin preparing
                          minutes for June 12 meeting (3.6);
                          participate in core group call on
                          developments and next steps in case in
                          preparation for 6-20-19 Committee meeting
                          (.8).(56085000)

06/18/19   Dumas, Cecily Prepare draft agenda with input from others        950.00       1.30    1,235.00
           A.            (.7); revise with comments from chair and
                         circulate (.6)(56120965)

06/18/19   Esmont, Joseph Communicate with Committee regarding              600.00       0.90      540.00
           M.             committee policies adopted at recent
                          meeting (.4); Confer with internal team
                          regarding committee meeting minutes
                          (.5)(56181008)

06/18/19   Goodman, Eric Review minutes of TCC meeting and                  800.00       0.30      240.00
           R.            respond to email from Mr. Weible regarding
                         the same.(56096453)

06/18/19   Julian, Robert   Review TCC member counsel Ms. Scarpula        1,175.00       0.10      117.50
                            email re Ad Hoc Bondholders
                            email(56104956)

06/18/19   Julian, Robert   Update TCC re Ad Hoc Bondholders              1,175.00       0.20      235.00
                            email(56104957)

06/18/19   Weible, Robert Prepare 6-12-19 Committee meeting                 830.00       3.10    2,573.00
           A.             minutes (2.5); and review email from Ms.
                          Dumas and Mr. Esmont regarding
                          suggested change (.2); telephone
                          conference with Ms. Dumas regarding
                          issues pertaining to 4-26 meeting minutes
                          (.4).(56085054)



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06/19/19   Esmont, Joseph Confer with Mr. Weible regarding minutes             600.00       1.60     960.00
           M.             (.3); revise minutes (.3); confer with
                          committee member regarding revisions to
                          minutes (.8); confer with committee member
                          regarding access to draft minutes
                          (.2)(56181011)

06/19/19   Julian, Robert    Prepare presentation for TCC weekly             1,175.00       1.60   1,880.00
                             meeting re litigation and Tubbs(56104973)

06/19/19   Julian, Robert    Telephone conversation with Mr. Williams re     1,175.00       0.30     352.50
                             presentation for TCC weekly meeting re
                             litigation and Tubbs(56104974)

06/19/19   Rose, Jorian L. Telephone conferences with Mr. Murphy             1,010.00       0.40     404.00
                           regarding financial analysis for Committee
                           meeting.(56093625)

06/19/19   Rose, Jorian L. Review Lincoln Advisors financial analysis        1,010.00       0.70     707.00
                           for Committee meeting.(56093626)

06/19/19   Sagerman, Eric Review communications from Trostle et al           1,145.00       0.20     229.00
           E.             regarding minutes of last meeting (.1);
                          communications Julian re same
                          (1)(56102903)

06/19/19   Weible, Robert Review Mr. Trostle email proposing edit to           830.00       0.40     332.00
           A.             6-12-19 meeting minutes draft, review draft,
                          prepare email to Mr. Esmont with suggested
                          revision, and telephone conference with Mr.
                          Esmont regarding revision.(56088270)

06/20/19   Bloom, Jerry R. Participate in TCC call(56175134)                 1,145.00       1.90   2,175.50

06/20/19   Dumas, Cecily Participate in telephonic committee                   950.00       1.90   1,805.00
           A.            meeting(56121342)

06/20/19   Esmont, Joseph Participate in committee call (1.9); Confer          600.00       3.10   1,860.00
           M.             with Mr. Weible and committee member
                          regarding minutes separately (.6); revise
                          minutes and confer with litigation support
                          regarding expediting to committee
                          (.6);(56181045)

06/20/19   Fuller, Lars H.   Participate in Committee                          545.00       1.90   1,035.50
                             Meeting.(56091406)



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06/20/19   Goodman, Eric Plan and prepare for Committee meeting             800.00       3.20    2,560.00
           R.            (1.0); telephone call with Mr. Rose
                         regarding Committee meeting (.3); attend
                         Committee meeting (via telephone)
                         (1.9).(56096458)

06/20/19   Julian, Robert   Revise report to TCC re plan and valuations   1,175.00       1.70    1,997.50
                            and settlements(56104978)

06/20/19   Julian, Robert   Prepare for TCC weekly meeting to give        1,175.00       1.20    1,410.00
                            presentation with Mr. Williams of
                            Lincoln(56104982)

06/20/19   Julian, Robert   Attend weekly TCC conference call and         1,175.00       1.90    2,232.50
                            provide presentation with Financial Advisor
                            Lincoln(56104983)

06/20/19   Kates, Elyssa S. Review motions filed in the cases for           760.00       2.20    1,672.00
                            preparation of summary for TCC and
                            determination of need for the TCC to take
                            action.(56111895)

06/20/19   Kavouras,        Attend telephonic committee meeting to          365.00       1.90      693.50
           Daniel M.        discuss case strategy and
                            status.(56170192)

06/20/19   Kinne, Tanya M. Participation in Committee telephonic            365.00       1.90      693.50
                           meeting.(56139035)

06/20/19   Morris, Kimberly Participate in and present at TCC               895.00       1.90    1,700.50
           S.               committee meeting(56126531)

06/20/19   Rose, Jorian L. Attend Committee meeting on June 20,           1,010.00       1.90    1,919.00
                           2019.(56093634)

06/20/19   Weible, Robert Analyze prior Committee meeting minutes           830.00       5.10    4,233.00
           A.             to understand scope of topics covered, for
                          response to request for unique level of
                          detail on one selected topic (2.3); prepare
                          proposed response to request and circulate
                          for internal review and direction (.9);
                          participate in telephonic TCC meeting
                          (1.9).(56091949)

06/21/19   Kates, Elyssa S. Review motions filed in the cases for           760.00       0.40      304.00
                            preparation of summary for TCC and



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                           determination of need for the TCC to take
                           action.(56111905)

06/21/19   Weible, Robert Review 6-20 Committee meeting notes to              830.00       3.50   2,905.00
           A.             identify gaps (.3), email to Ms. Lockhart with
                          request for missing information (.3); review
                          proposed response to Ms. Kane regarding
                          request for detail in 4-26-19 Committee
                          meeting minutes (.3) office conference with
                          Mr. Goodman for perspective on response
                          (.1); prepare minutes for 6-20-19 Committee
                          meeting (2.5).(56099292)

06/23/19   Esmont, Joseph Confer with Committee chair regarding               600.00       0.60     360.00
           M.             meeting minutes and confer with Mr. Weible
                          regarding the same(56181182)

06/24/19   Attard, Lauren In preparation for Official Committee               600.00       1.20     720.00
           T.             meeting on June 27, 2019, participate in
                          team meeting to discuss status of all
                          outstanding assignments.(56112738)

06/24/19   Bloom, Jerry R. In preparation for Official Committee            1,145.00       1.20   1,374.00
                           meeting on June 27, 2019, participate in
                           team meeting to discuss status of all
                           outstanding assignments.(56175140)

06/24/19   Dumas, Cecily Review and comment on draft minutes of               950.00       1.70   1,615.00
           A.            6/20 meeting (.8); prepare agenda for 6/27
                         meeting (.9)(56172031)

06/24/19   Esmont, Joseph In preparation for Official Committee               600.00       1.20     720.00
           M.             meeting on June 27, 2019, participate in
                          team meeting to discuss status of all
                          outstanding assignments.(56181183)

06/24/19   Goodman, Eric In preparation for Official Committee                800.00       1.20     960.00
           R.            meeting on June 27, 2019, participate in
                         team meeting to discuss status of all
                         outstanding assignments.(56133627)

06/24/19   Kates, Elyssa S. In preparation for Official Committee             760.00       1.20     912.00
                            meeting on June 27, 2019, participate in
                            team meeting to discuss status of all
                            outstanding assignments.(56152046)

06/24/19   Kavouras,       In preparation for Official Committee              365.00       1.20     438.00



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           Daniel M.        meeting on June 27, 2019, participate in
                            team meeting to discuss status of all
                            outstanding assignments.(56170129)

06/24/19   Kinne, Tanya M. In preparation for Official Committee              365.00       1.20     438.00
                           meeting on June 27, 2019, participate in
                           team meeting to discuss status of all
                           outstanding assignments.(56170438)

06/24/19   Landrio, Nikki   In preparation for Official Committee             420.00       1.20     504.00
           M.               meeting on June 27, 2019, participate in
                            team meeting to discuss status of all
                            outstanding assignments.(56106039)

06/24/19   Morris, Kimberly In preparation for Official Committee             895.00       1.20   1,074.00
           S.               meeting on June 27, 2019, participate in
                            team meeting to discuss status of all
                            outstanding assignments(56176382)

06/24/19   Parrish, Jimmy In preparation for Official Committee               590.00       1.20     708.00
           D.             meeting on June 27, 2019, participate in
                          team meeting to discuss status of all
                          outstanding assignments.(56143584)

06/24/19   Rose, Jorian L. In preparation for Official Committee            1,010.00       1.20   1,212.00
                           meeting on June 27, 2019, participate in
                           team meeting to discuss status of all
                           outstanding assignments.(56128791)

06/24/19   Sagerman, Eric In preparation for Official Committee             1,145.00       1.20   1,374.00
           E.             meeting on June 27, 2019, participate in
                          team meeting to discuss status of all
                          outstanding assignments(56158218)

06/24/19   Weible, Robert Prepare minutes for 6-20-19 committee               830.00       3.20   2,656.00
           A.             meeting (1.6); participate in team call to
                          discuss status of all outstanding
                          assignments, in preparation for official
                          committee meeting on June 27, 2019 (1.2);
                          revise draft of 6-20-19 meeting minutes and
                          forward to Ms. Dumas and Messrs.
                          Goodman and Esmont for review and
                          comment (.4).(56108687)

06/25/19   Dumas, Cecily Finalize TCC meeting agenda and circulate            950.00       0.40     380.00
           A.            to team(56173575)




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06/25/19   Kates, Elyssa S. Preparation of certificate of no objection for     760.00       0.30    228.00
                            the Committee member reimbursement
                            statement.(56152059)

06/25/19   Kates, Elyssa S. Review motions filed in the cases for              760.00       2.40   1,824.00
                            preparation of summary for the TCC and
                            determination of the need for the TCC to
                            take action.(56152067)

06/26/19   Esmont, Joseph Draft agenda for committee                           600.00       0.80     480.00
           M.             meeting(56181194)

06/26/19   Weible, Robert Review Mr. Julian's 6-25 email to the                830.00       0.10       83.00
           A.             Committee analyzing the Ad Hoc
                          Bondholders Committee's proposed plan of
                          reorganization.(56137097)

06/27/19   Bloom, Jerry R. Participate in Committee Call.(56178811)          1,145.00       1.50   1,717.50

06/27/19   Dumas, Cecily Prepare for (1.0) and attend TCC meeting              950.00       2.50   2,375.00
           A.            (telephonic) (1.5).(56174068)

06/27/19   Esmont, Joseph Attend committee meeting (1.5); advise               600.00       2.50   1,500.00
           M.             committee regarding bondholder proposal
                          and Lincoln fee statements in preparation
                          for meeting (.7); advise committee
                          member's counsel regarding requested
                          information in preparation for committee
                          meeting (.3)(56181200)

06/27/19   Goodman, Eric Plan and prepare for telephonic meeting               800.00       2.10   1,680.00
           R.            with the TCC (.8); attend TCC meeting
                         (telephonic) and present on outcome of
                         June 26th hearing (1.3).(56139590)

06/27/19   Julian, Robert   Prepare for presentation to TCC on               1,175.00       0.80     940.00
                            meetings with Ad Hoc Bondholders re plan
                            and settlement(56145257)

06/27/19   Julian, Robert   Attend TCC weekly meeting and present on         1,175.00       1.50   1,762.50
                            litigation and plan negotiations(56145258)

06/27/19   Kates, Elyssa S. Review motions filed in the cases for              760.00       2.40   1,824.00
                            preparation of summary for the TCC and
                            determination of the need for the TCC to
                            take action, including the Ad Hoc
                            Committee of Noteholders' motion to



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                           terminate exclusivity and proposed plan
                           terms.(56152090)

06/27/19   Morris, Kimberly Attend committee meeting(56176375)                 895.00        1.50   1,342.50
           S.

06/27/19   Rose, Jorian L. Attend June 27th Committee                        1,010.00        1.30   1,313.00
                           meeting.(56144320)

06/27/19   Weible, Robert Review Esmont summary of public entity               830.00        2.50   2,075.00
           A.             Plan Support Agreements in preparation for
                          6-27 TCC meeting (.3); review Attard
                          summary of 6-26-19 hearing developments
                          in preparation for 6-27 TCC meeting (.3);
                          review Mr. Julian's 6-25 email to TCC
                          regarding Tubbs causation and
                          bondholders' plan proposal (.2); prepare
                          reference materials (e.g., bylaws, agenda,
                          prior meeting minutes) in preparation for
                          participation in 6-27-19 meeting (.3);
                          participation in TCC telephonic meeting
                          (1.4).(56144735)

06/28/19   Kates, Elyssa S. Review motions, claims and claims                  760.00        0.40     304.00
                            transfers filed in the cases to determine
                            potential impact on the TCC and whether
                            the TCC should take action.(56152092)

06/28/19   Weible, Robert Begin to prepare minutes of 6-27-19                  830.00        0.80     664.00
           A.             meeting.(56151115)

Committee Meetings and Preparation(009)                                                    240.90 199,781.50

06/03/19   Rose, Jorian L. Review and revise memo on potential               1,010.00        1.90   1,919.00
                           claims issues for directors and
                           officers.(56000933)

06/04/19   Dumas, Cecily Review PG&E summary of board                          950.00        0.60     570.00
           A.            qualifications and contrary
                         research(56034069)

06/17/19   Dumas, Cecily Review notice of board meeting and                    950.00        0.40     380.00
           A.            agenda(56063057)

06/20/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Ms.                 760.00        0.10      76.00
                            Green and others regarding the debtors'
                            motion to retain a new Chief Executive



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                            Officer and President.(56111894)

06/20/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                 760.00       0.10       76.00
                            Murphy, Ms. Morris, Mr. Rose and others
                            regarding the debtors' personnel
                            motions.(56111900)

06/21/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                 760.00       0.10       76.00
                            Weible, Mr. Kristiansen and others
                            regarding the debtors' motion to retain a
                            new CEO and President.(56111907)

06/26/19   Weible, Robert Review PG&E 6-21-19 Form 8-K reporting               830.00       0.10       83.00
           A.             on shareholders meeting.(56137098)

Corporate and Board Issues(010)                                                             3.30   3,180.00

06/02/19   Dumas, Cecily Email Grassgreen re Baupost(55997788)                 950.00       0.20     190.00
           A.

06/04/19   Dumas, Cecily Prepare for and meeting with Stang,                   950.00       2.00   1,900.00
           A.            Grassgreen, Julian(56034071)

Equity Security Holders(015)                                                                2.20   2,090.00

06/25/19   Dumas, Cecily Review noteholders motion to terminate                950.00       3.00   2,850.00
           A.            exclusivity and plan term sheet and discuss
                         with team (2.0); emails to TCC members re
                         bondholders proposal, Debtors' likely
                         counter and TCC plan (1.)(56173572)

06/25/19   Dumas, Cecily Email Pitre, Kelly, Campora re ad hoc                 950.00       0.30     285.00
           A.            proposal(56173577)

06/25/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                 760.00       0.20     152.00
                            Rose, Ms. Green, Mr. Julian and others
                            regarding the noteholders' motion to
                            terminate exclusivity.(56152058)

06/26/19   Julian, Robert   Prepare for meeting with Ad Hoc Committee        1,175.00       0.80     940.00
                            of Bondholders re their proposed plan and
                            motion to terminate exclusivity(56145246)

06/26/19   Julian, Robert   Attend meeting with Ad Hoc Committee of          1,175.00       2.10   2,467.50
                            Bondholders counsel Mr. Stamer and Mr.
                            Botter re their proposed plan and motion to
                            terminate exclusivity(56145248)



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06/26/19   Kates, Elyssa S. Analysis of the Ad Hoc Committee of              760.00       0.80     608.00
                            Noteholders motion to terminate
                            exclusivity.(56152076)

06/27/19   Kates, Elyssa S. Analysis of Ad Hoc Noteholders' term             760.00       1.10     836.00
                            sheet.(56152086)

06/27/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.               760.00       0.70     532.00
                            Julian, Ms. Green, Mr. Rose and others
                            regarding the Ad Hoc Noteholders' motion
                            to terminate exclusivity.(56152091)

Exclusivity(016)                                                                          9.00   8,670.50

06/19/19   Sabella,         Review and analyze motion to assume              610.00       2.60   1,586.00
           Michael A.       certain executory contracts; prepare
                            summary of motion for Ms. Dumas, Mr.
                            Esmont, Ms. Greene and Mr.
                            Rose.(56103834)

Executory Contracts/Lease Issues(017)                                                     2.60   1,586.00

06/01/19   Kristiansen, Eric Review e-mails from client representatives      685.00       0.40     274.00
           W.                regarding fire claimant representation and
                             lawyer solicitation related to
                             same.(56146892)

06/01/19   Landrio, Nikki   Receive and review PG&E news letter for          420.00       0.20         84.00
           M.               June 1, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56017772)

06/02/19   Landrio, Nikki   Receive and review PG&E news letter for          420.00       0.20         84.00
           M.               June 2, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56017778)

06/02/19   Landrio, Nikki   Review the committee communication               420.00       0.30     126.00
           M.               tracker and prepare summary of
                            enhancements to be included in the
                            functionality of the tracker.(56017782)

06/03/19   Esmont, Joseph Advise committee regarding recent filings          600.00       0.60     360.00
           M.             and CPUC’s recent decisions(56180626)



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06/03/19   Julian, Robert   Draft memo on options to try select wildfire       1,175.00       1.20   1,410.00
                            claims in aid of estimation
                            proceedings(56037148)

06/03/19   Julian, Robert   Telephone call with Mr. Baghdadi and Mr.           1,175.00       0.20     235.00
                            Stermer re meetings with bond
                            holders(56037150)

06/03/19   Julian, Robert   Draft update emails to F. Scarpula re              1,175.00       0.10     117.50
                            bondholders(56037153)

06/03/19   Landrio, Nikki   Receive and review PG&E news letter for              420.00       0.20      84.00
           M.               June 3, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56017788)

06/03/19   Morris, Kimberly Work on upcoming committee meeting                   895.00       0.60     537.00
           S.               agenda and liability issues(56038370)

06/04/19   Julian, Robert   Draft template for motion for relief from stay     1,175.00       3.10   3,642.50
                            to try test jury trial wildfire claim(56037158)

06/04/19   Julian, Robert   Draft overview and summary of estimation           1,175.00       2.80   3,290.00
                            issues for litigation in estimation of wildfire
                            claims proceeding(56037160)

06/04/19   Landrio, Nikki   Receive and review PG&E news letter for              420.00       0.20      84.00
           M.               June 4, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56017815)

06/04/19   McDonald,        Communicate with Committee about "PG&E               230.00       0.20      46.00
           Michael H.       - Notice of Deposition - Bar Date
                            Motion."(56164267)

06/04/19   McDonald,        Communicate with Committee about "PG&E               230.00       0.20      46.00
           Michael H.       Bi-Weekly Reporting Summary and Analysis
                            June 4, 2019."(56164271)

06/04/19   Woltering,       Email exchanges with Ms. Landrio                     750.00       0.10      75.00
           Catherine E.     regarding scheduling call to discuss and
                            review the enhancements made on the
                            committee communication
                            tracker.(56024175)



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06/05/19   Landrio, Nikki   Receive and review PG&E news letter for          420.00       0.20         84.00
           M.               June 5, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56017846)

06/05/19   Woltering,       Email exchanges with Ms. Landrio                 750.00       0.20     150.00
           Catherine E.     regarding coordinating demonstration of
                            enhancements to the committee
                            communication tracker.(56024178)

06/06/19   Dumas, Cecily Lunch meeting with Julian, Attard, Bent re          950.00       2.00   1,900.00
           A.            case status(56036146)

06/06/19   Landrio, Nikki   Receive and review PG&E news letter for          420.00       0.20         84.00
           M.               June 6, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56017881)

06/06/19   Landrio, Nikki   Receive and review email exchanges with          420.00       0.20         84.00
           M.               Ms. Lockhart and Ms. Dumas regarding
                            scheduled committee meetings (.1) and
                            coordinate to have the meetings calendared
                            in Compulaw for reporting on team calendar
                            (.1).(56017891)

06/06/19   Woltering,       Discussion with Ms. Landrio regarding the        750.00       1.00     750.00
           Catherine E.     committee communication tracker and
                            demonstration of functionality of same and
                            provide feedback regarding enhancements
                            for same.(56024180)

06/07/19   Dumas, Cecily Commence review of case contribution                950.00       1.10   1,045.00
           A.            summaries from Team members(56036788)

06/07/19   Sagerman, Eric Review communications from Carlson,              1,145.00       0.30     343.50
           E.             Trostle and Scarpulla re variety of
                          committee topics(56031567)

06/08/19   Dumas, Cecily Review all attorney summaries of work and           950.00       4.50   4,275.00
           A.            continue drafting memo of case
                         progress(56031625)

06/09/19   Dumas, Cecily Prepare memo to TCC re case                         950.00       4.00   3,800.00
           A.            strategy(56031633)



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06/10/19   Dumas, Cecily Attend team meeting call re case status and        950.00       0.80      760.00
           A.            preparation for committee
                         meeting(56030605)

06/10/19   Dumas, Cecily Review and final revisions to case progress        950.00       1.10    1,045.00
           A.            memo(56030607)

06/10/19   Esmont, Joseph Advise Committee regarding case progress,         600.00       1.10      660.00
           M.             plan, and minutes (.6); advise committee
                          regarding bondholder proposal
                          (.5)(56180703)

06/10/19   Landrio, Nikki   Receive and review PG&E news letter for         420.00       0.50      210.00
           M.               June 7, 2019, June 8, 2019, June 9, 2019
                            and June 10, 2019 for communication to the
                            committee (.3) and upload copy to the
                            document management system for access
                            by the team members (.2).(56061948)

06/10/19   Woltering,       Correspondence with Mr. Trostle regarding       750.00       0.20      150.00
           Catherine E.     requested hearing transcripts.(56114414)

06/11/19   Dumas, Cecily Communications with Tosdal, Esmont,                950.00       0.70      665.00
           A.            Weible, Sagerman re preparation for
                         committee meeting(56055104)

06/11/19   Green,           Review issues related to minutes of April 26    720.00       0.40      288.00
           Elizabeth A.     meeting.(56053726)

06/11/19   Green,           Telephone conference with Joe Esmont            720.00       0.30      216.00
           Elizabeth A.     regarding minutes.(56053727)

06/11/19   Landrio, Nikki   Receive and review PG&E news letter for         420.00       0.20          84.00
           M.               June 11, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56061966)

06/11/19   Morris, Kimberly Email correspondence with Lincoln re non-       895.00       0.50      447.50
           S.               wildfire tort claims(56080250)

06/12/19   Landrio, Nikki   Receive and review PG&E news letter for         420.00       0.20          84.00
           M.               June 12, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56061995)



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06/13/19   Esmont, Joseph Confer with DSI and Ms. Morris regarding         600.00        1.80    1,080.00
           M.             committee member interviews and planning
                          the same (.8); outline questioning to cover
                          (1)(56180716)

06/13/19   Landrio, Nikki   Receive and review PG&E news letter for        420.00        0.20          84.00
           M.               June 13, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56062116)

06/14/19   Landrio, Nikki   Receive and review PG&E news letter for        420.00        0.20          84.00
           M.               June 14, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56062137)

06/15/19   Esmont, Joseph Advise committee regarding status of             600.00        0.70      420.00
           M.             ongoing proceedings(56180718)

06/15/19   Landrio, Nikki   Receive and review PG&E news letter for        420.00        0.20          84.00
           M.               June 15, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56062167)

06/16/19   Landrio, Nikki   Receive and review PG&E news letter for        420.00        0.20          84.00
           M.               June 16, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56062158)

06/17/19   Landrio, Nikki   Receive and review PG&E news letter for        420.00        0.20          84.00
           M.               June 17, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56105842)

06/18/19   Esmont, Joseph Interview of Gary Agajanian with DSI, Ms.        600.00        2.20    1,320.00
           M.             Morris (.7); follow up analysis of his
                          thoughts and comments (1.5);(56181004)

06/18/19   Landrio, Nikki   Receive and review PG&E news letter for        420.00        0.20          84.00
           M.               June 18, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access



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                            by the team members (.1).(56105876)

06/18/19   Morris, Kimberly Internal working session re case                895.00       0.50      447.50
           S.               strategy(56126503)

06/19/19   Dumas, Cecily Communicate with Parrish re website                950.00       0.20      190.00
           A.            protocol(56119160)

06/19/19   Landrio, Nikki   Email exchanges with Mr. Jesic regarding        420.00       0.20          84.00
           M.               the committee communication tracking and
                            updates made per team
                            requirements.(56105943)

06/19/19   Sagerman, Eric Further communications from committee           1,145.00       0.40      458.00
           E.             members regarding current restructuring
                          proposals(56102905)

06/20/19   Dumas, Cecily Participate in team call re claims, noticing,      950.00       1.50    1,425.00
           A.            plan(56121339)

06/20/19   Kavouras,        Draft memo on tort damages.(56170190)           365.00       2.10      766.50
           Daniel M.

06/20/19   Landrio, Nikki   Receive and review PG&E news letter for         420.00       0.20          84.00
           M.               June 20, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56105976)

06/20/19   Rose, Jorian L. Emails with Committee members regarding        1,010.00       0.80      808.00
                           status of Plan and other matters for
                           Committee meeting.(56093635)

06/21/19   Landrio, Nikki   Receive and review PG&E news letter for         420.00       0.20          84.00
           M.               June 21, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56105949)

06/22/19   Landrio, Nikki   Receive and review PG&E news letter for         420.00       0.20          84.00
           M.               June 22, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56105970)

06/23/19   Dumas, Cecily Prepare list of items to cover at Monday           950.00       0.60      570.00
           A.            team meeting(56171507)



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06/24/19   Dumas, Cecily Prepare for and participate in team weekly          950.00       2.00   1,900.00
           A.            call and follow up calls on pending
                         assignments(56172032)

06/24/19   Landrio, Nikki   Receive and review PG&E news letter for          420.00       0.30     126.00
           M.               June 23, 2019 and June 24, 2019 for
                            communication to the committee (.1) and
                            upload copy to the document management
                            system for access by the team members
                            (.2).(56106029)

06/25/19   Esmont, Joseph Call with Ms. Lockhart regarding committee         600.00       1.10     660.00
           M.             meeting (.3); Communicate with counsel for
                          committee member regarding Bylaws and
                          confidentiality (.2); Communications with
                          Committee re filings for this week’s hearing,
                          governor’s proposals, draft minutes
                          (.6)(56181188)

06/25/19   Landrio, Nikki   Receive and review PG&E news letter for          420.00       0.20         84.00
           M.               June 25, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56139242)

06/25/19   Morris, Kimberly Attend call with Subro re                        895.00       0.40     358.00
           S.               motions(56176395)

06/26/19   Landrio, Nikki   Receive and review PG&E news letter for          420.00       0.20         84.00
           M.               June 26, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56139267)

06/27/19   Bekier, James Review PGE volume three production set              495.00       1.40     693.00
           M.            and coordinate processing and
                         review.(56140995)

06/27/19   Landrio, Nikki   Receive and review PG&E news letter for          420.00       0.20         84.00
           M.               June 27, 2019 for communication to the
                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56146350)

06/28/19   Landrio, Nikki   Receive and review PG&E news letter for          420.00       0.20         84.00
           M.               June 28, 2019 for communication to the



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                            committee (.1) and upload copy to the
                            document management system for access
                            by the team members (.1).(56146376)

06/30/19   Dumas, Cecily Prepare and circulate agenda for team               950.00       1.00     950.00
           A.            meeting(56174606)

General Case Strategy (includes communications with Committee)(018)                      50.10   40,968.00

06/01/19   Landrio, Nikki   Update and review the June 11, 2019 and          420.00       0.40     168.00
           M.               June 26, 2019 hearing summary report per
                            filings on May 30, 2019 and May 31, 2019 in
                            preparation for same.(56017777)

06/02/19   Landrio, Nikki   Revise and update June 11, 2019 and June         420.00       0.40     168.00
           M.               26, 2019 hearing summary reporting in
                            preparation for same, including all filed
                            objections to pending motions.(56017781)

06/03/19   Landrio, Nikki   Revise and update the June 11, 2019 and          420.00       0.40     168.00
           M.               June 26, 2019 hearing summary report to
                            include filings from June 3, 2019 and
                            corresponding objection and continued
                            hearing dates to assist case team with
                            preparation for same.(56017812)

06/10/19   Landrio, Nikki   Receive and review the weekly critical dates     420.00       0.20         84.00
           M.               memo circulated by Ms. Lane regarding
                            upcoming hearings.(56061955)

06/11/19   Attard, Lauren Travel to and from court hearing (.8); attend      600.00       2.20    1,320.00
           T.             court hearing (.8); prepare summary of the
                          same (.6).(56067571)

06/11/19   Landrio, Nikki   Revise and update the hearing summary            420.00       0.80     336.00
           M.               report for matters scheduled for June 26,
                            2019 hearing date regarding motions,
                            objections and replies filed to assist case
                            team with preparation for same.(56061984)

06/11/19   Rose, Jorian L. Review summary of hearing on June 11            1,010.00       0.60     606.00
                           from Ms. Attard.(56043370)

06/12/19   Kinne, Tanya M. Draft email correspondence to Ms. Attard          365.00       0.10         36.50
                           transmitting June 11, 2019 hearing
                           transcript.(56122741)




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Date       Name            Description                                          Rate      Hours   Amount
06/12/19   Kinne, Tanya M. Review and process invoice for June 11,            365.00       0.20     73.00
                           2019 hearing transcript.(56122742)

06/12/19   Kinne, Tanya M. Save June 11, 2019 hearing transcript to           365.00       0.20        73.00
                           the document management system (.10);
                           draft email correspondence to PGE
                           Transcripts for saving to repository
                           (.10).(56122743)

06/13/19   Landrio, Nikki   Update the hearing summary report                 420.00       0.60     252.00
           M.               regarding matters scheduled for June 26,
                            2019 and July 9, 2019 omnibus hearing
                            dates to assist the case teams with
                            preparation for same.(56062136)

06/17/19   Landrio, Nikki   Receive and review critical dates memo            420.00       0.20        84.00
           M.               regarding upcoming hearing dates as
                            circulated by Ms. Lane.(56105856)

06/19/19   Landrio, Nikki   Update and review hearing summary                 420.00       1.00     420.00
           M.               reporting regarding motions, objections and
                            responses filed in preparation for June 26,
                            2019 hearing dates.(56105942)

06/20/19   Landrio, Nikki   Review and analysis of all objections,            420.00       1.60     672.00
           M.               joinder to objections filed regarding motions
                            scheduled for hearing on June 26, 2019 and
                            prepare summary reporting of same to
                            assist with team preparation for
                            same.(56105983)

06/21/19   Landrio, Nikki   Email exchanges with Ms. Kates providing          420.00       0.20        84.00
           M.               summary of matters scheduled for hearing
                            on June 26, 2019 in connection with
                            assignment to provide analysis of related
                            filings in preparation for same.(56105961)

06/25/19   Landrio, Nikki   Update and revise the June 26, 2019               420.00       0.30     126.00
           M.               hearing summary reporting regarding
                            matters dropped from the calendar per
                            docket orders to assist case team with
                            preparation for same.(56139264)

06/26/19   Attard, Lauren Attend hearing (4.6); draft summary                 600.00       8.10   4,860.00
           T.             regarding the same for memorandum to
                          Committee (3.5).(56141857)




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06/26/19   Dumas, Cecily Attend hearings on relief from stay, claim          950.00       4.30   4,085.00
           A.            form and noticing (telephone)(56172643)

06/26/19   Goodman, Eric Plan and prepare for hearing on bar date            800.00       9.00   7,200.00
           R.            motions (2.5); pre-hearing conference with
                         Ms. Cabraser regarding strategy for arguing
                         bar date motion (1.0); attend hearing on bar
                         date motions and competing notice
                         programs before the Bankruptcy Court.
                         (5.0); post-hearing conference with Mr.
                         Fuller regarding bar date ruling and related
                         matters (.5).(56136599)

06/26/19   Julian, Robert   Attend court hearing on bar date in order to   1,175.00       4.50   5,287.50
                            address brief I authored on future claims
                            and advise team on bar date
                            arguments(56145245)

06/26/19   Kates, Elyssa S. Call with Mr. Rose regarding the outcome of      760.00       0.10         76.00
                            the hearing.(56152080)

06/26/19   Landrio, Nikki   Email exchanges with Mr. Rose regarding          420.00       0.20         84.00
           M.               request for June 26, 2019 hearing transcript
                            (.1) and coordinating the ordering of same
                            with Ms. Kinne (.1).(56139295)

06/26/19   Morris, Kimberly Prepare for court hearing on bar date and        895.00       0.70     626.50
           S.               protective order(56176364)

06/26/19   Morris, Kimberly Attend court hearing on bar date and             895.00       4.50   4,027.50
           S.               protective order to evaluate issues relating
                            to claims estimation(56176365)

06/26/19   Rose, Jorian L. Attend hearing on bar date and noticing         1,010.00       4.50   4,545.00
                           issues and Herndan adversary
                           proceeding.(56144312)

06/26/19   Sagerman, Eric Attend hearing by telephone regarding bar        1,145.00       4.00   4,580.00
           E.             date and notice and protective
                          order(56158235)

06/27/19   Kinne, Tanya M. At the request of Ms. Attard, locate and          365.00       0.20         73.00
                           retrieve transcripts from hearings related to
                           Motion for Relief from Stay filed by Valero
                           Refining Company (.10); transmit same to
                           Ms. Attard (.10).(56170471)




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Date       Name            Description                                           Rate      Hours    Amount
06/27/19   Kinne, Tanya M. Draft email correspondence to transcribing          365.00       0.20      73.00
                           company regarding status of June 26, 2019
                           hearing transcript (.10); draft email to Ms.
                           Hammon-Turano and Ms. Attard regarding
                           same (.10).(56170476)

06/27/19   Landrio, Nikki   Receive and review June 26, 2019 hearing           420.00       0.20       84.00
           M.               summary as provided by Ms. Attard to the
                            case team.(56146367)

06/28/19   Kinne, Tanya M. Draft email correspondence to Ms. Attard            365.00       0.30     109.50
                           and Ms. Hammon-Turano transmit June 26,
                           2019 hearing transcript (.10); save same to
                           document management system (.10);
                           process invoice (.10).(56170487)

Hearings and Court Matters(019)                                                            50.20   40,381.50

05/13/19   Grossman,        Prepare for and participate in conference          850.00       1.50    1,275.00
           Andrew M.        call with Messrs. Bloom, DeLaquil, and
                            Rivkin regarding inverse condemnation
                            issues.(56169445)

06/01/19   Landrio, Nikki   Receive and review energy news letter from         420.00       0.20       84.00
           M.               June 1, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56017773)

06/01/19   Rivkin, David B. Attention to the Zelmer-related materials in     1,625.00       2.70    4,387.50
                            preparation for our upcoming Monday
                            conference call.(55976758)

06/02/19   Landrio, Nikki   Receive and review energy news letter from         420.00       0.20       84.00
           M.               June 2, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56017779)

06/03/19   DeLaquil, Mark Review and analyze Zelmer stay materials             885.00       1.80    1,593.00
           W.             (.7); confer with Mr. Rivkin et al. regarding
                          opposition to Zelmer stay motion (.8);
                          attention to correspondence with Ms.
                          Dumas et al. regarding Zelmer stay
                          (.3).(56001014)



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06/03/19   Landrio, Nikki   Receive and review energy news letter from         420.00       0.20       84.00
           M.               June 3, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56017789)

06/03/19   Rivkin, David B. Further attention to Zelmer-related filings in    1,625.00      6.20   10,075.00
                            preparation for our conference call (1.6);
                            conference call with Cecily Dumas, et al.,
                            regarding Zelmer's motion to lift the stay
                            (1.00); meetings with Mark eLaquil to
                            discuss our opposition to Zelmer's motion to
                            lift the stay (.4); meeting with Lee Casey,
                            Mark DeLaquil and Richard Raile to discuss
                            Zelmer's motion to lift the stay (.2); phone
                            call with Elizabeth Foley to discuss
                            "concrete adversity" issues (as a part of our
                            opposition to Zelmer's motion to lift the stay
                            (.9); attention to our opposition to Zelmer's
                            motion to lift the stay (1.4).(55997204)

06/04/19   Bloom, Jerry R. Review of Mr. Rivkin email on Zelmer and           1,145.00      0.60     687.00
                           inverse condemnation and discussion with
                           Mr. Rivkin in same(56175131)

06/04/19   DeLaquil, Mark Review and analyze draft memorandum                  885.00       0.30     265.50
           W.             section regarding opposition to Zelmer
                          motion.(56001016)

06/04/19   Landrio, Nikki   Receive and review energy news letter from         420.00       0.20       84.00
           M.               June 4, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56017816)

06/04/19   Landrio, Nikki   Email exchanges with Ms. Zuberi regarding          420.00       0.20       84.00
           M.               calendaring and docketing legislative
                            hearings and meetings.(56017848)

06/04/19   Rivkin, David B. Attention to our brief in opposition to           1,625.00      3.10    5,037.50
                            Zelmer's motion to lift the stay (2.1); confer
                            regarding our brief in opposition to Zelmer's
                            motion to lift the stay (.2); confer with Jerry
                            Bloom regarding our brief in opposition to



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                            Zelmer's motion to lift the stay (.4); attention
                            to the email from Cecily Dumas regarding
                            monitoring AVPs pending before Judge
                            Montail (.1); Confer regarding AVPs
                            pending before Judge Montail and their
                            impact on our brief in opposition to Zelmer's
                            motion to lift the stay with Elyssa Kates
                            (.3).(56000902)

06/05/19   Casey, Lee A.    Review and analysis of cases and materials         1,255.00      1.30   1,631.50
                            on California law regarding potential
                            response to Zelmer motion for
                            relief.(56023231)

06/05/19   Casey, Lee A.    Review of correspondence from Mr.                  1,255.00      0.10     125.50
                            DeLawquil regarding Zelmer motion for
                            relief.(56023232)

06/05/19   DeLaquil, Mark Attention to correspondence with Mr. Casey            885.00       0.10      88.50
           W.             regarding case procedures
                          order.(56021864)

06/05/19   Landrio, Nikki   Receive and review energy news letter from          420.00       0.20      84.00
           M.               June 5, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56017847)

06/05/19   Rivkin, David B. Attention to the email from Cecily Dumas           1,625.00      2.30   3,737.50
                            regarding AVP-related issues (.2); confer
                            with Richard Raile regarding our brief in
                            opposition to the Zelmer's motion to lift the
                            stay (.2); attention to our opposition to the
                            Zelmer's motion to lift the stay
                            (1.9).(56003354)

06/06/19   Casey, Lee A.    Research, review and analysis of cases on          1,255.00      2.80   3,514.00
                            California law regarding potential response
                            to Zelmer motion for relief.(56023234)

06/06/19   DeLaquil, Mark Attention to correspondence with Mr. Rivkin           885.00       0.30     265.50
           W.             et al. regarding withdrawal of Zelmer
                          abstention motion.(56021869)

06/06/19   Landrio, Nikki   Receive and review energy news letter from          420.00       0.20      84.00
           M.               June 6, 2019 regarding calendar events for



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                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56017882)

06/06/19   Rivkin, David B. Attention to the emails from Elyssa Kates       1,625.00       0.50     812.50
                            regarding withdrawal of Zelmer's motion
                            (.2); confer with Mark DeLaquil and Richard
                            Raile regarding withdrawal of Zelmer's
                            motion (.3).(56006132)

06/10/19   DeLaquil, Mark Edit and revise draft memorandum                    885.00       1.00     885.00
           W.             regarding abstention (.9); confer with Mr.
                          Rivkin regarding draft memorandum
                          regarding abstention (.1).(56021875)

06/10/19   Landrio, Nikki   Receive and review energy news letter from        420.00       0.50     210.00
           M.               June 7, 2019, June 8, 2019 and June 10,
                            2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.3) and upload
                            copy to the document management system
                            for access by the case team (.2).(56061951)

06/10/19   Rivkin, David B. Attention to the notice of withdrawal of the    1,625.00       1.30   2,112.50
                            Zelmer motion for relief (.2); confer
                            regarding the notice of withdrawal of the
                            Zelmer motion for relief with Richard Raile
                            and Mark DeLaquil (.2); attention to the
                            memorandum regarding opposition to future
                            efforts to relitigate the inverse
                            condemnation liability (.9).(56061404)

06/11/19   Landrio, Nikki   Receive and review energy news letter from        420.00       0.20        84.00
           M.               June 11, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56061968)

06/11/19   Rivkin, David B. Revisions to the memo regarding opposition      1,625.00       1.80   2,925.00
                            to inverse condemnation-related motions for
                            Cecily Dumas, et al. (1.5); confer regarding
                            opposition to inverse condemnation-related
                            motions with Richard Raile and Mark
                            DeLaquil.(56061402)




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06/12/19   Rivkin, David B. Attention to the email from Jerry Bloom        1,625.00       0.10     162.50
                            regarding S&P downgrade threat to
                            Newsom Wildfire deadline.(56061400)

06/13/19   Landrio, Nikki   Receive and review energy news letter from       420.00       0.20         84.00
           M.               June 13, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56062117)

06/13/19   Peterson,        Cover U.S. Senate Energy and Natural             430.00       1.80     774.00
           Peggy A.         Resources Committee hearing, "Outlook for
                            Wildland Fire and Management Programs
                            for 2019."(56075753)

06/13/19   Peterson,        Compose internal email regarding the             430.00       0.20         86.00
           Peggy A.         Senate Energy and Natural Resources
                            Committee hearing regarding "Outlook for
                            Wildland Fire and Management Programs
                            for 2019."(56075754)

06/14/19   Landrio, Nikki   Receive and review energy news letter from       420.00       0.20         84.00
           M.               June 14, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56062138)

06/15/19   Landrio, Nikki   Receive and review energy news letter from       420.00       0.20         84.00
           M.               June 15, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56062168)

06/17/19   Landrio, Nikki   Receive and review energy news letter from       420.00       0.20         84.00
           M.               June 18, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56105843)

06/19/19   Landrio, Nikki   Receive and review energy news letter from       420.00       0.20         84.00
           M.               June 19, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload



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                            copy to the document management system
                            for access by the case team (.1).(56105925)

06/20/19   Landrio, Nikki   Receive and review energy news letter from     420.00        0.20          84.00
           M.               June 20, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56105977)

06/20/19   Peterson,        Monitor Senate Energy and Natural              430.00        0.50      215.00
           Peggy A.         Resources Committee hearing for relevant
                            issues.(56125508)

06/21/19   Dumas, Cecily Review Governor's proposal and Debtors            950.00        0.60      570.00
           A.            press release re plan; communicate with
                         team re same and timing(56121432)

06/21/19   Landrio, Nikki   Receive and review energy news letter from     420.00        0.20          84.00
           M.               June 21, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56105951)

06/22/19   Landrio, Nikki   Receive and review energy news letter from     420.00        0.20          84.00
           M.               June 22, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56105972)

06/24/19   Landrio, Nikki   Receive and review energy news letter from     420.00        0.30      126.00
           M.               June 23, 2019 and June 24, 2019 regarding
                            calendar events for legislative, regulatory
                            and energy related forums for the energy
                            team (.1) and upload copy to the document
                            management system for access by the case
                            team (.2).(56106030)

06/24/19   Peterson,        Perform Web-based research for relevant        430.00        0.50      215.00
           Peggy A.         news and developments.(56150926)

06/24/19   Rivkin, David B. Attention to the analysis of the inverse      1,625.00       3.30    5,362.50
                            condemnation-related issues (3.2); confer
                            with Andrew Grossman regarding our memo
                            featuring the analysis of the inverse



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                            condemnation-related issues
                            (.1).(56108714)

06/25/19   Dumas, Cecily Prepare report to TCC re Governor's                  950.00       1.00     950.00
           A.            proposal(56173578)

06/25/19   Landrio, Nikki   Receive and review energy news letter from        420.00       0.20        84.00
           M.               June 25, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56139243)

06/25/19   Peterson,        Review testimony of California Office of          430.00       0.30     129.00
           Peggy A.         Emergency Services before the House
                            Oversight and Reform Subcommittee on the
                            Environment.(56150920)

06/25/19   Peterson,        Monitor Senate Select Committee on                430.00       0.50     215.00
           Peggy A.         Artificial Intelligence hearing on the growing
                            impact of artificial intelligence in
                            California.(56150922)

06/25/19   Peterson,        Perform Web-based research for relevant           430.00       0.60     258.00
           Peggy A.         news and developments.(56150927)

06/25/19   Rivkin, David B. Attention to inverse condemnation-related        1,625.00      2.30   3,737.50
                            issues.(56130004)

06/26/19   Dumas, Cecily Confer with Bloom re Governors proposal,             950.00       1.00     950.00
           A.            terms and timing(56172644)

06/26/19   Dumas, Cecily Confer with Sagerman re legislative                  950.00       0.40     380.00
           A.            developments affecting case(56172646)

06/26/19   Landrio, Nikki   Receive and review energy news letter from        420.00       0.20        84.00
           M.               June 26, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56139268)

06/26/19   Peterson,        Perform WEb-based research for relevant           430.00       0.50     215.00
           Peggy A.         news and developments.(56150928)

06/26/19   Rivkin, David B. Attention to various condemnation-related        1,625.00      1.40   2,275.00
                            issues.(56141164)



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Date       Name             Description                                         Rate      Hours   Amount

06/27/19   Landrio, Nikki   Receive and review energy news letter from        420.00       0.20        84.00
           M.               June 27, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56146351)

06/27/19   Peterson,        Perform Web-based research for relevant           430.00       0.40     172.00
           Peggy A.         news and developments.(56150925)

06/27/19   Rivkin, David B. Attention to various condemnation-related       1,625.00       2.20   3,575.00
                            issues.(56141163)

06/28/19   Bloom, Jerry R. Telephone conference with Mr. Bloom, Ms.         1,145.00       0.80     916.00
                           Zuberi, Ms. Peterson and Ms. Attard
                           regarding legislative and regulatory updates
                           and potential presentations to the
                           Committee.(56175141)

06/28/19   Grossman,        Continue legal research for legal                 850.00       1.00     850.00
           Andrew M.        memorandum on inverse condemnation
                            litigation.(56168392)

06/28/19   Kinne, Tanya M. Arrange for delivery of Assembly Bill No.          365.00       0.30     109.50
                           1054 to Mr. Bloom.(56170559)

06/28/19   Landrio, Nikki   Receive and review energy news letter from        420.00       0.20        84.00
           M.               June 28, 2019 regarding calendar events for
                            legislative, regulatory and energy related
                            forums for the energy team (.1) and upload
                            copy to the document management system
                            for access by the case team (.1).(56146377)

06/28/19   Peterson,        Telephone conference with Mr. Bloom, Ms.          430.00       0.80     344.00
           Peggy A.         Zuberi, Ms. Peterson and Ms. Attard
                            regarding legislative and regulatory updates
                            and potential presentations to the
                            Committee.(56150918)

06/28/19   Peterson,        Telephone call with Ms. Zuberi to coordinate      430.00       0.20        86.00
           Peggy A.         coverage of the California Legislature next
                            week.(56150919)

06/28/19   Peterson,        Perform Web-based research for relevant           430.00       0.80     344.00
           Peggy A.         news and developments.(56150924)




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06/28/19   Rivkin, David B. Attention to inverse condemnation-related       1,625.00      2.20    3,575.00
                            issues.(56181851)

06/30/19   Peterson,       Perform Web-based research for relevant           430.00       0.60     258.00
           Peggy A.        news and developments.(56150921)

06/30/19   Peterson,       Update California legislative                     430.00       1.00     430.00
           Peggy A.        tracker.(56150923)

Legislative Issues/Inverse Reform(020)                                                   57.80   68,588.00

06/10/19   Rice, David W. Research and analyze legal issues                  610.00       2.10    1,281.00
                          regarding impact of post-petition judgment
                          or claim against debtor in bankruptcy
                          proceeding on rights and/or potential
                          recovery of pre-petition
                          claimants.(56082927)

06/12/19   Prabucki,       Address issues relating to task                   385.00       0.10         38.50
           Kenneth         management.(56076524)

06/12/19   Rice, David W. Identify and conduct analysis of materials         610.00       0.80     488.00
                          relevant to evaluating active civil and
                          criminal investigations of PG&E by various
                          federal and state agencies, with special
                          focus on filings and information relevant to
                          potential litigation.(56178649)

06/14/19   Rice, David W. Conduct research and analysis of legal             610.00       2.80    1,708.00
                          issues concerning potential implications of
                          entry of post-petition criminal judgment
                          against debtor by government entity on
                          priority of claims and/or potential recovery of
                          pre-petition claims, including analysis of
                          orders of priority for specific claimants,
                          relation back of post-petition judgments, and
                          potential application of regulatory power
                          exception to automatic stay.(56082964)

06/19/19   Kinne, Tanya M. Save transcripts from North Bay Fire state        365.00       0.20         73.00
                           court litigation to the document
                           management system.(56125335)

06/20/19   Rice, David W. Conduct research and analysis of legal             610.00       3.40    2,074.00
                          issues concerning potential implications of
                          entry of post-petition criminal judgment
                          against debtor by government entity on



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                           priority of claims and/or potential recovery of
                           pre-petition claims, including analysis and/or
                           applicability of sections 362, 502, 502, 507,
                           and/or 523(a)(7) of the Bankruptcy Code,
                           order of priority for specific post-petition
                           claimants, and/or claim priority of post-
                           petition criminal judgment against Chapter
                           11 debtor.(56125900)

06/21/19   Rice, David W. Conduct research and analysis of legal             610.00       7.20   4,392.00
                          issues concerning potential implications of
                          entry of post-petition criminal judgment
                          against debtor by government entity on
                          priority of claims and/or potential recovery of
                          pre-petition claims, including analysis and/or
                          applicability of sections 362, 502, 502, 507,
                          and/or 523(a)(7) of the Bankruptcy Code,
                          order of priority for specific post-petition
                          claimants, and/or claim priority of post-
                          petition criminal judgment against Chapter
                          11 debtor.(56125901)

06/24/19   Kinne, Tanya M. Save May 2, 2019 hearing transcript related       365.00       0.20         73.00
                           to USA v. PG&E to document management
                           system.(56170433)

06/24/19   Rice, David W. Identify and conduct analysis of materials         610.00       1.10     671.00
                          relevant to evaluating active civil and
                          criminal investigations of PG&E by various
                          federal and state agencies, with special
                          focus on filings and information relevant to
                          potential litigation.(56177533)

06/25/19   Rice, David W. Conduct research and analysis of legal             610.00       2.80   1,708.00
                          issues concerning potential implications of
                          entry of post-petition criminal judgment
                          against debtor by government entity on
                          priority of claims and/or potential recovery of
                          pre-petition claims, including analysis and/or
                          applicability of sections 362, 502, 502, 507,
                          and/or 523(a)(7) of the Bankruptcy Code,
                          order of priority for specific post-petition
                          claimants, and/or claim priority of post-
                          petition criminal judgment against Chapter
                          11 debtor.(56177535)




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Date     Name            Description                                         Rate      Hours     Amount
Non-Bankruptcy Litigation(021)                                                          20.70   12,506.50

06/03/19   Kavouras,         Travel to San Francisco from                  182.50        4.00      730.00
           Daniel M.         Cleveland.(56170131)

06/03/19   Morris, Kimberly Travel to and from claims valuation            447.50        0.40      179.00
           S.               meeting(56038358)

06/04/19   Attard, Lauren Travel from San Francisco office for             300.00        3.00      900.00
           T.             meetings on claims issues.(56023557)

06/04/19   Fuller, Lars H.   Non-working travel.(55999534)                 272.50        2.50      681.25

06/06/19   Attard, Lauren Travel from San Francisco office for             300.00        4.00    1,200.00
           T.             meetings on claims issues.(56023551)

06/07/19   Fuller, Lars H.   Non-working travel from San Francisco to      272.50        4.00    1,090.00
                             Denver.(56009282)

06/07/19   Kavouras,         Travel from San Francisco to                  182.50        5.00      912.50
           Daniel M.         Cleveland.(56170147)

06/09/19   Attard, Lauren Travel to San Francisco office for meetings      300.00        4.00    1,200.00
           T.             on claims issues.(56013812)

06/09/19   Esmont, Joseph Travel from Cleveland, Ohio to San               300.00        4.00    1,200.00
           M.             Francisco, California in preparation for and
                          attendance at June 12, 2019 in-person
                          committee meeting in Oakland,
                          California.(56015865)

06/11/19   Goodman, Eric Travel from Cleveland, Ohio to San                400.00        4.50    1,800.00
           R.            Francisco, California.(56057935)

06/12/19   Attard, Lauren Travel from San Francisco office for             300.00        1.40      420.00
           T.             meetings on claims issues.(56067574)

06/12/19   Esmont, Joseph Travel to and from Committee meeting in          300.00        0.80      240.00
           M.             Oakland, billed at half actual
                          time.(56180712)

06/12/19   Goodman, Eric Travel to and from San Francisco to               400.00        1.00      400.00
           R.            Oakland for meeting with the
                         TCC.(56058577)

06/12/19   Green,            Return flight from San Francisco to           360.00        3.00    1,080.00
           Elizabeth A.      Orlando.(56055621)



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06/12/19   Julian, Robert   Travel to Ghost Ship Warehouse Fire          1,175.00        1.10    1,292.50
                            inspection(56049960)

06/12/19   Julian, Robert   Return travel committee meeting in             587.50        1.10      646.25
                            Alameda to Home(56049964)

06/12/19   Kavouras,        Travel from Cleveland to San                   182.50        5.00      912.50
           Daniel M.        Francisco.(56170167)

06/12/19   Morris, Kimberly Travel to/from Oakland for committee           447.50        1.30      581.75
           S.               meeting(56080255)

06/13/19   Esmont, Joseph Non-working portion of flight time from San      300.00        3.60    1,080.00
           M.             Francisco to Cleveland, Ohio (2.2); travel
                          time to and from airport (1.4)(56180714)

06/13/19   Goodman, Eric Return travel from San Francisco to               400.00        6.00    2,400.00
           R.            Chicago, ORD.(56058611)

06/13/19   Kavouras,        Travel from San Francisco to                   182.50        5.00      912.50
           Daniel M.        Cleveland.(56170168)

06/14/19   Goodman, Eric Return travel from Chicago, ORD, to               400.00        3.00    1,200.00
           R.            Cleveland, Ohio.(56058632)

06/16/19   Attard, Lauren Travel to San Francisco office for meetings      300.00        3.50    1,050.00
           T.             on claims issues.(56067581)

06/18/19   Kavouras,        Travel to San Francisco from                   182.50        4.00      730.00
           Daniel M.        Cleveland.(56180284)

06/20/19   Attard, Lauren Travel from San Francisco office for             300.00        4.30    1,290.00
           T.             meetings on claims issues.(56112725)

06/21/19   Kavouras,        Travel from San Francisco to                   182.50        5.00      912.50
           Daniel M.        Cleveland.(56170195)

06/24/19   Attard, Lauren Travel from San Francisco office for             300.00        4.70    1,410.00
           T.             meetings on claims issues.(56112736)

06/24/19   Goodman, Eric Travel from Cleveland, Ohio to San                400.00        4.00    1,600.00
           R.            Francisco, California.(56133626)

06/25/19   Rose, Jorian L. Travel to San Francisco, CA.(56128817)          505.00        3.60    1,818.00

06/27/19   Attard, Lauren Travel from San Francisco office for             300.00        3.00      900.00



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Date       Name             Description                                         Rate      Hours     Amount
           T.               meetings on claims issues.(56166492)

06/27/19   Goodman, Eric Return travel from San Francisco, California         400.00        4.20    1,680.00
           R.            to Cleveland, Ohio.(56139591)

06/27/19   Rose, Jorian L. Travel from San Francisco, CA to New York          505.00        3.80    1,919.00
                           after 6/26 hearing.(56144321)

Non-Working Travel(022)                                                                   107.80   34,367.75

06/05/19   Dumas, Cecily Review NextEra's pleadings re FERC                   950.00        0.90     855.00
           A.            appeal and directions to Kates(56035017)

06/05/19   Esmont, Joseph Advise committee regarding FERC                     600.00        0.30     180.00
           M.             decision(56180633)

06/08/19   Dumas, Cecily Email Campora re bankruptcy court ruling             950.00        0.50     475.00
           A.            on FERC jurisdiction(56031626)

06/13/19   Kates, Elyssa S. Call with Mr. Esmont regarding Judge              760.00        0.10       76.00
                            Montali's decision on June 12,
                            2019.(56071590)

06/14/19   Kates, Elyssa S. Call with Mr. Benson regarding the decision       760.00        0.20     152.00
                            on jurisdiction.(56071615)

06/15/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                760.00        0.10       76.00
                            Bloom and Mr. Benson regarding Judge
                            Montali's ruling on FERC's jurisdiction over
                            power purchase contracts.(56071621)

06/17/19   Green,           Review issue regarding adversary                  720.00        0.30     216.00
           Elizabeth A.     proceeding with Joe Esmont.(56064442)

FERC Adversary Proceeding(023)                                                              2.40    2,030.00

06/03/19   Morris, Kimberly Analyze filings in criminal case(56038369)        895.00        0.50     447.50
           S.

06/04/19   Rice, David W. Research and conduct targeted analysis of           610.00        1.30     793.00
                          materials relevant to identifying and
                          evaluating active civil and criminal
                          investigations of PG&E by various federal
                          and state agencies.(56035358)

06/04/19   Rice, David W. Identify and conduct analysis of materials          610.00        3.60    2,196.00
                          relevant to evaluating the federal



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                            monitorship of PG&E as a condition of its
                            criminal probation, with focus on the Federal
                            Monitor team, including relevant filings,
                            pleadings, transcripts and/or other publicly
                            available information relevant to potential
                            future litigation.(56035361)

06/04/19   Rice, David W. Draft and revise synopsis of findings and           610.00       1.60     976.00
                          analysis of key issues based on
                          assessment of PG&E Monitorship and
                          Federal Monitor Team, including
                          substantive analysis of relevant findings,
                          pleadings, filings, and publicly available
                          information relevant to potential future
                          litigation, and providing recommendations
                          regarding the same(56035370)

06/05/19   Dettelbach,      Draft letter to monitor on behalf of TCC        1,015.00       0.50     507.50
           Steven M.        counsel.(56030661)

06/05/19   Rice, David W. Research and analyze legal issues                   610.00       2.20   1,342.00
                          regarding impact of post-petition judgment
                          or claim against debtor in bankruptcy
                          proceeding on rights and/or potential
                          recovery of pre-petition
                          claimants.(56035359)

06/05/19   Rice, David W. Identify and conduct analysis of materials          610.00       1.70   1,037.00
                          relevant to evaluating the federal
                          monitorship of PG&E as a condition of its
                          criminal probation, with focus on the Federal
                          Monitor team, including relevant filings,
                          pleadings, transcripts and/or other publicly
                          available information relevant to potential
                          future litigation.(56035362)

06/05/19   Rice, David W. Draft and revise synopsis of findings and           610.00       2.40   1,464.00
                          analysis of key issues based on
                          assessment of PG&E Monitorship and
                          Federal Monitor Team, including
                          substantive analysis of relevant findings,
                          pleadings, filings, and publicly available
                          information relevant to potential future
                          litigation, and providing recommendations
                          regarding the same(56035371)

06/06/19   Landrio, Nikki   Review scheduled deadline for PG&E in             420.00       0.30     126.00



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           M.              district court relating to criminal matter (.1)
                           and email exchanges with the team
                           handling the criminal proceeding regarding
                           docketing of deadlines and coordinating
                           assistance for same to ensure notification of
                           upcoming dates (.2).(56017884)

06/06/19   Morris, Kimberly Review and edit letter re PGE                     895.00       0.30     268.50
           S.               monitor(56038395)

06/06/19   Rice, David W. Research and analyze legal issues                   610.00       1.80   1,098.00
                          regarding impact of post-petition judgment
                          or claim against debtor in bankruptcy
                          proceeding on rights and/or potential
                          recovery of pre-petition
                          claimants.(56035360)

06/06/19   Rice, David W. Identify and conduct analysis of materials          610.00       0.90     549.00
                          relevant to evaluating the federal
                          monitorship of PG&E as a condition of its
                          criminal probation, with focus on the Federal
                          Monitor team, including relevant filings,
                          pleadings, transcripts and/or other publicly
                          available information relevant to potential
                          future litigation.(56035363)

06/06/19   Rice, David W. Draft and revise synopsis of findings and           610.00       2.40   1,464.00
                          analysis of key issues based on
                          assessment of PG&E Monitorship and
                          Federal Monitor Team, including
                          substantive analysis of relevant findings,
                          pleadings, filings, and publicly available
                          information relevant to potential future
                          litigation, and providing recommendations
                          regarding the same(56035372)

06/07/19   Dettelbach,     Finalize and send correspondence to               1,015.00      0.80     812.00
           Steven M.       federal monitor requesting call and review
                           response to same.(56030667)

06/07/19   Morris, Kimberly Correspondence re PGE                             895.00       0.40     358.00
           S.               monitor(56038398)

06/07/19   Rice, David W. Identify and conduct analysis of materials          610.00       0.80     488.00
                          relevant to evaluating the federal
                          monitorship of PG&E as a condition of its
                          criminal probation, with focus on the Federal



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                            Monitor team, including relevant filings,
                            pleadings, transcripts and/or other publicly
                            available information relevant to potential
                            future litigation.(56035364)

06/07/19   Rice, David W. Draft and respond to email correspondence           610.00       0.40     244.00
                          regarding issues related to active monitoring
                          of PG&E criminal case, U.S. v. Pacific Gas
                          and Electric Company, 3:14-cr-000175-
                          WHA, including providing status update for
                          case team members with substantive
                          analysis of significant filings and
                          developments.(56035367)

06/07/19   Rice, David W. Identify and analyze court docket for PG&E          610.00       0.30     183.00
                          criminal case, U.S. v. Pacific Gas and
                          Electric Company, 3:14-cr-000175-WHA,
                          with focus on filings and developments
                          relevant to potential future
                          litigation.(56035368)

06/07/19   Rice, David W. Research and conduct targeted analysis of           610.00       1.20     732.00
                          materials relevant to identifying and
                          evaluating active civil and criminal
                          investigations of PG&E by various federal
                          and state agencies, with special focus on
                          filings and information relevant to potential
                          litigation.(56035369)

06/07/19   Rice, David W. Draft and revise synopsis of findings and           610.00       1.70   1,037.00
                          analysis of key issues based on
                          assessment of PG&E Monitorship and
                          Federal Monitor Team, including
                          substantive analysis of relevant findings,
                          pleadings, filings, and publicly available
                          information relevant to potential future
                          litigation, and providing recommendations
                          regarding the same(56035373)

06/08/19   Dumas, Cecily Email Trostle re secret PG&E tour of                 950.00       0.20     190.00
           A.            Paradise(56031628)

06/08/19   Prabucki,        Conference with Mr. Esmont regarding              385.00       1.00     385.00
           Kenneth          matter; review background materials
                            relating to matter.(56032788)

06/11/19   Morris, Kimberly Call with counsel for criminal court              895.00       0.50     447.50



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                                            Filed: Cleveland
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           S.               monitor(56080242)

06/11/19   Morris, Kimberly Follow up email correspondence with                895.00       0.30     268.50
           S.               criminal court monitor(56080243)

06/12/19   Dettelbach,      Prepare for and conduct call with federal        1,015.00       0.80     812.00
           Steven M.        monitor on matters relating to
                            TCC.(56075439)

06/12/19   Morris, Kimberly Call with federal criminal court                   895.00       0.50     447.50
           S.               monitor(56080256)

06/14/19   Rice, David W. Draft and respond to email correspondence            610.00       0.40     244.00
                          regarding issues related to active monitoring
                          of PG&E criminal case, U.S. v. Pacific Gas
                          and Electric Company, 3:14-cr-000175-
                          WHA, including providing status update for
                          case team members with substantive
                          analysis of significant filings and
                          developments.(56082962)

06/14/19   Rice, David W. Identify and analyze court docket for PG&E           610.00       0.30     183.00
                          criminal case, U.S. v. Pacific Gas and
                          Electric Company, 3:14-cr-000175-WHA,
                          with focus on filings and developments
                          relevant to potential future
                          litigation.(56082963)

06/19/19   Landrio, Nikki   Receive and review email from Ms.                  420.00       0.30     126.00
           M.               Hammon-Turano regarding maintenance of
                            transcripts related to California North Bay
                            fire cases (.1) and discussion and email
                            exchanges with Mr. Esmont and Ms. Kinne
                            regarding maintenance of same
                            (.2).(56105932)

06/21/19   Rice, David W. Draft and revise synopsis and analysis of            610.00       0.30     183.00
                          filings and developments in PG&E criminal
                          case, U.S. v. Pacific Gas and Electric
                          Company, 3:14-cr-000175-WHA, with
                          substantive assessment of specific filings,
                          issues and information relevant to potential
                          future litigation.(56125902)

06/21/19   Rice, David W. Identify and analyze court docket for PG&E           610.00       0.30     183.00
                          criminal case, U.S. v. Pacific Gas and
                          Electric Company, 3:14-cr-000175-WHA,



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                           with focus on filings and developments
                           relevant to potential future
                           litigation.(56125903)

06/21/19   Rice, David W. Draft and respond to email correspondence        610.00        0.40      244.00
                          regarding issues related to active monitoring
                          of PG&E criminal case, U.S. v. Pacific Gas
                          and Electric Company, 3:14-cr-000175-
                          WHA, including providing status update for
                          case team members with substantive
                          analysis of significant filings and
                          developments.(56125904)

District Court Litigation(024)                                                         30.40    19,836.00

06/03/19   Benson, Glenn Work on memo regarding Proposed                   640.00        5.00    3,200.00
           S.            Decision in CPUC governance proceeding
                         (3.2); work on revisions to draft memo
                         regarding Wlidfire Commission Workgroup
                         reports (1.6); work on response to question
                         from R. Julian regarding PG&E de-
                         energization program (0.2).(56015874)

06/03/19   Bloom, Jerry R. Respond to Mr. Julian inquiry re CPUC          1,145.00       6.10    6,984.50
                           decisions on De-energization and Wildfire
                           Mitigation Plans with review, call to CPUC
                           and email (1.7); review and edit memo to
                           TCC on same (.8); review and revised
                           memo to TCC on Commission on Wildfire
                           Costs and Recovery reports with Mr.
                           Benson and further edits to finalize (2.2);
                           review and edit Mr. Benson memo to TCC
                           on PG&E comments on PD Governance
                           Proceeding (.8); provide information to Mr.
                           Parrish on CPUC public hearings on PG&E
                           General Rate Case (.6)(56087380)

06/03/19   Dumas, Cecily Review Benson, Bloom memo re CPUC                 950.00        0.30      285.00
           A.            action(55997947)

06/03/19   Lane, Deanna    Correspondence with Mr. Ravick, Mr. Bekier      280.00        0.20          56.00
           L.              and Ms. Green regarding the uploading of
                           recently secured SEC Documents;
                           forwarding a link to the new version of the
                           SEC documents to Mr. Bekier for
                           uploading(56030466)




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Date       Name            Description                                          Rate      Hours   Amount
06/03/19   Peterson,       Monitor U.S. House of Representatives floor        430.00       0.80    344.00
           Peggy A.        debate on the disaster supplemental
                           appropriations bill.(56034482)

06/03/19   Peterson,       Monitor U.S. House of Representatives floor        430.00       0.60     258.00
           Peggy A.        vote on the disaster supplemental
                           appropriations bill.(56034483)

06/03/19   Peterson,       Compose draft memo regarding disaster              430.00       0.70     301.00
           Peggy A.        supplemental appropriations
                           legislation.(56034486)

06/03/19   Zuberi, Madiha Update the CPUC tracker with additional             605.00       0.80     484.00
           M.             information on filings related to the SB 901
                          Commission.(56033699)

06/04/19   Bloom, Jerry R. Respond to Ms. Dumas questions on FERC            1,145.00      3.10   3,549.50
                           proceeding on concurrent jurisdiction with
                           bankruptcy court, discuss with Mr. Esmont
                           and Mr. Benson and email and memo on
                           same (1.7); review of Commission on
                           Catastrophic Wildfire Cost and Recovery
                           Agenda and update (1.4)(56175130)

06/04/19   Bloom, Jerry R. Review and analysis of Stipulation between        1,145.00      1.60   1,832.00
                           Debtors and CPUC in respect to certain
                           Commission Proceedings and email to Mr.
                           Goodman and C. Dumas re same (1.3);
                           follow up review of Appendix and further
                           email re same (0.3) )(56175132)

06/04/19   Peterson,       Conduct Web-based research to identify             430.00       0.80     344.00
           Peggy A.        relevant news and
                           developments.(56034484)

06/04/19   Peterson,       Perform Web-based legislative research of          430.00       0.80     344.00
           Peggy A.        pending measures in the California
                           Legislature.(56034485)

06/04/19   Peterson,       Edit and update California Regulatory and          430.00       0.80     344.00
           Peggy A.        Legislative Tracker.(56034487)

06/04/19   Ravick, Jacob   Continue review of SEC documents filed by          250.00      10.10   2,525.00
           H.              PGE in 2011 - 2013 related to statements of
                           wildfire as other liabilities and prepare chart
                           of the same.(56042564)




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06/05/19   Benson, Glenn Monitor CPUC developments of potential              640.00       2.00   1,280.00
           S.            significance to TCC.(56318974)

06/05/19   Bloom, Jerry R. Coordination on 6/7 Sacramento hearing of       1,145.00       1.70   1,946.50
                           Commission on Catastrophic Wildfire Costs
                           and Recovery with Ms. Zuberi and Ms.
                           Dumas and emails re same (1.0); further
                           attention to memo of Commission on
                           Catastrophic Wildfire Costs and Recovery
                           and coordination with Mr. Benson (0.9);
                           email to Ms. Dumas re Commission report
                           and Strike Force Report (0,2)(56087381)

06/05/19   Dumas, Cecily Email Julian re wildfire mitigation working         950.00       1.90   1,805.00
           A.            group (.1); review Bloom memo on Strike
                         Force proceedings on wildfire mitigation,
                         inverse reform (.8); call with Bloom re Strike
                         Force and Legislative Committees process
                         and recommendations and TCC
                         subcommittee on same (1.)(56035009)

06/05/19   Goodman, Eric Review email from Mr. Bloom regarding               800.00       0.70     560.00
           R.            CPUC stipulation (.2); telephone call with
                         counsel for the CPUC regarding stipulation
                         (.1); telephone with Ms. Dumas regarding
                         CPUC stipulation and related matters
                         (.4).(56014563)

06/05/19   Peterson,       Monitor U.S. Senate Energy and Natural            430.00       1.70     731.00
           Peggy A.        Resources hearing on energy
                           storage.(56034488)

06/05/19   Peterson,       Monitor California State Assembly Utilities       430.00       2.40   1,032.00
           Peggy A.        and Energy Committee hearing.(56034489)

06/05/19   Peterson,       Compose email summarizing today's                 430.00       1.50     645.00
           Peggy A.        California Assembly Utilities and Energy
                           Committee hearing.(56034490)

06/05/19   Peterson,       Perform Web-based research on relevant            430.00       1.10     473.00
           Peggy A.        news and developments.(56034491)

06/05/19   Zuberi, Madiha Update the CPUC tracker with additional            605.00       3.30   1,996.50
           M.             background and comment deadlines for
                          certain proceedings (e.g. Rate setting and
                          Recovery Cost; Mitigation Plans for PG&E
                          and Southern California Edison).(56033371)



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06/05/19   Zuberi, Madiha Review filings at the CPUC identified by Ms.        605.00       1.20     726.00
           M.             Attard to determine relevance.(56033372)

06/05/19   Zuberi, Madiha Assist Mr. Bloom in reviewing and collating         605.00       1.50     907.50
           M.             relevant CPUC filings regarding the
                          Proposed Decision approving Mitigation
                          Plans by PG&E to send to Mr. Julian and
                          Ms. Dumas.(56033373)

06/06/19   Benson, Glenn Telephone conference with Mr. Bloom, Ms.             640.00       3.50   2,240.00
           S.            Zuberi, Ms. Attard, and Ms. Peterson
                         regarding legislative and CPUC
                         developments and upcoming events (1
                         hour); monitor CPUC developments of
                         potential significance (2.5).(56015884)

06/06/19   Bloom, Jerry R. Review of disaster relief legislation passed     1,145.00       2.20   2,519.00
                           in Congress and impact statements by
                           Senators Harris and Fienstein and Governor
                           Newson (1.0); coordination and discussion
                           with Ms. Perterson re passage and
                           summary (0.7); Weekly team call on
                           regulatory/legislative hearings and
                           proceedings and follow up (1.5(56175133)

06/06/19   Peterson,       Telephone conference with Mr. Bloom, Mr.           430.00       0.60     258.00
           Peggy A.        Benson, Ms. Peterson, and Ms. Zuberi
                           regarding monitoring the CPUC and
                           legislative energy issues for
                           Regulatory/Legislative Tracker and critical
                           dates memorandum to the TCC.(56034492)

06/06/19   Peterson,       Prepare for conference call.(56034493)             430.00       0.50     215.00
           Peggy A.

06/06/19   Peterson,       Perform Web-based research to gather               430.00       2.70   1,161.00
           Peggy A.        relevant news and updates.(56034494)

06/06/19   Peterson,       Edit and update California legislative             430.00       0.50     215.00
           Peggy A.        tracker.(56034495)

06/06/19   Peterson,       Per discussion on conference call, review          430.00       0.50     215.00
           Peggy A.        notes and video for further analysis of
                           California Assembly Utilities and Energy
                           hearing.(56034497)




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06/06/19   Zuberi, Madiha Review the Legislative and Regulatory              605.00       1.90   1,149.50
           M.             tracker chart and update accordingly with
                          Ms. Peterson's additions.(56032616)

06/06/19   Zuberi, Madiha Review all relevant filings before the CPUC        605.00       2.80   1,694.00
           M.             and FERC in preparation of discussion with
                          the Energy Team.(56032865)

06/06/19   Zuberi, Madiha Phone call with Ms. Attard to discuss the          605.00       0.40     242.00
           M.             current CPUC and FERC chart and
                          tracker.(56033116)

06/06/19   Zuberi, Madiha Update the CPUC tracker with additional            605.00       3.10   1,875.50
           M.             proceedings details and comment deadlines
                          for related proceeding (e.g. PG&E
                          comments and proposed decision on the
                          901 Commission).(56033117)

06/06/19   Zuberi, Madiha Phone call with Mr. Bloom to discuss the           605.00       0.70     423.50
           M.             current status of the regulatory landscape
                          involving PG&E(56033654)

06/07/19   Benson, Glenn Monitor developments at CPUC (1.8); work            640.00       3.70   2,368.00
           S.            on updated memo regarding actions of
                         Wildfire Commission based on reports from
                         M. Zuberi regarding its all-day meeting that
                         day (1.9).(56015888)

06/07/19   Peterson,       Perform Web-based research for relevant           430.00       5.50   2,365.00
           Peggy A.        news and updates.(56034496)

06/07/19   Rose, Jorian L. Review update on regulatory issues from         1,010.00       0.40     404.00
                           Messrs. Bloom and Benson.(56015029)

06/07/19   Rose, Jorian L. Review court decision on regulatory issues      1,010.00       1.40   1,414.00
                           with FERC.(56015036)

06/07/19   Zuberi, Madiha Prepare for the Commission on                      605.00       1.00     605.00
           M.             Catastrophic Wildfire and Recovery meeting
                          at the Sacramento City Hall.(56032369)

06/10/19   Benson, Glenn Monitor CPUC developments of potential              640.00       2.40   1,536.00
           S.            significance to TCC.(56063259)

06/10/19   Peterson,       Perform Web-based research for relevant           430.00       1.80     774.00
           Peggy A.        news and updates.(56075745)




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06/10/19   Peterson,       Cover hearing held by the California Senate       430.00       2.50   1,075.00
           Peggy A.        Select Committee on Governor's 2019
                           Report: Wildfires and Climate Change -
                           California's Energy Future.(56075746)

06/10/19   Zuberi, Madiha Review breakdown of the recent CPUC                605.00       2.70   1,633.50
           M.             filings including all relevant filings by PG&E
                          to be discussed at weekly team meeting
                          and/or included in the regulatory
                          tracker.(56077184)

06/11/19   Benson, Glenn Monitor CPUC developments of potential              640.00       2.20   1,408.00
           S.            concern to TCC.(56063265)

06/11/19   Peterson,       Draft memo summarizing the June 10                430.00       4.00   1,720.00
           Peggy A.        hearing of the California Senate Select
                           Committee on the Governor's 2019
                           Report.(56075750)

06/11/19   Peterson,       Perform Web-based research for relevant           430.00       0.70     301.00
           Peggy A.        news and developments.(56075751)

06/11/19   Zuberi, Madiha Review the recent filings at the CPUC              605.00       2.90   1,754.50
           M.             including the proceeding Order Instituting
                          the Wildfire Mitigation Plan and comments
                          filed by PG&E as well as the Proposed
                          Decision in anticipation of the CPUC
                          general meeting on June 13,
                          2019.(56076923)

06/11/19   Zuberi, Madiha Update the Regulatory Tracker with                 605.00       0.80     484.00
           M.             additional updates to related proceedings,
                          noting the relevance of dates to Mr.
                          Benson.(56076925)

06/12/19   Benson, Glenn Monitor CPUC developments having                    640.00       2.50   1,600.00
           S.            potential bearing on TCC.(56063266)

06/12/19   Peterson,       Perform Web-based research for relevant           430.00       3.00   1,290.00
           Peggy A.        news and developments.(56075749)

06/12/19   Peterson,       Monitor House Energy and Commerce                 430.00       2.40   1,032.00
           Peggy A.        Energy Subcommittee hearing on the
                           oversight of the Federal Energy Regulatory
                           Commission.(56075752)

06/13/19   Benson, Glenn Monitor CPUC developments of concern;               640.00       3.20   2,048.00



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           S.              work on memo regarding Judge Montali
                           decision on FERC jurisdictional dispute;
                           telephone call with Ms. E. Kates with
                           respect thereto.(56063262)

06/13/19   Goodman, Eric Review and analyze proposed stipulation             800.00       1.90   1,520.00
           R.            between PG&E and the CPUC (.5); review
                         communications from Mr. Bloom regarding
                         CPUC stipulation (.4); prepare redline of
                         CPUC stipulation reflecting comments from
                         the TCC and draft email to counsel for
                         PG&E and the CPUC regarding the same
                         (1.0);(56058609)

06/13/19   Kinne, Tanya M. Retrieve and transmit Amended Declaratory         365.00       0.20         73.00
                           Judgment and related Memorandum to Mr.
                           Benson.(56122762)

06/13/19   Peterson,       Research pending California                       430.00       0.70     301.00
           Peggy A.        legislation.(56075755)

06/13/19   Peterson,       Perform Web-based research for relevant           430.00       1.00     430.00
           Peggy A.        news and updates.(56075756)

06/13/19   Peterson,       Edit and update California legislative            430.00       0.80     344.00
           Peggy A.        tracker.(56075757)

06/13/19   Zuberi, Madiha Monitor the CPUC General Meeting for               605.00       3.70   2,238.50
           M.             decisions regarding the Wildfire Cost
                          Recovery Plan re SB 901.(56076684)

06/14/19   Benson, Glenn Monitor CPUC developments of possible               640.00       1.80   1,152.00
           S.            concern to TCC.(56063264)

06/14/19   Peterson,       Perform Web-based research for relevant           430.00       0.40     172.00
           Peggy A.        news and developments.(56075758)

06/17/19   Benson, Glenn Monitor CPUC developments of potential              640.00       2.30   1,472.00
           S.            significance to TCC.(56102304)

06/17/19   Bloom, Jerry R. Conference call with Ms. Bloom and privacy      1,145.00       1.00   1,145.00
                           team members on PG&E use of customer
                           data and CPUC jurisidiction over
                           complaints(56175135)

06/17/19   Bloom, Jerry R. Conference call with Mr. Goodman                1,145.00       1.00   1,145.00
                           regarding CPUC/Debtor stipulation and



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Date       Name             Description                                          Rate      Hours   Amount
                            objections and comments(56175136)

06/17/19   Brown, Arielle L. Analysis regarding California Public Utilities    360.00       1.00     360.00
                             Commission enforcement
                             authority.(56078792)

06/17/19   Esmont, Joseph Confer with McLellan regarding privacy               600.00       0.30     180.00
           M.             regulation research(56180745)

06/17/19   Goodman, Eric Communications regarding proposed                     800.00       0.90     720.00
           R.            revisions to CPUC stipulation (.3);
                         telephone call with Mr. Bloom regarding
                         CPUC stipulation and related matters
                         (.6).(56096447)

06/17/19   Peterson,        Conference call with Mr. Benson and Ms.            430.00       0.20       86.00
           Peggy A.         Attard regarding monitoring the CPUC and
                            legislative energy issues for
                            Regulatory/Legislative Tracker and critical
                            dates memorandum to the TCC(56125496)

06/17/19   Peterson,        Perform Web-based research for relevant            430.00       0.40     172.00
           Peggy A.         news and developments.(56125500)

06/17/19   Zuberi, Madiha Review relevant proceedings (appx. 15                605.00       1.70   1,028.50
           M.             proceedings) at the CPUC and FERC to
                          determine whether there are noteworthy
                          dates and filings to raise with Mr.
                          Bloom.(56120970)

06/17/19   Zuberi, Madiha Update the regulatory tracker with additional        605.00       2.50   1,512.50
           M.             updates to relevant proceedings(56122451)

06/18/19   Attard, Lauren Telephone conference with Mr. Bloom, Mr.             600.00       0.40     240.00
           T.             Benson, Ms. Zuberi, and Ms. Peterson
                          regarding status and projects on legislative
                          and CPUC issues in preparation for
                          memoranda to the Committee.(56112732)

06/18/19   Benson, Glenn Telephone conference with Mr. Bloom, Ms.              640.00       5.70   3,648.00
           S.            Attard, Ms. Zuberi, and Ms. Peterson
                         regarding legislative and regulatory
                         developments of concern to TCC (1.0);
                         monitor CPUC developments of potential
                         concerns (1.9); work on memo regarding
                         proposed CPUC decision on criteria and
                         methodology for 2017 wildfire cost recovery



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                            and PG&E's initial comments in response
                            thereto (2.8).(56102303)

06/18/19   Bloom, Jerry R. Weekly call with Regulatory/Legislative           1,145.00      1.50   1,717.50
                           group to review and coordinate pending
                           proceedings and legislation (1.0); follow up
                           to call in reviewing critical dates, charts and
                           discussion with Ms. Zuberi (0.5)i(56175138)

06/18/19   Peterson,        Telephone conference with Mr. Bloom, Mr.          430.00       1.00     430.00
           Peggy A.         Benson, Ms. Peterson, Ms. Zuberi and Ms.
                            Attard regarding monitoring the CPUC and
                            legislative energy issues for
                            Regulatory/Legislative Tracker and critical
                            dates memorandum to the TCC.(56125497)

06/18/19   Peterson,        Perform Web-based research for relevant           430.00       0.80     344.00
           Peggy A.         news and developments.(56125498)

06/18/19   Peterson,        Attention to U.S. Senate Energy and Natural       430.00       2.50   1,075.00
           Peggy A.         Resources committee hearing. Monitor
                            hearing and review relevant
                            portions.(56125499)

06/18/19   Zuberi, Madiha Update the regulatory tracker and meeting           605.00       0.30     181.50
           M.             agenda with topics for discussion on the
                          weekly energy team call.(56119136)

06/18/19   Zuberi, Madiha Participate in a call with the Energy Team          605.00       1.00     605.00
           M.             led by Mr. Bloom regarding recent and
                          upcoming relevant regulatory
                          issues.(56119660)

06/19/19   Bloom, Taylor    Analyze outstanding research questions            475.00       0.50     237.50
           A.               regarding the CPUC privacy
                            rules.(56124014)

06/19/19   Bloom, Jerry R. Review and edit memo on PG&E comments             1,145.00      1.50   1,717.50
                           on OD on criteria for wildfire cost recovery
                           (1.0); follow up and discussion re memo
                           with Mr. Benson (0.5)(56175139)

06/19/19   Dumas, Cecily Review stipulation on proceedings before             950.00       0.30     285.00
           A.            CUPC(56119162)

06/19/19   Peterson,        Cover House Energy and Commerce                   430.00       2.50   1,075.00
           Peggy A.         Subcommittee on Energy hearing regarding



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                           pipeline safety.(56125501)

06/19/19   Peterson,       Review written testimony of witnesses           430.00        0.60      258.00
           Peggy A.        before the House Energy and Commerce
                           Subcommittee on Energy regarding pipeline
                           safety.(56125502)

06/19/19   Peterson,       Perform Web-based research for relevant         430.00        1.80      774.00
           Peggy A.        news and developments.(56125503)

06/20/19   Benson, Glenn Monitor CPUC and state developments of            640.00        2.50    1,600.00
           S.            potential significance to TCC.(56102305)

06/20/19   Bloom, Taylor   Analyze FTC research question.(56126719)        475.00        0.30      142.50
           A.

06/20/19   Peterson,       Perform Web-based research for relevant         430.00        0.40      172.00
           Peggy A.        news and developments.(56125504)

06/20/19   Zuberi, Madiha Read the Final 901 Commission Report             605.00        2.10    1,270.50
           M.             sent to the Legislature.(56115278)

06/20/19   Zuberi, Madiha Review the CPUC and FERC dockets                 605.00        2.50    1,512.50
           M.             regarding relevant proceedings identified by
                          Mr. Benson in the Regulatory Tracking
                          Chart (1.0); update chart with said
                          proceedings' recent filings and notices.
                          (Specifically because CPUC email
                          subscription was interrupted
                          (1.5).(56115283)

06/20/19   Zuberi, Madiha Discussion with Mr. Bloom regarding the          605.00        0.50      302.50
           M.             June 27th upcoming voting meeting at the
                          CPUC.(56115364)

06/21/19   Attard, Lauren Telephone conference with Mr. Bloom, Mr.         600.00        0.60      360.00
           T.             Benson, Ms. Zuberi, and Ms. Peterson
                          regarding status and projects on legislative
                          and CPUC issues in preparation for
                          memoranda to the Committee.(56112720)

06/21/19   Benson, Glenn Telephone conference with Mr. Bloom, Ms.          640.00        3.60    2,304.00
           S.            Attard, Ms. Madiha, and Ms. Peterson
                         regarding legislative, gubernatorial, and
                         regulatory developments of significance to
                         TCC (1.0); monitor relevant developments
                         (2.2); work on memo with respect thereto



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                            (0.4).(56102307)

06/21/19   Bloom, Jerry R. Weekly Regulatory/legislative team call 1.0;     1,145.00      3.90   4,465.50
                           attention to and review Newsom press
                           releases and reports on pending proposals
                           on regulatory and legislative reform in
                           wildfire costs and recovery (2.9)(56178793)

06/21/19   Peterson,        Update California legislative                    430.00       0.50     215.00
           Peggy A.         tracker.(56125524)

06/21/19   Peterson,        Telephone conference with Mr. Bloom, Mr.         430.00       0.60     258.00
           Peggy A.         Benson, Ms. Peterson, Ms. Zuberi and Ms.
                            Attard regarding monitoring the CPUC and
                            legislative energy issues for
                            Regulatory/Legislative Tracker and critical
                            dates memorandum to the TCC.(56125525)

06/21/19   Peterson,        Perform Web-based research for relevant          430.00       2.80   1,204.00
           Peggy A.         news and developments.(56125528)

06/21/19   Zuberi, Madiha Participate in the weekly Energy Team call         605.00       0.80     484.00
           M.             lead by Messrs. Bloom and Benson to
                          discuss recent updates and upcoming
                          proceedings relevant to the PG&E
                          bankruptcy at the regulatory
                          level.(56114780)

06/21/19   Zuberi, Madiha Compose email to Ms. Peterson Ms. Attard           605.00       0.20     121.00
           M.             attaching copies of the first/draft versions of
                          the 901 commission report(56114781)

06/21/19   Zuberi, Madiha Review Ms. Peterson and Mr. Benson's               605.00       2.00   1,210.00
           M.             comments and update the Regulatory
                          Tracker accordingly (to reflect recent
                          relevant dates).(56115133)

06/21/19   Zuberi, Madiha Update the regulatory tracker per Mr.              605.00       0.50     302.50
           M.             Bloom's additional edits and
                          comments.(56115134)

06/22/19   Bloom, Jerry R. Memo on Newsom proposals on                      1,145.00      2.50   2,862.50
                           catastrophic wildfire costs and
                           recovery(56178796)

06/23/19   Bloom, Taylor    Analyze FTC UTPA research                        475.00       0.40     190.00
           A.               results.(56126902)



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06/23/19   Bloom, Jerry R. Further due diligence and finalize memo on     1,145.00       3.00    3,435.00
                           Newsom proposals(56178802)

06/24/19   Benson, Glenn Monitor CPUC regulatory developments of            640.00       1.80    1,152.00
           S.            potential significance to TCC.(56179654)

06/24/19   Brown, Arielle L. Research and analysis regarding                360.00       1.50      540.00
                             compliance obligations related to the
                             sharing of customer data with third
                             parties.(56125117)

06/24/19   Greenfield,      Assist with regulatory policy                   200.00       7.70    1,540.00
           Juanita M.       review.(56171962)

06/24/19   Kates, Elyssa S. Analysis of issues related to the FERC          760.00       0.60      456.00
                            orders.(56152043)

06/24/19   Zuberi, Madiha Review Ms. Peterson's emails identifying          605.00       0.50      302.50
           M.             upcoming California Senate and Assembly
                          hearings.(56174079)

06/24/19   Zuberi, Madiha Draft an email to Ms. Lange informing             605.00       0.20      121.00
           M.             clients of relevant upcoming
                          hearings.(56175622)

06/24/19   Zuberi, Madiha Discussion with Mr. Bloom regarding next          605.00       0.90      544.50
           M.             steps on regulatory affairs.(56176891)

06/24/19   Zuberi, Madiha Review proceeding on PG&E Stress Test             605.00       1.80    1,089.00
           M.             and the related comments filed in
                          response.(56177118)

06/25/19   Benson, Glenn Monitor CPUC proceedings of potential              640.00       2.40    1,536.00
           S.            significance to PG&E wildfire tort
                         claimants.(56179655)

06/25/19   Brown, Arielle L. Review and analyze recent California cases     360.00       0.70      252.00
                             related to call recordings.(56156975)

06/25/19   Zuberi, Madiha Review Ms. Peterson's emails attaching            605.00       1.00      605.00
           M.             relevant news and updates.(56173833)

06/25/19   Zuberi, Madiha Review the docket history and proceedings         605.00       2.00    1,210.00
           M.             at the CPUC identified by Ms. Attard for
                          relevance.(56173846)




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06/25/19   Zuberi, Madiha Revise the CPUC/FERC chart for updates           605.00       0.50       302.50
           M.             to proceedings identified by the Energy
                          Team.(56173849)

06/25/19   Zuberi, Madiha Review the daily calendar posted by the          605.00        1.00      605.00
           M.             CPUC on upcoming hearings.(56174073)

06/25/19   Zuberi, Madiha Note the CPUC proceedings in the weekly          605.00        0.50      302.50
           M.             agenda to be shared with the Energy
                          Team.(56174078)

06/26/19   Benson, Glenn Monitor CPUC proceedings.(56179656)               640.00        2.00    1,280.00
           S.

06/26/19   Zuberi, Madiha Review Ms. Peterson's emails attaching           605.00        1.00      605.00
           M.             relevant articles and information on
                          regulatory news.(56173312)

06/26/19   Zuberi, Madiha Review all proceedings posted in the CPUC        605.00        1.90    1,149.50
           M.             daily filings.(56173338)

06/26/19   Zuberi, Madiha Update the CPUC/FERC regulatory                  605.00        1.10      665.50
           M.             proceedings tracker with added background
                          and deadlines.(56173342)

06/26/19   Zuberi, Madiha Visit the CALfire website, 901B Commission       605.00        0.90      544.50
           M.             and Baker Daily PG&E events schedule to
                          determine notable dates.(56173557)

06/27/19   Benson, Glenn Monitor CPUC developments of potential            640.00        2.50    1,600.00
           S.            significance; work on memo to TCC
                         summarizing relevance of various
                         proceedings.(56179657)

06/27/19   Bloom, Jerry R. Calls and emails with Ms. Dumas, Mr. Julian   1,145.00        1.80    2,061.00
                           , Mr. Williams , Mr. Murphy regarding
                           Wildfire Mitigation Working
                           Group.(56178810)

06/27/19   Zuberi, Madiha Monitor the CPUC Voting Meeting regarding        605.00        3.00    1,815.00
           M.             the vote on a proposed decision related to
                          the Methodology for Wildfire Cost and
                          Recovery.(56173127)

06/27/19   Zuberi, Madiha Review the Proposed Decision on the              605.00        1.30      786.50
           M.             Methodology for Wildfire Cost and
                          Recovery.(56173143)



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06/27/19   Zuberi, Madiha Draft an email to Messrs. Benson and              605.00       0.20      121.00
           M.             Bloom updating them on the results of the
                          Voting Meeting and related
                          decisions.(56173148)

06/27/19   Zuberi, Madiha Review Ms. Peterson's emails and articles         605.00       1.00      605.00
           M.             regarding relevant Wildfire
                          news.(56173170)

06/27/19   Zuberi, Madiha Review the "results page" published on the        605.00       0.20      121.00
           M.             "Voting Meeting."(56173172)

06/27/19   Zuberi, Madiha Update the CPUC Proceedings tracker with          605.00       2.30    1,391.50
           M.             updates to the noted
                          proceedings.(56173175)

06/28/19   Attard, Lauren Telephone conference with Mr. Bloom, Ms.          600.00       0.80      480.00
           T.             Zuberi, and Ms. Peterson regarding
                          legislative and regulatory updates and
                          potential presentations to the
                          Committee.(56166489)

06/28/19   Benson, Glenn Monitor CPUC regulatory                            640.00       1.40      896.00
           S.            developments.(56179658)

06/28/19   Bloom, Jerry R. Review of legislation to amend                 1,145.00       2.20    2,519.00
                           1054(56178814)

06/28/19   Zuberi, Madiha Telephone conference with Mr. Bloom, Ms.          605.00       0.80      484.00
           M.             Attard, and Ms. Peterson regarding
                          legislative and regulatory updates and
                          potential presentations to the
                          Committee.(56171512)

06/28/19   Zuberi, Madiha Review all relevant proceedings/dates on          605.00       2.40    1,452.00
           M.             the CPUC daily calendar and
                          Senate/Assembly Daily files to determine
                          important dates.(56171761)

06/28/19   Zuberi, Madiha Revise weekly agenda with July                    605.00       1.00      605.00
           M.             proceedings to monitor and report
                          on.(56171764)

06/28/19   Zuberi, Madiha Phone call with Ms. Peterson to discuss the       605.00       0.20      121.00
           M.             relevance of certain proceedings before the
                          California Senate and Assembly.(56171768)



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06/28/19   Zuberi, Madiha Review the Assembly Bill 1054 text and              605.00        1.80   1,089.00
           M.             history in preparation of taking notes on
                          hearing before the Senate.(56172018)

06/28/19   Zuberi, Madiha Review the procedural posture and                   605.00        1.50     907.50
           M.             relevance of CPUC proceeding seeking
                          sanctions against PG&E.(56172771)

06/28/19   Zuberi, Madiha Draft an email to Ms. Lane with relevant            605.00        0.20     121.00
           M.             dates to share with the larger
                          case.(56173057)

06/28/19   Zuberi, Madiha Revise the Legislature Weekly Tracker               605.00        0.10       60.50
           M.             shared by Ms. Peterson.(56173059)

Regulatory Issues including CPUC and FERC(025)                                            239.80 150,062.50

06/02/19   Morris, Kimberly Attend to issues re DSI                           895.00        0.40     358.00
           S.               engagement(55994985)

06/03/19   Kates, Elyssa S. Call with Mr. Goodman and Ms. Kinne               760.00        0.10       76.00
                            regarding the Angeion retention
                            application.(56020130)

06/03/19   Kates, Elyssa S. Call with Mr. Rose regarding the Angeion          760.00        0.30     228.00
                            retention application hearing.(56020131)

06/03/19   Kates, Elyssa S. Call with Mr. Rose and Mr. Goodman                760.00        0.10       76.00
                            regarding the Angeion retention application
                            hearing.(56020132)

06/03/19   Kates, Elyssa S. Preparation of memorandum addressing              760.00        1.10     836.00
                            retention applications.(56020133)

06/03/19   Kates, Elyssa S. Review bankruptcy rules regarding filing          760.00        0.20     152.00
                            redacted documents and protected
                            information.(56020140)

06/03/19   Kinne, Tanya M. Electronically file and serve Corrected            365.00        0.30     109.50
                           Notice of Hearing on Application of the
                           Official Committee of Tort Claimants
                           Pursuant to 11 U.S.C. § 1103 and Fed. R.
                           Bankr. P. 2014 and 5002 to Retain and
                           Employ Angeion Group, LLC as Fire Claim
                           Bar Date Noticing Agent Effective as of May
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06/03/19   Morris, Kimberly Work on expert engagement re claims                895.00       0.20     179.00
           S.               estimation(56038367)

06/03/19   Parrish, Jimmy Talk with Ms. Foust and Ms. Carens                   590.00       0.50     295.00
           D.             regarding KPMG and Morrison
                          applications.(56030973)

06/03/19   Parrish, Jimmy Review additional disclosures and issues             590.00       0.60     354.00
           D.             related to KPMG retention
                          application.(56030987)

06/03/19   Parrish, Jimmy Review additional disclosures and issues             590.00       0.40     236.00
           D.             related to Morrison application.(56030988)

06/03/19   Rose, Jorian L. Email correspondence with Mr. Parrish             1,010.00       0.40     404.00
                           regarding retention of MOFO and
                           KPMG.(56000932)

06/04/19   Kates, Elyssa S. Correspondence with Ms. Morris and Mr.             760.00       0.10       76.00
                            Rose regarding the retention of
                            Expert.(56020144)

06/04/19   Kates, Elyssa S. Review bankruptcy orders to determine              760.00       0.40     304.00
                            terms of retention required by courts for
                            accounting professionals.(56020149)

06/04/19   Kates, Elyssa S. Call with Mr. Rose regarding the retention of      760.00       0.10       76.00
                            KPMG.(56020154)

06/04/19   Parrish, Jimmy Talk with Mr. Rose regarding outstanding             590.00       0.30     177.00
           D.             issues related to pending Debtor retention
                          applications.(56032262)

06/04/19   Parrish, Jimmy Talk with Ms. Carens regarding KPMG                  590.00       0.40     236.00
           D.             application.(56032265)

06/04/19   Parrish, Jimmy Talk with Ms. Foust regarding Morrison               590.00       0.20     118.00
           D.             application.(56032269)

06/04/19   Rose, Jorian L. Review stipulation for KPMG and MOFO              1,010.00       0.40     404.00
                           retentions.(56000946)

06/05/19   Kates, Elyssa S. Call with Mr. Rose regarding the application       760.00       0.10       76.00
                            to retain KPMG.(56020172)

06/05/19   Parrish, Jimmy Talk with Ms. Carens regarding Morrsion              590.00       0.20     118.00



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           D.              disclosures.(56033435)

06/05/19   Rose, Jorian L. Email correspondence with Ms. Kates and        1,010.00       0.40      404.00
                           Mr. Parrish regarding MOFO, KPMG
                           retention issues.(56002782)

06/06/19   Esmont, Joseph Review and summarize retention                    600.00       1.70    1,020.00
           M.             applications filed by professionals for other
                          groups.(56180635)

06/06/19   Parrish, Jimmy Talk with Ms. Carens regarding KPMG and           590.00       0.10          59.00
           D.             Morrison applications.(56034189)

06/07/19   Kates, Elyssa S. Call with Mr. Rose regarding expert witness     760.00       0.20      152.00
                            issues.(56020194)

06/07/19   Sagerman, Eric Communications Green and Julian re 2019         1,145.00       0.20      229.00
           E.             matters(56031569)

06/10/19   Kates, Elyssa S. Call with Mr. Rose regarding the retention      760.00       0.20      152.00
                            application for expert witnesses.(56071554)

06/10/19   Kates, Elyssa S. Research for favorable cases and orders         760.00       2.40    1,824.00
                            regarding retention of experts.(56071566)

06/10/19   Morris, Kimberly Correspondence re expert                        895.00       0.30      268.50
           S.               engagement(56080237)

06/11/19   Dumas, Cecily Review report on KPMG and MoFo                     950.00       0.40      380.00
           A.            retentions(56055106)

06/11/19   Kates, Elyssa S. Call with Mr. Rose regarding the US             760.00       0.10          76.00
                            Trustee's comments to the proposed order
                            to retain Angeion Group.(56071574)

06/11/19   Kates, Elyssa S. Correspondence with Mr. Goodman, Ms.            760.00       0.10          76.00
                            Woltering and Mr. Rose regarding the U.S.
                            Trustee's comments to the proposed order
                            to retain Angeion Group.(56071575)

06/11/19   Kates, Elyssa S. Call with the U.S. Trustee and Mr. Rose         760.00       0.10          76.00
                            regarding the US Trustee's proposed
                            revisions to the order approving the motion
                            to retain Angeion Group.(56071576)

06/11/19   Kates, Elyssa S. Preparation of revisions to the proposed        760.00       0.20      152.00
                            order to retain Angeion Group.(56071577)



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06/11/19   Kates, Elyssa S. Correspondence with Mr. Rose regarding            760.00       0.30     228.00
                            the motion to retain experts without further
                            court order.(56071582)

06/11/19   Kates, Elyssa S. Preparation of application to retain experts      760.00       9.10   6,916.00
                            without further order of the court.(56071580)

06/11/19   Rose, Jorian L. Draft email to Committee chair regarding         1,010.00       0.90     909.00
                           requests from professional and
                           recommendations.(56043368)

06/11/19   Rose, Jorian L. Review time entries for potential fees           1,010.00       0.80     808.00
                           sought by Dundon Advisors.(56043369)

06/11/19   Woltering,       Communications with Ms. Kates regarding           750.00       0.20     150.00
           Catherine E.     the US Trustee's proposed revisions to the
                            order granting the Committee's Application
                            to Employ Angeion Group.(56114438)

06/12/19   Kates, Elyssa S. Preparation of motion to employ expert            760.00       4.40   3,344.00
                            witnesses.(56071583)

06/12/19   Kates, Elyssa S. Calls with Mr. Rose regarding the motion to       760.00       0.50     380.00
                            retain expert witnesses.(56071584)

06/12/19   Kates, Elyssa S. Correspondence with Ms. Morris and Mr.            760.00       0.10        76.00
                            Rose regarding the motion to retain expert
                            witnesses.(56071586)

06/12/19   Morris, Kimberly Review and comment on expert retention            895.00       0.30     268.50
           S.               procedures motion(56080259)

06/13/19   Kates, Elyssa S. Calls with Mr. Rose regarding the expert          760.00       0.20     152.00
                            witness procedures application.(56071591)

06/13/19   Kates, Elyssa S. Correspondence with Mr. Ballan, Ms.               760.00       0.10        76.00
                            Cabraser, Mr. Goodman, Ms. Woltering and
                            Mr. Rose regarding Angeion's retention
                            letter.(56071597)

06/14/19   Kates, Elyssa S. Preparation of application to retain and          760.00       0.60     456.00
                            compensate experts.(56071610)

06/14/19   Kates, Elyssa S. Calls with Mr. Rose regarding the                 760.00       0.40     304.00
                            application to retain and compensate
                            experts.(56071611)



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06/14/19   Kates, Elyssa S. Correspondence with Mr. Julian, Ms. Morris         760.00       0.10       76.00
                            and Mr. Rose regarding the application to
                            retain and compensate expert
                            witnesses.(56071609)

06/14/19   Morris, Kimberly Correspondence re expert                           895.00       0.30     268.50
           S.               retention(56080273)

06/17/19   Kates, Elyssa S. Calls with Mr. Rose regarding payment of           760.00       0.30     228.00
                            expert witnesses.(56111838)

06/17/19   Kates, Elyssa S. Correspondence with Mr. Rose regarding             760.00       0.10       76.00
                            payment of experts.(56111839)

06/17/19   Kates, Elyssa S. Correspondence with Mr. Goodman and Mr.            760.00       0.10       76.00
                            Rose regarding the Angeion retention
                            order.(56111830)

06/18/19   Kates, Elyssa S. Calls with Mr. Rose regarding the motion to        760.00       0.50     380.00
                            amend procedures for retention of
                            professionals.(56111849)

06/18/19   Kates, Elyssa S. Correspondence with Mr. Rose and Ms.               760.00       0.10       76.00
                            Kinne regarding the amount of notice
                            required for a procedures motion re: Expert
                            retention.(56111851)

06/18/19   Kates, Elyssa S. Preparation of application to amend                760.00       0.20     152.00
                            compensation procedures order.(56111858)

06/18/19   Kates, Elyssa S. Preparation of retention letter for retention      760.00       0.90     684.00
                            of experts.(56111865)

06/18/19   Kates, Elyssa S. Call with Mr. Buchbinder and Mr. Rose              760.00       0.10       76.00
                            regarding the motion to amend the
                            procedures order.(56111856)

06/18/19   Rose, Jorian L. Telephone conferences with Ms. Lockhart           1,010.00       0.40     404.00
                           regarding status of Dundon
                           requests.(56084649)

06/19/19   Kates, Elyssa S. Correspondence with Ms. Liou and Mr.               760.00       0.10       76.00
                            Rose regarding the motion to amend the
                            compensation procedures motion to include
                            experts.(56111872)




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06/19/19   Kates, Elyssa S. Call with Ms. Merola regarding the retention        760.00       0.10     76.00
                            applications filed by the debtors on June 18,
                            2019.(56111876)

06/19/19   Kates, Elyssa S. Preparation of application to amend                 760.00       1.40   1,064.00
                            procedures to provide for the retention of
                            experts.(56111881)

06/19/19   Kates, Elyssa S. Calls with Mr. Rose regarding the                   760.00       0.70     532.00
                            preparation of application to amend
                            procedures to provide for the retention of
                            experts.(56111882)

06/19/19   Kates, Elyssa S. Correspondence with Ms. Morris and Mr.              760.00       0.10      76.00
                            Rose regarding the expert retention
                            letter.(56111884)

06/19/19   Kates, Elyssa S. Call with Ms. Kinne regarding the                   760.00       0.10      76.00
                            application to amend the professionals'
                            compensation procedures order.(56111885)

06/19/19   Kates, Elyssa S. Call with Mr. Goodman and Mr. Rose                  760.00       0.30     228.00
                            regarding the debtors' opposition to the
                            motion to retain Angeion.(56111888)

06/19/19   Kinne, Tanya M. Assist in the finalization of Application of the     365.00       4.00   1,460.00
                           Official Committee of Tort Claimants for
                           Entry of an Order Supplementing
                           Compensation Procedures Order for
                           Retention of Experts (Doc. No.
                           701).(56125338)

06/19/19   Morris, Kimberly Work on expert retention(56126518)                  895.00       0.60     537.00
           S.

06/20/19   Kates, Elyssa S. Preparation of application to supplement the        760.00       0.20     152.00
                            compensation procedures order for
                            submission to the court.(56111891)

06/20/19   Kates, Elyssa S. Preparation of summary regarding the                760.00       2.30   1,748.00
                            debtors' applications to retain and
                            compensate certain personnel.(56111899)

06/20/19   Rose, Jorian L. Review and revise motion for expert                1,010.00       0.80     808.00
                           retentions.(56093637)

06/23/19   Kates, Elyssa S. Preparation of chart summarizing responses          760.00       0.30     228.00



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                           to the TCC's proof of claim motion, bar date
                           motion and Angeion retention
                           motions.(56152038)

06/24/19   Dumas, Cecily Email Rose re terms of retention of Dundon          950.00       0.70     665.00
           A.            Assoc, compensation requested and
                         Lockhart position(56172034)

06/24/19   Kates, Elyssa S. Preparation of application to retain Dundon      760.00       3.10   2,356.00
                            Advisers.(56152042)

06/24/19   Kates, Elyssa S. Calls with Mr. Rose regarding the Dundon         760.00       0.40     304.00
                            retention application.(56152047)

06/24/19   Rose, Jorian L. Telephone conferences with Ms. Kates            1,010.00       0.40     404.00
                           regarding Dundon retention
                           papers.(56128794)

06/25/19   Kates, Elyssa S. Call with Ms. Merola regarding the memo          760.00       0.10         76.00
                            summarizing counsel retention
                            applications.(56152061)

06/25/19   Kates, Elyssa S. Correspondence with Ms. Merola regarding         760.00       0.10         76.00
                            the memo summarizing counsel retention
                            applications.(56152062)

06/25/19   Kates, Elyssa S. Preparation of memo addressing special           760.00       0.20     152.00
                            counsel retention motions.(56152063)

06/25/19   Morris, Kimberly Work on expert retention(56176398)               895.00       1.30   1,163.50
           S.

06/25/19   Rose, Jorian L. Telephone conference with Ms. Morris            1,010.00       0.30     303.00
                           regarding expert retention
                           motion.(56128808)

06/26/19   Kates, Elyssa S. Correspondence with Mr. Rose regarding           760.00       0.10         76.00
                            the Dundon application.(56152078)

06/26/19   Kates, Elyssa S. Preparation of application to retain Dundon      760.00       0.20     152.00
                            Advisers.(56152079)

06/26/19   Morris, Kimberly Telephone conversation with Mr. Rose re          895.00       0.60     537.00
           S.               expert engagement procedures(56176371)

06/26/19   Rose, Jorian L. Telephone conferences with Ms. Morris           1,010.00       0.50     505.00
                           regarding expert retention issues and



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                           stipulated protective orders.(56144311)

06/26/19   Rose, Jorian L. Email correspondence with US Trustee             1,010.00       0.40     404.00
                           regarding expert compensation
                           motion.(56144313)

06/27/19   Kates, Elyssa S. Preparation of application to retain Dundon       760.00       0.30     228.00
                            Advisers.(56152077)

06/27/19   Rose, Jorian L. Email correspondence with Ms. Morris             1,010.00       0.50     505.00
                           regarding retention and by-law issues for
                           litigation matters.(56144319)

06/27/19   Rose, Jorian L. Review and revise Dundon employment              1,010.00       1.20    1,212.00
                           application.(56144324)

06/28/19   Kates, Elyssa S. Call with Mr. Rose regarding expert               760.00       0.20     152.00
                            retention issues and the Dundon retention
                            application.(56152102)

06/28/19   Kates, Elyssa S. Preparation of notice of withdrawal of            760.00       0.10        76.00
                            motion to retain Angeion Group,
                            LLC.(56152101)

06/28/19   Rose, Jorian L. Review and revise email to Debtors and           1,010.00       1.20    1,212.00
                           Committee regarding expert
                           issues.(56150398)

06/28/19   Rose, Jorian L. Email correspondence with Ms. Morris             1,010.00       0.50     505.00
                           regarding expert retention
                           issues.(56150402)

Retention Applications(026)                                                               57.60   44,445.50

06/03/19   Kinne, Tanya M. Participate in email exchange with Ms.             365.00       0.10        36.50
                           Kates regarding revising Third Monthly Fee
                           Statement of Baker & Hostetler LLP for
                           Allowance and Payment of Compensation
                           and Reimbursement of Expenses for the
                           Period April 1, 2019 through April 30,
                           2019.(56021763)

06/03/19   Kinne, Tanya M. Revise Third Monthly Fee Statement of              365.00       0.30     109.50
                           Baker & Hostetler LLP for Allowance and
                           Payment of Compensation and
                           Reimbursement of Expenses for the Period
                           April 1, 2019 through April 30, 2019 (.20);



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                           draft email correspondence to Ms. Kates
                           regarding same (.10).(56021764)

06/03/19   Sagerman, Eric Communications O'Neil et al regarding            1,145.00       0.40     458.00
           E.             PG&E May statement(56031553)

06/04/19   Lane, Deanna    Editing Certificate of No-Objection to            280.00       0.20         56.00
           L.              Second Monthly Fee Statement(56036837)

06/04/19   Lane, Deanna    Drafting Certificate of No-Objection to Third     280.00       0.40     112.00
           L.              Monthly Fee Statement(56036838)

06/04/19   Lane, Deanna    Initial Drafting of Fourth Monthly Fee            280.00       1.20     336.00
           L.              Statement for Allowance and Payment of
                           Compensation and Reimbursement of
                           Expenses(56036839)

06/05/19   Lane, Deanna    Review and editing of expenses on May             280.00       0.60     168.00
           L.              proforma(56030476)

06/05/19   Sagerman, Eric Work on May statement to reduce expenses         1,145.00       0.60     687.00
           E.             in the exercise of billing
                          judgment(56031560)

06/10/19   Lane, Deanna    Review of court docket to see if any              280.00       0.10         28.00
           L.              objections were filed to the B&H Second
                           Fee Statement; finalized and sent
                           Certificate of No-Objection to be
                           filed(56066181)

06/11/19   Kinne, Tanya M. Review and revise Certificate of No               365.00       0.20         73.00
                           Objection Regarding Second Monthly Fee
                           Statement of Baker & Hostetler LLP for
                           Allowance and Payment of Compensation
                           and Reimbursement of Expenses for the
                           Period March 1, 2019 through March 31,
                           2019.(56122720)

06/11/19   Lane, Deanna    Review and editing of additional expenses         280.00       0.30         84.00
           L.              on May proforma(56066332)

06/11/19   Lane, Deanna    Responding to request of Mr. Esmont for           280.00       0.10         28.00
           L.              PGE Fee Statement Recap(56066585)

06/11/19   Sagerman, Eric Review and revise May statement to reduce        1,145.00       1.00   1,145.00
           E.             in exercise of billing judgment(56070716)




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06/11/19   Sagerman, Eric Review comparative fee analysis (.1);             1,145.00       0.40    458.00
           E.             communications Morris re same (.1) and
                          Esmont re same (.1) and Dumas and Julian
                          re same (.1).(56102910)

06/13/19   Dumas, Cecily Review fee examiner protocol (.5); confer            950.00       0.90     855.00
           A.            with Green re process to comply with
                         protocol (.4)(56055086)

06/13/19   Payne Geyer,     Review issues regarding related to fee            455.00       0.30     136.50
           Tiffany          examiner and fee examiner
                            protocols.(56059983)

06/13/19   Sagerman, Eric Work on May statement and monthly                 1,145.00       0.50     572.50
           E.             application therefor(56070727)

06/14/19   Lane, Deanna     Requesting Ms. Roesch to prepare a PG&E           280.00       0.10        28.00
           L.               Billing Code Task Search for Ms.
                            Green(56052134)

06/17/19   Dumas, Cecily Review May time entries for consistency in           950.00       1.50   1,425.00
           A.            task coding and communicate corrections to
                         several team members(56063052)

06/18/19   Kates, Elyssa S. Call with Ms. Lane regarding reimbursement        760.00       0.10        76.00
                            issues.(56111857)

06/18/19   Sagerman, Eric Communications O'Neil regarding May               1,145.00       0.30     343.50
           E.             monthly statement(56102898)

06/21/19   Lane, Deanna     Compose email to Cecily Dumas requesting          280.00       0.10        28.00
           L.               approval for e-filing Certificate of No
                            Objection to B&H's 3rd Monthly Fee
                            Statement(56124007)

06/24/19   Kates, Elyssa S. Correspondence with Ms. O'Neill regarding         760.00       0.10        76.00
                            Baker's fee application.(56152048)

06/24/19   Kates, Elyssa S. Call with Ms. O'Neill regarding fee               760.00       0.10        76.00
                            application issues.(56152049)

06/24/19   Lane, Deanna     Initial drafting of Fourth Monthly Fee            280.00       0.20        56.00
           L.               Statement for Allowance and Payment of
                            Compensation and Reimbursement of
                            Expenses(56123992)

06/24/19   Lane, Deanna     Uploading Certificate of No-Objection to          280.00       0.10        28.00



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           L.               Third Monthly Fee Statement for filing with
                            the Court(56123993)

06/24/19   Sagerman, Eric Review and revise May statement (1.5);             1,145.00       1.90   2,175.50
           E.             communications with O'Neil re same
                          (.4)(56158221)

06/25/19   Kinne, Tanya M. Prepare Chambers copies of Certificate of           365.00       0.30     109.50
                           No Objection Regarding First Monthly
                           Statement of the Official Committee of Tort
                           Claimants for Reimbursement of Expenses
                           for the Period February 15, 2019 through
                           April 30, 2019, including drafting letter to
                           Judge Montali.(56170569)

06/25/19   Lane, Deanna     Continuation of the drafting of the Fourth         280.00       1.50     420.00
           L.               Monthly Fee Statement for Allowance and
                            Payment of Compensation and
                            Reimbursement of Expenses(56176182)

06/25/19   Sagerman, Eric Work on May statement(56158224)                    1,145.00       2.50   2,862.50
           E.

06/26/19   Esmont, Joseph Discuss fee statement with committee                 600.00       0.20     120.00
           M.             chair.(56181192)

06/26/19   Kates, Elyssa S. Correspondence with Ms. Green and others           760.00       0.10       76.00
                            regarding the first fee
                            application.(56152083)

06/26/19   Lane, Deanna     Finalizing Fourth Monthly Fee Statement for        280.00       1.50     420.00
           L.               Allowance and Payment of Compensation
                            and Reimbursement of
                            Expenses(56176695)

06/26/19   Sagerman, Eric Communications BH attorneys re May                 1,145.00       0.30     343.50
           E.             statement(56158233)

06/27/19   Blanchard,       Review billing assignment from Ms. Green           650.00       0.20     130.00
           Jason I.         in connection to preparation of first interim
                            fee application.(56150377)

06/27/19   Kinne, Tanya M. Review email correspondence from Ms.                365.00       0.50     182.50
                           Green regarding preparation of Fee
                           Application (.2); review charge of billing
                           summaries and task codes (.2); draft
                           summary of all fees related to



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                            Administrative Expense Claims
                            (.1).(56170482)

06/27/19   Landrio, Nikki   Receive and review email from Ms. Green            420.00       0.10       42.00
           M.               regarding preparation for first interim fee
                            application and request to review time
                            entries and task categories and prepare
                            summary of work performed during the
                            compensation period.(56146352)

06/27/19   Landrio, Nikki   Review detailed time entries and draft             420.00       1.60     672.00
           M.               summary of work performed during the
                            compensation period for the first interim fee
                            application as requested by Ms.
                            Green.(56146353)

06/27/19   Lane, Deanna     Initial drafting of Staffing Plan and Budget       280.00       2.50     700.00
           L.               exhibits for Ms. Green's review(56176986)

06/27/19   Payne Geyer,     Review notes and draft questions for Fee           455.00       2.30    1,046.50
           Tiffany          Examiner concerning proposed protocols
                            and prepare for call with Fee Examiner (.4);
                            attend call with Fee Examiner to discuss
                            protocols (1.0); correspondence to team
                            summarizing takeaways from call with Fee
                            Examiner and going forward procedures
                            (.5); review issues regarding impacts of
                            proposed Fee Examiner protocols upon
                            preparation of Monthly Fee Statements
                            (.4).(56151384)

06/30/19   Lane, Deanna     Initial drafting of Large Case Fee                 280.00       4.50    1,260.00
           L.               Application Exhibits A, B, C, C-1, D, D-1
                            and E(56173735)

06/30/19   Payne Geyer,     Review time records for all timekeepers in         455.00       0.60     273.00
           Tiffany          task code 027 and begin drafting summary
                            of work performed for first interim fee
                            application.(56159351)

Fee Application: Baker(027)                                                                30.80   18,312.50

06/06/19   Kinne, Tanya M. Revise First Monthly Statement of the               365.00       0.30     109.50
                           Official Committee of Tort Claimants for
                           Reimbursement of Expenses for the Period
                           February 15, 2019 through April 30,
                           2019.(56021813)



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Date       Name            Description                                        Rate      Hours     Amount

06/06/19   Kinne, Tanya M. Make additional revisions to First Monthly       365.00       0.50      182.50
                           Statement of the Official Committee of Tort
                           Claimants for Reimbursement of Expenses
                           for the Period February 15, 2019 through
                           April 30, 2019 (.40); transmit same to Ms.
                           Kates for review (.10).(56021826)

06/06/19   Kinne, Tanya M. Electronically file and serve First Monthly      365.00       0.50      182.50
                           Statement of the Official Committee of Tort
                           Claimants for Reimbursement of Expenses
                           for the Period February 15, 2019 through
                           April 30, 2019.(56021827)

06/07/19   Rose, Jorian L. Telephone conferences and email                1,010.00       0.40      404.00
                           correspondence with Mr. Murphy regarding
                           monthly fee application
                           questions.(56015039)

06/11/19   Dumas, Cecily Review Dundon fee statement (.2); email            950.00       0.40      380.00
           A.            Rose re review by chair for approval
                         (.2)(56055110)

06/11/19   Esmont, Joseph Advise committee regarding fee statements         600.00       1.20      720.00
           M.             filed by professionals retained by debtors
                          and UCC.(56180709)

06/11/19   Rose, Jorian L. Review and revise motion amending              1,010.00       1.40    1,414.00
                           compensation procedures for
                           experts.(56043376)

06/16/19   Rose, Jorian L. Review form monthly fee application for        1,010.00       1.20    1,212.00
                           Lincoln Advisors.(56061127)

06/17/19   Lane, Deanna    Review of Lincoln Partners monthly fee           280.00       0.60      168.00
           L.              statement for Mr. Rose; sent Fee Examiner
                           Proposed Protocol to Mr. Rose(56122672)

06/17/19   Rose, Jorian L. Review monthly fee application entries from    1,010.00       1.40    1,414.00
                           Lincoln Advisors for privilege
                           review.(56070132)

06/18/19   Dumas, Cecily Review Lincoln fee application for                 950.00       0.70      665.00
           A.            compliance with local rules(56120962)

06/18/19   Kinne, Tanya M. Review docket for any objections to First        365.00       0.60      219.00
                           Monthly Statement of the Official Committee



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                           of Tort Claimants for Reimbursement of
                           Expenses for the Period February 15, 2019
                           through April 30, 2019 (.20); draft Certificate
                           of No Objection (.30); transmit to Ms. Kates
                           for review (.10).(56125317)

06/18/19   Kinne, Tanya M. Draft Second Monthly Statement of the              365.00       0.50     182.50
                           Official Committee of Tort Claimants for
                           Reimbursement of Expenses for the Period
                           May 1, 2019 through May 31, 2019 (.40);
                           transmit same to Ms. Kates
                           (.10).(56125318)

06/18/19   Morris, Kimberly Work on expert compensation procedures            895.00       0.60     537.00
           S.               motion(56126504)

06/18/19   Rose, Jorian L. Review and revise motion to amend                 1,010.00      1.60   1,616.00
                           compensation procedures.(56084650)

06/18/19   Rose, Jorian L. Telephone conferences with Mr. Murphy             1,010.00      0.30     303.00
                           regarding fee application.(56084667)

06/19/19   Morris, Kimberly Work on compensation procedures                   895.00       0.70     626.50
           S.               motion(56126516)

06/19/19   Payne Geyer,    Two telephone conferences with Jorian              455.00       0.20        91.00
           Tiffany         Rose regarding review of Lincoln fee
                           statement.(56098516)

06/19/19   Payne Geyer,    Review Lincoln fee statement for                   455.00       0.60     273.00
           Tiffany         compliance with rules of court and protocols
                           proposed by examiner.(56098522)

06/19/19   Payne Geyer,    Correspondence to Jorian Rose                      455.00       0.40     182.00
           Tiffany         summarizing rules of court and protocols
                           proposed by examiner for consideration in
                           connection with Lincoln fee
                           statement.(56098523)

06/19/19   Rose, Jorian L. Email correspondence and telephone                1,010.00      0.40     404.00
                           conferences with Mr. Murphy and Ms.
                           Payne regarding monthly fee
                           application.(56093624)

06/20/19   Kates, Elyssa S. Preparation of fee chart.(56111901)               760.00       1.70   1,292.00

06/20/19   Morris, Kimberly Review and sign off on compensation               895.00       0.30     268.50



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           S.              procedures motion(56126535)

06/20/19   Payne Geyer,    Review revised Lincoln Fee Statement (.3);          455.00       0.70     318.50
           Tiffany         correspondence to Liz Green regarding
                           Lincoln Fee Statement (.2); correspondence
                           with Peter Gnatowski regarding updated
                           Fee Statement for Lincoln (.2).(56098862)

06/21/19   Kates, Elyssa S. Call with Mr. Rose regarding the debtors'          760.00       0.10       76.00
                            professionals.(56111906)

06/21/19   Kates, Elyssa S. Analysis of professional fee                       760.00       0.30     228.00
                            application.(56111910)

06/21/19   Kates, Elyssa S. Preparation of summary of fee                      760.00       0.20     152.00
                            application.(56111911)

06/21/19   Lane, Deanna    Sending March 2019 Fee Statement of                 280.00       0.20       56.00
           L.              Lincoln Partners Advisers to PG&E Filings
                           for e-filing and serving(56124004)

06/21/19   Payne Geyer,    Telephone conference with Jorian Rose               455.00       0.40     182.00
           Tiffany         regarding Lincoln Fee Statement for March
                           (.1); receive and review revised March Fee
                           Statement for Lincoln for compliance with
                           protocols (.3).(56099243)

06/21/19   Rose, Jorian L. Review fee application for Lincoln Advisors       1,010.00       0.70     707.00
                           for filing.(56102070)

06/24/19   Kinne, Tanya M. Finalize, electronically file and serve First       365.00       1.10     401.50
                           Monthly Fee Statement of Lincoln Partners
                           Advisors LLC for Allowance and Payment of
                           Compensation and Reimbursement of
                           Expenses for the Period March 1, 2019
                           through March 31, 2019.(56170430)

06/25/19   Dumas, Cecily Email Buchbinder re expert compensation               950.00       0.30     285.00
           A.            procedures and email Rose re
                         same(56173576)

06/25/19   Kinne, Tanya M. Finalize, electronically file and serve             365.00       0.50     182.50
                           Certificate of No Objection Regarding First
                           Monthly Statement of the Official Committee
                           of Tort Claimants for Reimbursement of
                           Expenses for the Period February 15, 2019
                           through April 30, 2019; prepare and file



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                           Certificate of Service.(56170453)

06/25/19   Kinne, Tanya M. Prepare Chambers copies of First Monthly        365.00        0.30      109.50
                           Fee Statement of Lincoln Partners Advisors
                           LLC for Allowance and Payment of
                           Compensation and Reimbursement of
                           Expenses for the Period March 1, 2019
                           through March 31, 2019, including drafting
                           letter to Judge Montali.(56170570)

06/28/19   Kinne, Tanya M. Participate in email exchange with Ms.          365.00        0.20          73.00
                           Kates regarding analysis of all fee
                           applications.(56170560)

Fee Application: Other Professionals(028)                                              21.50    15,617.00

06/06/19   Hartman, Ruth Draft memorandum regarding powers of the          470.00        4.90    2,303.00
           E.            United States Trustee.(56006128)

06/07/19   Hartman, Ruth Research regarding official committees and        470.00        3.80    1,786.00
           E.            duties of the United States
                         Trustee.(56008974)

06/10/19   Hartman, Ruth Draft and finalize memorandum regarding           470.00        6.90    3,243.00
           E.            the duties of the United State Trustee and
                         Unsecured Creditor
                         Committees.(56017201)

06/18/19   Payne Geyer,    Correspondence with Scott McNutt                455.00        0.20          91.00
           Tiffany         regarding Fee Examiner
                           protocol.(56098432)

06/19/19   Payne Geyer,    Review fee examiner’s proposed                  455.00        0.50      227.50
           Tiffany         procedures.(56098517)

06/26/19   Dumas, Cecily Communicate with UCC, Debtor's counsel,           950.00        0.50      475.00
           A.            re proposed fee examiner protocol and
                         email Payne-Geyer re same(56172645)

06/26/19   Payne Geyer,    Analyze Fee Examiner’s proposed protocols       455.00        2.60    1,183.00
           Tiffany         and assess implications on fee application
                           process (.8); analyze redlines to Fee
                           Examiner’s proposed protocols received
                           from Debtor’s counsel and counsel to the
                           OCUC (.9); further revise redlines to Fee
                           Examiner’s proposed protocols received
                           from Debtor’s counsel and counsel to the



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                           OCUC (.6); multiple correspondence with
                           Brendan Benedict, Debtor’s counsel,
                           regarding and forwarding redline revisions
                           to Fee Examiner’s proposed protocols
                           (.3).(56151291)

06/26/19   Payne Geyer,    Correspondence to Karen Lockhart                  455.00       0.30     136.50
           Tiffany         regarding and forwarding Fee Examiner’s
                           proposed protocols.(56151295)

06/27/19   Dumas, Cecily Review summary of meeting with fee                  950.00       0.30     285.00
           A.            examiner(56174066)

06/27/19   Lane, Deanna    Telephone conference with Fee Examiner            280.00       1.00     280.00
           L.              regarding Proposed Protocol(56176985)

US Trustee/Fee Examiner issues(031)                                                      21.00   10,010.00

06/03/19   Blanchard,      Call with Mr. Rose and Ms. Green to               650.00       0.20     130.00
           Jason I.        discuss research regarding issues related to
                           committee member composition and
                           selection (.1); conduct research on the
                           same (.1).(56016567)

06/03/19   Dumas, Cecily Review Lincoln summary of current Elliott           950.00       1.50    1,425.00
           A.            proposal (.8); email TCC re proposal (,4);
                         email Agaganian re questions
                         (.3)(55997945)

06/05/19   Blanchard,      Conduct research regarding issues related         650.00       1.10     715.00
           Jason I.        to eligibility and selection for official
                           committees (.9); draft research
                           memorandum regarding the same
                           (.2).(56016590)

06/06/19   Goodman, Eric Telephone call with counsel for Fire                800.00       0.40     320.00
           R.            Claimant regarding potential bar dates and
                         related matters.(56014565)

06/07/19   Dumas, Cecily Email Scarpulla re Elliott and RAK proposal         950.00       0.70     665.00
           A.            (.2); email Williams re modeling offers (.3);
                         review press releases and call Bennett re
                         meeting (.2)(56036789)

06/08/19   Dumas, Cecily Email Julian, Rose re NDA with Ad Hoc               950.00       0.30     285.00
           A.            Bondholders(56031631)




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06/08/19   Dumas, Cecily Email Julian re presentation of valuation at           950.00       0.20    190.00
           A.            TCC meeting(56031632)

06/09/19   Forhan, Elliot P. Attention to email communications with Mr.         340.00       2.50     850.00
                             Weible, Ms. Whittington regarding Non-
                             Disclosure Agreement (0.2); draft Non-
                             Disclosure Agreement (2.3).(56055053)

06/10/19   Dumas, Cecily Review and revise NDA with Akin (.9);                  950.00       1.30   1,235.00
           A.            communicate with Julian, Rose re same
                         (.4)(56030604)

06/10/19   Green,           Review and revise 100 day                           720.00       0.80     576.00
           Elizabeth A.     memo.(56053700)

06/10/19   Green,           Review issues related to minutes and                720.00       0.40     288.00
           Elizabeth A.     specificity of same.(56053701)

06/10/19   Weible, Robert Review and comment on drafts of                       830.00       1.80   1,494.00
           A.             confidentiality agreement from Messrs.
                          Forhan and Rose (1.4); emails and
                          telephone conferences with Mr. Rose
                          regarding comments and further changes
                          (.4).(56023727)

06/11/19   Forhan, Elliot P. Participate in phone call with Mr. Weible          340.00       0.10      34.00
                             regarding Non-Disclosure Agreement
                             (0.1).(56055057)

06/11/19   Weible, Robert Review further Julian/Rose emails regarding           830.00       0.90     747.00
           A.             NDA for bondholders committee (.3);
                          analyze securities issues (.3); office
                          conference with Mr. Gherlein regarding
                          NDA securities issues (.3).(56048704)

06/14/19   Dumas, Cecily Emails with TCC re Ad Hoc Bondholder                   950.00       0.40     380.00
           A.            offer(56055082)

06/14/19   Sagerman, Eric Analyze Ad Hoc Committee proposal (.3);             1,145.00       0.80     916.00
           E.             call with Dumas re same (.2);
                          communications Julian, Dumas and
                          committee members re Ad Hoc Committee
                          proposal (.3)(56070723)

06/14/19   Weible, Robert Exchange emails and telephone conference              830.00       0.20     166.00
           A.             with Mr. Rose regarding latest noteholder
                          proposal to tort claimants.(56056739)



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06/18/19   Kates, Elyssa S. Correspondence with Ms. Dumas regarding          760.00       0.10         76.00
                            a settlement reached with certain unsecured
                            creditors.(56111863)

06/18/19   Rose, Jorian L. Emails from Committee regarding upcoming        1,010.00       0.50     505.00
                           meeting.(56084651)

06/18/19   Sagerman, Eric Review multiple emails by committee              1,145.00       0.70     801.50
           E.             members regarding various restructuring
                          proposals (.4); communications Julian re
                          same (.3).(56102899)

06/19/19   Rose, Jorian L. Emails from Committee members regarding         1,010.00       0.50     505.00
                           upcoming discussion of bondholder
                           proposal.(56093623)

06/26/19   Rose, Jorian L. Review and revise confidentiality agreement     1,010.00       1.20    1,212.00
                           with Ad Hoc Bondholders.(56144316)

06/28/19   Weible, Robert Telephone conference with Mr. Rose                 830.00       0.50     415.00
           A.             regrading maintaining confidentiality of
                          information received from Debtors (.2);
                          review Debtors/Committee professional
                          confidentiality agreement (.3).(56151116)

Unsecured Creditor Issues/ Communications/ Meetings(032)                                 17.10   13,930.50

06/10/19   Bloom, Taylor   Analyze request for additional research           475.00       0.30     142.50
           A.              regarding utility customer personal
                           information.(56077183)

06/10/19   Bloom, Taylor   Analyze Section 8380 concerning electrical        475.00       0.30     142.50
           A.              or gas consumption data collected by
                           electrical and gas corporations.(56077424)

06/10/19   Bloom, Taylor   Update research on utility provider customer      475.00       0.60     285.00
           A.              personal information rules and
                           regulations.(56078064)

06/11/19   Bloom, Taylor   Telephone conference with A. Brown                475.00       0.50     237.50
           A.              regarding scope of research regarding
                           utilities information.(56078529)

06/11/19   Bloom, Taylor   Revise research on privacy laws applicable        475.00       0.60     285.00
           A.              to the utility customer personal
                           information.(56078530)



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06/11/19   Bloom, Taylor   Conduct research on regulations applicable         475.00       0.90     427.50
           A.              to the use of utility customer
                           information.(56078532)

06/11/19   Brown, Arielle L. Research regarding federal and state             360.00       1.00     360.00
                             caselaw and administrative decisions
                             related to disclosure of customer
                             data.(56078549)

06/11/19   McLellan,       Analysis of customer data confidentiality          765.00       1.00     765.00
           Melinda L.      issues and disclosure
                           restrictions.(56078936)

06/12/19   Brown, Arielle L. Research regarding administrative actions        360.00       1.50     540.00
                             brought against companies for misuse of
                             customer data.(56078378)

06/12/19   McLellan,       Confer regarding restrictions on the               765.00       0.40     306.00
           Melinda L.      disclosure of utility customer
                           data.(56080918)

06/13/19   Khan, Ferve E. Research current state of law on make               655.00       2.50   1,637.50
                          whole premiums (1.7); prepare summary of
                          the same (0.8)(56049843)

06/13/19   Khan, Ferve E. Review bond indentures for language                 655.00       4.70   3,078.50
                          relevant to claim for make whole premium;
                          review first-day declaration for list of
                          indentures(56049844)

06/13/19   McLellan,       Email correspondence regarding customer            765.00       1.00     765.00
           Melinda L.      data disclosure restrictions.(56078935)

06/13/19   McLellan,       Analyze regulatory guidance relevant to            765.00       1.40   1,071.00
           Melinda L.      restrictions on the disclosure of utility
                           customer data.(56078938)

06/14/19   Khan, Ferve E. Prepare summary of Ultra Petroleum                  655.00       0.40     262.00
                          decision(56056951)

06/14/19   Khan, Ferve E. Perform research on Ninth Circuit law on            655.00       0.20     131.00
                          make-whole premiums.(56056952)

06/14/19   Khan, Ferve E. Perform research on Ninth Circuit law on            655.00       1.90   1,244.50
                          make-whole premiums.(56056953)




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06/14/19   Khan, Ferve E. Prepare for call with Mr. Rose to discuss          655.00       0.50     327.50
                          make-whole premium research.(56056954)

06/14/19   Khan, Ferve E. Review decisions concerning make whole             655.00       0.90     589.50
                          premiums(56056955)

06/14/19   McLellan,        Draft memorandum analyzing restrictions on       765.00       2.20   1,683.00
           Melinda L.       the disclosure of customer personal
                            information to third parties.(56078939)

06/15/19   Brown, Arielle L. Research and analysis regarding laws and        360.00       2.00     720.00
                             regulations applicable to utility companies
                             and the handling of customer
                             data.(56146719)

06/17/19   Bloom, Taylor    Analyze regulations regarding disclosures        475.00       0.50     237.50
           A.               by utilities in general.(56122509)

06/17/19   Bloom, Taylor    Conduct research for privacy memorandum          475.00       0.50     237.50
           A.               on prohibited disclosures by
                            utilities.(56122643)

06/17/19   Bloom, Taylor    Attend PG&E Discussion with J. Bloom and         475.00       0.80     380.00
           A.               A. Brown regarding utilities use of customer
                            personal information.(56122688)

06/17/19   Bloom, Taylor    Analyze research on laws and regulations         475.00       0.60     285.00
           A.               applicable to the use of utility customer
                            information.(56122689)

06/17/19   Khan, Ferve E. Review and summarize key Third, Second,            655.00       5.10   3,340.50
                          and Fifth Circuit cases for make whole
                          premium research(56062391)

06/17/19   Khan, Ferve E. Review bond indentures.(56062392)                  655.00       2.80   1,834.00

06/17/19   Khan, Ferve E. Prepare for call with Mr. Rose to discuss          655.00       0.30     196.50
                          make whole premium research(56062393)

06/17/19   McLellan,        Email correspondence regarding privacy of        765.00       0.40     306.00
           Melinda L.       customer personal information.(56117872)

06/18/19   Bloom, Taylor    Compose draft outline of privacy                 475.00       2.00     950.00
           A.               memorandum on available remedies
                            against utilities providers.(56122946)

06/18/19   Khan, Ferve E. Review remaining indentures for language           655.00       2.70   1,768.50



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                           triggering make-whole premium payment
                           obligations.(56078128)

06/18/19   Khan, Ferve E. Summarize remaining indentures for Mr.              655.00       0.70     458.50
                          Rose.(56078130)

06/18/19   McLellan,       Email correspondence regarding legal               765.00       0.20     153.00
           Melinda L.      restrictions on the disclosure of personal
                           information of utility customers.(56123464)

06/18/19   Rose, Jorian L. Review research from Ms. Kahn regarding          1,010.00       0.60     606.00
                           bond issues.(56084652)

06/19/19   Brown, Arielle L. Research and analysis regarding misuse of        360.00       1.00     360.00
                             customer data.(56105039)

06/19/19   Brown, Arielle L. Research and analysis regarding Federal          360.00       2.20     792.00
                             Trade Commission administrative actions
                             related to the use of customer
                             data.(56120971)

06/19/19   Khan, Ferve E. Call with Mr. Rose to discuss research on           655.00       0.30     196.50
                          make-whole premiums.(56087366)

06/20/19   Bloom, Taylor   Revise and update research regarding               475.00       0.90     427.50
           A.              privacy laws and regulations applicable to
                           the use of utility customer
                           information.(56126722)

06/20/19   Brown, Arielle L. Research and analysis regarding obtaining        360.00       1.00     360.00
                             injunctive relief related to the misuse of
                             data.(56105051)

06/20/19   Brown, Arielle L. Research and analysis regarding California       360.00       1.20     432.00
                             laws regulating the use of customer
                             data.(56120696)

06/20/19   Khan, Ferve E. Perform research on whether reinstate of            655.00       3.20   2,096.00
                          note may be considered
                          redemption(56091118)

06/20/19   Khan, Ferve E. Prepare memorandum concerning make                  655.00       2.70   1,768.50
                          whole premiums.(56091119)

06/20/19   McLellan,       Analysis of privacy law issues relevant to         765.00       0.70     535.50
           Melinda L.      notifying potential claimants who are utility
                           customers.(56123465)



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06/21/19   Khan, Ferve E. Prepare memorandum on make-whole                   655.00       2.20    1,441.00
                          premiums.(56095612)

06/24/19   Bloom, Taylor    Analyze Fishman v. Tiger Nat. Gas, Inc.          475.00       0.60     285.00
           A.               court filings.(56157482)

06/24/19   Bloom, Taylor    Analyze privacy considerations implicated        475.00       0.30     142.50
           A.               for utilities handling customer
                            information(56158123)

06/25/19   Greenfield,      Review and update insurance policy               200.00       1.50     300.00
           Juanita M.       chart.(56176294)

06/25/19   McLellan,        Analysis of settlement concerning misuse of      765.00       0.80     612.00
           Melinda L.       PG&E customer personal information in
                            action against Tiger Natural
                            Gas.(56176682)

Utility Issues/Adequate Assurance/Insurance(033)                                         60.60   35,502.00

06/03/19   Dumas, Cecily Review Rivkin arguments on true adversity           950.00       0.40     380.00
           A.            and inverse condemnation.(56262949)

06/03/19   Kates, Elyssa S. Correspondence with Ms. Dumas and Ms.            760.00       0.10         76.00
                            Bent regarding the Nathan motion for relief
                            from the automatic stay.(56020125)

Real Estate and Real Property Issues(035)                                                 0.50     456.00

06/12/19   Julian, Robert   Attend the Ghost Ship Warehouse Fire           1,175.00       1.60    1,880.00
                            inspection(56049961)

Investigations(037)                                                                       1.60    1,880.00

06/02/19   Dumas, Cecily Communicate with Williams re creditor               950.00       0.20     190.00
           A.            proposals(55997787)

06/03/19   Julian, Robert   Telephone conversation with Financial          1,175.00       0.40     470.00
                            Advisor Mr. Williams re plan settlement
                            meetings(56037151)

06/04/19   Dumas, Cecily Emails with Williams, Baghdadi re                   950.00       0.70     665.00
           A.            valuation(56034067)

06/04/19   Kinne, Tanya M. Save materials provided to DSI to the             365.00       0.20         73.00
                           document management system.(56021776)



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06/06/19   Julian, Robert   Prepare for meeting with Financial Advisors     1,175.00       0.90   1,057.50
                            Mr. Lincoln and Mr. Williams re resolution of
                            case(56037166)

06/06/19   Kinne, Tanya M. Save confidential documents provided to            365.00       0.20        73.00
                           DSI to the document management
                           system.(56021823)

06/08/19   Julian, Robert   Telephone conversation with Financial           1,175.00       1.20   1,410.00
                            Advisors Mr. Lincoln and Mr. Williams re
                            negotiation of plan and terms(56037174)

06/10/19   Woltering,       Review correspondence from Mr. Skikos             750.00       0.30     225.00
           Catherine E.     and Ms. Morris regarding valuation of tort
                            claims and related draft motions pertinent to
                            same.(56114418)

06/14/19   Kinne, Tanya M. At the request of Ms. Morris, organize and         365.00       0.50     182.50
                           create folders for information provided to
                           DSI.(56122772)

06/17/19   Dumas, Cecily Review summary of plan process for                   950.00       0.30     285.00
           A.            Lincoln(56063055)

06/18/19   Sagerman, Eric Communications Rose re financial advisor          1,145.00       0.20     229.00
           E.             fee statements(56102897)

06/30/19   Dumas, Cecily Email Williams re enterprise                         950.00       0.30     285.00
           A.            valuation(56174607)

Financial Advisors(038)                                                                    5.40   5,145.00

06/03/19   Green,           Review and revise memo on derivative              720.00       0.80     576.00
           Elizabeth A.     claims.(56012045)

06/03/19   Julian, Robert   Revise Stipulation for use of victim evidence   1,175.00       0.50     587.50
                            in estimation proceedings and send to
                            counsel K. Orsini for approval(56037147)

06/03/19   Julian, Robert   Review status of discovery on pending           1,175.00       0.40     470.00
                            motions and update team(56037156)

06/03/19   Kinne, Tanya M. Electronically file and serve Amended              365.00       0.30     109.50
                           Notice of Hearing on Motion of the Official
                           Committee of Tort Claimants Pursuant to 11
                           U.S.C. §§ 105(a), 501 and Fed. R. Bankr. P.



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                            3001(a), 3003(c), 5005 and 9007 for Entry
                            of an Order (I) Establishing a Bar Date for
                            Filing Fire Claims, (II) Approving the Form
                            and Procedures for Notice of the Bar Date
                            for Fire Claims, and (III) Approving
                            Supplemental Procedures for Notice of the
                            Bar Date to Fire Claimants.(56021759)

06/03/19   Morris, Kimberly Review and analyze outstanding discovery          895.00       0.40     358.00
           S.               requests(56038361)

06/03/19   Morris, Kimberly Correspondence with Mr. Kristiansen re            895.00       0.50     447.50
           S.               outstanding discovery requests(56038362)

06/03/19   Morris, Kimberly Evaluate methods of collecting and hosting        895.00       0.30     268.50
           S.               discovery data requested from
                            debtors(56038363)

06/04/19   Kinne, Tanya M. Participate in voluminous email exchange           365.00       0.70     255.50
                           with Mr. Goodman and Ms. Woltering
                           regarding Declarations of Steven Weisbrot
                           and Philip R. Strunk (.40); review
                           documents on docket to ensure accuracy
                           and signatures (.30).(56021787)

06/04/19   Rose, Jorian L. Review and revise memorandum regarding           1,010.00       2.80   2,828.00
                           potential claims against former directors and
                           officers.(56000939)

06/05/19   Julian, Robert   Draft reply brief re CCA and AG objection re    1,175.00       1.10   1,292.50
                            future claims(56037161)

06/05/19   Kates, Elyssa S. Review state court docket for inverse             760.00       0.80     608.00
                            condemnation, stipulated judgment and
                            other pleadings impacting the bankruptcy
                            cases.(56020171)

06/05/19   Kates, Elyssa S. Correspondence with Mr. Rawles regarding          760.00       0.10        76.00
                            state court pleadings.(56020174)

06/05/19   Kinne, Tanya M. Discussion with Ms. Landrio regarding              365.00       0.20        73.00
                           Second Amended Order Implementing
                           Certain Notice and Case Management
                           Procedures regarding Motions for Relief
                           from the Automatic Stay.(56021812)

06/05/19   Landrio, Nikki   Discussion with Ms. Kinne regarding               420.00       0.20        84.00



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           M.               Second Amended Order Implementing
                            Certain Notice and Case Management
                            Procedures regarding Motions for Relief
                            from the Automatic Stay.(56017863)

06/05/19   Rose, Jorian L. Review and revise memorandum regarding          1,010.00       2.80   2,828.00
                           California law issues with various claims
                           proposition.(56002775)

06/05/19   Rose, Jorian L. Telephone conferences with Messrs. Weible       1,010.00       0.40     404.00
                           and Blanchard regarding California claims
                           research.(56002776)

06/06/19   Julian, Robert   Draft reply brief re CCA and AG objection re   1,175.00       0.80     940.00
                            future claims(56037163)

06/06/19   Julian, Robert   Revise Rule 2004 application for order         1,175.00       0.50     587.50
                            compelling production of insurance
                            policies(56037164)

06/06/19   Julian, Robert   Revise motion to compel or order for           1,175.00       2.80   3,290.00
                            preclusion on claims motion(56037165)

06/06/19   Julian, Robert   Revise request for protective                  1,175.00       0.70     822.50
                            order(56037167)

06/06/19   Kates, Elyssa S. Correspondence with Mr. Rawles regarding         760.00       0.10         76.00
                            state court litigation involving the Butte
                            Fires.(56020184)

06/06/19   Morris, Kimberly Review and edit motion to                        895.00       0.60     537.00
           S.               compel(56038393)

06/06/19   Morris, Kimberly Meet with Mr. Julian and Mr. Fuller re           895.00       0.60     537.00
           S.               motion to compel(56038394)

06/07/19   Kinne, Tanya M. Participate in telephone conferences with         365.00       0.50     182.50
                           Ms. Morris and Ms. Kates regarding
                           preparation and filing of Motion of the
                           Official Committee of Tort Claimants to
                           Compel or to Exclude Evidence Regarding
                           Debtors’ Bar Date Motion.(56021840)

06/07/19   Kinne, Tanya M. Electronically file and serve Ex Parte            365.00       0.40     146.00
                           Application of the Official Committee of Tort
                           Claimants Pursuant to Federal Rule of
                           Bankruptcy Procedure 2004 for Orders



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                           Authorizing Production of
                           Documents.(56021841)

06/07/19   Kinne, Tanya M. Assist in the preparation of Motion of the          365.00       4.00   1,460.00
                           Official Committee of Tort Claimants to
                           Compel or to Exclude Evidence Regarding
                           Debtors’ Bar Date Motion, including cite
                           checking Declaration of Lars H. Fuller,
                           reviewing local rules regarding notice
                           requirements and revising document to
                           comply with procedures order.(56021842)

06/07/19   Morris, Kimberly Draft motion to compel discovery and               895.00       4.20   3,759.00
           S.               supporting papers(56038400)

06/07/19   Morris, Kimberly Telephone conversations with Ms. Kates             895.00       0.70     626.50
           S.               and Ms. Kinne re motion to compel
                            filing(56038401)

06/07/19   Morris, Kimberly Telephone conversation with Mr. Julian re          895.00       0.50     447.50
           S.               motion to compel(56038402)

06/07/19   Morris, Kimberly Telephone conversation with Mr. Fuller re          895.00       0.30     268.50
           S.               motion to compel(56038403)

06/07/19   Morris, Kimberly Prepare motion to compel papers for                895.00       0.50     447.50
           S.               filing(56038404)

06/07/19   Morris, Kimberly Direct legal research re motion to compel          895.00       0.30     268.50
           S.               papers for filing(56038405)

06/07/19   Morris, Kimberly Review PGE motion for protective                   895.00       0.30     268.50
           S.               order(56038417)

06/07/19   Rose, Jorian L. Telephone conference with Mr. Julian and          1,010.00       0.20     202.00
                           Ms. Morris regarding expert
                           issue.(56015028)

06/07/19   Rose, Jorian L. Telephone conferences with Ms. Kates              1,010.00       0.30     303.00
                           regarding motion regarding retaining
                           experts.(56015032)

06/07/19   Rose, Jorian L. Review protective order motion filed by           1,010.00       0.60     606.00
                           Debtors.(56015033)

06/10/19   Green,          Review motion to compel filed by debtors            720.00       0.20     144.00
           Elizabeth A.    against TCC.(56053708)



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06/10/19   Green,           Map out plan for review of PG&E                   720.00       0.60     432.00
           Elizabeth A.     documents to be produced based on
                            estimate of 3 - 4 terabytes.(56053709)

06/10/19   Julian, Robert   Review potential claim vs debtors re use of     1,175.00       1.20   1,410.00
                            private information(56049951)

06/10/19   Kates, Elyssa S. Call with Mr. Fuller regarding the debtors'       760.00       0.50     380.00
                            motion for a protective order, the status of
                            discovery and a potential conference with
                            the court.(56071563)

06/10/19   Kates, Elyssa S. Review motions filed in the cases for             760.00       0.70     532.00
                            preparation of summary for TCC and
                            determination of need to the TCC to take
                            action.(56071579)

06/10/19   Morris, Kimberly Review and edit motion to compel                  895.00       0.50     447.50
           S.               production(56080233)

06/10/19   Morris, Kimberly Strategy calls re motion to                       895.00       0.40     358.00
           S.               compel(56080238)

06/10/19   Rose, Jorian L. Telephone conferences with Ms. Kates and         1,010.00       0.50     505.00
                           Ms. Morris regarding expert witness
                           issues.(56027004)

06/11/19   Julian, Robert   Review debtors’ notice of deposition of         1,175.00       0.50     587.50
                            Weisbrot and Dion and document
                            request(56049954)

06/11/19   Julian, Robert   Telephone conversation with Litigation          1,175.00       0.40     470.00
                            Team re production of documents and
                            scheduling deposition appearances if
                            witnesses in the country(56049955)

06/11/19   Julian, Robert   Review communications from court re             1,175.00       0.20     235.00
                            orders and instruct team on entry of
                            orders(56049957)

06/11/19   Kates, Elyssa S. Correspondence with Mr. Fuller and Ms.            760.00       0.10        76.00
                            Kinne regarding notice of the TCC's motion
                            for a protective order.(56071572)

06/11/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                760.00       0.10        76.00
                            Rivkin, Mr. Bloom. Mr. DeLaquil and Mr.



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                            Raile regarding inverse
                            condemnation.(56071573)

06/11/19   Kates, Elyssa S. Review motions filed in the cases for             760.00       0.80     608.00
                            preparation of summary for TCC and
                            determination of need to the TCC to take
                            action.(56071578)

06/11/19   Kinne, Tanya M. Review email correspondence from Mr.               365.00       0.40     146.00
                           Kavouras regarding Order on Motion of the
                           Official Committee of Tort Claimants to
                           Compel or to Exclude Evidence Regarding
                           Debtors’ Bar Date Motion (.10); review
                           docket and related emails (.20); draft email
                           to Mr. Kavouras regarding same
                           (.10).(56122728)

06/12/19   Kinne, Tanya M. Save June 7, 2019 email correspondence             365.00       0.10        36.50
                           from Mr. Fuller to Mr. Kevin Orsini regarding
                           conferral related to bar date motion to the
                           document management system.(56122753)

06/12/19   Rose, Jorian L. Review and revise motion to amend                1,010.00       2.90   2,929.00
                           compensation procedures for
                           experts.(56047445)

06/14/19   Rose, Jorian L. Review and revise expert retention               1,010.00       1.70   1,717.00
                           compensation motion.(56060065)

06/14/19   Rose, Jorian L. Email to counsel for Debtors and UCC             1,010.00       0.40     404.00
                           regarding expert witness
                           retention.(56060066)

06/15/19   Landrio, Nikki   Receive and review notification of new            420.00       0.30     126.00
           M.               adversary proceeding commenced against
                            the Debtor (.1) create document
                            management workspace for maintenance of
                            attorney work product related to this matter
                            (.2)(56062161)

06/15/19   Landrio, Nikki   Review the docket and Prime Clerk                 420.00       0.20        84.00
           M.               regarding new adversary proceeding
                            commented by Elward against the Debtors
                            (.1) and email with Mr. Jesic in information
                            services regarding requirement to receive
                            efiling notifications for the adversary
                            proceeding for distribution to the case team



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                            and docketing purposes (.1).(56062162)

06/17/19   Kinne, Tanya M. At the request of Ms. Attard, review                   365.00       0.30     109.50
                           transcript of January 31, 2019 hearing
                           before Judge Montali (.20); draft email
                           correspondence to Ms. Attard regarding
                           same (.10).(56125305)

06/18/19   Julian, Robert   Telephone conversation with Ms. Dumas re            1,175.00       0.30     352.50
                            status of motions and discovery(56104968)

06/18/19   Kates, Elyssa S. Review motions filed in the cases for                 760.00       3.30   2,508.00
                            preparation of summary for TCC and
                            determination of need for the TCC to take
                            action.(56111859)

06/18/19   Kates, Elyssa S. Call with Mr. Fuller regarding the letter to          760.00       0.10      76.00
                            Mr. Singleton.(56111862)

06/18/19   Kinne, Tanya M. Participate in email exchange with Ms.                 365.00       0.30     109.50
                           Kates and Mr. Rose regarding noticing
                           requirements for Motion to Amend
                           Procedures.(56125321)

06/18/19   Rose, Jorian L. Telephone conferences with Ms. Morris and            1,010.00       0.30     303.00
                           Ms. Liu regarding expert retention
                           issue.(56084668)

06/18/19   Rose, Jorian L. Telephone conferences with US Trustee's              1,010.00       0.20     202.00
                           office regarding expert retention
                           issue.(56084669)

06/19/19   Goodman, Eric Draft and edit joint statement on CPUC                   800.00       2.10   1,680.00
           R.            stipulation and related exhibit (1.2); draft
                         email to counsel for the UCC, PG&E and
                         the CPUC regarding joint statement (.2);
                         review and respond to email from counsel
                         for the UCC regarding joint statement (.1);
                         review statement on CPUC stipulation (.4);
                         draft email to Ms. Dumas regarding CPUC
                         stipulation (.1); communications regarding
                         filing of statement in support of CPUC
                         stipulation (.1).(56096455)

06/19/19   Kates, Elyssa S. Review motions filed in the cases for                 760.00       5.30   4,028.00
                            preparation of summary for TCC and
                            determination of need for the TCC to take



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                            action.(56111878)

06/19/19   Kates, Elyssa S. Correspondence with Mr. Murphy, Ms.               760.00       0.10        76.00
                            Dumas and others regarding the Mutual
                            Assistance Agreements.(56111880)

06/19/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                760.00       0.50     380.00
                            Fuller, Mr. Kristiansen, Mr. Julian and others
                            regarding opposition to the TCC's motion for
                            entry of a protective order.(56111886)

06/19/19   Rose, Jorian L. Review and revise proposed procedures             1,010.00      1.60   1,616.00
                           and order for expert payment
                           process.(56093621)

06/20/19   Esmont, Joseph Strategy call to prepare responses to newly         600.00       2.90   1,740.00
           M.             filed documents (only attended part of call)
                          (1.1); review new filings related to bar date
                          and proof of claim form (1.2); follow-up call
                          with Ms. McLellan regarding potential
                          response (.2); call with Mr. Rose regarding
                          the same (.4);(56181044)

06/20/19   Payne Geyer,     Analyze revisions to channeling injunction        455.00       4.40   2,002.00
           Tiffany          memo incorporating case law on liquidating
                            trusts in asbestos cases (.7); perform legal
                            research on assignments of
                            benefits/assignments of insurance claims in
                            California (1.0); drafting additional analysis
                            of first PG&E case and Third Circuit cases
                            for channeling injunction memo per request
                            of Liz Green (2.7).(56098864)

06/22/19   Esmont, Joseph Search for public copies of safety reports          600.00       1.50     900.00
           M.             related to damages calculations.(56181207)

06/22/19   Kates, Elyssa S. Review motions filed in the cases for             760.00       5.70   4,332.00
                            preparation of summary for TCC and
                            determination of need for the TCC to take
                            action, including pleadings that will be heard
                            by the court on June 26, 2019.(56111913)

06/24/19   Kates, Elyssa S. Correspondence with Ms. Morris, Mr. Fuller        760.00       0.10        76.00
                            and Mr. Esmont regarding the cross
                            motions for protective orders.(56152055)

06/25/19   Kates, Elyssa S. Correspondence with Ms. Morris and Mr.            760.00       0.10        76.00



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                            Fuller regarding the protective order
                            motions memo.(56152071)

06/25/19   Kinne, Tanya M. Finalize, electronically file and serve Status    365.00       0.90     328.50
                           Report Regarding Revisions to (A) the Fire
                           Proof of Claim Form (Dkt. Nos. 1824 &
                           2605) and (B) the Amended Order on
                           Motion of the Official Committee of Tort
                           Claimants for Entry of an Order (I)
                           Establishing a Bar Date for Filing Fire
                           Claims, (II) Approving the Form and
                           Procedures for Notice of the Bar Date for
                           Fire Claims, and (III) Approving
                           Supplemental Procedures for Notice of the
                           Bar Date to Fire Claimants; prepare and file
                           Certificate of Service.(56170452)

06/25/19   Kinne, Tanya M. Prepare Chambers copies of Status Report          365.00       0.30     109.50
                           Regarding Revisions to (A) the Fire Proof of
                           Claim Form (Dkt. Nos. 1824 & 2605) and
                           (B) the Amended Order on Motion of the
                           Official Committee of Tort Claimants for
                           Entry of an Order (I) Establishing a Bar Date
                           for Filing Fire Claims, (II) Approving the
                           Form and Procedures for Notice of the Bar
                           Date for Fire Claims, and (III) Approving
                           Supplemental Procedures for Notice of the
                           Bar Date to Fire Claimants, including
                           drafting letter to Judge Montali.(56170568)

06/25/19   Morris, Kimberly Work on PGE discovery                            895.00       1.60    1,432.00
           S.               deficiencies(56176396)

06/27/19   Kates, Elyssa S. Correspondence with Mr. Fuller regarding         760.00       0.10         76.00
                            the cross motions for protective
                            orders.(56152093)

Other Contested Matters(039)                                                             75.90   61,257.50

06/03/19   Esmont, Joseph Analyze issues regarding website                   600.00       0.50     300.00
           M.             content.(56180627)

06/03/19   Green,           Review issues regarding declarations on          720.00       0.50     360.00
           Elizabeth A.     website and other confidential info on
                            website.(56012051)

06/03/19   Lane, Deanna     Brief discussion with Mr. Parrish: RE: PG&E      280.00       0.10         28.00



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           L.              Emergency Fund Criteria and TCC's
                           Website(56036451)

06/03/19   McDonald,       Communicate with Committee about                   230.00       0.20        46.00
           Michael H.      Magnum database to provide multiple folder
                           name clarifications to the Committee for
                           further review.(56163270)

06/03/19   McDonald,       Communicate with Committee about                   230.00       0.20        46.00
           Michael H.      Magnum database to provide "PG&E Memo
                           Addressing the Debtors' May 2019
                           Retention Applications" to the Committee
                           for further review.(56163271)

06/03/19   McDonald,       Communicate with Committee about                   230.00       0.20        46.00
           Michael H.      Magnum database to provide "6-3-19 Memo
                           on CPUC Decisions on De-Energization and
                           Wildfire Mitigation Plans" to the Committee
                           for further review.(56163272)

06/03/19   Morris, Kimberly Correspondence with Lincoln Financial re          895.00       0.20     179.00
           S.               data room and PGE financial
                            statements(56038368)

06/03/19   Parrish, Jimmy Talk with Mr. Garabato at Epiq regarding            590.00       0.40     236.00
           D.             revisions to website.(56030978)

06/03/19   Parrish, Jimmy Review documents and notices regarding              590.00       1.10     649.00
           D.             public hearings on PG&E rate increase
                          request for website.(56030986)

06/03/19   Parrish, Jimmy Talk with Ms. Morrsion and Ms. Dumas                590.00       0.20     118.00
           D.             regarding website edits.(56030989)

06/04/19   McDonald,       Prepare Relativity database for review and         230.00       0.30        69.00
           Michael H.      analysis of incoming discovery
                           documents.(56164268)

06/04/19   McDonald,       Coordinate review of Pacific Gas and               230.00       1.40     322.00
           Michael H.      Electric SEC filings on share drive
                           location.(56164270)

06/04/19   Parrish, Jimmy Review website revision options.(56032275)          590.00       0.90     531.00
           D.

06/05/19   Rose, Jorian L. Telephone conferences with Ms. Hartman           1,010.00       0.20     202.00
                           regarding research on Committee formation



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                           question of Mr. Julian.(56002778)

06/06/19   McDonald,       Coordinate intake of Pacific Gas and                230.00       0.50     115.00
           Michael H.      Electric Press release documents for review
                           on share drive location.(56164264)

06/07/19   Esmont, Joseph Review and comment on safety warning                 600.00       1.50     900.00
           M.             with respect to Ghost Ship.(56180638)

06/07/19   McDonald,       Communicate with Committee about                    230.00       0.20       46.00
           Michael H.      Magnum database to provide "Memo
                           Regarding Debtors_ May 2019 Retention
                           Applications" to the Committee for further
                           review.(56164800)

06/07/19   Rose, Jorian L. Email correspondence with Mr. Gnatowski           1,010.00       0.40     404.00
                           regarding financial reporting
                           issues.(56015030)

06/08/19   Dumas, Cecily Email Morris re media subcommittee                    950.00       0.20     190.00
           A.            protocol(56031627)

06/09/19   Rose, Jorian L. Emails to Messrs. Julian and Weible               1,010.00       0.70     707.00
                           regarding current nondisclosure agreement
                           with Committee.(56061125)

06/09/19   Rose, Jorian L. Review and revise draft nondisclosure             1,010.00       1.20   1,212.00
                           agreement for meeting with
                           bondholders.(56061126)

06/10/19   Morris, Kimberly Correspondence re statutory                        895.00       0.20     179.00
           S.               website(56080236)

06/10/19   Rose, Jorian L. Review and revise non-disclosure                  1,010.00       2.80   2,828.00
                           agreement for bond holder meeting
                           regarding various potential public securities
                           issues.(56027009)

06/12/19   Lane, Deanna    Review of Tort Claim Web Site; compose              280.00       0.70     196.00
           L.              email to Jimmy Parrish
                           Observations/Questions re:
                           same(56083284)

06/12/19   Parrish, Jimmy Talk with Mr. Gerabato regarding website             590.00       0.60     354.00
           D.             revisions and protocol.(56074823)

06/12/19   Parrish, Jimmy Review and revise draft protocol for website         590.00       0.60     354.00



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           D.              revisions and edits.(56074824)

06/12/19   Parrish, Jimmy Review website and outline potential                  590.00       0.70     413.00
           D.             updates under protocol to improve
                          functionality and performance.(56074835)

06/13/19   McDonald,       Prepare Relativity database for review and           230.00       2.60     598.00
           Michael H.      analysis of Pacific Gas and Electric
                           production.(56085487)

06/13/19   Morris, Kimberly Review and comment on media/website                 895.00       0.40     358.00
           S.               protocol(56080264)

06/13/19   Parrish, Jimmy Talk with Mr. Gerabato regarding website              590.00       0.30     177.00
           D.             revisions.(56075256)

06/13/19   Rose, Jorian L. Review protocol for website prepared by Mr.        1,010.00       0.40     404.00
                           Parrish.(56060058)

06/14/19   Esmont, Joseph Confer with Ms. Kates regarding case                  600.00       3.60   2,160.00
           M.             management (.6); plan case management
                          procedures (3).(56180702)

06/14/19   Parrish, Jimmy Talk with Mr. Schuver regarding website               590.00       0.30     177.00
           D.             updates.(56075918)

06/17/19   Esmont, Joseph Advise regarding website                              600.00       0.80     480.00
           M.             content.(56180744)

06/18/19   Dumas, Cecily Review and approve website information                 950.00       0.50     475.00
           A.            and announcements(56120963)

06/18/19   Esmont, Joseph Confer with Ms. Bent and Ms. Kates                    600.00       2.50   1,500.00
           M.             regarding hot desk review procedures of
                          incoming filing (.4); analyze most efficient
                          ways to run hot desk function
                          (2.1)(56181007)

06/18/19   Kates, Elyssa S. Correspondence with Ms. Edelman                     760.00       0.10      76.00
                            regarding expense
                            reimbursement.(56111850)

06/18/19   Lane, Deanna    Receipt of email/phone call from Ms. Morris          280.00       0.50     140.00
           L.              regarding immediate updates to Tort
                           Committee Website needed; email and
                           telephone calls with Mr. Garadato regarding
                           same(56124474)



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06/18/19   Morris, Kimberly Work on statutory website                       895.00       0.80      716.00
           S.               updates(56126502)

06/18/19   Parrish, Jimmy Talk with Ms. Dumas regarding website             590.00       0.10          59.00
           D.             updates.(56116810)

06/18/19   Parrish, Jimmy Review issues and comments regarding              590.00       0.50      295.00
           D.             website updates.(56116812)

06/18/19   Parrish, Jimmy Talk with Ms. Morris regarding common             590.00       0.20      118.00
           D.             interest agreement draft.(56116813)

06/19/19   McDonald,       Communicate with Committee about                 230.00       0.20          46.00
           Michael H.      Magnum database to provide "Media Policy"
                           to the Committee for further
                           review.(56112612)

06/19/19   Morris, Kimberly Work on website updates(56126517)               895.00       0.30      268.50
           S.

06/19/19   Parrish, Jimmy Talk with Ms. Dumas, Ms. Morris and Mr.           590.00       0.20      118.00
           D.             Rose regarding website
                          protocol.(56118281)

06/19/19   Parrish, Jimmy Review and revise website                         590.00       0.50      295.00
           D.             protocol.(56118282)

06/19/19   Parrish, Jimmy Talk with Mr. Garabato regarding website          590.00       0.30      177.00
           D.             modifications.(56118283)

06/19/19   Parrish, Jimmy Talk with Ms. Morris regarding website            590.00       0.50      295.00
           D.             modifications.(56118293)

06/20/19   Esmont, Joseph Advise Ms. Morris and Mr. Parrish regarding       600.00       1.00      600.00
           M.             website content (including drafting
                          proposal).(56181046)

06/20/19   McDonald,       Prepare Pacific Gas and Electric production      230.00       0.70      161.00
           Michael H.      for Relativity database.(56113090)

06/20/19   McDonald,       Communicate with Committee about                 230.00       0.40          92.00
           Michael H.      Magnum database to provide "Redlined
                           Draft Minutes of Committee Meeting June
                           12, 2019 and Draft Minutes of Committee
                           Meeting June 12, 2019" to the Committee
                           for further review.(56113092)



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06/20/19   Morris, Kimberly Call with TCC member re statutory                 895.00       0.40     358.00
           S.               website(56126523)

06/20/19   Morris, Kimberly Work on updates to website(56126524)              895.00       0.40     358.00
           S.

06/20/19   Parrish, Jimmy Review and update website                           590.00       0.40     236.00
           D.             modifications.(56120145)

06/20/19   Parrish, Jimmy Talk with Mr. Garabato regarding website            590.00       0.20     118.00
           D.             modifications.(56120239)

06/21/19   Esmont, Joseph Confer with Mr. Parrish and Ms. Morris              600.00       0.70     420.00
           M.             regarding obligations to inform
                          constituency(56181088)

06/21/19   Goodman, Eric Telephone call with Mr. Weible regarding             800.00       0.60     480.00
           R.            Committee minutes.(56096460)

06/21/19   Lane, Deanna    Review of Tort Committee Website for               280.00       0.40     112.00
           L.              suggested updates/changes; sent same to
                           Mr. Parrish for review/approval(56124481)

06/21/19   Parrish, Jimmy Talk with Mr. Garabato regarding website            590.00       0.10        59.00
           D.             updates.(56120810)

06/23/19   McDonald,       Communicate with Committee about                   230.00       0.30        69.00
           Michael H.      Magnum database to provide "Memo
                           regarding Governor's Proposals" to the
                           Committee for further review.(56113563)

06/24/19   Lane, Deanna    Email to Mr. Garabato regarding status of          280.00       0.10        28.00
           L.              mock-up of "recent development" section of
                           Tort Claim website(56123996)

06/24/19   Lane, Deanna    Email to Mr. Garabato requesting the               280.00       0.10        28.00
           L.              addition of the omnibus hearing on 7/9 to
                           the key date section of the Tort Claim
                           website(56123997)

06/24/19   McDonald,       Communicate with Committee about                   230.00       0.30        69.00
           Michael H.      Magnum database to provide "Responses
                           to TCC's (1) Proof of Claim Form Motion,
                           (2) Bar Date Motion, and (3) Angeion
                           Retention Motion" to the Committee for
                           further review.(56152726)



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06/24/19   McDonald,       Communicate with Committee about                 230.00       2.10      483.00
           Michael H.      Magnum database to provide "Pleadings
                           Filed in Connection with the June 26, 2019
                           Hearing" to the Committee for further
                           review.(56152727)

06/24/19   Parrish, Jimmy Review proposed updates to TCC                    590.00       0.30      177.00
           D.             website.(56143596)

06/24/19   Parrish, Jimmy Talk with Mr. Garabato regarding TCC              590.00       0.10          59.00
           D.             website update.(56143600)

06/24/19   Rose, Jorian L. Review by-laws and provide responses to        1,010.00       2.60    2,626.00
                           Committee Chairperson's questions
                           regarding various issues under by-laws and
                           Committee membership regarding claims
                           sales.(56128792)

06/24/19   Rose, Jorian L. Follow-up questions from Committee             1,010.00       0.70      707.00
                           Chairperson regarding by-laws and
                           treatment of claims sale issues.(56128793)

06/24/19   Weible, Robert Review Ms. Dumas 6-23 email to Mr. Rose           830.00       0.50      415.00
           A.             regarding the effect of selling claims, email
                          Mr. Rose regarding applicable Committee
                          bylaws sections (.2); Edit Mr. Rose's email
                          to Ms. Lockhart regarding claims selling
                          (.3)(56108686)

06/25/19   Esmont, Joseph Revise summary of Mutual Assistance               600.00       1.20      720.00
           M.             Motion and advise team regarding
                          same(56181191)

06/25/19   Esmont, Joseph Call with Ms. Morris regarding common             600.00       1.90    1,140.00
           M.             interest agreements and committee privacy
                          with respect to damages analysis, including
                          follow-up review of bylaws and
                          agreement.(56263203)

06/25/19   Morris, Kimberly Communication with media working group          895.00       0.40      358.00
           S.               re press release(56176394)

06/26/19   Lane, Deanna    Sending updates to Mr. Garabato regarding        280.00       0.20          56.00
           L.              Claims Bar Date to add to Tort Claims
                           Committee Website(56176696)




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06/26/19   Morris, Kimberly Review and edit press release(56176372)           895.00       0.40    358.00
           S.

06/26/19   Morris, Kimberly Telephone conversation with Ms. Dumas             895.00       0.10        89.50
           S.               and Mr. Julian re press release(56176373)

06/26/19   Morris, Kimberly Email correspondence with committee re            895.00       0.30     268.50
           S.               press release(56176374)

06/26/19   Weible, Robert Review 6-25 email from Mr. Julian regarding         830.00       3.60   2,988.00
           A.             members' counsel conflict issues, review
                          relevant TCC bylaws provisions and law,
                          and prepare and send analysis of applicable
                          law.(56137095)

06/27/19   Dumas, Cecily Email Morris, Lockhart, Trostle re media             950.00       0.50     475.00
           A.            release on tort claim noticing(56174067)

06/27/19   McDonald,       Communicate with Committee about                   230.00       0.10        23.00
           Michael H.      Magnum database to provide "Memo
                           regarding Summary of June 26 Hearing" to
                           the Committee for further
                           review.(56154336)

06/27/19   McDonald,       Prepare Pacific Gas and Electric production        230.00       0.20        46.00
           Michael H.      for Relativity database.(56154337)

06/27/19   Morris, Kimberly Correspondence with media subcommittee            895.00       0.50     447.50
           S.               re press release(56176378)

06/28/19   Lane, Deanna    Sending Tort Claim Website Updates to Ms.          280.00       0.20        56.00
           L.              Garabato (Updated Answer to
                           Q18)(56177431)

06/28/19   McDonald,       Prepare Pacific Gas and Electric production        230.00       0.50     115.00
           Michael H.      for Relativity database.(56154653)

06/28/19   McDonald,       Coordinate searching and review of third           230.00       0.60     138.00
           Michael H.      Pacific Gas and Electric production in
                           Relativity database.(56154658)

06/28/19   McDonald,       Coordinate identification of confidential          230.00       0.60     138.00
           Michael H.      designations in Pacific Gas and Electric
                           productions in Relativity
                           database.(56154659)

06/28/19   Rose, Jorian L. Review by-laws for question on professional      1,010.00       0.90     909.00



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                             retention for litigation matters.(56150400)

06/28/19   Rose, Jorian L. Telephone conferences with Mr. Weible                1,010.00       0.40     404.00
                           regarding by-law question for corporate
                           authority.(56150401)

Operations(040)                                                                               57.30   36,347.00

06/20/19   Dumas, Cecily Review Debtors motion for incentive plan;                950.00       0.80     760.00
           A.            directions to Lincoln for financial analysis of
                         plan(56121340)

06/21/19   Fuller, Lars H.   Review communications from Ms. Dumas                 545.00       0.40     218.00
                             and Mr. Wibble regarding PG&E KEIP
                             proposal for CEO.(56096065)

06/24/19   Parrish, Jimmy Talk with Mr. Weible regarding KEIP motion              590.00       0.40     236.00
           D.             background on KEIP executives.(56143585)

06/24/19   Parrish, Jimmy Talk with Mr. Julian regarding KEIP motion              590.00       0.10      59.00
           D.             and similarities with STIP motion and
                          arguments.(56143589)

06/24/19   Parrish, Jimmy Talk with Mr. Kristiansen regarding initial             590.00       0.30     177.00
           D.             discovery in connection with review of KEIP
                          motion.(56143592)

06/24/19   Parrish, Jimmy Talk with Mr. Gnatowski regarding initial due           590.00       0.20     118.00
           D.             diligence request related to KEIP
                          motion.(56143602)

06/24/19   Parrish, Jimmy Review and revise initial due diligence list            590.00       0.20     118.00
           D.             from Mr. Gnatowski.(56143606)

06/24/19   Parrish, Jimmy Initial review of KEIP motion.(56143608)                590.00       0.80     472.00
           D.

06/24/19   Weible, Robert Evaluate emails regarding objections to 6-              830.00       1.40    1,162.00
           A.             19-19 debtors' motion to approve Johnson
                          and other executives incentive
                          compensation (.2); review Lincoln due
                          diligence questions regarding debtors'
                          proposed KEIP plan, email Mr. Gnatowski
                          regarding issues and discuss issues with
                          Mr. Gnatowski (.8); telephone conference
                          with Mr. Parrish regarding issues relating to
                          opposing debtors' KEIP motion



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                           (.4).(56108688)

06/25/19   Dumas, Cecily Conf call Parrish, Kristiansen re KEIP                950.00       0.60     570.00
           A.            motion(56173570)

06/25/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                 760.00       0.20     152.00
                            Parris, Mr. Julian and others regarding
                            incentive payment issues.(56152060)

06/25/19   Kristiansen, Eric Attend to numerous strategy and action            685.00       4.70   3,219.50
           W.                items related to Debtor’s KEIP
                             motion.(56153431)

06/25/19   Martinez,       Research employee issues in preparation             400.00       3.20   1,280.00
           Daniella E.     for hearing in July, including review of filings
                           and motions.(56149786)

06/25/19   Parrish, Jimmy Talk with Mr. Julian and Ms. Dumas                   590.00       0.40     236.00
           D.             regarding KEIP motion.(56143856)

06/25/19   Parrish, Jimmy Talk with Ms. Dumas and Mr. Kristiansen              590.00       0.60     354.00
           D.             regarding KEIP motion overview and initial
                          thoughts.(56143858)

06/25/19   Parrish, Jimmy Review STIP Motion, Order approving STIP             590.00       2.10   1,239.00
           D.             and supporting documents in connection
                          with KEIP review and analysis.(56143859)

06/25/19   Parrish, Jimmy Talk with Mr. Kristiansen regarding                  590.00       0.20     118.00
           D.             discovery options for KEIP
                          review.(56143860)

06/25/19   Parrish, Jimmy Talk with Mr. Weible regarding KEIP review           590.00       0.20     118.00
           D.             and analysis.(56143867)

06/25/19   Parrish, Jimmy Review KEIP supporting                               590.00       0.60     354.00
           D.             declarations.(56143868)

06/25/19   Weible, Robert Review briefs from SUT, UCC and TCC                  830.00       3.90   3,237.00
           A.             opposing debtors' STIP plan to prepare
                          opposition to KEIP plan.(56128229)

06/26/19   Donaho,         Conduct research in connection with draft           530.00       1.30     689.00
           Thomas A.       KEIP briefing.(56169533)

06/26/19   Kristiansen, Eric Continue to address issues related to KEIP        685.00       2.20   1,507.00
           W.                motion.(56153422)



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06/26/19   Martinez,       Continue researching employee issues in             400.00       2.70   1,080.00
           Daniella E.     preparation for hearing in July, including
                           review of filings and motions.(56149784)

06/26/19   Martinez,       Begin drafting memorandum regarding                 400.00       5.30   2,120.00
           Daniella E.     employee issues in preparation for hearing
                           in July.(56149789)

06/26/19   Parrish, Jimmy Talk with Mr. Weible and Mr. Kristiansen             590.00       0.90     531.00
           D.             regarding initial review and assessment of
                          KEIP motion.(56144216)

06/26/19   Parrish, Jimmy Review Johnson compensation                          590.00       1.00     590.00
           D.             motion.(56144217)

06/26/19   Parrish, Jimmy Review issues regarding stock component              590.00       0.80     472.00
           D.             of KEIP and impact on absolute priority
                          rule.(56144218)

06/26/19   Weible, Robert Telephone conference with Messrs. Parrish            830.00       1.40   1,162.00
           A.             and Kristiansen regarding opposition to
                          Debtors' KEIP motion (.8); review briefs in
                          opposition to Debtors' STIP motion to
                          prepare for opposition to KEIP motion
                          (.6).(56137099)

06/27/19   Donaho,         Conduct research regarding draft KEIP               530.00       4.30   2,279.00
           Thomas A.       briefing.(56169532)

06/27/19   Kristiansen, Eric Conference with Campora and Parrish re            685.00       5.10   3,493.50
           W.                KEIP motion (.4); conference with Weible
                             and Parrish re same (.4); review research re
                             key employees (1.3); review KEIP
                             standards (1.6); prepare strategy re
                             KEIP(1.4).(56153420)

06/27/19   Martinez,       Complete drafting memorandum regarding              400.00       1.70     680.00
           Daniella E.     employee issues in preparation for hearing
                           in July.(56149790)

06/27/19   Parrish, Jimmy Talk with Mr. Kristiansen and Mr. Campora            590.00       0.40     236.00
           D.             regarding KEIP executives and KEIP legal
                          standard.(56144829)

06/27/19   Weible, Robert Continue review of TCC's STIP opposition             830.00       3.50   2,905.00
           A.             motion to prepare for KEIP opposition (1.8);



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                           review Debtors' motion for KEIP approval in
                           anticipation of opposition (1.7).(56144736)

06/28/19   Dumas, Cecily Review Weible comments to KEIP motion              950.00       0.50      475.00
           A.            for preparing objection(56174586)

06/28/19   Weible, Robert Review Debtors' KEIP motion to formulate          830.00       3.10    2,573.00
           A.             opposition(2.7); email exchange with Ms.
                          Dumas regarding opposition to KEIP motion
                          (.4).(56151118)

KEIP Issues(041)                                                                        55.50   34,990.00

06/03/19   Forhan, Elliot P. Participate in call with Ms. Woltering         340.00       3.20    1,088.00
                             regarding collateral-source rule (0.2);
                             participate in meeting with Mr. Goodman
                             regarding memo (1.8); analyze cases
                             regarding collateral-source rule (1.1);
                             attention to email communication with Mr.
                             Goodman regarding In re Dow Corning
                             (0.1).(56010146)

06/03/19   Goodman, Eric Conference with Ms. Forhan regarding               800.00       1.90    1,520.00
           R.            subrogation research (1.6); review case law
                         on treatment of subrogation claims in
                         bankruptcy (.3).(56014557)

06/03/19   Green,          Review issues regarding subrogation with         720.00       0.50      360.00
           Elizabeth A.    Jacob Ravich.(56012042)

06/03/19   Woltering,      Participate in call with Mr. Forhan regarding    750.00       0.20      150.00
           Catherine E.    collateral-source rule.(56024174)

06/04/19   Forhan, Elliot P. Draft collateral-source/made-whole             340.00       5.90    2,006.00
                             memo.(56010174)

06/04/19   Goodman, Eric Meeting with Mr. Forhan regarding                  800.00       0.30      240.00
           R.            subrogation research.(56014561)

06/05/19   Dumas, Cecily Communicate with Williams re meet with             950.00       0.20      190.00
           A.            Rothschild re joint plan proposal(56035011)

06/05/19   Dumas, Cecily Analyze TCC ability to subordinate                 950.00       2.10    1,995.00
           A.            insurance claims under Bankruptcy
                         Code(56035012)

06/05/19   Forhan, Elliot P. Draft collateral-source/made-whole             340.00       9.30    3,162.00



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                            memo.(56010176)

06/06/19   Dumas, Cecily Email TCC re subro claim (.4); email                950.00       4.00   3,800.00
           A.            Williams re subro plan proposal (.2);
                         analysis of subrogation claims under
                         contractual provisions of insurance policies
                         and section 502 and 509 (3.4)(56035896)

06/06/19   Esmont, Joseph Confer with Mr. Donaho regarding status of         600.00       1.00     600.00
           M.             subrogation research(56180634)

06/06/19   Forhan, Elliot P. Draft collateral-source/made-whole              340.00       8.50   2,890.00
                             memo.(56010190)

06/07/19   Dumas, Cecily Email Williams re subros view on Tubbs              950.00       0.40     380.00
           A.            relief from stay and support(56036794)

06/07/19   Dumas, Cecily Further analysis on subrogation claims in           950.00       0.90     855.00
           A.            bankruptcy(56036795)

06/07/19   Forhan, Elliot P. Draft collateral-source/made-whole              340.00       7.90   2,686.00
                             memo.(56010193)

06/08/19   Forhan, Elliot P. Draft collateral-source/made-whole memo         340.00       6.60   2,244.00
                             (6.5); attention to email communication with
                             Ms. Woltering (0.1).(56010194)

06/09/19   Forhan, Elliot P. Draft subrogation memo.(56055052)               340.00       0.40     136.00

06/10/19   Dumas, Cecily Email Alexander re insurance company                950.00       0.80     760.00
           A.            claims and potential defenses (.3); review
                         policy defenses (.5)(56030611)

06/10/19   Forhan, Elliot P. Attention to phone, email communications        340.00       8.90   3,026.00
                             with Ms. Woltering, Mr. Goodman regarding
                             subrogation memo (0.3); participate in
                             meeting with Mr. Goodman regarding
                             subrogation memo (0.5); draft subrogation
                             memo (8.1).(56055054)

06/10/19   Goodman, Eric Review and analyze subrogation                      800.00       1.90   1,520.00
           R.            memorandum from Mr. Forhan (1.4);
                         conference with Mr. Forhan regarding
                         subrogation research (.5).(56057925)

06/10/19   Woltering,       Review draft memorandum from Mr. Forhan          750.00       0.40     300.00
           Catherine E.     regarding California subrogation doctrines,



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                           and related correspondence with Mr.
                           Goodman.(56114415)

06/11/19   Forhan, Elliot P. Draft subrogation memo (10.6); participate      340.00      10.70   3,638.00
                             in call with Ms. Landrio regarding matter
                             administration (0.1).(56055056)

06/11/19   Goodman, Eric Review and analyze memorandum from Mr.              800.00       4.40   3,520.00
           R.            Forhan on subrogation claims (2.6); review
                         and analyze case law cited in Forhan
                         memorandum (1.6); communications with
                         Mr. Julian regarding subrogation research
                         (.2).(56057936)

06/12/19   Forhan, Elliot P. Draft subrogation memo.(56055072)               340.00       7.20   2,448.00

06/13/19   Forhan, Elliot P. Attention to email, phone communications        340.00      10.40   3,536.00
                             with Ms. Kelly regarding Mr. Goodman (0.1),
                             with Mr. Goodman regarding Section 509(c)
                             subordination (0.1); draft subrogation memo
                             (10.2).(56055094)

06/14/19   Forhan, Elliot P. Draft subrogation memo.(56055098)               340.00       6.50   2,210.00

06/15/19   Forhan, Elliot P. Revise subrogation memo.(56055099)              340.00       2.40     816.00

06/16/19   Forhan, Elliot P. Draft subrogation memo.(56096744)               340.00       2.60     884.00

06/17/19   Dumas, Cecily Review email from McCallen re discovery             950.00       0.50     475.00
           A.            requests (.3); telephone conference
                         Pachulski (.2)(56063051)

06/17/19   Forhan, Elliot P. Continue work on subrogation                    340.00       3.60   1,224.00
                             memo.(56096795)

06/17/19   Sproull, Kelsey Analyze issues related to third parties'          515.00       0.80     412.00
           M.              insurance and indemnity
                           obligations.(56107324)

06/18/19   Dumas, Cecily Review communications with Willkie Farr             950.00       0.50     475.00
           A.            attorneys on subrogation claims(56120966)

06/18/19   Esmont, Joseph Provide input into third party releases            600.00       1.20     720.00
           M.             analysis(56181005)

06/18/19   Forhan, Elliot P. Draft subrogation memo.(56096797)               340.00       1.20     408.00




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06/19/19   Esmont, Joseph Review and comment on Mr. Donaho's                    600.00       1.00    600.00
           M.             response to non-debtor release
                          memo(56181012)

06/19/19   Forhan, Elliot P. Draft subrogation memo.(56096862)                  340.00       1.80     612.00

06/19/19   Julian, Robert   Prepare for call with Wilkie Farr re subro        1,175.00       0.50     587.50
                            requests for TCC positions(56104970)

06/19/19   Julian, Robert   Telephone conversation with Wilkie Farr re        1,175.00       0.40     470.00
                            subro requests for TCC
                            positions(56104971)

06/20/19   Forhan, Elliot P. Draft subrogation memo.(56096874)                  340.00       2.40     816.00

06/20/19   Payne Geyer,     Review issues regarding subrogation                 455.00       0.90     409.50
           Tiffany          claims.(56098865)

06/21/19   Esmont, Joseph Confer with Ms. Payne Geyer regarding                 600.00       0.80     480.00
           M.             subrogation and plan release research by
                          phone and email (.5); Confer with Mr. Julian
                          regarding the same (.3)(56181087)

06/21/19   Forhan, Elliot P. Draft subrogation memo.(56096932)                  340.00       4.50   1,530.00

06/21/19   Payne Geyer,     Review issues regarding subrogation claims          455.00       1.10     500.50
           Tiffany          (.6); telephone conference with Joe Esmont
                            regarding research needed on subrogation
                            issues (.1); frame research question on
                            subrogation issues (.2); correspondence to
                            Bob Julian regarding framework of
                            subrogation research (.2).(56099246)

06/22/19   Forhan, Elliot P. Draft subrogation memo.(56096935)                  340.00       6.80   2,312.00

06/23/19   Forhan, Elliot P. Draft subrogation memo.(56146422)                  340.00       2.30     782.00

06/24/19   Forhan, Elliot P. Draft subrogation memo.(56146424)                  340.00       7.10   2,414.00

06/25/19   Dumas, Cecily Lengthy update call with Diemer, local                 950.00       0.90     855.00
           A.            counsel for ad hoc subrogation claim
                         holders(56173569)

06/25/19   Dumas, Cecily Telephone conference Grassgreen re                     950.00       0.40     380.00
           A.            subrogation issues(56173574)

06/25/19   Forhan, Elliot P. Attention to email, phone communication            340.00       3.20   1,088.00



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                           with Mr. Goodman regarding subrogation
                           memo (0.3); draft subrogation memo
                           (2.9).(56146459)

06/25/19   Goodman, Eric Telephone call with Mr. Forhan regarding             800.00        0.20     160.00
           R.            subrogation research.(56133630)

06/26/19   Dumas, Cecily Email Julian re call with Diemer(56172647)           950.00        0.20     190.00
           A.

06/26/19   Forhan, Elliot P. Draft subrogation memo.(56146465)                340.00        5.40    1,836.00

06/26/19   Morris, Kimberly Meet with Mr. Williams and Mr. Julian re          895.00        0.20     179.00
           S.               subro meeting(56176368)

06/27/19   Forhan, Elliot P. Draft subrogation memo.(56146482)                340.00        6.40    2,176.00

06/28/19   Forhan, Elliot P. Draft subrogation memo.(56146548)                340.00        1.10     374.00

06/30/19   Forhan, Elliot P. Draft subrogation memo.(56189115)                340.00        2.90     986.00

Subrogation(042)                                                                          167.80   70,411.50

06/03/19   Lane, Deanna    Downloading revised file of SEC                    280.00        0.30       84.00
           L.              Documents(56036449)

06/03/19   Ravick, Jacob   Begin review of SEC documents filed by             250.00        7.10    1,775.00
           H.              PGE in 2010 - 2011 related to statements of
                           wildfire as other liabilities and prepare chart
                           of the same.(56042560)

06/05/19   Ravick, Jacob   Continue review of SEC documents filed by          250.00       10.10    2,525.00
           H.              PGE in 2013 - 2016 related to statements of
                           wildfire as other liabilities and prepare chart
                           of the same.(56042567)

06/07/19   Ravick, Jacob   Continue review of SEC documents filed by          250.00        4.40    1,100.00
           H.              PGE in 2018 - 2019 related to statements of
                           wildfire as other liabilities and prepare chart
                           of the same (4.1); work on obtaining case
                           filings and status for attorney review
                           (.3).(56042573)

Securities(043)                                                                            21.90    5,484.00

06/03/19   Dumas, Cecily Email Yanni re administration of wildfire            950.00        0.50     475.00
           A.            assistance fund and TCC liaison(55997949)



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06/03/19   Zuberi, Madiha Review the Guidance Decision on the 2019              605.00       1.10     665.50
           M.             Wildfire Mitigation Plans Submitted
                          Pursuant to SB 901.(56033656)

06/03/19   Zuberi, Madiha Review all comments submitted in response             605.00       2.80   1,694.00
           M.             to the Wildfire Mitigation Plan Guidance
                          (including those by PG&E and other
                          IOU's.(56033698)

06/05/19   Benson, Glenn Prepare revised memo regarding Wildfire                640.00       2.00   1,280.00
           S.            Commission's draft Executive Summary and
                         Workgroup Reports.(56015880)

06/05/19   Fuller, Lars H.   Further draft deposition outline and prepare       545.00       6.50   3,542.50
                             for deposition of PG&E on Bar Date Motion
                             issues.(56001953)

06/05/19   Weible, Robert Read Mr. Feldman's memo regarding safety              830.00       2.10   1,743.00
           A.             issues involving PG&E Safety Committee
                          chair (.6); telephone conference and emails
                          with Messrs. Rose and Blanchard regarding
                          dividend recovery analysis issues (.6); email
                          to Ms. Green regarding Feldman memo on
                          safety committee chair (.2); review May 29
                          Wildfire Commission report and related
                          news articles (.7).(56008560)

06/06/19   Ravick, Jacob     Continue review of SEC documents filed by          250.00       7.00   1,750.00
           H.                PGE in 2016 - 2018 related to statements of
                             wildfire as other liabilities and prepare chart
                             of the same.(56042570)

06/07/19   Dumas, Cecily Emails Yanni, Kane re establishing criteria,           950.00       0.50     475.00
           A.            input from TCC working group(56036791)

06/07/19   Dumas, Cecily Prepare for and telephone conference                   950.00       2.00   1,900.00
           A.            working group (1.); revise form of order (.4);
                         email working group (.2); email Liou, Kreller
                         re same (.4)(56036792)

06/07/19   Dumas, Cecily Review Benson report on legislative and                950.00       1.00     950.00
           A.            regulatory developments re wildfire
                         mitigation and inverse reform(56036793)

06/07/19   Julian, Robert    Review wildfire claims data and finalize          1,175.00      1.70   1,997.50
                             motion to compel arguments re debtors



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                           claim form notice(56037169)

06/07/19   Zuberi, Madiha Attend the meeting and take notes on the          605.00       7.40    4,477.00
           M.             Commission on Catastrophic Wildfire and
                          Recovery meeting at Sacramento City
                          Hall.(56032370)

06/07/19   Zuberi, Madiha Phone call with Mr. Benson to discuss the         605.00       0.50      302.50
           M.             outcome of the meeting with the Governor's
                          Commission on Catastrophic Wildfire and
                          Recovery.(56032615)

06/08/19   Dumas, Cecily Review Kane email to Yanni re                      950.00       0.20      190.00
           A.            administration of fund(56031630)

06/10/19   Dumas, Cecily Email Singleton re WAP                             950.00       0.20      190.00
           A.            question(56030609)

06/10/19   Dumas, Cecily Review administrator meeting agenda and            950.00       0.50      475.00
           A.            questions (.3); email Kane re same
                         (.2).(56030608)

06/10/19   Green,          Review issues regarding compensation fund        720.00       0.30      216.00
           Elizabeth A.    and claims against fund.(56053706)

06/10/19   Green,          Telephone conference with Cecily Dumas           720.00       0.20      144.00
           Elizabeth A.    regarding administration of compensation
                           fund.(56053707)

06/11/19   Dumas, Cecily Email Singleton re WAP (.2); email bonnie          950.00       0.40      380.00
           A.            Kane re Singleton request for information
                         (.2)(56055108)

06/13/19   Goodman, Eric Plan and prepare for meeting with Ms.              800.00       2.80    2,240.00
           R.            Yanni regarding wildfire assistance fund
                         (1.2); meeting with Ms. Yanni at JAMS San
                         Francisco regarding wildfire assistance fund
                         (1.6).(56058610)

06/13/19   Morris, Kimberly Correspondence with emergency fund              895.00       0.20      179.00
           S.               administrator Yanni(56080262)

06/13/19   Morris, Kimberly Prepare documents for wildfire fund             895.00       0.40      358.00
           S.               administrator(56080263)

06/14/19   Dumas, Cecily Meet with Yanni re WAP(56055083)                   950.00       0.30      285.00
           A.



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06/14/19   Rose, Jorian L. Review wildfire report from Mr. Goodman on       1,010.00       0.40     404.00
                           TCC, UCC, Debtors meeting.(56060063)

06/15/19   Goodman, Eric Draft summary of June 13th meeting with              800.00       1.00     800.00
           R.            Ms. Yanni for Ms. Dumas and Mr.
                         Julian.(56058642)

06/16/19   Dumas, Cecily Tel conference Yanni re Bankruptcy court             950.00       0.70     665.00
           A.            approval of fund, communication with J
                         Montali(56059374)

06/17/19   Blanchard,       Draft memorandum concerning issues                650.00       7.30   4,745.00
           Jason I.         related to the estimation of wildfire claims
                            (3.3); conduct research regarding the same
                            (4.0).(56113378)

06/17/19   Dumas, Cecily Review analysis of impact of wildfire fund,          950.00       1.00     950.00
           A.            change in PUC standard for rate
                         adjustment(56063056)

06/17/19   Goodman, Eric Review communications regarding wildfire             800.00       0.20     160.00
           R.            assistance fund and proposed order related
                         thereto.(56096449)

06/18/19   Julian, Robert   Draft outline of litigation plan and strategy   1,175.00       2.80   3,290.00
                            for plan negotiations and resolution of
                            wildfire claims for discussion with Financial
                            Advisor Lincoln and TCC(56104961)

06/18/19   Zuberi, Madiha Review and read the CPUC docket for                 605.00       2.10   1,270.50
           M.             comments to the "Wildfire Mitigation Plan
                          901 Commission."(56119661)

06/19/19   Benson, Glenn Work on memo regarding PG&E comments                 640.00       3.30   2,112.00
           S.            on proposed decision in CPUC proceeding
                         regarding establishment of criteria and
                         methodology for wildfire cost recovery (1.1);
                         monitor regulatory developments of
                         potential significance (2.2).(56102306)

06/19/19   Dumas, Cecily Email Goodman re WAP meeting and                     950.00       0.40     380.00
           A.            order(56119163)

06/19/19   Zuberi, Madiha Note and summarize relevant comments to             605.00       2.10   1,270.50
           M.             the Wildfire Mitigation Plan be discussed at
                          the next team meeting with Mr.



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                           Bloom.(56119910)

06/19/19   Zuberi, Madiha Compose email to Mr. Benson and Ms.               605.00       0.10          60.50
           M.             Attard: RE: Memo on 901 Wildfire
                          Commission Meeting and
                          Recommendations(56122506)

06/20/19   Zuberi, Madiha Meet with Mr. Bloom to discuss recent             605.00       0.50      302.50
           M.             proposed decision regarding the Wildfire
                          Mitigation Plans submitted by
                          PG&E.(56115280)

06/21/19   Goodman, Eric Telephone call to Ms. Liou regarding               800.00       0.10          80.00
           R.            changes to supplemental order.(56096461)

06/21/19   Peterson,       Draft memo summarizing Governor                  430.00       1.30      559.00
           Peggy A.        Newsom's wildfire victims' fund proposal for
                           Mr. Bloom.(56125526)

06/21/19   Peterson,       Compare text of draft Commission on              430.00       0.70      301.00
           Peggy A.        Catastrophic Wildfire Cost and Recovery
                           with final report.(56125529)

06/23/19   Dumas, Cecily Email Yanni re WAP order (.1); email               950.00       0.30      285.00
           A.            Goodman re status of same (.2)(56171508)

06/25/19   Weible, Robert Review 6-23-19 Bloom/Peterson memo                830.00       0.20      166.00
           A.             regarding Governor's wildfire claims
                          proposals.(56128228)

06/26/19   Dumas, Cecily Email Kreller re WAP order (.1); email             950.00       0.30      285.00
           A.            Goodman re same (.2)(56172648)

06/27/19   Goodman, Eric Review communications from the UCC                 800.00       2.00    1,600.00
           R.            regarding order on Wildfire Assistance Fund
                         (.1); review email from Ms. Dumas
                         regarding order on Wildfire Assistance Fund
                         (.1); draft email to Mr. Kelly and Mr. Kane
                         regarding order on Wildfire Assistance Fund
                         and related matters (.4); review redline of
                         final claim form and bar date order (1.2);
                         draft email to counsel for PG&E regarding
                         confidentiality language (.2).(56139588)

06/28/19   Dumas, Cecily Email Goodman re WAP order(56174587)               950.00       0.30      285.00
           A.




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Wildfire Assistance Fund(044)                                                            67.70   45,880.00

06/01/19   Blanchard,      Conduct research on potential causes of          650.00       4.00     2,600.00
           Jason I.        action for the TCC to bring against various
                           parties (2.0); draft research memorandum
                           (2.0).(56016560)

06/02/19   Blanchard,      Conduct research on potential causes of          650.00       7.10     4,615.00
           Jason I.        action for the TCC to bring against various
                           parties (2.8); draft research memorandum
                           (4.3)(56016561)

06/03/19   Blanchard,      Confer with Mr. Rose regarding his               650.00       3.70     2,405.00
           Jason I.        comments to the research memorandum on
                           potential causes of action for the TCC to
                           bring against various parties (.2); revise
                           memorandum consistent with the same
                           (2.5); conduct research in connection with
                           the same (1.0)(56016564)

06/03/19   Donaho,         Meet with Ms. Sproull and Mr. Kristiansen to     530.00       1.00      530.00
           Thomas A.       discuss discovery request strategy and
                           research items pertaining to indemnity and
                           insurance obligations.(56034106)

06/03/19   Sproull, Kelsey Conference with Mr. Kristiansen and Mr.          515.00       0.80      412.00
           M.              Donaho regarding indemnity and insurance
                           issues with respect to third
                           parties.(56019728)

06/04/19   Blanchard,      Confer with Mr. Rose regarding Mr.               650.00       0.20      130.00
           Jason I.        Weible's comments to the research
                           memorandum on potential causes of action
                           for the TCC to bring against various
                           parties.(56016584)

06/05/19   Blanchard,      Conference and emails with Messrs. Rose          650.00       2.20     1,430.00
           Jason I.        and Weible regarding his comments to the
                           research memorandum on potential causes
                           of action for the TCC to bring against
                           various parties (.4); conduct research in
                           connection with addressing the comments
                           (1.8).(56016594)

06/05/19   Martinez,       Call with K Morris and J Greenfield              400.00       0.60      240.00
           Daniella E.     regarding discovery and claims.(56019806)




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06/12/19   Landrio, Nikki   Receive and review email from Mr. Esmont          420.00       0.20      84.00
           M.               regarding tracking and monitoring adversary
                            proceedings (.1) and coordinate with Ms.
                            Moser to add to the task tracker
                            (.1).(56062092)

06/13/19   Kavouras,        Prepare for expert meeting and review             365.00       5.50    2,007.50
           Daniel M.        models and assumptions (1.3); meeting with
                            experts, financial advisors, and counsel for
                            TCC members to discuss case strategy
                            (3.7); follow up with team on issues from
                            meeting (0.5)(56170169)

06/25/19   Kates, Elyssa S. Preparation of memo regarding cross               760.00       2.60    1,976.00
                            motions for protective orders for use at the
                            June 26, 2019 hearing.(56152069)

06/25/19   Kates, Elyssa S. Correspondence with Ms. Dumas, Mr.                760.00       0.20     152.00
                            Julian, Mr. Rose, Mr. Goodman and others
                            regarding Judge Montali's Order and Notice
                            regarding the hearing on June 26,
                            2019.(56152070)

06/25/19   Martinez,        Research for discovery hearing on June 26,        400.00       2.50    1,000.00
           Daniella E.      2019.(56149783)

Asset Analysis and Recovery(045)                                                          30.60   17,581.50

06/05/19   Blanchard,       Conference with Mr. Rose and Ms. Green            650.00       1.50     975.00
           Jason I.         regarding research related to claims
                            estimation and relief from the automatic stay
                            in connection with wildfire litigation (.2);
                            review TCC work product related to similar
                            issues (.3); conduct research on the same
                            (.8); call with Mr. Julian and Ms. Green to
                            discuss issues related to the research
                            (.2).(56016593)

06/10/19   Julian, Robert   Telephone conversation with Ms. Morris re       1,175.00       0.40     470.00
                            estimation(56049949)

06/13/19   Blanchard,       Draft memorandum concerning issues                650.00       1.30     845.00
           Jason I.         related to the estimation of wildfire claims
                            (.3); conduct research regarding the same
                            (1.0).(56076469)

06/13/19   Morris, Kimberly Correspondence re non-wildfire tort               895.00       0.50     447.50



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           S.               claims(56080261)

06/14/19   Blanchard,       Draft memorandum concerning issues               650.00       3.40   2,210.00
           Jason I.         related to the estimation of wildfire claims
                            (1.2); conduct research regarding the same
                            (2.2).(56076488)

06/14/19   Julian, Robert   Attend meetings with committee Financial       1,175.00       3.20   3,760.00
                            Advisor Mr. Williams and claims expert re
                            plan and wildfire claim resolution(56060431)

06/14/19   Morris, Kimberly Correspondence re non-wildfire tort claims       895.00       0.30     268.50
           S.               and evaluate same(56080274)

06/17/19   Julian, Robert   Telephone conversation with Subro insurer      1,175.00       0.30     352.50
                            counsel Wilkie Farr firm re objections to
                            UCC document request re estimation of
                            claims(56081077)

06/17/19   Kavouras,        Conference call with experts to discuss          365.00       0.90     328.50
           Daniel M.        claims valuation issues.(56170179)

06/18/19   Kavouras,        Call with representatives from TCC to            365.00       2.30     839.50
           Daniel M.        discuss business losses (0.8); research on
                            business losses (1.5).(56170184)

06/19/19   Blanchard,       Draft memorandum concerning issues               650.00       7.80   5,070.00
           Jason I.         related to the estimation of wildfire claims
                            (3.5); conduct research regarding the same
                            (4.3).(56113406)

06/19/19   Kavouras,        Research on various fire damages issues          365.00       5.70   2,080.50
           Daniel M.        (4.5); draft memo on damages
                            (1.2).(56170188)

06/19/19   Payne Geyer,     Consider issues regarding Debtor’s $1            455.00       0.30     136.50
           Tiffany          billion mediated settlement with
                            municipalities.(56098513)

06/19/19   Weible, Robert Review Debtors' Form 8-K filing regarding          830.00       3.40   2,822.00
           A.             settlement with governmental claimants and
                          related agreement with the City of
                          Clearlake, et. al.(56088271)

06/20/19   Blanchard,       Draft memorandum concerning issues               650.00       4.10   2,665.00
           Jason I.         related to the estimation of wildfire claims
                            (1.8); conduct research regarding the same



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                             (2.1); confer with Mr. Rose regarding
                             research (.2).(56113417)

06/20/19   Kavouras,         Meeting with financial advisors regarding          365.00       2.30     839.50
           Daniel M.         bankruptcy plans (1.8); call with experts
                             regarding assumptions for model
                             (0.5).(56170191)

06/21/19   Blanchard,        Draft memorandum concerning issues                 650.00       1.50     975.00
           Jason I.          related to the estimation of wildfire claims
                             (.8); conduct research regarding the same
                             (.7).(56113424)

06/21/19   Kavouras,         Review documents produced by debtors               365.00       2.10     766.50
           Daniel M.         (1.5); draft executive summary of debtor
                             production (0.6).(56170193)

06/21/19   Landrio, Nikki    Receive and review email from Ms.                  420.00       0.20      84.00
           M.                Woltering regard document productions (.1)
                             and coordinate with Ms. Bookout regarding
                             uploading documents to Relativity for case
                             team review (.1).(56105991)

06/25/19   Fuller, Lars H.   Review and analyze PG&E filings related to         545.00       7.00   3,815.00
                             protective order (.9); prepare hearing
                             arguments in support of motion for
                             protective order (1.4); review and analyze
                             PG&E SEC 10-Q for discussion of Tubbs
                             fire (.4); conference with Mr. Julian
                             regarding PG&E disclosures related to
                             Tubbs fire (.2); review and analyze PG&E 8-
                             K filing regarding wildfire assistance
                             program (.4); review and analyze objections
                             of California State Agencies to protective
                             order motions (.4); exchange
                             communications with counsel for California
                             State Agencies regarding resolution of
                             objection (.4); review and analyze
                             objections of USA to protective order
                             motions (.2); exchange communications
                             with counsel for USA regarding resolution of
                             objection (.2); review and analyze
                             objections of JPAs and CCAs to protective
                             order motions (.4); exchange
                             communications with counsel for JPAs and
                             CCAs for resolution of objection (.2);
                             exchange communications with PG&E



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                           regarding resolution of objection to
                           protective order motions (.3); review and
                           analyze objection of First Solar, Mojave
                           Solar and Willow Springs Solar to protective
                           order motions (.2); review and analyze
                           objection of Consolidated Edison
                           Development to protective order (.2); review
                           and analyze objection of Herndon plaintiffs
                           to PG&E motion for protective order (.2);
                           review and analyze objection of Subrogation
                           Committee to motions for protective order
                           (.2); review and analyze objection of City of
                           San Francisco and Monterrey Bay
                           Community Power to motions for protective
                           order (.2); review and analyze objection of
                           Calpine Corporation to motions for
                           protective order (.2); review and analyze
                           objection of UCC to motions for protective
                           order (.2); review and analyze objection of
                           fire victim creditors to motions for protective
                           order (.2).(56126701)

06/26/19   Kavouras,       Create chart for claims data (1.5); call with     365.00       3.10   1,131.50
           Daniel M.       team regarding discovery priorities (0.3);
                           review background information on potential
                           expert witnesses (1.3).(56170204)

06/26/19   Martinez,       Claims evaluation research.(56149791)             400.00       1.50     600.00
           Daniella E.

06/26/19   Martinez,       Call with Mr. Kavouras, Mr. Donaho and Ms.        400.00       0.30     120.00
           Daniella E.     Sproull regarding expert preparations and
                           research.(56149793)

06/26/19   Martinez,       Phone call with Mr. Kavouras regarding            400.00       0.30     120.00
           Daniella E.     claims evaluation research.(56149794)

06/27/19   Kavouras,       Review expert NDA (1.0); exchange data            365.00       1.50     547.50
           Daniel M.       with financial advisors (0.5).(56170203)

06/27/19   Martinez,       Continue claims evaluation                        400.00       3.20   1,280.00
           Daniella E.     research.(56149788)

06/28/19   Martinez,       Continue claims evaluation                        400.00       1.90     760.00
           Daniella E.     research.(56149798)

06/28/19   Weible, Robert Telephone conference with Mr. Rose                 830.00       0.30     249.00



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Official Committee of Tort Claimants of PG&E Corp. and Pacific          Invoice Date:             07/31/19
Gas and Electric Company                                             Invoice Number:             50656706
                                                                      Matter Number:        114959.000001
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Date       Name            Description                                        Rate      Hours     Amount
           A.              regarding obtaining other counsel
                           assistance for claims estimation (.2); review
                           relevant bylaw provisions (.1).(56151117)

06/30/19   Martinez,       Continue claims evaluation                       400.00       1.60      640.00
           Daniella E.     research.(56149799)

Tort Claims Estimation(046)                                                             62.20   35,198.50




                 Atlanta    Chicago  Cincinnati
        Case:Houston
              19-30088      Doc# 3314-4
                         Los Angeles
                                            Filed: Cleveland
                                      New York
                                                   07/31/19
                                                   Orlando
                                                              Columbus    Costa Mesa
                                                              Entered: 07/31/19
                                                             Philadelphia Seattle
                                                                                        Denver
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Official Committee of Tort Claimants of PG&E Corp. and Pacific         Invoice Date:              07/31/19
Gas and Electric Company                                            Invoice Number:              50656706
                                                                     Matter Number:         114959.000001
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TASK CODE MATTER SUMMARY

                                           CURRENT INVOICE

Task                                                                         Hours              Amount
Code       Description                                                       Billed              Billed
001        Administrative Expense Claims                                       1.10              500.50
002        Asset Sales/363 Sales                                              19.00           13,958.00
003        Automatic Stay                                                    228.60          181,353.50
004        Bankruptcy Litigation                                             385.20          205,172.00
005        Bar Date Motion/Claims Noticing                                   521.60          392,748.50
006        Case Administration (docket updates, WIP and calendar)            112.80           48,466.00
008        Chapter 11 Plan/Plan Confirmation                                 114.20           74,046.50
009        Committee Meetings and Preparation                                240.90          199,781.50
010        Corporate and Board Issues                                          3.30            3,180.00
015        Equity Security Holders                                             2.20            2,090.00
016        Exclusivity                                                         9.00            8,670.50
017        Executory Contracts/Lease Issues                                    2.60            1,586.00
018        General Case Strategy (includes communications with                50.10           40,968.00
           Committee)
019        Hearings and Court Matters                                         50.20           40,381.50
020        Legislative Issues/Inverse Reform                                  57.80           68,588.00
021        Non-Bankruptcy Litigation                                          20.70           12,506.50
022        Non-Working Travel                                                107.80           34,367.75
023        FERC Adversary Proceeding                                           2.40            2,030.00
024        District Court Litigation                                          30.40           19,836.00
025        Regulatory Issues including CPUC and FERC                         239.80          150,062.50
026        Retention Applications                                             57.60           44,445.50
027        Fee Application: Baker                                             30.80           18,312.50
028        Fee Application: Other Professionals                               21.50           15,617.00
031        US Trustee/Fee Examiner issues                                     21.00           10,010.00
032        Unsecured Creditor Issues/ Communications/ Meetings                17.10           13,930.50
033        Utility Issues/Adequate Assurance/Insurance                        60.60           35,502.00
035        Real Estate and Real Property Issues                                0.50              456.00



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Gas and Electric Company                                             Invoice Number:             50656706
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TASK CODE MATTER SUMMARY

                                          CURRENT INVOICE

Task                                                                          Hours             Amount
Code       Description                                                        Billed             Billed
037        Investigations                                                       1.60           1,880.00
038        Financial Advisors                                                   5.40           5,145.00
039        Other Contested Matters                                             75.90          61,257.50
040        Operations                                                          57.30          36,347.00
041        KEIP Issues                                                         55.50          34,990.00
042        Subrogation                                                        167.80          70,411.50
043        Securities                                                          21.90           5,484.00
044        Wildfire Assistance Fund                                            67.70          45,880.00
045        Asset Analysis and Recovery                                         30.60          17,581.50
046        Tort Claims Estimation                                              62.20          35,198.50
                                                             Total          2,954.70       1,952,741.75




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                                            Filed: Cleveland
                                      New York
                                                   07/31/19
                                                   Orlando
                                                              Columbus    Costa Mesa
                                                              Entered: 07/31/19
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